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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


       UNITED STATES OF AMERICA,                  )
                                                  )   Cause No.
                 Plaintiff,                       )   1:15-cr-0072-TWP-DML
                                                  )   Indianapolis, Indiana
          vs.                                     )   February 22 - 24, 2016
                                                  )   9:11 a.m.
       ALI AL-AWADI (01),                         )
                                                  )   EXCERPTS
                 Defendant.                       )


                                 Before the Honorable
                                  TANYA WALTON PRATT

                         OFFICIAL REPORTER'S TRANSCRIPT OF
                               EXCERPTS OF JURY TRIAL
                                    R E D A C T E D


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       Court Reporter:                      David W. Moxley, RMR, CRR, CMRS
                                            United States District Court
                                            46 East Ohio Street, Room 340
                                            Indianapolis, Indiana       46204
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   1                               (In open court.)
   2                                      * * *
   3                                      EXCERPT
   4                                      * * *
   5               THE COURT:     Okay.    All right.    Thank you.     And now
   6 you may call your next witness.
   7               MS. KOROBOV:     Thank you.      The government calls
   8 Angela Bates.
   9               THE COURT:     Okay.    Ms. Bates, come right over here
  10 to the witness stand.         And if you would remain standing and
  11 raise your right hand and face me.
  12               (The witness is sworn.)
  13               THE COURT:     You may have a seat.
  14               And, Ms. Korobov, you may examine your witness.
  15               MS. KOROBOV:     Thank you, Your Honor.
  16                ANGELA BATES, PLAINTIFF'S WITNESS, SWORN

  17                              DIRECT EXAMINATION

  18 BY MS. KOROBOV:
  19 Q.     Ms. Bates, would you tell the jury your name and spell
  20 your first and your last name?
  21 A.     Angela Bates, A-N-G-E-L-A; Bates, B-A-T-E-S.
  22 Q.     Ms. Bates, how are you employed?
  23 A.     I'm a forensic nurse at Riley Hospital for Children.
  24 Q.     And are you a registered nurse?
  25 A.     Yes, I'm a registered nurse.
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   1 Q.     I'm sorry.    What kind of nurse?
   2 A.     Yes, I'm a registered nurse.
   3 Q.     A registered nurse?       And you're licensed by the State of
   4 Indiana to practice nursing?
   5 A.     Yes.
   6 Q.     When did you obtain your nursing license?
   7 A.     2005.
   8 Q.     And could you describe for the jury your educational
   9 background?
  10 A.     I received a Bachelor's of Science, a nursing degree, in
  11 2005 from Indiana University Northwest.             In 2010, I went
  12 through adult and adolescent sexual assault training, finished
  13 that class; and I also have training with pediatric sexual
  14 assaults.      And that was in 2013.
  15 Q.     Okay.   I'll back up to that in a moment.          You indicated to
  16 the jury that you were a forensic nurse.             What does it mean to
  17 be a forensic nurse?
  18 A.     That means you have specialized training in evidence
  19 collection, forensic photography, and documentation.
  20 Q.     And you indicated that you underwent some specialized
  21 training in order to get that designation; is that correct?
  22 A.     Correct.
  23 Q.     Okay.   You mentioned your first training that you went
  24 through in order to become a forensic nurse.              How many -- can
  25 you describe how that training works?             Is it like course --
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   1 classroom work?        Is it hands-on work?       How does it go?
   2 A.     The adult and adolescent courses that I took in 2010, it
   3 was about a, I'm going to say, six-week course.               It was filled
   4 with -- you have to do like a certain number of sexual assault
   5 exams.      There were some domestic violence cases and elder
   6 abuse, some child -- pediatric sexual assault exams.                We met
   7 with a prosecutor, social workers, law enforcement, even the
   8 coroner, and crime lab.
   9 Q.     Okay.   And you indicated that you also received
  10 specialized training in pediatrics in order to examine
  11 children.      Could you describe that training for the jury?
  12 A.     The training for pediatric sexual assaults was done in
  13 2000 -- actually it was 2012, and that was done in Virginia.
  14 And that's pretty much the same thing, but that was a 40-hour
  15 one-week full course.         Everything was centered on pediatric
  16 sexual assaults and physical child abuse.              That was all
  17 classwork.       And then after, I was trained by the physicians at
  18 Riley Hospital for Children to continue on with those exams.
  19 Q.     Could you describe your work history for the jury?
  20 A.     Okay.   In 2005, I worked as a pediatric cardiac nurse at
  21 Riley Hospital for Children, until about 2010.               2010, I went
  22 to the Riley Hospital for Children Emergency Department, which
  23 I was there until 2013.          And during that same period, I was
  24 doing pediatric sexual assault exams.
  25                In 2014, I started at St. Vincent Anderson to do
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   1 their sexual assaults there for pediatrics only.               And I also
   2 started working at Peyton Manning at the same time, which was
   3 in 2014, doing sexual assault exams for their pediatric
   4 patients, adults, and did elder abuse, domestic violence, and
   5 those types of cases, as well.
   6 Q.     And you currently work at Riley Hospital for Children?
   7 A.     Yes.
   8 Q.     Okay.   And so all the patients that you saw during your
   9 time at Riley were children, as well; is that accurate?
  10 A.     Correct.
  11 Q.     Okay.   How long have you been performing sexual assault
  12 examinations on children?
  13 A.     Six years.
  14 Q.     And about how many sexual assault exams on children have
  15 you completed?
  16 A.     Over 500.
  17 Q.     All right.    And have you also testified in court and in
  18 depositions about that work?
  19 A.     Yes.
  20 Q.     I want to talk to you specifically about the protocol
  21 followed at St. Vincent Hospital, Peyton Manning Children's
  22 Hospital.      What happens when a patient comes in and there's an
  23 allegation that the patient has been sexually assaulted?
  24 A.     They first stop at the registration desk.            The
  25 registration desk, the registrar, they put down information
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   1 stating that parents may -- they request an exam, and they may
   2 put down what the complaint is.           That also triggers a response
   3 that says a Center of Hope nurse should respond to this
   4 patient at some point in time in their treatment.
   5                Then they get triaged by one of the regular ER
   6 nurses after that.        And the triage just pretty much says vital
   7 signs, height and weight.          And then after that, the Center of
   8 Hope nurse or sexual assault nurse examiner -- I would come in
   9 and talk to the parents and kind of figure out what their
  10 allegations are.
  11 Q.     Let me stop you there.       What's the point of kind of
  12 talking to the parents at that point in time?
  13 A.     The point of talking to the parents is to figure out
  14 what's going on, because there are a lot of medical things
  15 that could be going on that we need to test for and look into
  16 and investigate.
  17 Q.     Okay.   And so is the purpose of that conversation for
  18 diagnosis and medical treatment?
  19 A.     Yes.
  20 Q.     And after you speak with the parents or whoever has
  21 brought the child in -- is it always the parent?
  22 A.     No.
  23 Q.     Okay.   So after you speak to that person, what do you do
  24 next?
  25 A.     After we speak with the parents, we notify the hospital
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   1 social worker; we notify the emergency room doctor, as well;
   2 and then we go into an exam room.
   3 Q.     And who goes into the exam room with you?
   4 A.     Normally a parent, the physician, myself, and the patient.
   5 Q.     And what happens in an exam room?
   6 A.     In the exam room, we do first just a regular physical
   7 exam, head-to-toe assessment.           Myself, normally I go do my
   8 head-to-toe assessment first.           If there's anything that seems
   9 like different, any type of injuries, or anything like that,
  10 then I will do some photo documentation of those on just the
  11 arms, legs, those types of things that are just visible.
  12                After that, the physician and I both will do a
  13 genital exam, which that's when we'll do more of our forensic
  14 evidence collection and our photography of the genital area.
  15 And after that is done, we'll send off all of our labs and
  16 package up the -- any evidence that we have retrieved.
  17 Q.     Okay.   So you indicated that you do an exam of the child?
  18 A.     Uh-huh.
  19 Q.     You do a genital exam of the child?
  20 A.     Yes.
  21 Q.     You collect forensic evidence?
  22 A.     Yes.
  23 Q.     You take photography, as well?
  24 A.     Correct.
  25 Q.     Then you said you package up the evidence itself?
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    1 A.    Uh-huh.
    2 Q.    Do you also document what it is that you found as you've
    3 been doing this examination?
    4 A.    Yes.
    5 Q.    So you actually create a medical record, too?
    6 A.    Correct.
    7 Q.    All right.     And is the evidence then stored somewhere?
    8 A.    Yes.
    9 Q.    And can you describe for the jury where that's stored at
   10 Peyton Manning Children's Hospital?
   11 A.    We have a locked and secured evidence refrigerator that's
   12 only accessible to the Center of Hope staff.
   13 Q.    And how does someone who is not from the Center of Hope,
   14 like the crime lab personnel, get access to that locker, or
   15 that refrigerator?
   16 A.    They don't.      They have to get access to a Center of Hope
   17 nurse, and then the nurse actually opens it up.
   18 Q.    Okay.    And provides the evidence to them?
   19 A.    Correct.
   20 Q.    I want to talk to you specifically about a patient named
   21 M.R.                On August 21st of 2014, did you see that
   22 patient?
   23 A.    Yes.
   24 Q.    And did you follow the protocol that you've described
   25 above in assessing and treating M.R.?
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    1 A.    Yes.
    2               MS. KOROBOV:     Please display item 77.
    3 BY MS. KOROBOV:
    4 Q.    Is this the patient you saw, M.R.?
    5 A.    Yes.
    6 Q.    And when a patient comes into the hospital, do they
    7 receive like a little identification bracelet?
    8 A.    Yes.
    9               MS. KOROBOV:     Display item 17, please.
   10 BY MS. KOROBOV:
   11 Q.    And is this the bracelet that M.R. received when she came
   12 into the hospital?
   13 A.    Yes.
   14 Q.    Thank you.     What time did M.R. and her family present to
   15 Peyton Manning Children's Hospital for treatment?
   16 A.    Approximately 8:15 p.m.
   17 Q.    And was preliminary information taken from M.R.'s family?
   18 A.    Yes.
   19               MS. KOROBOV:     Display item 12, please.
   20 BY MS. KOROBOV:
   21 Q.    Do you -- you indicated that someone else actually obtains
   22 that information; is that correct?
   23 A.    Yes.
   24 Q.    Government's Exhibit Number 12, is that that initial
   25 intake form that gets completed on M.R. when she first came
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    1 into the hospital?
    2 A.    Yes.
    3 Q.    And about what time was it that you began your care of
    4 M.R.?
    5 A.    Could I look at my chart here?
    6               MS. KOROBOV:     May the witness refer to Government's
    7 Exhibit Number 11?
    8               THE COURT:     Do you have any objection, to refresh
    9 her recollection?
   10               MR. THOMAS:     After she stated she doesn't recall?
   11               THE COURT:     Are you attempting to refresh her
   12 recollection?
   13               MS. KOROBOV:     I am.    It's an admitted exhibit, as
   14 well.
   15               MR. THOMAS:     No objection.
   16               THE COURT:     You may.
   17 BY MS. KOROBOV:
   18 Q.    Ms. Bates, I'll direct you to the binder in front of you.
   19 Government's Exhibit 11 contains a certified medical record.
   20 And in there would be your records of the exam.
   21 A.    Okay.
   22               MS. KOROBOV:     May I approach the witness with the
   23 page of this exhibit?
   24               THE COURT:     You may.
   25 BY MS. KOROBOV:
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    1 Q.    Ms. Bates, I'm showing you one of the pages from
    2 Government's Exhibit Number 11, marked "ER Triage Note V2."
    3 If the report indicates that, "Start R.N. talking with family
    4 at 8:39 p.m.," would that be an accurate assessment of the
    5 approximate time --
    6 A.    Yes.
    7 Q.    -- you began speaking with her?
    8 A.    Yes.
    9 Q.    Thank you.     And who was in the room when you began your
   10 care of M.R.?
   11 A.    Her mother -- initially it was her mother, her father, and
   12 I believe a grandparent, and one of the emergency room
   13 physicians.
   14 Q.    Okay.    And did you do a head-to-toe examination of M.R.?
   15 A.    Correct.
   16 Q.    And did you find anything remarkable or out of the
   17 ordinary with respect to M.R.'s exam?
   18 A.    No.
   19 Q.    Was she a child in good health?
   20 A.    Yes.
   21 Q.    Did she meet all the standards for her age?
   22 A.    Yes.
   23 Q.    Well nourished?
   24 A.    Yes.
   25 Q.    And could she communicate with you appropriately?
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    1 A.    Yes.
    2 Q.    Okay.    I want to talk about her genital examination.             Did
    3 you do this?
    4 A.    Yes.
    5 Q.    And how did you do the examination?
    6 A.    Per the hospital protocol.         First we just do a visual
    7 examination, just actually looking at the areas, and you take
    8 pictures of what you actually see.            You do swabs of that area.
    9 Then you move on to the next area and do the same thing,
   10 visual examination, swabs for forensic evidence collection,
   11 and then hospital swabs for lab.            And then you move on to the
   12 next area.
   13 Q.    Okay.    I want to kind of break this down for the jury
   14 because they are not nurses, okay?            So you say a "visual
   15 examination."       What's M.R. wearing at the time that she has
   16 this examination?
   17 A.    At the time, I have her in a gown for her examination,
   18 have her in a gown.        You just look at her, look at her arms,
   19 legs, to see if there's anything that's coming out.                The
   20 genital -- once you get to the genital exam, you do the same
   21 thing.     You look at her genital area and see if there's any
   22 type of injuries on the outside, anything that needs to be --
   23 that's not supposed to be there, or anything that's different.
   24 Q.    Okay.    When you're examining M.R. and you're examining
   25 specifically her genitals, in what position is she?
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    1 A.    Normally she's -- well, she was actually lying on her
    2 back.
    3 Q.    Okay.    And so you did kind of an external genital exam
    4 first; is that fair to say?
    5 A.    Correct.
    6 Q.    Okay.    And did you take photographs of what it is that you
    7 observed?
    8 A.    Yes.
    9 Q.    And do you make findings and kind of note those findings
   10 before you start collecting evidence from the area?
   11 A.    Yes.
   12 Q.    Okay.    And after you examined her external genitals -- let
   13 me ask this:       With respect to her external genitals, did you
   14 see anything remarkable or out of the ordinary?
   15 A.    No.
   16 Q.    Okay.    So what did you do after you examined her external
   17 genitals?
   18 A.    After you examine the external genitals, which are mainly
   19 the labia majora and the mons pubis, such as the outside, you
   20 will open up and then you will see the labia minora and the
   21 inside structures.        And then you just look at those structures
   22 to see if there's anything that's overtly, obviously wrong or
   23 anything that looks different --
   24 Q.    Okay.    You --
   25 A.    -- the normal -- different or normal variation or if
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    1 there's something that's -- that needs to be addressed.
    2 Q.    You said the kind of -- you open up the area.              Are you
    3 using some kind of equipment on M.R. to do this?
    4 A.    No.
    5 Q.    Can you tell the jury how you do this?
    6 A.    There's a technique.        It's just called labial separation
    7 and labial traction.         So separation is just pretty much you
    8 use your hands like this and just slide them just open just a
    9 little bit.       It doesn't take a lot of pressure or anything
   10 like that.      Traction is something -- it's pretty much -- it's
   11 pretty similar to separation, but you use your hands and you
   12 kind of hold onto the sides and just slide them to the side.
   13 It's just a different view.
   14 Q.    Okay.    And does doing this cause any kind of injury or
   15 redness when you're doing this to M.R.?
   16 A.    No.
   17 Q.    Okay.    So you indicated there was nothing externally of
   18 note.     When you examined M.R.'s internal structures, did you
   19 see anything that was noteworthy?
   20 A.    Yes.
   21 Q.    And can you tell the jury what it is you saw?
   22 A.    She had several areas of redness, mainly around her
   23 hymenal area, several areas.           If I could -- there's --
   24 Q.    I'm going to show you a diagram in just a minute.               Did you
   25 note all the areas that you found on M.R. during your exam?
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    1 A.    Yes.
    2 Q.    Okay.    And then I want to ask this:         Did you also take
    3 photographs of what it is that you observed?
    4 A.    Yes, I did.
    5 Q.    All right.     And with respect to evidence collection, what
    6 did you collect in M.R.'s case?
    7 A.    In M.R.'s case, buccal swabs, external genital swabs,
    8 internal genital swabs, anal swabs, underwear.               And we also
    9 sent labs off to our hospital laboratory, as well.
   10 Q.    Okay.    And before you did any kind of putting swabs inside
   11 of M.R. or on M.R.'s skin, you had taken your photographs; is
   12 that correct?
   13 A.    Correct.
   14 Q.    And you had also made your observations?
   15 A.    Yes.
   16 Q.    All right.     You indicated that you charted your findings,
   17 as well; is that correct?
   18 A.    Correct.
   19 Q.    Okay.
   20               MS. KOROBOV:     Would you display item 13, please,
   21 Exhibit 13?
   22 BY MS. KOROBOV:
   23 Q.    Would you take a look at Exhibit Number 13?             Does this --
   24 is this part of your documentation in this particular case?
   25 A.    Yes.
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    1               MS. KOROBOV:     Okay.    And I want to go specifically
    2 to this portion of the note here.            My drawing is awful there.
    3 If we can blow that up.
    4               And it's going to be hard to read now, because my
    5 writing is actually -- there we go.            All right.     My first time
    6 using this equipment.
    7 BY MS. KOROBOV:
    8 Q.    So, with respect to this particular part of the
    9 examination, where did these words come from that you've
   10 written in your note?
   11 A.    These words came from the child's mother.
   12 Q.    Okay.    And so you're asking at this point, essentially,
   13 what does the child call different parts of her body; is that
   14 correct?
   15 A.    Correct.
   16 Q.    And the female sex organ in this case M.R. called what?
   17 A.    Tito.
   18 Q.    Okay.    And so you just write down whatever it is that they
   19 give you; is that correct?
   20 A.    Correct.
   21               MS. KOROBOV:     Okay.    And we can back out of that,
   22 please.      If we could go to Exhibit 14, display 14.
   23 BY MS. KOROBOV:
   24 Q.    And on Government's Exhibit Number 14, in this particular
   25 case, did you, as well, document on here -- make documentation
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    1 with respect to M.R.'s genital and anal area; is that correct?
    2 A.    Correct.
    3 Q.    Okay.    With respect to this under genital and anus, it
    4 says, "Pertinent Findings:          See Body Map."      Did you create a
    5 specific body map in this case?
    6 A.    Yes.
    7 Q.    Okay.    And is that where you documented the different
    8 findings that you made with respect to M.R.?
    9 A.    Yes.
   10 Q.    All right.     On here you indicated that you used "Direct
   11 Visualization," "Labial Traction," and "Labial Separation."
   12 Are those the methods that you've previously described in
   13 order to see M.R.'s genitals?
   14 A.    Yes.
   15 Q.    Okay.    And you indicated on here that M.R. is a, "Breast
   16 Tanner Stage 1."        What does that mean?
   17 A.    That means that she has no signs of puberty occurring
   18 anytime soon.
   19 Q.    Okay.    And, "Genital Tanner Stage 1."          What does that
   20 mean?
   21 A.    Pretty much the same thing, no signs of pubertal
   22 development at all.
   23 Q.    Okay.
   24 A.    Very basic stage of female development.
   25 Q.    And with respect to -- it says, "Hymen," and it gives you
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    1 kind of four choices here.          You checked that her hymen is
    2 "Annular."      What does that mean?
    3 A.    It's more of a rounded circular shape.
    4 Q.    Okay.    So this is just describing the shape of the hymen?
    5 A.    Yes.
    6 Q.    Okay.    You indicated you collected samples from M.R.; is
    7 that correct?
    8 A.    Correct.
    9 Q.    Okay.    Right up there underneath that binder to your left
   10 on the countertop is a kit.          It's Government's Exhibit
   11 Number 48.      Do you recognize Government's 48?
   12 A.    Yes.
   13 Q.    Okay.    And how do you recognize Government's 48?
   14 A.    This is the sexual assault kit that I actually collected
   15 and performed.
   16 Q.    And is this M.R.'s kit?
   17 A.    Yes.
   18 Q.    And do you recognize it based on your writing and your
   19 initials on the kit?
   20 A.    Yes.
   21 Q.    Okay.    I'm going to ask you to open Government's 48.
   22               Okay.    Inside of Government's Number 48, I'm going
   23 to ask you to remove Government's 40 -- Exhibit Number 49.
   24 Excuse me.      What is Exhibit Number 49?
   25 A.    49 are the buccal swabs from M.R.
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    1 Q.    And can you tell the jury what a buccal swab is?
    2 A.    It's a swab.      It's just one of our -- well, the state's
    3 actual swab that we use.          And you rub it on the inside of her
    4 actual cheek to get her DNA cells.
    5 Q.    Is this for comparison purposes later on?
    6 A.    Yes.
    7 Q.    Okay.    And where do you get the swabs from that you use in
    8 order to collect M.R.'s DNA on those?
    9 A.    From the collection kit that comes from the State of
   10 Indiana.
   11 Q.    So is this a prepackaged kit with a bunch of envelopes in
   12 it?
   13 A.    Correct.
   14 Q.    You then collect the evidence -- the items of evidence
   15 from the patient and put it back in the kit; is that correct?
   16 A.    Correct.
   17 Q.    Okay.    Item number 49, I ask you to flip it over on the
   18 back.     Does 49 have your patient identification label on it?
   19 A.    Yes.
   20 Q.    Okay.    And does it indicate that you took the swab from
   21 M.R.?
   22 A.    Yes.
   23 Q.    And is your label still intact on that swab?
   24 A.    Yes.
   25 Q.    Okay.    I ask you to put that back down and I ask you to
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    1 retrieve Government's Exhibit Number 50-- or Exhibit
    2 Number 50.      What do you recognize Number 50 to be?
    3 A.    50 is a swab, saline dripped over a hymen swab.
    4 Q.    Okay.    Can you explain to the jury how it is you collected
    5 these swabs?
    6 A.    For this sexual swab -- these swabs here, at the end of
    7 the vaginal part of the exam, you just drip a couple
    8 milliliters of just normal -- some saline over the hymen, just
    9 a little bit of water.         It kind of rinses off any debris
   10 that's on the actual hymen.          And then you just collect it with
   11 a swab at the bottom.         And it sucks up anything that may have
   12 been on the hymen.
   13 Q.    So these were collected from M.R.'s body?
   14 A.    Correct.
   15 Q.    And flip over that item.         Do you see your label and your
   16 identifiers on it?
   17 A.    Yes.
   18 Q.    And is that label still intact?
   19 A.    Yes.
   20 Q.    Okay.    I'll ask you to retrieve from that box Government's
   21 Exhibit Number 51.        Do you recognize Government's 51?
   22 A.    Yes.
   23 Q.    And what do you recognize it to be?
   24 A.    Internal genitalia.
   25 Q.    Okay.    And what are the internal genitalia swabs or items?
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    1 A.    The swabs -- the areas that would be swabbed is the
    2 clitoris, labia minora, outside of the hymen, posterior
    3 fourchette, just pretty much anything inside of the labia
    4 majora.
    5 Q.    Okay.    And do you see your label on the back of that item?
    6 A.    Yes.
    7 Q.    And is your label still intact?
    8 A.    Yes.
    9 Q.    I ask you to retrieve Government's Number 52 from the kit.
   10 And do you recognize Government's 52?
   11 A.    Yes.
   12 Q.    And what do you recognize Exhibit 52 to be?
   13 A.    External genital swabs.
   14 Q.    And can you tell the jury how you collect those?
   15 A.    These swabs were done on the outside of the actual
   16 genitals, so the labia majora and the mons pubis, the area all
   17 around the actual -- her genital -- her genital area.                 So
   18 pretty much what's under the panties in the front, if that
   19 paints a picture for you.
   20 Q.    Okay.    When you say the "mons pubis," can you tell the
   21 jury where that is?
   22 A.    The area above the labia majora.           On a lady, it would be
   23 pretty much the triangle area of her -- like where her panties
   24 would be covering.
   25 Q.    Okay.    And that's part of the area that you swabbed in
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    1 this case?
    2 A.    Correct.
    3 Q.    And do you see your patient identification label on there?
    4 A.    Yes.
    5 Q.    And is your seal still intact?
    6 A.    Yes.
    7 Q.    Okay.    I'm going to ask you to retrieve Government's -- or
    8 excuse me, Exhibit 53.         And do you recognize 53?
    9 A.    Yes.
   10 Q.    And what do you recognize it to be?
   11 A.    Oral swabs.
   12 Q.    And where were the oral swabs obtained?
   13 A.    These are obtained in the child's mouth.             You just go
   14 around the gum line, back of the teeth, and go all the way
   15 around the uppers and lowers with two different swabs.
   16 Q.    And then those swabs are packaged in this packaging here?
   17 A.    Yeah.
   18 Q.    Okay.    And does that have your label on it?
   19 A.    Yes.
   20 Q.    Okay.    And is your label still intact?
   21 A.    Yes, it is.
   22 Q.    And I'll ask you to retrieve Exhibit Number 54 from the
   23 box.     And do you recognize item 54?
   24 A.    Yes.
   25 Q.    And what do you recognize it to be?
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    1 A.    Anal swabs.
    2 Q.    And how do you take an anal swab from a child?
    3 A.    You go around the actual anal opening, just use some --
    4 first you use a wet swab, and then you use a dry swab.                 So
    5 there's only two swabs in here.
    6 Q.    Okay.    And were those swabs packaged in that item --
    7 envelope?
    8 A.    Yes.
    9 Q.    And is your seal on that envelope?
   10 A.    Yes.
   11 Q.    Okay.    With respect to the box, as well as Exhibits 49,
   12 50, 51, 52, 53, and 54, are there some other labels on there
   13 that you did not place on there?
   14 A.    Yes.
   15 Q.    Okay.    Other than that, are your seals still intact on
   16 those items?
   17 A.    Yes.
   18 Q.    And those items are in the same or substantially the same
   19 condition as when you put them in that box?
   20 A.    Yes.
   21 Q.    Okay.    I'll ask you to retrieve from that box Exhibit
   22 Number 5.      What is Exhibit Number 5?
   23 A.    The victim's underpants.
   24 Q.    Okay.    And how did you collect the underwear in this
   25 particular case?
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    1 A.    The underwear was actually provided to me by a family
    2 member.
    3 Q.    And what did you do with the underwear once you were given
    4 it?
    5 A.    Put them in the bag and sealed it with the rest of my
    6 evidence.
    7 Q.    Okay.    And are your identification labels on that item?
    8 A.    Yes.
    9 Q.    Okay.    And are there other items -- there are other labels
   10 on that item, as well, correct?
   11 A.    Correct.
   12 Q.    Other than those labels, is the item in the same or
   13 substantially the same condition as when you last saw it?
   14 A.    Yes.
   15 Q.    Okay.    So after you collect all of these items, what do
   16 you do with that kit?
   17 A.    The kit is sealed, signed, and placed in a locked
   18 refrigerator.       And then it isn't released until law
   19 enforcement comes and gets it.
   20 Q.    So is that what you did with item 48 and all of those
   21 items, including the underwear?
   22 A.    These are all locked and sealed in the refrigerator.
   23 Q.    I'm going to ask you to refer in that binder to item 64.
   24 And with respect to item number 64, do you recognize item 64?
   25 A.    Yes.
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    1 Q.    What do you recognize item 64 to be?
    2 A.    The sex crimes application.
    3 Q.    Okay.    What does -- what purpose does that particular
    4 sheet serve for you?
    5 A.    It's a secondary waive of consent from the parents for us
    6 to treat the child.        It also -- it's an application for
    7 benefits for payment for a hospital for actually providing the
    8 exam.     And it's also -- it also is a chain of evidence form
    9 for law enforcement.
   10 Q.    Okay.    So do you complete a portion of that form?
   11 A.    Yes.
   12 Q.    Okay.    Indicating what evidence was collected?
   13 A.    Yes.
   14 Q.    Okay.    And then does the crime lab come in and complete
   15 another portion of that form?
   16 A.    Yes.
   17 Q.    However, the portions of the form that have your name and
   18 your information on it is information that you actually
   19 completed; is that correct?
   20 A.    Correct.
   21 Q.    Okay.    You indicated that you took photos of your findings
   22 with respect to M.R.; is that correct?
   23 A.    Yes.
   24 Q.    I'm going to ask you to refer to item 78 in that binder.
   25 And I would ask you to remove that disk and look at it.                 Do
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    1 you recognize Exhibit 78?
    2 A.    Yes.
    3 Q.    And how do you recognize Exhibit 78?
    4 A.    It's the CD of the photos from the sexual assault exam
    5 performed on M.R.
    6 Q.    And how do you recognize it in particular?
    7 A.    Her name is on it, all her identifying factors, our time
    8 stamp that pretty much says "Photos," and then my initials are
    9 on this.
   10 Q.    Okay.    Did you actually look at that disk to make sure
   11 that contained the photos taken during your examination?
   12 A.    Yes.
   13 Q.    Okay.    And as best photos can, do they truly and
   14 accurately show the way that M.R.'s body looked on August 21st
   15 of 2014?
   16 A.    Yes.
   17               MS. KOROBOV:     At this time, the government would
   18 move to admit Government's -- Exhibit 78.
   19               THE COURT:     Any objection to 78?
   20               MR. THOMAS:     I don't know that 78 has --
   21               THE COURT:     78 is a -- well, in my book, it's a
   22 picture of a Center of Hope photo.            So you have the actual CD
   23 somewhere?
   24               MS. KOROBOV:     It is right here.
   25               THE COURT:     Okay.
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    1               MR. THOMAS:     I don't know if that's the --
    2               MS. KOROBOV:     It's actually -- at this point, it's
    3 actually already been admitted by certification, so I'll
    4 withdraw the motion to admit --
    5               THE COURT:     Okay.
    6               MS. KOROBOV:     -- because it has been admitted.
    7               THE COURT:     It's already in.
    8               MR. THOMAS:     Yeah, I think it has.        I was going to
    9 say, I don't know if it's the best evidence for the photos, if
   10 they are going to admit those, but it's --
   11               THE COURT:     The actual --
   12               MR. THOMAS:     -- part -- it's part of the exam kit.
   13               MS. KOROBOV:     We just have the disk.        It's already
   14 in.
   15               THE COURT:     Okay.   The actual disk is already in.
   16 Okay.
   17               MS. KOROBOV:     Thank you.
   18 BY MS. KOROBOV:
   19 Q.    With respect to M.R.'s examination, I want to draw your
   20 attention, again, to Exhibit Number 14, which is displayed on
   21 the screen.       Right under the words, "Genital/Anus," it says,
   22 "omit AB."      What does that mean?
   23 A.    That means that that was not supposed to be checked.               And
   24 instead of getting a brand new chart or starting anything new,
   25 you want to just keep it -- keep it what -- it is what it is,
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    1 so you -- I just wrote down "omit," so to take that out, and
    2 my initials to say that I know that that was checked wrong,
    3 but it's crossed out so it's not a part of the chart.
    4 Q.    Okay.    So it is not correct that there was no injury
    5 noted, and then you direct to see the body map --
    6 A.    Correct.
    7 Q.    -- is that accurate?        Okay.
    8               MS. KOROBOV:     Call Government Exhibit 15, please.
    9 BY MS. KOROBOV:
   10 Q.    With respect to Government's 15, do you recognize 15?
   11 A.    Yes.
   12 Q.    And on Exhibit 15, is this the body map that you created
   13 with respect to the findings that you made with respect to
   14 M.R.?
   15 A.    Yes.
   16               MS. KOROBOV:     And I'm going to enlarge a portion of
   17 this here.      We need to back out, please.          This is the portion
   18 I would like enlarged, please.
   19 BY MS. KOROBOV:
   20 Q.    All right.     With respect to your specific findings on
   21 here, you've got a number "1."            What does finding number 1
   22 reflect?
   23 A.    Swelling, redness, erythema to the hymen at 12:00,
   24 which --
   25 Q.    Okay.    What is erythema?
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    1 A.    It's redness and irritation.
    2 Q.    Okay.    And when you say "swelling," can you describe for
    3 the jury exactly what it is that you saw?
    4 A.    A raised area that's edematous.
    5 Q.    Okay.    Can you specifically touch on that diagram where it
    6 is that you saw swelling on M.R.?            Just go ahead and put your
    7 finger there.       It's going to create a little arrow.
    8               Okay.    So the red dot there is where you observed
    9 swelling on M.R.'s hymen; is that correct?
   10 A.    Correct.
   11 Q.    And with respect to finding number 2, could you tell the
   12 jury what it is that you saw with finding number 2?
   13 A.    Red coloration noted around the hymen on the left side, in
   14 the vestibular area, which is inside of the labia minora,
   15 going down into the hymen.
   16 Q.    Okay.    And was that on both sides of her vaginal opening?
   17 A.    Yes.
   18 Q.    Okay.    Because number 2, it looks like there's a couple of
   19 lines there.       Is that number 2 or number 3?
   20 A.    That's -- number 2 and number 3 are pretty much the same.
   21 Q.    Okay.    Can you just go ahead again and touch there on what
   22 your findings were for number 2, the red coloration noted to
   23 the peri-hymenal area on the left side?
   24 A.    Okay.    Here.
   25 Q.    Okay.    And then with finding number 3, could you describe
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    1 what that was to the jury?
    2 A.    Number 3 is red coloration to the hymen between 6:00 and
    3 11:00.     And that's actually on the hymen, not necessarily on
    4 the outside of the hymen.
    5 Q.    So on the hymen itself, you noted that it was red and
    6 swollen?
    7 A.    On the hymen, it's between 6:00 and 11:00.             It was, yeah,
    8 red in color, red coloration, and also swollen.               Sorry.
    9 Q.    Okay.    And when you say 6:00 and 12:00, or 6:00 and 11:00,
   10 what are you referring to?
   11 A.    We use the hymen -- hymenal opening, sort of, we use a
   12 clock as a reference, like a regular hand clock.                So
   13 12:00 would be towards, like, the patient's head.                6:00 would
   14 be towards, like, the patient's feet.
   15 Q.    Okay.    So that red dot that you previously made to reflect
   16 finding number 1, would that essentially be the 12:00
   17 position?
   18 A.    Yes.
   19 Q.    Okay.    Now, in here you've got some numbers.            What do
   20 those numbers reference?
   21 A.    The photo numbers?
   22 Q.    Yes, ma'am.
   23 A.    The numbers reference like the actual pictures where you
   24 can see that particular area of concern, her injury.
   25 Q.    When you take the findings of the patient, I want to talk
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    1 a little bit about that photography process.               You actually --
    2 each photo has a number; is that correct?
    3 A.    Correct.
    4 Q.    Who is present when those photos are taken?
    5 A.    The patient, parent, physician, and myself.
    6 Q.    And contained in the medical record is a specific question
    7 you ask of the parent, permission to take those photos?
    8 A.    Yes.
    9 Q.    And when you take the photos themselves, is that noted in
   10 the medical record specifically that you've taken photos?
   11 A.    Yes.
   12 Q.    Okay.
   13               MS. KOROBOV:     All right.     And we can remove that
   14 exhibit, please.
   15 BY MS. KOROBOV:
   16 Q.    Did you find any medical cause as to the condition of
   17 M.R.'s hymen or peri-hymenal area, the swelling and the
   18 redness that you saw?
   19 A.    No.
   20 Q.    And are there things that can medically cause a child's
   21 body to become red in that area?
   22 A.    Yes.
   23 Q.    Okay.    And can you give us an example of one of those
   24 conditions?
   25 A.    Lichen sclerosis.
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    1 Q.    Okay.    Can you tell the jury what lichen sclerosis is?
    2 A.    Lichen sclerosis is a -- like an autoimmune-type
    3 condition.      It's -- layman terms, it's like eczema of the
    4 genital area.
    5 Q.    Okay.    Is that what M.R. had?
    6 A.    No.
    7 Q.    Okay.    Did you find any medical explanation for what it is
    8 that you observed with respect to M.R.'s hymen?
    9 A.    No.
   10 Q.    Were the findings consistent with the account that was
   11 provided to you by M.R.'s mother?
   12 A.    Yes.
   13 Q.    And in the final report, did you specifically document
   14 what information had been provided to you when you examined
   15 M.R.?
   16 A.    Yes.
   17               MS. KOROBOV:     I would ask you to display Exhibit 16,
   18 please.
   19 BY MS. KOROBOV:
   20 Q.    I'm going to enlarge this area and ask that you read that,
   21 please.
   22               MR. THOMAS:     Your Honor, I object.        I mean, it's
   23 been admitted into evidence.           The document speaks for itself.
   24               MS. KOROBOV:     Judge, I just -- she should be able to
   25 read it so the jury doesn't have to strain to read what it is
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    1 that's been documented.
    2               MR. THOMAS:     Well, Judge, I mean, the document is
    3 the best evidence, and it's already in and speaks for itself.
    4               THE COURT:     What are you asking her to read?          The
    5 entire document?
    6               MS. KOROBOV:     I'm asking her to read the two
    7 paragraphs that are there, the two paragraphs and two
    8 sentences.
    9               THE COURT:     Well, I don't think it will hurt
   10 anything.      The jury is going to have it when they deliberate.
   11               MR. THOMAS:     Well, Judge, it's also emphasizing a
   12 certain point in the evidence and, as I said, we have the
   13 document.      The jury can decide that.
   14               THE COURT:     I'll overrule it.      I'll let her read it
   15 into the record.
   16 BY MS. KOROBOV:
   17 Q.    You can read Exhibit 16, please.
   18 A.    "August 21, 2014.
   19               "M.R. arrived at St. Vincent Hospital via private
   20 vehicle, accompanied by her mother (Miosotis Rodriguez)," her,
   21 "father (Justo Guevara) and extended family members.
   22 Miosotis Rodriguez and Justo Guevara report M.R. stated,
   23 'Someone touched her down there,' and request her to be
   24 evaluated.
   25               "This Sexual Assault Nurse Examiner offered Miosotis
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    1 Rodriguez and Justo Guevara a Spanish interpreter.                Miosotis
    2 Rodriguez and Justo Guevara declined Spanish language services
    3 at this time.       This Sexual Assault Nurse Examiner informed
    4 Miosotis Rodriguez and Justo Guevara of the role and services
    5 provided by a Sexual Assault," Nurse, "Examiner, including
    6 photography.       Miosotis Rodriguez and" --
    7               THE REPORTER:     I'm sorry.     You need to slow down.
    8               THE DEFENDANT:      Oh, sorry.
    9               "Miosotis Rodriguez and Justo Guevara verbalized an
   10 understanding and consents were obtained via protocol and
   11 signed per Miosotis Rodriguez.
   12               "Miosotis Rodriguez reports M.R. was picked up from
   13 Bright Horizons daycare at approximately 1730.               Miosotis
   14 Rodriguez states M.R. told Justo Guevara that, 'she hurt down
   15 there.'      Miosotis states Justo gave M.R. some diaper rash
   16 cream and told her to put it down there.              Miosotis states
   17 Justo told her M.R. complained of pain in her 'Tito.'
   18 Miosotis states," that -- "states she asked M.R., 'why does it
   19 hurt down there?'        Miosotis states, 'M.R. started crying and
   20 ran to her room saying no, no, no.'.
   21               "Miosotis reports she went and picked up M.R. and
   22 asked, 'why does it hurt down there?'             Again, Miosotis states
   23 this time, 'M.R. just peed all over me.             She told me Mr. Ali
   24 touched me with his finger down there and it hurts.'                Miosotis
   25 states she asked M.R., 'Why didn't you tell me right away?'
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    1 Miosotis states M.R. told her, 'he said not to tell anybody.'
    2               "Miosotis states she called Bright Horizons and was
    3 informed, 'yes, we know of the situation, Mr. Ali is suspended
    4 and we will investigate this.'
    5               "Forensic Examination complete, DCS has been
    6 notified," and, "IMPD is involved."
    7               MS. KOROBOV:     Pass the witness for
    8 cross-examination.
    9               THE COURT:     You may cross-examine.
   10               MR. THOMAS:     Thank you, Your Honor.
   11                              CROSS EXAMINATION

   12 BY MR. THOMAS:
   13 Q.    Ms. Bates, essentially -- I mean, your job is more as an
   14 evidence collector than a healthcare provider at this point in
   15 your job, is that -- do you agree with that?
   16 A.    No.    We do both, forensics and medical care.
   17 Q.    I understand.      It's a hospital.
   18 A.    Yes.
   19 Q.    And I'm not suggesting you don't do medical care, but your
   20 job -- they call you to do a forensic exam because they want
   21 to make sure that it's somebody who knows how to collect
   22 evidence, right?
   23 A.    Yes.
   24 Q.    If there's not a request for a forensics examiner, you
   25 don't examine everybody, do you?
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    1 A.    I don't examine everyone.
    2 Q.    So you are there specifically, obviously, to observe for
    3 future medical treatment, but also to make sure that evidence
    4 is collected?
    5 A.    Yes.
    6 Q.    And you know how to do that?
    7 A.    Yes.
    8 Q.    And you're there to specifically focus to see if you can
    9 find an injury that's consistent with abuse, correct?
   10 A.    Yes.
   11 Q.    You said on direct that when you observed externally that
   12 there was nothing of note -- was that what you said?
   13 A.    Correct.
   14 Q.    So someone observing MR. without doing a pelvic exam would
   15 not have seen, as you say, anything noteworthy; is that right?
   16 A.    If anyone did a pelvic exam on her, they would have seen
   17 the same thing.
   18 Q.    A pelvic exam?
   19 A.    A pelvic exam.
   20 Q.    But as you said, externally, you didn't notice anything of
   21 note?
   22 A.    No.
   23 Q.    What you saw was internal?
   24 A.    Yes.
   25 Q.    And you don't know specifically when those injuries took
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    1 place, do you?
    2 A.    No.
    3 Q.    And those don't last forever, right, the injuries like
    4 that?
    5 A.    No.
    6 Q.    But they could last several days, right?
    7 A.    Sometimes.
    8 Q.    You have no way of telling from that exam when those
    9 injuries took place?
   10 A.    No.
   11 Q.    And no way of knowing specifically how the injuries took
   12 place?
   13 A.    No.
   14 Q.    There's nothing about the exam that says, well, a man's
   15 finger caused that injury, right?
   16 A.    I can't confirm or deny.
   17 Q.    You couldn't rule it out, but there's nothing about it
   18 that you could say, "Well, I can tell from this exam that a
   19 man's finger caused this injury"?
   20 A.    No.
   21 Q.    If a man's finger or a woman's finger, you wouldn't --
   22 would potentially cause the same injury, right?
   23 A.    Correct.
   24 Q.    It's possible that the child's hand could cause that
   25 injury, too, right?
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    1 A.    Possible.
    2 Q.    And did you note that she had been given diaper rash
    3 cream?
    4 A.    Yes.
    5 Q.    And do you know how that was applied?
    6 A.    No.
    7 Q.    Do you know who applied it?
    8 A.    In my notes, M.R. -- I think Father gave M.R. the diaper
    9 rash cream and had her apply it.
   10 Q.    That's what Dad told you, right?           Or I guess Mom told you
   11 that Dad told her, right?
   12 A.    Uh-huh.
   13 Q.    You didn't see it applied?
   14 A.    No.
   15 Q.    Did you ever ask M.R. how she applied it?
   16 A.    No.
   17 Q.    Would that -- could that have been important?
   18 A.    No.
   19 Q.    No?    Well, if M.R. had applied it inside her vagina, would
   20 that have been important?
   21 A.    Yes, but she had pain before she applied it.
   22 Q.    Well, that's what was reported, right?
   23 A.    (Nods head up and down.)
   24               THE COURT:     You have to answer out loud.
   25               THE WITNESS:     Yes.
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    1               THE COURT:     Thank you.
    2 BY MR. THOMAS:
    3 Q.    By her parents?
    4 A.    Yes.
    5 Q.    Now, all the information that you have comes from M.R.'s
    6 parents, right?        You don't have any other information at all,
    7 right?
    8 A.    Correct.
    9 Q.    Did you inquire as to whether M.R. had bathed or showered
   10 when that -- when she might have bathed or showered?
   11 A.    Yes.
   12 Q.    And what were you told about that?
   13 A.    I believe they changed her, that they changed her
   14 clothing.
   15 Q.    But she had not bathed or showered before coming for the
   16 exam, right?
   17 A.    Not that I recall.
   18 Q.    Well, that's not -- your records show that, right?               That's
   19 what you were told?
   20 A.    Yes, I believe so, or I can read if you tell me which --
   21 Q.    Well, if you remember or don't remember.             Do you remember
   22 or not?
   23 A.    I remember her -- them saying that she changed -- that
   24 they changed her bottoms, like her clothes, but I don't recall
   25 if they told me if she had a shower -- took a shower or not.
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    1 Q.    Is that something you would normally ask?
    2 A.    Usually I do.
    3 Q.    And you have no information that she did, right?
    4 A.    I probably wrote it down somewhere in the chart.              If I
    5 could flip back to it?
    6 Q.    Go ahead.
    7 A.    Which exhibit is it?
    8 Q.    They're not my exhibits, ma'am.
    9               THE COURT:     Ms. Korobov, what number is the exhibit
   10 in the binder?
   11               MS. KOROBOV:     Your Honor, it's Exhibit Number 11.
   12               THE WITNESS:     Thank you.
   13 BY MR. THOMAS:
   14 Q.    These are your notes, ma'am, so if you want to refer to
   15 them, please do.
   16               MS. KOROBOV:     It's on page 3 --
   17               THE REPORTER:     I cannot hear you.
   18               MS. KOROBOV:     On page 3 of the document --
   19               THE REPORTER:     I'm sorry.     I still cannot hear you.
   20               MS. KOROBOV:     Page 3 of the document stamp.
   21               THE COURT:     Say it again.
   22               MS. KOROBOV:     Page 3 of the document.
   23               THE WITNESS:     I have it.
   24 A.    She -- they changed her clothes, but they did not indicate
   25 that she was given a bath or a shower.
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    1 BY MR. THOMAS:
    2 Q.    Very good.     Nothing about the injuries that you saw that
    3 would specifically say that they were caused by a hand at all,
    4 right?
    5 A.    Correct.
    6               MR. THOMAS:     That's all.     Thank you.
    7               THE COURT:     Do you have any redirect?
    8               MS. KOROBOV:     May I have a moment, Your Honor?
    9               THE COURT:     You may.
   10               (Off the record.)
   11                            REDIRECT EXAMINATION

   12 BY MS. KOROBOV:
   13 Q.    Ms. Bates, when you do an examination of a child under
   14 these circumstances, does your exam have multiple parts to it,
   15 as you previously described?
   16 A.    Yeah.
   17 Q.    And is taking a patient history an important part of that?
   18 A.    Crucial.
   19 Q.    Okay.    And at the end, you're trying to give some
   20 diagnosis and some treatment options for those particular
   21 patients that you see; is that correct?
   22 A.    Correct.
   23 Q.    All right.     Now, counsel suggested that you're looking for
   24 some kind of injury consistent with abuse.              When you begin
   25 your exam of a patient and do your exam of a patient, is it
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    1 your goal to try to find some evidence that a child has been
    2 abused?
    3 A.    No.
    4 Q.    Okay.    What's your goal?
    5 A.    My goal is to figure out an answer to their concern, a
    6 medical reason, primarily, to rule out anything.
    7 Q.    Okay.    And do you document everything that you find?
    8 A.    Yes.
    9 Q.    Do you document it whether you find any kind of medical
   10 finding or not?
   11 A.    Yes.
   12 Q.    And do you take pictures of what you find under any
   13 circumstance?
   14 A.    Yes.
   15 Q.    When it comes to the conversation that you have about a
   16 patient history, is it typical to not -- for you, to not
   17 question the patient themselves?
   18 A.    Yes.
   19 Q.    Okay.    Who do you typically get the history from?
   20 A.    I get the patient's information from their parents.
   21 Q.    Or whoever brings them in?
   22 A.    Law enforcement, DCS, yeah.
   23 Q.    Okay.    You indicated in this case that M.R. had some
   24 swelling in addition to redness to her hymen.               Did that tell
   25 you anything about the recency of the findings that you made?
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    1 A.    With the tissue down there being pretty similar to, like,
    2 the inside of your mouth.          I mean, you bite yourself on the
    3 inside of your mouth today; four days from that, you're not
    4 going to even know where you actually bit the inside of your
    5 mouth.      So I would say within a few days.
    6 Q.    Okay.    But it's not something that you can put a date on
    7 with respect to these findings; is that correct?
    8 A.    Correct.
    9               MR. THOMAS:     This is a leading question at this
   10 point.
   11               THE COURT:     Don't --
   12               MS. KOROBOV:     I can rephrase it.
   13               THE COURT:     Go ahead and rephrase it.
   14 BY MS. KOROBOV:
   15 Q.    Are you able to put any kind of date stamp on when an
   16 injury happened?
   17 A.    No.
   18 Q.    Were the findings that you made consistent with digital
   19 penetration of M.R.'s vaginal area?
   20 A.    Yes.
   21               MS. KOROBOV:     Nothing further.
   22               MR. THOMAS:     Just one thing, Judge.
   23               THE COURT:     You may.
   24
   25
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    1                             RECROSS EXAMINATION

    2 BY MR. THOMAS:
    3 Q.    Just so I'm clear, "consistent with," means that it could
    4 have been that, right?
    5 A.    Correct.
    6 Q.    It doesn't mean it couldn't have been something else,
    7 right?
    8 A.    Correct.
    9               MR. THOMAS:     Thank you.
   10               THE COURT:     Okay.   Any questions on that?
   11               MS. KOROBOV:     No, Your Honor.
   12               THE COURT:     May this witness be released from
   13 subpoena?
   14               MS. KOROBOV:     I ask that she be released to go home
   15 today, but I may need to recall her under circumstances, so I
   16 would ask that she remain under subpoena.
   17               THE COURT:     Okay.   You may leave, but you're still
   18 under subpoena.        If they need you, they will contact you
   19 again.
   20               THE WITNESS:     Okay.
   21               THE COURT:     Thank you.
   22               (Witness excused.)
   23
   24
   25
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    1                         TUESDAY, FEBRUARY 23, 2016

    2                                      * * *
    3                                      EXCERPT
    4                                      * * *
    5               THE COURT:     Okay.    I believe we're all here and the
    6 jurors have all arrived.          We're back on the record.        This is
    7 the United States of America versus Ali Al-Awadi.                And is the
    8 government ready for the jury?
    9               MR. SHEPARD:     Yes, Your Honor.
   10               THE COURT:     Defense ready?
   11               MR. THOMAS:     Yes, Your Honor.
   12               THE COURT:     And, Tanesa, you may bring in the panel.
   13               Do you want to bring your witness in?
   14               (Jury in at 9:13 a.m.)
   15               THE COURT:     Good morning, ladies and gentlemen of
   16 the jury.      I hope that you are well rested.          Did everyone
   17 follow their admonishment last night and not talk to your
   18 family and friends about the trial?            Everyone not?      Okay.
   19 Very good.
   20               We are back on the record, the United States of
   21 America versus Ali Al-Awadi.           And, Mr. Shepard, you may call
   22 your first witness of the day.
   23               MR. SHEPARD:     The government calls Tyria Graham,
   24 Your Honor.
   25               THE COURT:     Okay.    And I believe she's coming in.
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    1 Witness, if you would come right over here, come right up this
    2 way and go around that way.          Right over here, Ms. Graham.          All
    3 right.     Come on up that step and I need you to remain standing
    4 and face me and raise your right hand.
    5               (The witness is sworn.)
    6               THE COURT:     You may have a seat.
    7               Mr. Shepard, you may examine your witness.
    8                TYRIA GRAHAM, PLAINTIFF'S WITNESS, SWORN

    9                              DIRECT EXAMINATION

   10 BY MR. SHEPARD:
   11 Q.    Could you please state your name and spell it for the
   12 record?
   13 A.    Tyria Graham, T-Y-R-I-A.         Last name is Graham,
   14 G-R-A-H-A-M.
   15 Q.    Okay.    Where do you live?
   16 A.    Here in Indianapolis.
   17 Q.    How long have you lived here in Indianapolis?
   18 A.    For a long time.
   19               THE COURT:     Ms. Graham, can you pull the mic a
   20 little closer to you?         And sit a little closer so that we can
   21 hear you very well.
   22               THE WITNESS:     Okay.
   23               THE COURT:     Thank you.
   24 BY MR. SHEPARD:
   25 Q.    What do you do for a living?
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    1 A.    I'm self-employed right now.
    2 Q.    Are you about to start a new job?
    3 A.    Uh-huh.
    4 Q.    What are you going to be doing?
    5 A.    Educator.
    6 Q.    Have you ever been an educator before?
    7 A.    Yes, I have.
    8 Q.    Where at?
    9 A.    St. Vincent Children's Choice, Bright Horizons.
   10 Q.    How long were you there?
   11 A.    A little over three years.
   12 Q.    What did you do?
   13 A.    Teach kids, educate them.
   14               MR. SHEPARD:     Okay.    Please call up Exhibit 1.
   15 BY MR. SHEPARD:
   16 Q.    What's that?
   17 A.    The building where I worked at.
   18               THE COURT:     Is your screen working?        Tanesa, go look
   19 at that real quick.
   20               Okay.    Very good.    You may continue.
   21 BY MR. SHEPARD:
   22 Q.    Did you have a specific class that you taught while you
   23 were there or did you float between?             How did it work?
   24 A.    I had a specific class, but I was in all classes when they
   25 needed me.
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    1 Q.    Okay.    I would ask you to -- the binder in front of you,
    2 there's some pictures behind some tabs.             I'm going to ask if
    3 you recognize the pictures.          Can you look behind tab number 2?
    4 Do you recognize what that's a picture of?
    5 A.    Yes, I do.
    6 Q.    Okay.    Look behind tab number 65.         If you were my teacher,
    7 you would have taught me to count better, right?                Do you
    8 recognize what's behind tab 65?
    9 A.    Yes, I do.
   10 Q.    Look behind tab 66.
   11 A.    Yes.
   12 Q.    Do you recognize what's behind 66?
   13 A.    Yes, I do.
   14 Q.    And behind tab 67.       Do you recognize what's behind tab 67?
   15 A.    Yes.
   16 Q.    Okay.    What are all these -- what's depicted in these
   17 pictures?
   18 A.    Pictures of the kindergarten classroom.
   19 Q.    Is that one of the rooms that you taught in?
   20 A.    Yes.
   21 Q.    And was that a room at the daycare which is up on the
   22 screen in Exhibit 1?
   23 A.    Yes.
   24 Q.    And are they accurate representations of the kindergarten
   25 room?
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    1 A.    Yes.
    2               MR. SHEPARD:     I move to admit Exhibits 2, 65, 66,
    3 and 67.
    4               THE COURT:     Any objection, Mr. Thomas?
    5               MR. THOMAS:     No objection, Your Honor.
    6               THE COURT:     Government's Exhibits 2, 65, 66, and 67
    7 are admitted into evidence without objection.
    8                            (Government's Exhibits 2, 65 - 67 were

    9                            received in evidence.)

   10               MR. SHEPARD:     Can you please display Exhibit 2.
   11 BY MR. SHEPARD:
   12 Q.    Can you please just tell the jury what we're seeing?
   13 A.    Another picture of the kindergarten classroom.
   14 Q.    So that's the kindergarten classroom?
   15 A.    Yes.
   16               MR. SHEPARD:     Please display 65.
   17 BY MR. SHEPARD:
   18 Q.    What are we seeing here?
   19 A.    Pictures of the kindergarten classroom.
   20 Q.    Just from a different angle?
   21 A.    Uh-huh.     Yes.
   22 Q.    66?
   23 A.    Picture of the kindergarten classroom.
   24 Q.    And 67?
   25 A.    The same, as well, a picture of the kindergarten
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    1 classroom.
    2 Q.    Did you have a coworker named Ali Al-Awadi at any time
    3 when you worked there?
    4 A.    Yes.
    5 Q.    Was there a student at the daycare when you worked there
    6 named M.R.?
    7 A.    Yes.
    8               MR. SHEPARD:     Please display Exhibit 77.         It will
    9 pop up on your monitor.
   10 BY MR. SHEPARD:
   11 Q.    Do you recognize the girl in that photo?             Who is that?
   12 A.    That's M.R.
   13 Q.    Do you remember a day at the daycare where something
   14 happened involving Mr. Al-Awadi and M.R.?
   15 A.    Yes.
   16 Q.    What were you doing that day, if you can remember?
   17               It's okay.     Take a deep breath.
   18 A.    I was...
   19 Q.    Let's back up.      Let's start from the morning.
   20 A.    I was told to take over the kindergarten classroom.
   21 Q.    And do you remember about what time you started teaching
   22 in the kindergarten classroom that morning?
   23               MR. THOMAS:     Judge, is there a -- oh, it's tissues.
   24 I'm sorry.      I was hearing a rattling.         I apologize.
   25               THE COURT:     Oh, the rattling.      That's the witness
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    1 with the package of tissue.
    2               MR. THOMAS:     I'm sorry.
    3 BY MR. SHEPARD:
    4 Q.    Is it safe to say that you started in the morning
    5 sometime?
    6 A.    Yes, I did.      Yes, I started in the morning.
    7 Q.    Now, what's the general age range of the kids in the
    8 kindergarten classroom?
    9 A.    Sometimes four and up.
   10 Q.    Is it fair to say they've got to go to the bathroom often?
   11 A.    All the time.
   12 Q.    Did you have any -- did you give them any bathroom breaks
   13 in the morning?
   14 A.    Whenever they needed to go to the restroom.
   15 Q.    Did M.R. have a bathroom break in the morning?
   16 A.    I'm not sure.
   17 Q.    Do you ever remember M.R. complaining about it hurting to
   18 go to the bathroom anytime before lunch?
   19 A.    No.
   20               MR. SHEPARD:     Judge, if I could approach the
   21 witness.
   22               THE COURT:     Why?   Come on up.     What do you want to
   23 do with the witness?         Do you want to show her an exhibit or --
   24               MR. SHEPARD:     Yes, Your Honor.
   25               THE COURT:     Oh, yes.    You may approach if you want
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    1 to show the witness an exhibit.
    2               MR. SHEPARD:     I need help.      We're both going to
    3 approach, if that's okay.
    4               THE COURT:     Okay.   You may.
    5               MR. THOMAS:     Can he identify what he's showing her?
    6               THE COURT:     Show Mr. Thomas.
    7 BY MR. SHEPARD:
    8 Q.    Let me back up.      Ms. Graham, do you remember being
    9 interviewed at the Marten House after the event?
   10 A.    Yes.
   11 Q.    Okay.    And was that interview by personnel from IMPD?
   12 A.    Yes.
   13 Q.    And do you remember a transcription of that interview
   14 being done?
   15 A.    Yeah.
   16               MR. THOMAS:     Judge, I'm not sure what these
   17 questions are at this point.           I mean, she's already denied --
   18 she was asked specifically if she had a bathroom break in the
   19 morning, and she said, "No."           I don't know if he's trying to
   20 impeach his own witness or --
   21               MR. SHEPARD:     Actually, I believe the answer was she
   22 didn't remember.        I'm trying to refresh her recollection, Your
   23 Honor.
   24               MR. THOMAS:     I think it was, "No," Your Honor.
   25               THE COURT:     Well, I'll take a look and let you know
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    1 what it was.
    2               Her answer was, "I am not sure."
    3               "Did M.R. have a bathroom break in the morning?"
    4               And she said, "I am not sure."
    5               MR. THOMAS:     Your Honor, if I may, right after that,
    6 I wrote down the word, "No."           What did she say right after
    7 that?
    8               THE COURT:     "Do you remember M.R. complaining about
    9 it hurting to go to the bathroom before lunch?"
   10               The answer was, "No."
   11               MR. THOMAS:     Okay.    That's a different question,
   12 Your Honor.
   13               THE COURT:     All right.     So you may refresh your
   14 witness' recollection, Counsel.
   15               MR. THOMAS:     Can he give me a page?
   16               MR. SHEPARD:     Page 17.
   17               MR. THOMAS:     Thank you.
   18               THE COURT:     Now, ask your question.
   19 BY MR. SHEPARD:
   20 Q.    After reading this, does it help you to remember what
   21 happened that day?
   22               THE COURT:     You have to answer out loud.
   23 A.    Yes.
   24               MR. THOMAS:     Judge, she did not testify that she
   25 doesn't remember what happened that day.              I'm not sure about
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    1 these line -- this line of questioning.
    2               THE COURT:     She said she couldn't recall.
    3               MR. THOMAS:     She couldn't recall if she had a
    4 bathroom break.
    5               MR. SHEPARD:     Your Honor, can we approach?
    6               THE COURT:     Yes.
    7               (Bench conference on the record.)
    8               MR. SHEPARD:     He's trying to split hairs, Your
    9 Honor.     She clearly said she didn't recall.           I was allowed to
   10 refresh her recollection.           I would even be allowed to impeach
   11 my witness if I needed to.           I'm just -- I refreshed her
   12 recollection.       She said her -- excuse me.         I showed her the
   13 transcript.       She said it helped to remember, and I'm going to
   14 go down the line of questioning after her recollection has
   15 been refreshed.
   16               MR. THOMAS:     As to the specific question as to
   17 whether she had a bathroom break in the morning, yes, but not
   18 to, "Do you remember the events of the day?"               I mean, he's
   19 opening that up rather broadly at that point.
   20               THE COURT:     Okay.   Go ahead and ask specific
   21 questions.
   22                                 (Open court.)
   23 BY MR. SHEPARD:
   24 Q.    Ms. Graham, do you remember, after having had a chance to
   25 review your statement, if M.R. had a bathroom break that
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    1 morning?
    2 A.    Yes.
    3 Q.    Did she?
    4 A.    Yes.
    5 Q.    Did she say anything after the bathroom break?
    6 A.    When she came back to the room, she did.
    7 Q.    What did she say?
    8 A.    She says that, "It hurts down there."
    9 Q.    Did she say anything else at that time?            Now, this is
   10 before lunch.
   11 A.    I don't remember.
   12 Q.    Okay.    What happened at lunchtime?
   13 A.    It was a regular day.        The kids, they just had lunch and
   14 read their stories and got ready for a nap.              They used the
   15 bathroom, I guess, before nap, like they always do.
   16 Q.    Did you get relieved to go take your own lunch?
   17 A.    Yes.
   18 Q.    Who relieved you?
   19 A.    Mr. Ali.
   20 Q.    Did you tell him anything at that time about any of the
   21 kids?
   22 A.    No, I didn't.
   23 Q.    What happened when you came back from lunch?
   24 A.    When I came back from lunch, I signed in and he signed
   25 out.
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    1 Q.    Did he tell you anything about anything that happened
    2 during the lunch hour that was --
    3 A.    No, he didn't say anything.
    4 Q.    Okay.    Did something happen with M.R. after lunch?
    5 A.    M.R.-- I sat on the floor, in the middle of two kids, M.R.
    6 and another kid.        And she told me that it hurt, "down there."
    7 Q.    When she said, "down there," do you know what she was
    8 referring to?
    9 A.    She -- she took her finger and she pointed.
   10 Q.    Where at?
   11 A.    She pointed to her private part and said that, "It hurts
   12 down there."
   13 Q.    Did she say why?
   14 A.    I asked her why.
   15 Q.    What did she say?
   16 A.    She said that, "It hurts" -- she said that, "It hurts down
   17 there because Mr. Ali touched it."
   18               THE COURT:     Next question.
   19               MR. SHEPARD:     Okay.
   20 BY MR. SHEPARD:
   21 Q.    Did you ask her what she meant or ask her anything about
   22 it?
   23 A.    I asked her, I said, "M.R., what are you talking about?"
   24 She said Mr. Ali touched her, "all the way down there and it
   25 really hurts.       And Mommy said that I can't take a bubble bath
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    1 no more because it's going to hurt worse."
    2 Q.    What did you do after she told you that?
    3 A.    I asked her again.       I said, "M.R., what are you talking
    4 about?"      She just pointed, and she said it again.
    5 Q.    Did you tell any of the other teachers?
    6 A.    I told the secretary.
    7 Q.    Who is that?
    8 A.    Ms. Chiana.
    9 Q.    Eventually did you ask Mr. Al-Awadi about it?
   10 A.    I told her to go and get him for me.
   11 Q.    And did she?
   12 A.    Yes.
   13 Q.    What happened when Mr. Al-Awadi came?
   14 A.    He came in and he sat down on the floor.
   15 Q.    Did you tell him what M.R. had said?
   16 A.    I said, "M.R., tell him what you just told me."              And she
   17 said it again.
   18 Q.    What was Mr. Al-Awadi's reaction?
   19 A.    He was calm.
   20 Q.    Did he say anything or do anything?
   21 A.    He picked her up and sat her on his lap and said, "M.R.,
   22 no, thank you."
   23 Q.    What was M.R.'s reaction?
   24 A.    She just looked at me and she got back on the floor.
   25 Q.    Did he leave the room shortly thereafter?
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    1 A.    Then he got up and left the room.
    2 Q.    Did you ask M.R., after he left the room, anything?
    3 A.    I couldn't -- I couldn't talk.
    4 Q.    Eventually, do you remember giving a statement?
    5 A.    Ms. Heidi came in and told me to write a statement of what
    6 was said.
    7               MR. SHEPARD:     Your Honor, we pass the witness for
    8 cross-examination.
    9               THE COURT:     Okay.   You may cross-examine the
   10 witness, Mr. Thomas.
   11               MR. THOMAS:     Thank you.
   12                              CROSS EXAMINATION

   13 BY MR. THOMAS:
   14 Q.    Ms. Graham, you were asked specifically on direct
   15 examination if M.R. had complained about pain before lunch,
   16 right?     And your immediate response was, "No," right?               "No,
   17 she hasn't complained before."           That's what you told us today
   18 in court, right?
   19 A.    Sure.
   20 Q.    That's not correct, is it?
   21 A.    I don't remember.
   22 Q.    Okay.    Well, do you remember giving a -- this statement
   23 that you've looked at of the day after this incident, when you
   24 spoke to Detective McAllister?           Do you remember that?
   25 A.    Yes.
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    1 Q.    Okay.    Do you think you remembered what happened the day
    2 before when you talked to Detective McAllister?
    3 A.    I remember some of it, but then I can't remember.                I try
    4 hard to block it out so I won't remember.
    5 Q.    I understand.      But the day after, you remembered what
    6 happened, right?
    7 A.    Yes.
    8 Q.    And, in fact, there were three separate times that you
    9 told Detective McAllister that she had complained about that
   10 it hurt to pee in the morning, specifically around 11:30,
   11 right?
   12 A.    Yes.
   13 Q.    And you don't -- you told him that three times.              Do you
   14 remember that now?
   15 A.    Yes.
   16 Q.    Now, do you remember what you told Detective McAllister
   17 about the incident in the morning?
   18 A.    No.
   19               MR. THOMAS:     May I approach the witness, Your Honor?
   20 May I approach the witness, Your Honor?
   21               THE COURT:     What do you want to do?
   22               MR. THOMAS:     I have her statement.        I would like to
   23 give her a chance to refresh her memory.
   24               THE COURT:     You may.
   25 BY MR. THOMAS:
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    1 Q.    If you could, on page 8, starting here where it says,
    2 "Before that," if you could read that, from there down to
    3 there for me.       See if that refreshes your memory of the first
    4 time you mentioned that.
    5 A.    Read it right here?
    6 Q.    Yeah.    Just "Before" -- it starts with, "Before that."
    7 A.    "Before that" --
    8 Q.    You don't have to read it out loud.
    9               THE COURT:     Just read it to yourself.
   10               MR. THOMAS:     Just read it to yourself.
   11               THE WITNESS:     Okay.
   12 BY MR. THOMAS:
   13 Q.    Does that refresh your memory as to what you told
   14 Detective McAllister?
   15 A.    Yes.
   16               THE COURT:     Now, you need to return to the lecturn.
   17               Thank you.
   18               MR. THOMAS:     Excuse me.     I need to take this with
   19 me.
   20 BY MR. THOMAS:
   21 Q.    And the first time you mentioned the morning bathroom
   22 break, what did you tell Detective McAllister?
   23 A.    You said before the morning bathroom break?
   24 Q.    About the morning bathroom break, would you just refresh
   25 there?
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    1 A.    She went to the bathroom and she was taking too long.
    2 Q.    She was actually in the bathroom, and you went into the
    3 bathroom and said, "You're taking too long"?
    4 A.    Yes.
    5 Q.    And she said, "It hurts to pee"?
    6 A.    Yes.
    7 Q.    Now, Mr. Al-Awadi came in at 12:30, thereabouts, right?
    8 A.    Right.
    9 Q.    This was at 11:30, right?
   10 A.    Right.
   11 Q.    And now that you've refreshed your memory, do you remember
   12 that --
   13 A.    Yes.
   14 Q.    -- happening?
   15 A.    Yes.
   16 Q.    To your knowledge, did Mr. Al-Awadi have any contact with
   17 her prior to 12:30 that day?
   18 A.    Not to my recollection, no.
   19 Q.    You were in the class, right?
   20 A.    Yes.
   21 Q.    And you didn't say anything to Mr. Al-Awadi about, "Oh, by
   22 the way, M.R. is complaining about pain," when he came in to
   23 relieve you?       You didn't mention that to him, did you?
   24 A.    No, I didn't.
   25 Q.    In fact, you didn't mention that to anybody, right?
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    1 A.    No, I didn't.
    2 Q.    At that point, did you think it was a big deal?
    3 A.    Telling them, a male, that about a little girl, no.
    4 Q.    No.    Did you -- did you think the fact that she --
    5               MR. SHEPARD:     She can answer the question.
    6               THE COURT:     Yeah, she can answer the question.
    7               MR. THOMAS:     Well, she -- I think she did, but --
    8               THE COURT:     Did you finish your answer?
    9               THE WITNESS:     I guess so.     I tried to.
   10               THE COURT:     Okay.   All right.
   11 BY MR. THOMAS:
   12 Q.    Okay.    It was a poorly worded question, ma'am.            Did you --
   13 not about telling Mr. Al-Awadi.           You've already told us you
   14 didn't do that.
   15 A.    Right.
   16 Q.    Did you think it was a big deal that she had reported that
   17 it hurts when she pees at 11:30?            Did you think that was
   18 important?
   19 A.    It's important -- yes, it was important, yes.
   20 Q.    You didn't report that to anybody, though?
   21 A.    No.
   22 Q.    And that was a different instance than the one you've
   23 talked about where she came back in the room and sat down and
   24 said, "It hurts to pee"?          That was the second time she told
   25 you that, right?
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    1               THE COURT:     Can you answer out loud?
    2 A.    Yes.    Sorry.
    3               THE COURT:     Thank you.
    4               MR. THOMAS:     Excuse me, Your Honor.        I left my notes
    5 over here.      Sorry.
    6               THE COURT:     Sure.
    7 BY MR. THOMAS:
    8 Q.    When you came back in the room, you sat down on the floor,
    9 right?
   10 A.    Yes.
   11 Q.    That's not unusual, is it?
   12 A.    It's usual.
   13 Q.    Yeah.    That's nothing that you wouldn't do to interact
   14 with the children, sit down, story time, whatever?
   15 A.    Yes.
   16 Q.    To your knowledge, had M.R.'s mother been at school that
   17 day, on the 21st?
   18 A.    No.
   19 Q.    And you mentioned that in addition to saying, "It hurts
   20 down there.       Mr. Ali put his fingers down all the way,"
   21 immediately after that, in the same sentence, she said, "Mommy
   22 said I can't have bubbles in a tub because it's going to get
   23 worse," right?
   24 A.    Yes.
   25 Q.    She said that immediately?
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    1 A.    Yes.
    2 Q.    To your knowledge, she had not talked to her mother that
    3 day at school, right?
    4 A.    Correct.
    5 Q.    Do you know what she was talking about when she said,
    6 "Mommy says it's going to get worse"?
    7 A.    Say that --
    8 Q.    Do you know what she was talking about?
    9 A.    She said it's going to get worse if she takes a bubble
   10 bath.
   11 Q.    And that's -- she told you that's what her mother had told
   12 her before?       She didn't say when or where?
   13               THE COURT:     Answer out loud.
   14 A.    No.
   15 BY MR. THOMAS:
   16 Q.    But it wasn't that day at school, was it?
   17 A.    No.
   18 Q.    And do you recall, in your interview with Detective
   19 McAllister, telling him about the incident in the morning with
   20 pain three separate times?
   21 A.    I don't remember.
   22 Q.    Okay.
   23 A.    I don't remember.
   24               MR. THOMAS:     Your Honor, if I may approach the
   25 witness for the purpose of recollection?
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    1               THE COURT:     You may.
    2               MR. SHEPARD:     Your Honor, may we approach?
    3               THE COURT:     Yes.
    4               (Bench conference on the record.)
    5               MR. SHEPARD:     I believe this question was asked and
    6 answered earlier when he said, "Do you remember saying three
    7 times about the pain?"         And she said, "Yes."
    8               THE COURT:     Well, this is cross-examination, so I'm
    9 going to let him ask the question.
   10               MR. SHEPARD:     Okay.
   11               THE COURT:     Okay.
   12               MR. SHEPARD:     I believe he's already asked and had
   13 it answered on cross, Your Honor.            The first time he refreshed
   14 her, he went down through it and he asked about it being three
   15 times, and she said, "Yes," at that point.
   16               THE COURT:     He only -- I remember him just
   17 refreshing on one.        Are you attempting to refresh on two other
   18 statements?
   19               MR. THOMAS:     It's a different question, Your Honor.
   20 I'm asking her specifically if she remembers telling the
   21 detective three separate times.           The purpose, obviously, is --
   22               THE COURT:     And she says, no, she doesn't recall.
   23               MR. THOMAS:     She says, "I don't remember three
   24 different times."        I'm just going to have to point out the
   25 other two times to refresh her memory of how many times she
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    1 told him that.
    2               THE COURT:     I'll allow that.
    3                                 (Open court.)
    4               THE COURT:     You may continue.      You may --
    5               MR. THOMAS:     Thank you, Your Honor.
    6               THE COURT:     -- refresh the witness' recollection.
    7 BY MR. THOMAS:
    8 Q.    Now, start on page 16 and into page 17, if you could.
    9 Starting here and down to, say, here, if you could.
   10               Are you finished?
   11 A.    Yes.
   12 Q.    After looking at that, does that refresh your memory about
   13 the second time that you told Detective McAllister about the
   14 incident in the morning with pain?
   15 A.    Yes.
   16 Q.    Okay.
   17 A.    Yes.
   18 Q.    And now, if you would, look to page 18.            And starting
   19 about here, on down to here, if you could read that for me.
   20               And did you have a chance to read that?
   21 A.    Yes.
   22 Q.    Did it refresh your memory?
   23 A.    Yes.
   24 Q.    So -- so, ma'am, now that you've had a chance to refresh
   25 your memory, would you agree that you told Detective
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    1 McAllister three different times about an incident -- the
    2 incident where she said it hurt to pee around 11:30?
    3 A.    Yes.
    4 Q.    You came back at around 1:30, right?
    5 A.    Yes.
    6 Q.    And at that point, Mr. Ali -- or Mr. Al-Awadi left the
    7 room?
    8 A.    Yes.
    9 Q.    Now, you talked about Mr. Al-Awadi saying, "No, thank
   10 you," to M.R..       Is that -- that's something that you all are
   11 told to do or trained to do with the kids, right?                When they
   12 say, "No," that you correct them and say, "No, thank you,"
   13 right?
   14 A.    Yes.
   15 Q.    All right.     And so that's kind of common at the school,
   16 when a child says, "No," you correct the child by saying, "No,
   17 thank you"?       That's pretty common, isn't it?
   18 A.    It's pretty common.
   19 Q.    Okay.
   20 A.    But that's not the only thing that we say.
   21               MR. THOMAS:     That's nonresponsive, Your Honor.
   22               THE COURT:     She can answer the question.
   23 BY MR. THOMAS:
   24 Q.    I'm sorry?
   25 A.    I said, we say it more than just, "No, thank you," but
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    1 that's common that we do say that.            But we say other things,
    2 as well.
    3 Q.    I'm sure you do.
    4               THE COURT:     Now, you -- that's stricken from the
    5 record.      That was not a question.
    6               MR. THOMAS:     You're right, Your Honor.
    7               THE COURT:     All right.     Next question.
    8 BY MR. THOMAS:
    9 Q.    Now, when -- when you -- your recollection is that you
   10 told Chiana, the receptionist, to find Mr. Ali.               Do you know
   11 how she found him?
   12 A.    No, I don't.
   13 Q.    Do you know what she said to him to have him come back to
   14 your room?
   15 A.    No, I don't.
   16 Q.    But he showed up there?
   17 A.    Yes.
   18 Q.    And the accusation was made, again, in front of him,
   19 right?
   20 A.    Yes.
   21 Q.    And he denied it, right?
   22 A.    Yes.
   23 Q.    He didn't just say, "No, thank you"; he said he didn't do
   24 it, right?
   25 A.    He said, "No, thank you."
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    1 Q.    Right.    And he denied it?
    2 A.    If that's him denying it.
    3 Q.    Okay.    Again, going back, do you recall your statement to
    4 Detective McAllister, ma'am?
    5 A.    Yes.
    6 Q.    And do you remember what your answer was to the question,
    7 "What did he say when he put her on his lap?"
    8 A.    He told -- he told her, "No, thank you."
    9 Q.    Do you remember what your answer was to Detective
   10 McAllister?
   11 A.    No.
   12               MR. THOMAS:     Your Honor, may I approach the witness?
   13               THE COURT:     You may.
   14               MR. THOMAS:     12.
   15 BY MR. THOMAS:
   16 Q.    I'm going to ask you to look at page 12, after the
   17 question, "What did he say when he put her on his lap?"                 And I
   18 ask you to read down to right there.
   19 A.    Yes, I see it.
   20 Q.    Okay.    Does that refresh your memory of what you told
   21 Detective McAllister?
   22 A.    Yes.
   23 Q.    Because you told Detective McAllister that day that, in
   24 addition to saying, "M.R., no, thank you," he said, "M.R., I
   25 didn't do that," right?
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    1 A.    Right.
    2 Q.    You remember that now?
    3 A.    Yes.
    4 Q.    You mentioned that you got back at 1:30ish and you talked
    5 to Chiana at about 2:30.          Would that be right?
    6 A.    Afterwards.
    7 Q.    So an hour passed before you were able to tell Chiana
    8 about it, right?
    9 A.    Yes.
   10 Q.    And in that time, did M.R. go to sleep?
   11 A.    No.
   12 Q.    Did E.C. ever go to sleep?
   13 A.    No.
   14 Q.    Does he ever go to sleep?
   15 A.    No.
   16 Q.    He was right there -- his mat was right beside M.R.'s,
   17 right?
   18 A.    Right beside me.
   19 Q.    Right.    And his mat, I guess, was right beside M.R.'s when
   20 they took a nap?        They were in the same area, right?
   21 A.    Correct.
   22 Q.    And when you came in and sat down,           E.C. was the other
   23 child that you sat down with?
   24 A.    Yes.
   25 Q.    So, presumably, he was there, awake, the entire time that
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    1 Mr. Al-Awadi was there, right?
    2 A.    Correct.
    3               MR. SHEPARD:     Objection, calls for speculation.           She
    4 wasn't in the room.
    5               THE COURT:     All right.
    6               MR. THOMAS:     I think it does.      I'll withdraw the
    7 question.
    8               THE COURT:     Why don't you withdraw the question.
    9 BY MR. THOMAS:
   10 Q.    He was awake when you left and he was awake when you got
   11 back?
   12 A.    Yes.
   13 Q.    And your experience with him is that he didn't sleep at
   14 nap time?
   15 A.    Right.
   16 Q.    And prior to that, you hadn't seen Mr. Al-Awadi do
   17 anything improper with any of the kids, right?
   18 A.    No.
   19 Q.    Did you see Mr. Al-Awadi any more that day after he became
   20 aware of this accusation?
   21 A.    Yes.
   22 Q.    He stayed at school, right?
   23 A.    Yes.
   24               MR. THOMAS:     No other questions.       Thank you.
   25               THE COURT:     Do you have any redirect for the
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    1 witness?
    2               MR. SHEPARD:     Yes, Your Honor.
    3               THE COURT:     You may.
    4               MR. SHEPARD:     Sorry, Your Honor.
    5                            REDIRECT EXAMINATION

    6 BY MR. SHEPARD:
    7 Q.    Ms. Graham, Mr. Thomas asked if you remembered telling
    8 Detective McAllister multiple times, I think three times, if
    9 M.R. had complained of pain.           Do you remember him asking you
   10 that?
   11 A.    Yes.
   12 Q.    Okay.    Did you also tell Detective McAllister that you had
   13 asked M.R. about what she said about Mr. Al-Awadi multiple
   14 times?
   15 A.    Yes.
   16 Q.    And do you remember he said that her statement was
   17 consistent?
   18 A.    Yes.
   19 Q.    Was it consistent?
   20 A.    Yes.
   21 Q.    Multiple times?
   22 A.    Yes.
   23 Q.    And did you tell that to Detective McAllister, also?
   24 A.    Yes.
   25 Q.    Counsel asked if you had ever seen Mr. Al-Awadi do
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    1 anything inappropriate with any of the kids.               Do you remember
    2 that?
    3 A.    Yes.
    4 Q.    Had you heard about him doing --
    5               MR. THOMAS:     Objection.
    6 BY MR. SHEPARD:
    7 Q.    -- anything inappropriate?
    8               MR. THOMAS:     Objection, Your Honor.
    9               THE COURT:     Let's approach.
   10               (Bench conference on the record.)
   11               MR. THOMAS:     Your Honor, he knows this calls for
   12 hearsay.      And asking the question is making an improper
   13 implication that there is something.
   14               MR. SHEPARD:     It's an invited response to his
   15 question on direct, Your Honor -- or on cross.
   16               THE COURT:     Well, it would call for hearsay.           Don't
   17 you agree?      The response would call for hearsay --
   18               MR. SHEPARD:     I think it's --
   19               THE COURT:     -- unless you have an exception?
   20               MR. SHEPARD:     I don't think it's necessarily offered
   21 for its truth.       It's offered for, has she heard?           What is it?
   22               THE COURT:     I'll sustain the objection.
   23                                 (Open court.)
   24               THE COURT:     The objection is sustained.         Next
   25 question.
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    1 BY MR. SHEPARD:
    2 Q.    You talked a little bit about, "No," and, "No, thank you."
    3 Do you remember talking about that with Mr. Thomas?
    4 A.    Yes.
    5 Q.    All right.     You said, "'No, thank you,' that's not usually
    6 all we say."       What else -- what other types of things do you
    7 say?
    8 A.    "That's not right," "Don't do that," or, "Let's do
    9 something else."
   10 Q.    He asked if you were taught to say, "No, thank you."               Do
   11 you remember him asking you that?
   12 A.    Yes.
   13 Q.    Are you taught to say, "No, thank you," if you've just
   14 been accused of molestation?
   15               MR. THOMAS:     Objection, Your Honor.        That calls for
   16 speculation.
   17               MR. SHEPARD:     Your Honor, I don't know how it calls
   18 for speculation.        I'm asking her specifically if she --
   19               THE COURT:     I'll overrule.      She can answer it.
   20 BY MR. SHEPARD:
   21 Q.    Are you taught to say, "No, thank you," if a child accuses
   22 you of molestation?
   23 A.    No.
   24               MR. SHEPARD:     Can I have just a moment, Your Honor?
   25               (Off the record.)
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    1               MR. SHEPARD:     No further questions, Your Honor.
    2               THE COURT:     Any follow-up?
    3               MR. THOMAS:     Briefly, Your Honor.
    4                             RECROSS-EXAMINATION

    5 BY MR. THOMAS:
    6 Q.    Ma'am, were you taught what to say at all when someone
    7 accuses you of molestation?          Was that part of your training?
    8 A.    No.    You're taught a lot of things.         There's a lot of
    9 things that you go by by the handbook --
   10 Q.    And --
   11 A.    -- but saying, "No, thank you," I don't think that you're
   12 taught to say, "No, thank you."           You're taught to say whatever
   13 is right.
   14 Q.    Okay.    So are you telling me that in your handbook,
   15 there's a section that says, here's the appropriate response
   16 if you're accused of molestation?
   17 A.    I don't remember the handbook, reading the handbook.
   18 Q.    In fact, nobody ever told you what the appropriate
   19 response would be -- was for being accused of molestation,
   20 correct?
   21 A.    Correct.
   22 Q.    In fact, when you heard about the accusation, you said
   23 your response was to freak out, right?
   24 A.    I did freak out.
   25 Q.    And you were asked on redirect about M.R. referring to
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    1 pain at 11:30.       I mean, it was that, "It hurts to pee," right?
    2 That was her specific complaint?
    3 A.    Yes.
    4               MR. THOMAS:     That's all.     Thank you.
    5               THE COURT:     Okay.   Anything further for this
    6 witness?
    7               MR. SHEPARD:     No, Your Honor.
    8               THE COURT:     All right.     Is she released from
    9 subpoena?
   10               MR. SHEPARD:     Yes, Your Honor.
   11               THE COURT:     All right.     You may be excused.        Thank
   12 you.
   13               THE WITNESS:     Thank you.
   14               (Witness excused.)
   15               THE COURT:     And you may call your next witness.
   16               MR. SHEPARD:     The government would call Heidi
   17 Conces, Your Honor.
   18               THE COURT:     Ma'am, if you would come right around
   19 this way and right over here to the witness stand.                And if you
   20 would remain standing and raise your right hand.
   21               (The witness is sworn.)
   22               THE COURT:     You may have a seat.
   23               You may examine your witness, Counsel.
   24               MR. SHEPARD:     Thank you, Your Honor.
   25
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    1                HEIDI CONCES, PLAINTIFF'S WITNESS, SWORN

    2                              DIRECT EXAMINATION

    3 BY MR. SHEPARD:
    4 Q.    Would you please state your name and spell it for the
    5 record?
    6 A.    Spell it, as well?
    7 Q.    Yes, please.
    8 A.    Heidi Conces, C-O-N-C-E-S.
    9 Q.    And where do you live?
   10 A.    Greenfield, Indiana.
   11 Q.    How long have you lived there?
   12 A.    Almost my whole life.
   13 Q.    What do you do for a living?
   14 A.    I'm an academic advisor at a college.
   15 Q.    How long have you been there?
   16 A.    A year.
   17 Q.    What did you do before that?
   18 A.    I was the assistant director.
   19 Q.    Where at?
   20 A.    Children's Choice Learning Center, or Bright Horizons.
   21               MR. SHEPARD:     Please display Exhibit 1.
   22               THE WITNESS:     Is this the one that's open?
   23 BY MR. SHEPARD:
   24 Q.    It's on your monitor.
   25 A.    Oh, okay.
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    1 Q.    Do you recognize that?
    2 A.    I do.
    3 Q.    What is that?
    4 A.    That's the daycare.
    5 Q.    Is that the one you were just talking about?
    6 A.    Yes.
    7 Q.    How long were you the assistant director?
    8 A.    A year.
    9 Q.    What -- did you have any positions before that?
   10 A.    I was the kindergarten teacher for two years.
   11               MR. SHEPARD:     Please display Exhibit 2.
   12 BY MR. SHEPARD:
   13 Q.    Do you recognize that?
   14 A.    Yes.
   15 Q.    What is that?
   16 A.    That's the kindergarten classroom.
   17 Q.    How are we seeing the kindergarten classroom right now?
   18 A.    From the front doors as if you were walking into the
   19 classroom.
   20               MR. SHEPARD:     And please display 65.
   21 BY MR. SHEPARD:
   22 Q.    What are see seeing here?
   23 A.    That's the side.       So as we walk in, that's the side that's
   24 to the -- if you're walking directly in, it's what's to the
   25 left of you when you walk into the classroom.
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    1 Q.    Here, is that the front door you were talking about
    2 earlier?
    3 A.    Yes, sir.
    4 Q.    And this little thing right here, remember that, okay?
    5 A.    Sure.
    6               MR. SHEPARD:     Go back to Exhibit 2, please.
    7 BY MR. SHEPARD:
    8 Q.    Is that the same?
    9 A.    Yes.
   10 Q.    Okay.
   11               MR. SHEPARD:     66, please.
   12 BY MR. SHEPARD:
   13 Q.    Is that that same little bookcase we've been talking
   14 about?
   15 A.    It is.    And then that table is what you see to the right
   16 when you walk into the classroom.            And that's the window to
   17 the outside.
   18 Q.    And 67?
   19 A.    That's the back of the classroom.
   20               MR. SHEPARD:     Okay.    Can we come back out?       I would
   21 ask you -- can you just close the image?
   22 BY MR. SHEPARD:
   23 Q.    Take a look behind tab number 19.
   24 A.    Going this way?      It's like on tab 60-something.          There we
   25 go.     Okay.
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    1 Q.    Do you recognize what's in 19?
    2 A.    It's the setup of the classroom.
    3 Q.    Is it an accurate description or drawing of the classroom
    4 as you remember it?
    5 A.    Absolutely.
    6               MR. SHEPARD:     All right.     Your Honor, I would ask
    7 that 19 be admitted.
    8               THE COURT:     Any objection to 19?
    9               MR. THOMAS:     Judge, I'm sorry.       My 19 in my booklet
   10 appears to be blank.         If I could see hers for just a second.
   11               No objection to 19.
   12               THE COURT:     Government's Exhibit 19 is admitted into
   13 evidence without objection.
   14                            (Government's Exhibit 19 was

   15                            received in evidence.)

   16               MR. SHEPARD:     And could you display 19.
   17 BY MR. SHEPARD:
   18 Q.    Is that the -- when you were talking about the front door,
   19 is that what's right there?
   20 A.    Yes.
   21 Q.    And then kind of the -- that bookshelf we were using as a
   22 point of reference?
   23 A.    Yes.
   24               MR. SHEPARD:     Put 19 down.
   25 BY MR. SHEPARD:
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    1 Q.    Did you have a student at the daycare named M.R.?
    2 A.    Yes, we did.
    3               MR. SHEPARD:     Please display Exhibit 77.
    4 BY MR. SHEPARD:
    5 Q.    Do you recognize that girl?
    6 A.    Yes.
    7 Q.    Who is that?
    8 A.    That's M.R.
    9 Q.    Do you remember an employee named Ali Al-Awadi?
   10 A.    I do.
   11 Q.    Do you see him here anywhere in the courtroom today?
   12 A.    I do.
   13 Q.    Please identify him.
   14 A.    He's right there.
   15 Q.    There's two gentlemen here.         The one closest or furthest?
   16 A.    The one with the green shirt.
   17 Q.    Okay.    Thank you.
   18               MR. SHEPARD:     Please let the record reflect she
   19 identified the defendant.
   20               THE COURT:     The record will so reflect.
   21 BY MR. SHEPARD:
   22 Q.    Were you the kindergarten teacher or the assistant
   23 director in 2014?
   24 A.    Assistant director.
   25 Q.    Were you familiar with the staff and the employees in 2014
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    1 in your position?
    2 A.    Absolutely.
    3 Q.    Was Mr. Al-Awadi the only male teacher?
    4 A.    Yes.
    5               MR. SHEPARD:     If you can close the image.
    6 BY MR. SHEPARD:
    7 Q.    I want to talk about some general policies of the daycare
    8 for a little bit.        Were the teachers allowed to have personal
    9 cell phones in the classroom?
   10 A.    No.
   11 Q.    Were they allowed to take pictures with personal phones or
   12 cameras in the -- back in the classrooms, of the students?
   13 A.    Not their personal, no.
   14 Q.    And would there have been any sorts of forms or things
   15 that would have notified them of this policy?
   16 A.    Yeah.    They sign it when they first are employed and they
   17 do their employee packet.          They sign a paper of that.
   18               MR. SHEPARD:     Can you please display Exhibit 22,
   19 page number 13.        And if you could magnify right there.
   20               THE WITNESS:     You just circled the, "No purses."
   21               MR. SHEPARD:     Hold on.
   22 BY MR. SHEPARD:
   23 Q.    What does that say?
   24 A.    "No purses, bags, cell phones allowed in the classrooms."
   25               MR. SHEPARD:     Can you back out?       And -- you know
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    1 what I'm getting at.         Down.
    2 BY MR. SHEPARD:
    3 Q.    What's this part of the form?
    4 A.    It's the -- it explains to them the three offenses that
    5 they get for having their cell phones in the classroom.
    6 Q.    Are they fired on the first offense?
    7 A.    They are not.
    8 Q.    Second offense?
    9 A.    They are not.
   10 Q.    Third offense?
   11 A.    They are.
   12 Q.    Is it the third or the fourth?          I ask you to take a look
   13 at the --
   14 A.    It depends on the offense of what they're using the phone
   15 for.     Typically it's the fourth, but it just depends on what
   16 we've found with the cell phone.            We don't have the right to
   17 actually go through their cell phone, but it just really
   18 depends on the discretion of the director.
   19 Q.    Okay.    So are you telling us that there's things that are
   20 worse that you could be doing with a cell phone than others?
   21 A.    There is.     There is if you got caught with it.           So we
   22 actually would -- if we were catching you taking pictures of
   23 the kids, that obviously is a worse offense than if you were
   24 just using your cell phone to call in the classroom.                So it
   25 really depends on the severity of the offense; but also to --
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    1 I guess, when we call the first offense, that would be your
    2 counsel, not a write-up.          So that's kind of where we're
    3 getting the three offenses and you're fired.
    4 Q.    The first time you're just told to knock it off?
    5 A.    Yeah.    Basically, it's just a conversation.           There's no
    6 paper written, there's no -- it's just a conversation between
    7 directors.      Once it gets to the second offense, we begin to
    8 write them up.       And there's a form for each step.
    9 Q.    Okay.    You mentioned --
   10               MR. SHEPARD:     Oh, please back out of this.         And
   11 right down there.
   12 Q.    Do you recognize the signature?
   13 A.    I do.
   14 Q.    Whose signature?
   15 A.    Ali Al-Awadi.
   16               MR. SHEPARD:     Thank you very much.        You can clear
   17 this exhibit.
   18 BY MR. SHEPARD:
   19 Q.    What did Ali Al-Awadi do at the daycare?
   20 A.    He started off as a floater, if you will, or a part-time
   21 person in our pre-K room.          He was in there for quite a while.
   22 He did cover breaks in our kindergarten room, and with the
   23 older kids.       Especially as the kids moved up from the pre-K to
   24 the kindergarten room, they already knew him, so if we had a
   25 lunch break or a teacher was out for the day, we would use him
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    1 as a sub in there.
    2               About after he had been there about a year, we had a
    3 couple employees that left the EPS, or the two-year-old room,
    4 and he asked if he could go to the two-year-old room to work
    5 in there.      So in 2014, he was actually the assistant teacher
    6 in the EPS, or two-year-old room.
    7 Q.    At any time during the course of his employment, if you
    8 can remember, was Mr. Al-Awadi cautioned about use of a cell
    9 phone?
   10 A.    No.    I never had to call him to the office for it.
   11 Q.    Was he cautioned about picking up students who could walk?
   12 A.    Yes.
   13 Q.    Was he told not to do it?
   14 A.    Yes.
   15               MR. THOMAS:     Objection.     These are all leading, Your
   16 Honor.
   17               THE COURT:     Rephrase.
   18               MR. SHEPARD:     Okay.
   19 BY MR. SHEPARD:
   20 Q.    Did you ever have to caution Mr. Al-Awadi about anything?
   21               MR. THOMAS:     Objection.     It's still a leading
   22 question.
   23               THE COURT:     Overruled.     She may answer.
   24 BY MR. SHEPARD:
   25 Q.    What were those?
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    1 A.    What were the cautions I had to give him?
    2 Q.    Yeah, uh-huh.
    3 A.    Basically just picking up especially the older kids.
    4 There was a specific incident with one of our girls in the
    5 kindergarten classroom where her parents were there.                They
    6 didn't make a complaint, but I saw him pick up one of the
    7 five-year-olds in the classroom.            And when he picked her up,
    8 she wrapped her legs around him, and they kind of swung around
    9 together.
   10               The parents didn't say anything, but I took it upon
   11 myself, once the parents left with the child, to talk to him
   12 and explain to him that our policy in the daycare is, if a
   13 child is walking, we only pick them up if they're injured or
   14 if something has happened to them, and especially in the sense
   15 of a five-year-old child that is able to communicate and walk,
   16 clearly, on their own.
   17 Q.    Was he ever cautioned about anything else?
   18 A.    I do know that we had one of our employees in the EPS
   19 classroom had a concern about him taking a female child to the
   20 bathroom himself and sitting the females in his lap.                That was
   21 never something that I don't -- that went to our director, but
   22 the teacher that was in the classroom did speak to him about
   23 it, came to me and let me know she spoke to him about it,
   24 feeling uncomfortable.
   25 Q.    Okay.    Do you remember an event that led to Mr. Al-Awadi's
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    1 termination?
    2 A.    Yes.
    3 Q.    Do you remember when that was?
    4 A.    It was August of 2014.        I believe it was the 21st.
    5 Q.    Okay.    Do you have a good memory of that day?
    6 A.    Absolutely.
    7 Q.    How did the day begin?
    8 A.    It was hectic.      We were shorthanded.        Our director was
    9 out.     We had a couple people that called in sick, so we were
   10 pretty shorthanded with the staff, but we handled it.                 We had
   11 the daycare going and everything was pretty, you know, smooth
   12 once we got the day going, but it was a little hectic to start
   13 off with.
   14 Q.    Okay.    I know I heard you say something about the director
   15 was gone.      Was anyone else gone that day?
   16 A.    We had a couple of educators out.           The kindergarten
   17 teacher was not there, which would be why Tyria Graham was the
   18 teacher in the room for the day.            She typically worked in
   19 pre-K, but we -- again, if you worked in pre-K, we would use
   20 you to sub in the kindergarten classroom just because the kids
   21 were already familiar with them.
   22 Q.    So is it fair to say daycares are pretty regulated by the
   23 State?
   24 A.    Absolutely.
   25 Q.    Is there something called ratios?
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    1 A.    Yes.
    2 Q.    What's a -- what is -- just generally, what's a ratio?
    3 A.    It's the amount of kids that you can have compared to the
    4 teacher.
    5 Q.    All right.     On that day, was it difficult to keep ratio
    6 with everyone being out?
    7 A.    It depended.      In the morning, not so much.         In the
    8 afternoon, it does, because you have -- we -- it was a daycare
    9 center that was open until 8:00 p.m.             So when we had the
   10 hiccup between 3:00 and 4:30 when our second set of employees
   11 came in, that would be where it was really hectic, because we
   12 had employees out for the day, so we did kind of have to shift
   13 everybody around.
   14 Q.    Typically, do you try and have two educators in a room at
   15 a time?
   16 A.    In every room we did, except for the kindergarten room.
   17 Q.    Were you able to -- why not in the kindergarten room?
   18 A.    Because the kindergarten room only had 11 kids to one
   19 teacher, and that was the ratio.            And we could never go over
   20 that, because the room couldn't hold more than 11 kids.                 So we
   21 didn't have to have two teachers in the classroom.
   22 Q.    What was Al-Awadi doing that day?
   23 A.    He was in the twos room most of the day.             And then, when
   24 it was time for lunch breaks, Chiana at the front desk does
   25 the lunch break schedule, and she had asked him to do the
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    1 kindergarten's lunch break.
    2 Q.    Who was teaching the kindergarten class that day?
    3 A.    Tyria Graham.
    4 Q.    Do you remember what time Mr. Al-Awadi gave Tyria a lunch
    5 break -- or that's a badly worded question.              Strike that.
    6               Do you know from when to when Mr. Al-Awadi was in
    7 the kindergarten room?
    8 A.    It was either 12:00 to 1:00 or 1:00 to 2:00.              That was the
    9 two times that we did lunch in the kindergarten room.                 It just
   10 depended if Ali did his lunch break first or she did hers
   11 first.
   12 Q.    When did you -- or did something happen that day?
   13 A.    Yes.
   14 Q.    Okay.    When did you first become aware that something had
   15 happened?
   16 A.    Around 3:30 p.m.
   17 Q.    How did you become aware something had happened?
   18 A.    Chiana, our front secretary, came to me.
   19 Q.    And what did she tell you?
   20 A.    Well, originally, she had said to me that she had
   21 something to talk to me about.           And I pulled her to the side
   22 and she had let me know that Ms. Tyria had come to her and had
   23 said that M.R. had complained that it hurt to pee --
   24               MR. THOMAS:     Your Honor, I'm going to object to the
   25 hearsay nature of the answer.
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    1               MR. SHEPARD:     I'm not offering it for its truth,
    2 Your Honor.
    3               THE COURT:     I'll overrule.      You may continue your
    4 answer.
    5               MR. SHEPARD:     Go ahead.
    6 A.    Okay.    Chiana had come to me and said that Tyria had said
    7 M.R. had said it had hurt to pee, and that when she asked M.R.
    8 about it, M.R. had said that Ali had touched her on her
    9 private areas.
   10 BY MR. SHEPARD:
   11 Q.    And as a result of that, did you do anything?
   12 A.    I did.    I spoke with M.R. first and then I spoke with
   13 Tyria.
   14 Q.    When you spoke with M.R., did she say something similar?
   15 A.    She did.     I first asked her -- well, first I just asked
   16 her how her day was going.          I tried to make her feel like she
   17 wasn't in trouble.        And I just asked her, because she was
   18 crying, I said, "M.R., what's wrong?"             And I said, "What's
   19 going on?"
   20               And she said, "Well, when I went to the bathroom, it
   21 hurt to pee."
   22               And I said, "It did?"       I said, "Well, why is it
   23 hurting to pee?"
   24               And she said to me, she said, "Mommy said that I
   25 can't have bubble bath anymore because it makes it hurt to
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    1 pee."
    2               And I said -- I said, "Oh, is that what Mommy said?"
    3               And she said, "Yes.       I told that to Mr. Ali."
    4               And I said, "M.R., what did Mr. Ali say to you?
    5               And she said, "He told me not to tell anybody, that
    6 I should -- that I need to tell the truth."
    7               And I asked her, I said, "M.R., what do you need to
    8 tell the truth about?"
    9               And she said, "Mr. Ali put his fingers down there."
   10 Q.    And what did she mean by "there"?
   11 A.    Her vagina.
   12 Q.    What did you do as a result of hearing this from M.R.?
   13 A.    I immediately called our director.
   14 Q.    Why did you call your director?
   15 A.    That's the chain of command.          One, I had never handled
   16 that type of situation, and our policy is to go through the
   17 chain of command when it's a severe incident like that.
   18 Q.    Okay.    Were you seeking direction?
   19 A.    Absolutely.
   20 Q.    Did you receive any?
   21 A.    Yes.
   22 Q.    What were you told to do?
   23 A.    I was told to take statements from each of the people
   24 involved.      And then I was told to, as soon as I could get Ali
   25 out of ratio, to take him out of ratio, take his statement,
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    1 and have him leave the building.
    2 Q.    Did you take a statement from Ms. Graham?
    3 A.    I did.
    4 Q.    Were you asked to provide your own statement?
    5 A.    I was.
    6 Q.    How long did it take you to, if you remember, get Mr. Ali
    7 out of ratio?
    8 A.    It was probably 45 minutes, half an hour to 45 minutes,
    9 before anybody could go in there.
   10 Q.    So if you first found out about it, I believe you told us
   11 3:30, approximately what time were you talking to Mr. Ali?
   12 A.    About 4:45, after I took the statements of everybody else.
   13 He was the last statement that I took.
   14 Q.    Prior to you calling -- had he ever come up and said
   15 anything about it?
   16 A.    No.
   17 Q.    Did you tell him what M.R. had said?
   18 A.    I didn't tell him exactly what she said, because I didn't
   19 want to lead him into the statement.
   20 Q.    What did you tell him?
   21 A.    I told him that she had come to me and said that he had
   22 inappropriately touched her.
   23 Q.    Did he say anything?
   24 A.    He was nervous.      He said that he -- he first off said to
   25 me he knew what it was about.           He said he knew I was going to
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    1 come to him about it.         And I then asked him, I said, "Well, I
    2 need you to tell me what happened."
    3               He said that they were playing in the classroom.
    4 She kept getting off the cot, jumping in his lap.                He would
    5 put her back on the cot, she would jump back up.                And when he
    6 had told her that she needed to lay down, he picked her up.
    7 And when he picked her up, he said that she wrapped her legs
    8 around his arm.        And when he pushed her off, she pinched her
    9 vagina on his watch.
   10 Q.    Were those his words?
   11 A.    Those were his words.
   12 Q.    He said, "pinched her vagina," on his watch?
   13 A.    Yeah, those were his words.
   14 Q.    You said he was nervous.         Was he flailing his arms or --
   15 A.    No.
   16 Q.    -- intonation changing?
   17 A.    No.    You could just tell his demeanor, just -- you know,
   18 not sitting still.        I could just tell his demeanor.          He had
   19 been thinking about it for a while.
   20 Q.    How quick were his answers to your questions?
   21 A.    They were quick.
   22 Q.    Did you ask him to draft a statement?
   23 A.    I did.
   24 Q.    Before he drafted it, did you tell him how important it
   25 was to think about it and put everything in there?
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    1 A.    I did.
    2 Q.    I ask you to look in the binder behind tab 24.              Do you
    3 recognize 24?
    4 A.    Yes.
    5 Q.    What is that?
    6 A.    His statement.
    7 Q.    Did you watch him fill it out?
    8 A.    I did.
    9 Q.    Does that look like substantially the same condition as it
   10 was when he did it and gave it to you?
   11 A.    Yes, sir.
   12               MR. SHEPARD:     Move for the admission of 24.
   13               THE COURT:     Any objection to 24?
   14               MR. THOMAS:     Has 24 already been admitted as part of
   15 another --
   16               MR. SHEPARD:     I don't believe so.
   17               MR. THOMAS:     -- another --
   18               THE COURT:     No.
   19               MR. THOMAS:     -- exhibit?     One of the first exhibits?
   20               THE COURT:     No.   Let's see.
   21               MR. THOMAS:     Not as number 24, but this letter.
   22               THE COURT:     No.   20, 21, 22 are in.       24 is not in.
   23               MR. THOMAS:     I understand.      My question is, the
   24 letter itself, was it contained in one of the earlier
   25 exhibits?
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    1               MR. SHEPARD:     I don't believe it was in the business
    2 records, if that's what you're asking.
    3               MR. THOMAS:     Yeah.    My recollection is that it's
    4 already been admitted as part of the business records, but --
    5               THE COURT:     Do you object to 24?
    6               MR. THOMAS:     But I don't object to 24.
    7               THE COURT:     24 is admitted into evidence without
    8 objection.
    9                            (Government's Exhibit 24 was

   10                            received in evidence.)

   11               MR. SHEPARD:     Please display 24.
   12 BY MR. SHEPARD:
   13 Q.    Ms. Conces, could you take a minute and just read that?
   14 It may be easier to read the -- tell me when you're done.
   15 A.    I don't have to read it too much.           I've read it quite a
   16 few times.
   17 Q.    Is there anywhere in that statement that he mentions using
   18 his cell phone to take pictures?
   19 A.    He did not.
   20 Q.    Anywhere in that statement where he mentions M.R.
   21 complaining of an injury that he thought he had to document?
   22 A.    Nope.
   23 Q.    Would it be appropriate for a -- or, excuse me.              Let me
   24 back up.
   25               Would one of your -- would it be all right or
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    1 allowed under your policies for any one of your employees to
    2 use their personal phones to document an injury?
    3 A.    No.
    4 Q.    That's something he would have been told?
    5 A.    Absolutely.
    6 Q.    What did you do next?        After he wrote the statement, what
    7 did you do next?
    8 A.    I placed him on administrative leave.
    9 Q.    And then was he escorted out of the building?
   10 A.    He was.
   11 Q.    Do you recall about what time that would have been?
   12 A.    Around 5:20.
   13 Q.    Were the parents ever notified prior to him -- or, excuse
   14 me, prior to M.R. being picked up that night --
   15 A.    They were not.
   16 Q.    -- about the incident?        They were not?
   17 A.    Uh-uh.
   18 Q.    Why not?
   19 A.    Because we had Mr. Ali still in the building, and our
   20 director had told me that she was getting with the regional
   21 director to make sure we followed the steps through.                I took
   22 it upon myself not to tell the parents yet, because when they
   23 picked up, Ali was still in the building.              And I felt it was
   24 my job to protect my kids and my parents from the situation,
   25 and I was not sure how the dad would react had he found out at
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    1 that exact moment.
    2 Q.    Did -- were the parents ever notified by anyone at the
    3 daycare before they called?
    4 A.    No.
    5 Q.    Now, what do I mean when I say, "before they called"?
    6 A.    The parents called the daycare.          I had already left.       It
    7 was probably 6:45, 7:00ish when they called the daycare and
    8 spoke with Kim Jones.
    9 Q.    And at that time, did they -- had they found out what had
   10 happened?
   11 A.    Yes.
   12 Q.    And who's Kim Jones?
   13 A.    She would be our educational coordinator.
   14 Q.    Okay.    Did she call you after that?
   15 A.    She did.
   16 Q.    Did she -- is it fair to -- how did she describe the mood
   17 of the parents?
   18 A.    They were upset.       I mean, they were extremely upset.
   19 Q.    Do you recall around what time this would have been?
   20 A.    It was 6:30, 6:45.       I was driving home.       I live an hour
   21 from the daycare, and I was not quite home yet.               I was on
   22 Mount Comfort, so it had to be 6:45ish.
   23 Q.    What did you do after that?
   24 A.    I pulled over on the side of the road.            There's a little
   25 church right there.        And I called Jennifer, our director, and
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   1 I demanded that she call the parents and that she handle the
   2 situation, because I did not want the parents to feel like we
   3 neglected to take it seriously.
   4 Q.    Did you stay with the daycare very long afterwards?
   5 A.    Just about a month.
   6 Q.    Okay.    How did your employment end?
   7 A.    I resigned.
   8               MR. SHEPARD:     If I could just have a moment, Your
   9 Honor?
  10               THE COURT:     You may.
  11               (Off the record.)
  12 BY MR. SHEPARD:
  13 Q.    One last question, or maybe one last question.              Were you
  14 aware, at any time in that time period, of any nicknames or
  15 special names that Mr. Al-Awadi referred to M.R. as?
  16 A.    No, sir.
  17               MR. SHEPARD:     No further questions, Your Honor.
  18               THE COURT:     Okay.   Mr. Thomas, you may cross-examine
  19 the witness.
  20               MR. THOMAS:     Thank you, Your Honor.
  21                              CROSS EXAMINATION

  22 BY MR. THOMAS:
  23 Q.    Ma'am, I want to start with that first conversation that
  24 you had with M.R..        The first thing you asked her was how her
  25 day was going and she said okay?
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   1 A.    Uh-huh.
   2 Q.    And when you asked her the question -- after she said, "It
   3 hurts," you asked some follow-up questions, right, to try to
   4 find out something about --
   5 A.    Yeah.    I asked her why she was saying it hurt.
   6 Q.    Right.    And you asked her if it hurt last night or when
   7 she went home, right?
   8 A.    Yeah.
   9 Q.    And when you asked her about it hurting, she said, "Mommy
  10 told me that I can't have any bubbles in the tub because
  11 that's what's making it hurt to pee," right?
  12 A.    Exactly.
  13 Q.    That was her answer to that question?
  14 A.    Yes.
  15 Q.    Now, to your knowledge, had her mother been at the school
  16 that day?
  17 A.    I'm not sure who dropped off.          I came in after drop-off.
  18 Q.    Well, after the children were dropped off, did you have
  19 any information that her mother would have been at the school,
  20 that she would have talked to her mother?
  21 A.    No.
  22 Q.    Would she have had a bubble bath at school?
  23 A.    No.
  24 Q.    And in addition to that, that's not all she said.               When
  25 she said, "I can't have any bubbles in the bath because that's
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   1 what makes it hurt to pee," she then said, "But I told Mr. Ali
   2 that"?
   3 A.    Correct.
   4 Q.    About it hurting to pee and about the bubble bath?
   5 A.    Correct.
   6 Q.    That's what she told you at that point?
   7 A.    Uh-huh.
   8 Q.    Okay.    Any discussion that she had with her mother about
   9 that, you wouldn't know about?
  10 A.    Nope.    They didn't say anything to us, no.
  11 Q.    As far as you know, it didn't happen at school that day,
  12 right?
  13 A.    Correct.
  14 Q.    Were you in the building, say around 11:30?
  15 A.    I was.
  16 Q.    Did Tyria come to you around 11:30 and tell you that M.R.
  17 said it hurt to pee?
  18 A.    She did not.
  19 Q.    Would it have been policy that if a child in the classroom
  20 had told the teacher, "It hurts to pee," is that something
  21 that should be reported?
  22 A.    It is.    Typically they do an accident report, and then
  23 they would let us have the accident report.              Sometimes we do
  24 the accident reports at the end of the day, so it doesn't
  25 necessarily mean that she would right away.              Most of the
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   1 classrooms have a phone in them.            The kindergarten room
   2 didn't.      So it would have to be when, you know, we all saw
   3 each other.
   4 Q.    Okay.    She never reported that to you?
   5 A.    She did not.
   6 Q.    In fact, every time a child complains of pain of any kind,
   7 would you say that's reported every time that happens in the
   8 classroom?
   9 A.    No.    It depends on the severity of the pain.            If they're
  10 just saying their belly hurts, we don't do an accident report.
  11 Q.    It's clear the policy at the daycare was that no one would
  12 have their cell phone, but that wasn't strictly enforced, was
  13 it?
  14 A.    No.    It was strictly enforced.
  15 Q.    Do your --
  16 A.    Do I think people had them?         Yes, but it was strictly
  17 enforced.
  18 Q.    Fair enough.      When you found out about it, there was a
  19 procedure, right?
  20 A.    Absolutely.
  21 Q.    And it was pretty common that people got counseled for
  22 having their cell phone, right?
  23 A.    I wouldn't say it's common.
  24 Q.    Well, it wouldn't be your testimony that Mr. Al-Awadi was
  25 the only person that was ever -- ever had his personal cell
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   1 phone in the school, right?
   2 A.    Sure.
   3 Q.    And people didn't always follow that policy?
   4 A.    Sure.
   5 Q.    To your knowledge, did anyone ever get fired over having
   6 their cell phone?
   7 A.    Nope.
   8 Q.    But they could have, right?
   9 A.    They could have, yes.
  10 Q.    And Mr. Al-Awadi was aware that telling you that he had
  11 taken pictures for any reason with his cell phone would have
  12 probably gotten him fired, right?
  13 A.    Absolutely.
  14 Q.    Now, M.R. told you that it hurt to pee, she told you that
  15 Mr. Al-Awadi had touched her?
  16 A.    Uh-huh.
  17 Q.    And you didn't look at her injuries, did you?
  18 A.    Absolutely not.
  19 Q.    Because that's against the rules, right?
  20 A.    Yes, it is.
  21 Q.    And do you remember giving a statement to Detective
  22 McAllister the day after this happened?
  23 A.    I do.
  24 Q.    Do you remember him being a little surprised about that?
  25 A.    I do.
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   1 Q.    What do you remember about that?
   2 A.    He was surprised because he felt like if she had an
   3 injury, then it's something we should have made sure she
   4 wasn't bleeding or that she was okay.             I explained to him that
   5 Indiana State licensing policy, we don't check when it's
   6 something like that.
   7               We did have nurses that were there before.             They had
   8 cut budget and taken the nurses.            They could have looked.
   9 But, otherwise, it has to be done either with a parent present
  10 or it has to be done with -- if we would take them over to the
  11 hospital.      But it is never our policy that I would look at any
  12 of the child's private parts, ever.
  13 Q.    Well, he was pretty surprised about that and said, "What
  14 do you mean?       The child is hurting."        The natural response
  15 from a person would be, "I want to see if you're okay"?
  16 A.    Absolutely.
  17 Q.    But the rules were you can't do that, right?
  18 A.    Absolutely.
  19 Q.    Even if that might be your initial response, correct?
  20 A.    Exactly.
  21 Q.    So as a well-trained professional, even if your response
  22 would be, "Let me see if you're okay," you know that you can't
  23 do that?
  24 A.    Exactly.
  25 Q.    And if you did that, you would get fired, wouldn't you?
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   1 A.    Absolutely.
   2 Q.    But if Mr. Al-Awadi had told you, "Yeah, when she told me
   3 that it hurt, I looked at it to see if she was okay," that
   4 would have gotten him fired on the spot?
   5 A.    Yes, it would have.
   6               MR. THOMAS:     Could I have a moment, Your Honor?           I
   7 have a note that I left.
   8               THE COURT:     Okay.
   9               MR. THOMAS:     Thank you.
  10 BY MR. THOMAS:
  11 Q.    Is it safe to say that some of the parents were
  12 uncomfortable with a man working at the daycare, would you
  13 say?
  14 A.    Yes.
  15 Q.    And they expressed that at times?
  16 A.    Yes.
  17 Q.    But Mr. Al-Awadi was perfectly capable of working there,
  18 right, under your policies?
  19 A.    Absolutely.
  20 Q.    And you made it clear in your prior statement that your
  21 company didn't discriminate based on gender?
  22 A.    Yep, we did not.
  23 Q.    And that was kind of an important policy, wouldn't you
  24 say?
  25 A.    Absolutely, yes.
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   1 Q.    And Mr. Al-Awadi, prior to these accusations, he hadn't
   2 done anything inappropriate with a child to cause you those
   3 kinds of concerns, had he?
   4 A.    Not me, personally, have those concerns; but, no, he had
   5 not.
   6 Q.    Well, who -- who had those concerns?            Nobody had those
   7 concerns.
   8 A.    Some of the parents had those concerns, yes.
   9 Q.    Parents had concerns just in general that he's a man,
  10 right?
  11 A.    Yes.
  12 Q.    Parents didn't have specific accusations about
  13 inappropriate behavior?
  14 A.    No.    A couple employees did not appreciate that he chose
  15 to just take the females to the bathroom, especially in the
  16 twos room.
  17 Q.    Okay.    Who were the couple of employees?
  18 A.    That would be Cathie.
  19 Q.    Yeah.
  20 A.    And I don't remember her last name.           I apologize.
  21 Q.    Cathie Williamson?
  22 A.    There you go.
  23 Q.    Or Williams, I believe?
  24 A.    She had concerns because she felt like he let the girls
  25 sit in his lap, and she had concerns because she felt like he
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   1 preferenced taking the females to the bathroom.
   2 Q.    Well, you talked to Detective McAllister about that the
   3 day after this happened, right?
   4 A.    Yes.
   5 Q.    And you told him that her concern was for his own
   6 protection, right?
   7 A.    Absolutely.
   8 Q.    Not that he had done anything inappropriate?
   9 A.    Nope.    She did not feel like he had done anything
  10 inappropriate.       She just felt like it did not look good for
  11 Mr. Ali.
  12 Q.    Right.    So the parents had concerns just in general?
  13 A.    Yes.
  14 Q.    And for his own protection, "Hey, maybe you should protect
  15 yourself," right?
  16 A.    Absolutely.
  17 Q.    "Because you might be accused of something"?
  18 A.    Absolutely.
  19 Q.    And, in fact, you made it clear to him at that point that
  20 he hadn't done anything wrong, right?
  21 A.    At what point?      With Cathie or when he came into my office
  22 for M.R.?
  23 Q.    With Cathie.
  24 A.    Yeah.    Well, yeah.     I never spoke to Ali about that
  25 situation.      I only spoke to Cathie.
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   1 Q.    You spoke -- and there was no reason at all at that point
   2 to make -- to write him up or to talk to him or punish him,
   3 because he hadn't done anything wrong?
   4 A.    Well, no.     I took Cathie's statement.         I gave it to our
   5 director.      I was out of the center on Tuesday and Wednesday.
   6 My son was moving into college.           It was my understanding that
   7 she was to speak with Mr. Ali, which would be the first
   8 counsel about that situation, just counseling him about the
   9 feelings that, you know, Cathie had had in the classroom.                  I
  10 was not there, so I cannot tell you if the discussion or the
  11 counsel ever took place.
  12 Q.    And there was the prior incident with picking up G.F.,
  13 right?
  14 A.    Yes.
  15 Q.    And, again, you made pretty clear previously that there
  16 was nothing individually inappropriate about what he did?
  17 A.    It was inappropriate.
  18 Q.    And it's inappropriate -- it would have been inappropriate
  19 for you to pick up a child?
  20 A.    Yeah.    If they're walking, our policy is to not pick up a
  21 child unless they're hurting.           So we're not going to pick them
  22 up, swing them around, play with them that way.               So it would
  23 have been inappropriate regardless of who picked the child up.
  24 Q.    Not inappropriate in, like, a sexual way or anything like
  25 that, right?
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   1 A.    I wouldn't say that, no.
   2 Q.    Nobody accused him of that at the time?
   3 A.    No.
   4 Q.    In fact, you said at the time, "I know your intentions are
   5 good"?
   6 A.    Yeah.    I knew he was playing with her.
   7 Q.    Right.    Again, you were more concerned seeing him pick up
   8 the child as to how it looked?
   9 A.    Exactly.
  10 Q.    Do you keep records of how many people got write-ups for
  11 cell phones?
  12 A.    Yeah.    They would be in their files.
  13 Q.    Can you give me an approximation as to how many people had
  14 gotten write-ups for cell phones?
  15 A.    I had only been doing it for a year.            I only personally
  16 did three.
  17               MR. THOMAS:     Just a moment, Your Honor.
  18 BY MR. THOMAS:
  19 Q.    Now, the conversation that you had with Mr. Al-Awadi was
  20 about what time in the day?
  21 A.    Around 4:30, 4:45.
  22 Q.    And, to your knowledge, he had been at the school that
  23 afternoon?
  24 A.    Yes, other than his lunch break.           He left for his lunch
  25 break.
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   1 Q.    The doors aren't locked there, right?
   2 A.    They are.
   3 Q.    From the outside or the inside?
   4 A.    They are locked from the outside, not the inside.
   5 Q.    So he could have left at any time in the afternoon?
   6 A.    He could have.
   7 Q.    And he also -- when you spoke to Mr. Al-Awadi about this,
   8 he told you he didn't do it, right?
   9 A.    He did.
  10 Q.    And he seemed nervous and scared, right?
  11 A.    He did.
  12 Q.    The handbook, do you remember that?           Did you review that
  13 during your employment there?
  14 A.    I did.    At the time, Bright Horizons had just taken over
  15 Children's Choice, so at the time our handbook was on-line.
  16 We didn't have, like, a hand copy, but we did.               Each employee
  17 had to go through the one on-line and sign that they had read
  18 through it.
  19 Q.    And there's a portion in the handbook -- we talked about
  20 the personal cell phone, but there's also a section in there
  21 about photographs and encouraging photographs of the children?
  22 A.    Agreed.
  23 Q.    And what -- how were those taken?
  24 A.    We had what we called Baby Connect, which were iPads,
  25 but they were only in the infant room, the ones and twos room.
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   1 In the preschool, pre-K, and kindergarten, they did not have
   2 iPads.     They could take pictures of those to send them to the
   3 parents throughout the day.
   4               And we had classroom cameras that they checked out
   5 of my office or Jennifer's office.            They could take pictures,
   6 but they had to be returned by the end of the day.                It was
   7 always understood and told that the cameras did not leave the
   8 building for any reason.
   9 Q.    And the purpose for taking those pictures -- what would
  10 have been those purposes?
  11 A.    We -- well, the Baby Connect is the mom, the infants.
  12 They like to see in case they miss that first step or whatever
  13 they were doing at the daycare.           Some of the pictures that we
  14 took, we had boards outside of the classrooms.               That was all
  15 about their day.        So they could take the pictures and put the
  16 pictures up to show the work that they had done, along with
  17 the documentation.
  18 Q.    Right.    How long have you been in -- well, at the time
  19 of -- in 2014, how long had you been in childhood education?
  20 A.    15 years.
  21 Q.    And if you remember, at around that time, how long had
  22 Mr. Al-Awadi been in childhood education?
  23 A.    A year.     Just about a year.
  24 Q.    How long was his training period?
  25 A.    They have two weeks in the -- when they first start in the
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   1 classroom, where they work with an educator.               They're never
   2 left alone in the room.         That may be different in the evening
   3 just if they -- you know, they were down in numbers and had
   4 four or five and we felt they could handle it.               But during the
   5 day when the class is full, for two weeks you're with an
   6 educator.
   7               And we do -- we did weekly -- let me take that back.
   8 We did biweekly staff meetings.           And, typically, I wouldn't
   9 call it necessarily like individual training, but we did
  10 trainings as a group and spoke about the different policies of
  11 the center.
  12 Q.    So two weeks.      It's your clear recollection today that
  13 when Cathie came to you with her concerns, that she told you,
  14 clearly, she did not think Mr. Ali had done anything wrong?
  15 A.    Yes.
  16               MR. THOMAS:     No other questions.       Thank you.
  17               THE COURT:     Do you have any redirect?
  18               MR. SHEPARD:     Yes, Your Honor.       Can I have just a
  19 moment?
  20               THE COURT:     You may.
  21               (Off the record.)
  22                            REDIRECT EXAMINATION

  23 BY MR. SHEPARD:
  24 Q.    Ms. Conces.
  25 A.    Yes.
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   1 Q.    What was your demeanor like when you were interviewing
   2 Mr. --
   3               MR. THOMAS:     Objection to relevance, Your Honor.
   4               THE COURT:     Well, let's hear the question.
   5               MR. SHEPARD:     Thank you, Your Honor.
   6               THE COURT:     I'm not sure what the question is.
   7 BY MR. SHEPARD:
   8 Q.    How were you acting when you were interviewing
   9 Mr. Al-Awadi?
  10               MR. THOMAS:     I object to the relevance of her
  11 demeanor.
  12               MR. SHEPARD:     He's brought up a lot of times trying
  13 to insinuate he had fear of losing her job -- or losing his
  14 job.     I'm trying to get how the witness was acting.             Was she
  15 threatening his job?         Was she doing anything like that?
  16               THE COURT:     All right.     I'll overrule --
  17               MR. THOMAS:     He can't testify, Your Honor.
  18               THE COURT:     He cannot testify, but I will overrule
  19 the objection.       She may answer the question.
  20               THE WITNESS:     Can you repeat your question, please?
  21 BY MR. SHEPARD:
  22 Q.    Certainly.     What was your demeanor during the talk that
  23 you had with Mr. Al-Awadi?
  24 A.    I was professional, just as I'm talking to you right now.
  25 Q.    Did you ever threaten his job?
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   1 A.    I did not.
   2 Q.    In fact, did you tell him how important it was to say
   3 everything --
   4               MR. THOMAS:     Object to the leading question, Your
   5 Honor.
   6 BY MR. SHEPARD:
   7 Q.    Did you tell him anything about saying everything?
   8 A.    I did tell him it was important that -- I told him it was
   9 important that we put everything in the statement, especially
  10 because he had not come and told me earlier in the day.                 And I
  11 explained to him anytime anything like that happens going
  12 forward, the importance of him coming forward and letting us
  13 know the situation happened.           And I explained to him that I
  14 needed fully what happened in his statement.
  15 Q.    Did he say anything at all about his cell phone?
  16 A.    He did not.
  17 Q.    Anything at all about pictures?
  18 A.    He did not.
  19 Q.    Were you talking about something serious at that time?
  20 A.    Absolutely.
  21 Q.    Talking about his job or a potential crime?
  22 A.    Both.
  23 Q.    And you mentioned that Ms. Graham didn't come up and
  24 report it?
  25 A.    No.
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   1 Q.    Was Ms. Graham ever accused of touching her
   2 inappropriately?
   3 A.    She was not.
   4 Q.    Who was the only one?
   5 A.    Mr. Ali.
   6 Q.    You mentioned about the incident with                 G.F.      And
   7 then the incident with Cathie Williamson.              Do you remember
   8 that?
   9 A.    Correct.
  10 Q.    Do you remember saying that you didn't feel that it was
  11 sexual; inappropriate, but not sexual?
  12 A.    Yes.
  13 Q.    Did those happen before or after the incidents with M.R.?
  14 A.    Before.
  15 Q.    Would you possibly have looked at it differently --
  16               MR. THOMAS:     Objection.     Calls for speculation at
  17 this point.
  18               THE COURT:     Let's hear the --
  19               MR. SHEPARD:     I'll withdraw the --
  20               THE COURT:     Okay.   I didn't --
  21               MR. SHEPARD:     I'll withdraw the question, Your
  22 Honor.
  23               THE COURT:     All right.
  24               MR. SHEPARD:     No further questions.
  25               THE COURT:     Anything on those questions, Mr. Thomas?
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   1               MR. THOMAS:     No, Your Honor.
   2               THE COURT:     May this witness be released from
   3 subpoena, Government?         Do you need her?
   4               MR. SHEPARD:     Your Honor, we would like to hold her
   5 under subpoena.
   6               THE COURT:     All right.     Do you want to keep her here
   7 in the building?
   8               MR. SHEPARD:     No, Your Honor.
   9               THE COURT:     All right.     Ma'am, you are excused for
  10 today, but you're still under subpoena.             So if they need you
  11 back, they will call you, okay?
  12               THE WITNESS:     Okay.    Thank you very much.
  13               THE COURT:     All right.     Thank you.
  14               (Witness excused.)
  15               THE COURT:     And we're going to go ahead and take our
  16 morning break.       Ladies and gentlemen, we'll give you about 15
  17 minutes.      No deliberation, no discussion, and we'll come back
  18 in 15 minutes.
  19               THE COURTROOM DEPUTY:       All rise.
  20               (Jury out at 10:53.)
  21               THE COURT:     Okay.   We are in recess.
  22               (Recess at 10:54, until 11:16.)
  23               THE COURT:     We are back on the record.         Are you
  24 ready with your next witness?
  25               MR. SHEPARD:     We are.    I do have just a question so
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   1 we can ease the Court in the next break.              It's going to be
   2 Detective McAllister, and he's going to be up there for quite
   3 a while.      Is there any particular timeframe the Court would
   4 like me to shoot for for an actual break?
   5               THE COURT:     If you want to go until -- it's 11:16.
   6 Go to maybe 12:30?        That will be good.       We'll have lunch from
   7 12:30 to 1:30.
   8               MR. SHEPARD:     I will try my best to find a break
   9 right around there, or if there's a break coming close, I'll
  10 let the Court know.
  11               THE COURT:     Sounds good.     Are you ready for the
  12 panel?
  13               MR. SHEPARD:     Yes, Your Honor.
  14               THE COURT:     Defense ready?
  15               MR. THOMAS:     Ready, Judge.
  16               THE COURT:     You may bring in the jury.
  17               (Jury in at 11:17.)
  18               THE COURT:     You may be seated.
  19               And, Witness, if you would remain standing and raise
  20 your right hand.
  21               (The witness is sworn.)
  22               THE COURT:     You may have a seat.
  23               And as soon as he's comfortable, Counsel, you may
  24 examine your witness.
  25               MR. SHEPARD:     Thank you, Your Honor.
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   1               ELI McALLISTER, PLAINTIFF'S WITNESS, SWORN

   2                              DIRECT EXAMINATION

   3 BY MR. SHEPARD:
   4 Q.    Could you please state your name and spell your last name
   5 for the record?
   6 A.    Eli McAllister, M-C-A-L-L-I-S-T-E-R.
   7 Q.    And how are you employed?
   8 A.    I am with the Indianapolis Metropolitan Police Department.
   9 Q.    What's your position?
  10 A.    I'm a sergeant.
  11 Q.    And is that a recent --
  12 A.    Since January of this year.         Yes, sir.
  13 Q.    What are you a sergeant in?
  14 A.    I'm a patrol sergeant on the southwest side of
  15 Indianapolis.
  16 Q.    What were you before you were a patrol sergeant?
  17 A.    I was a detective within the child abuse unit.
  18 Q.    And did you switch to patrol when you were promoted to
  19 sergeant?
  20 A.    Yes, sir.
  21 Q.    How long were you a detective in the child abuse unit?
  22 A.    Six and a half years.
  23 Q.    How many child molest cases do you think you investigated
  24 over that time?
  25 A.    Well, total cases per year ended up being anywhere from 50
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   1 to 70 cases.       And we investigate child molest or sexual abuse
   2 of children as well as neglect and physical abuse of children,
   3 so I'm going to guess maybe 30 to 40 cases a year of child
   4 molest over six years, six and a half years.
   5 Q.    Did you have any training in that area?
   6 A.    Yes.
   7 Q.    And did that include training into how to interview
   8 children witnesses?
   9 A.    Yes.
  10 Q.    Things to look for?
  11 A.    Yes.
  12 Q.    Are there things called verbals and nonverbals?
  13 A.    Sure.    There's verbal communication and nonverbal
  14 communication.
  15 Q.    And are those important in cases involving victims, or
  16 alleged victims, as young as four years old?
  17 A.    Yes.    It can be important in any aspect of human
  18 communication, yes, sir.
  19 Q.    Were you the investigating officer in this case?
  20 A.    Yes.    I was the detective assigned the case.
  21 Q.    Okay.    Now, I want to just talk about something real fast
  22 before we get into the full narrative.             You've been in here
  23 the entire time; is that correct?
  24 A.    Yes, sir.
  25 Q.    And you just saw the examination and cross-examination of
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   1 Heidi Conces; is that a fair statement?
   2 A.    Yes.
   3 Q.    Your reactions to some of the things that Heidi said was
   4 characterized --
   5               MR. THOMAS:     Object.    I'm sorry.     I'll let him
   6 finish the question.
   7               THE COURT:     You may finish your question.
   8 BY MR. SHEPARD:
   9 Q.    -- as being shocked.        Do you remember hearing that?
  10               MR. THOMAS:     Objection to the relevance of his
  11 reaction to the testimony, Your Honor.
  12               MR. SHEPARD:     Do you want to approach?
  13               THE COURT:     Sure.
  14               (Bench conference on the record.)
  15               MR. SHEPARD:     Your Honor, he's setting up for close
  16 to use the fact that, as he characterized, Detective
  17 McAllister was shocked they didn't have anyone document her
  18 injury or take her anywhere.           Detective McAllister has a
  19 completely different account of how that happened, why those
  20 questions were asked, and why it's relevant as to other
  21 places.
  22               It also goes to multiple things that Mr. Thomas said
  23 in opening, as well as the cross-examination, about various
  24 avenues of investigation that were not done by IMPD.                 He's
  25 going to talk about -- where I'm going with this is, he's
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   1 going to talk about why those questions were asked, why it's
   2 important, and he's going to refute that he was shocked that
   3 they hadn't taken her or looked at her injury themselves.
   4               THE COURT:     Okay.
   5               MR. THOMAS:     I guess I understood the question about
   6 asking him about what -- about her reactions.               I mean, if he
   7 wants to ask him about his investigation, fine, but my
   8 understanding from the question was that he was asking about
   9 whether she -- his reaction to her being shocked.
  10               THE COURT:     No.   It was --
  11               MR. SHEPARD:     I said it was his characterization of
  12 him being shocked.
  13               THE COURT:     Right.    It's whether or not the
  14 detective was shocked, was the question.
  15               MR. THOMAS:     Well, I think he can ask the detective
  16 all he wants about his investigation, but --
  17               THE COURT:     Well --
  18               MR. THOMAS:     -- I object on the form of the question
  19 as to relating to what she said.
  20               THE COURT:     Okay.    Yeah.   You kind of opened the
  21 door and you brought in evidence that he was shocked.                 So he
  22 can clarify that.
  23               MR. THOMAS:     I understand that.       I --
  24               THE COURT:     I don't think he's talking about -- and
  25 he can testify as to her demeanor, also, but I think your
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   1 question was, was the detective actually shocked?
   2               MR. THOMAS:     Well, if that -- I don't think it was
   3 asked that way, but if that's the question, I have no
   4 objection.
   5               THE COURT:     Okay.
   6                                 (Open court.)
   7               THE COURT:     All right.     The objection is withdrawn,
   8 and you may answer the question.            Do you remember the
   9 question?
  10               MR. SHEPARD:     I'm going to ask it again.
  11               THE WITNESS:     Sure.    Please.
  12 BY MR. SHEPARD:
  13 Q.    Do you remember having your reaction being characterized
  14 as shocked by what you heard from Ms. Conces?
  15 A.    I remember at one point specifically my reaction to the
  16 fact that no one on the daycare staff physically examined M.R.
  17 being that I was surprised.          He may have said shocked, I don't
  18 remember that, but just that I was surprised that no one had
  19 examined her when she disclosed what she said.
  20 Q.    Can you tell us about your remembrance of that
  21 conversation and how you reacted and why you did what you did,
  22 why you asked what you asked?
  23               MR. THOMAS:     That's a compound question at this
  24 point, Judge.
  25 BY MR. SHEPARD:
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   1 Q.    Why don't you just tell us how you recall that
   2 conversation going.
   3 A.    So I actually began by asking what the policy or procedure
   4 of the daycare was when a child was hurt or injured at the
   5 daycare, and asking Ms. Conces to fill me in on that.                 I think
   6 I asked her at least twice what the procedure was when a child
   7 notified anyone on daycare staff that they had been hurt, and
   8 asking what that procedure was.
   9               And she told me what the policy was that was in
  10 place and what they were supposed to do when someone, a child,
  11 was hurt.      I then went on to ask her about the -- if there was
  12 any -- since we were located within a hospital campus, if
  13 there was any medical personnel on staff or inside the
  14 building working at that time.           She told me there wasn't.
  15               I also asked them what their policies and procedures
  16 were as far as obtaining medical assistance or notifying
  17 parents when a child was hurt or injured in any way or when a
  18 child told the daycare staff that they were hurt or said they
  19 had pain or were hurting somewhere.
  20               My next question had to do with --
  21               MR. THOMAS:     Your Honor, I'm going to object at this
  22 point to --
  23               THE COURT:     Narrative form?      Next question.
  24 BY MR. SHEPARD:
  25 Q.    What was the next thing you asked her about?
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   1 A.    About their procedures and policies as far as notifying
   2 parents and notifying DCS and notifying law enforcement.
   3 Q.    Did you ever express surprise at their policies?
   4 A.    I think any surprise that was expressed on my part during
   5 that conversation was at the lack of notification to DCS or
   6 notification of the parents, or the failure of any medical
   7 assistance being offered or provided to the child that had
   8 disclosed she was in pain and hurting.
   9 Q.    Did you ever suggest that they should have taken off her
  10 pants and looked?
  11 A.    No.    I did ask if anyone had checked or looked at M.R.,
  12 but I didn't suggest that anyone should have done that.
  13 Q.    Now, why is that an important question for you to ask?
  14 A.    For a number of reasons.         One of the things to keep in
  15 mind is that my investigation wasn't solely into what Mr. Ali
  16 Al-Awadi may or may not have done at the daycare that day, but
  17 also part of my investigative responsibility is into how the
  18 daycare responded and if there was any neglect on the part of
  19 the daycare staff.        So I needed to know how they responded.
  20 And the limited information I had had up to that point caused
  21 me some concern, so I was exploring that topic with them.
  22 Q.    Would it also be important for you to know who else may
  23 have touched or looked at the child for exclusion purposes,
  24 where you needed to interview next?
  25 A.    Yes, absolutely.       It's important for me to know who may
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   1 have performed any exam or may have looked at the child.                  And
   2 so that was one of the questions I asked her after that.
   3 Q.    How did you become involved with this case?
   4 A.    Within the child abuse unit, we -- we don't have enough
   5 detectives to cover 24 hours, seven days a week, 365 days a
   6 year.     We work typically Monday through Friday, 8:00 to 4:00,
   7 and so we have an on-call rotation.            On-call for us is 8:00
   8 a.m. to 8:00 p.m. the following -- or, I'm sorry, 8:00 a.m. to
   9 8:00 a.m. the following day, so a 24-hour period.                I was the
  10 on-call detective on October -- or, I'm sorry, on August the
  11 21st, 2014.       I got a page at, I think it was 1:51 a.m.            I got
  12 a page to contact a police officer who was at St. Vincent
  13 Hospital with M.R. and her parents.
  14 Q.    Did you contact that officer?
  15 A.    I called him on the phone with the number provided in the
  16 page.
  17 Q.    And I'm sorry.      What time was that again?
  18 A.    1:51 a.m.     It was actually on the 22nd of August, but it
  19 was still within my on-call period.
  20 Q.    Will you just generalize the sum and substance of that
  21 conversation?
  22 A.    Well, once I woke up, I called him.           And he informed me
  23 that he was there at the hospital with a four-year-old child
  24 in the emergency department, along with the child's parents,
  25 and that the child had disclosed that an individual at the
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   1 daycare had put their finger inside her vagina the day
   2 previous, but that the parents had no information beyond
   3 Mr. Ali as the identity of the individual who did that.
   4 Q.    And what did you do as a result of that conversation?
   5 A.    Well, I ensured that everything was -- that needed to be
   6 done at the hospital was taking place, so I verified that the
   7 child was having a forensic exam done by a forensic nurse
   8 examiner.
   9               I explored with the officer on-scene if we could
  10 develop any further lead as to the identity of the individual
  11 who had done it, and learned that the daycare was closed.
  12 There was no one we could speak to at that time to pursue any
  13 lead further in that regard.
  14               And so I asked the officer who was there at the
  15 hospital to instruct the parents to meet me at my office the
  16 following morning at 9:00 a.m. so that I could have the child
  17 interviewed and interview the parents and proceed with the
  18 investigation from there.
  19 Q.    Where was your office located in August of 2014?
  20 A.    The IMPD child abuse office is located within the Marion
  21 County Child Advocacy Center.           It's a multidisciplinary team
  22 located at 4134 North Keystone Avenue.             It's just between --
  23 on Keystone, North Keystone, between East 38th Street and Fall
  24 Creek Parkway.       It's right near the state fairgrounds here in
  25 Indianapolis.
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   1 Q.    Can you kind of describe a little bit more for the jury
   2 what you mean by "multidisciplinary team" and what happens at
   3 the Child Advocacy Center?
   4 A.    So, as I mentioned before, the City doesn't have a ton of
   5 child abuse detectives.         There's about eight to nine with
   6 several supervisors.         So our offices are located in that
   7 building, but there's also the adult sex crimes investigators
   8 within IMPD.       And there may be about 15 of them and some
   9 supervisors.
  10               But then, aside from IMPD, we also have multiple
  11 other agencies located within the same physical building,
  12 primarily Department of Child Services, the state agency
  13 responsible for investigating allegations of abuse and neglect
  14 of children.       They have several hundred, if not more, staff
  15 members within the building, including what they call the FCM,
  16 or a family case manager.          They investigate the allegations of
  17 abuse for DCS.       They also have their legal team.           They also
  18 have their ongoing case managers that fulfill kind of a social
  19 work function.
  20               But then, in addition to that, we also have the
  21 Marion County Prosecutor's office.            They have a presence in
  22 the building.       They have three attorneys.         And, in addition to
  23 that, we also have several child interviewers that also work
  24 in the building.        And the concept behind it is so that --
  25 because anytime you have --
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   1               MR. THOMAS:     Your Honor, this is an awfully long
   2 answer.
   3               THE COURT:     Go ahead and ask the next question.
   4 BY MR. SHEPARD:
   5 Q.    What's the concept behind this?
   6 A.    That anytime you have an investigation into allegations of
   7 child abuse and neglect, all these different agencies are
   8 going to be interested and involved in the investigation.                  And
   9 so the best way to proceed with the investigation is to make
  10 sure that all the parties are communicating with one another
  11 and able to act in unison, so that you're not having one
  12 person interview for DCS and someone else interview for, you
  13 know, the police department, and duplicating efforts.                 It's to
  14 sort of unify and combine efforts and make sure we don't
  15 interfere and get in each other's way, I suppose.
  16 BY MR. SHEPARD:
  17 Q.    Is it fair to say bring multiple expertises together to
  18 collaborate, as well?
  19 A.    That's true, yes.       Each of us has sort of a different
  20 focus and emphasis that we bring to the table.               And it's an
  21 attempt to make sure that everyone is able to achieve their
  22 own, you know, professional goal or their role within the
  23 situation.
  24 Q.    Can you physically describe the building?             Is it -- does
  25 it look like a police station or --
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   1 A.    No, not at all.      It's -- I think it's an old department
   2 store, but it's a rather large building with kind of like a
   3 cubicle land, tons and tons of gray cubicles all throughout.
   4 There's a large waiting room up front.             And, also, we have a
   5 smaller waiting room where children that are going to be
   6 interviewed forensically can wait with their parents, as well.
   7 Q.    Is there a playroom or anything like that on the premises?
   8 A.    There are some toys in the front main lobby.              And there's
   9 a great higher number of toys in that smaller space: video
  10 games, books, puzzles, coloring books, all kinds of toys,
  11 things like that in that waiting room where children are
  12 waiting to be interviewed.
  13 Q.    What's the purpose of having all that?
  14 A.    Oftentimes the kids that come in there to be interviewed
  15 have been through traumatic situations or have just left a
  16 traumatic situation, and we try to give them something to
  17 occupy their mind and keep them calm.             Plus, kids get, I don't
  18 want to say destructive, but they can get into problems if
  19 they're bored.       So if they're just sitting there on chairs by
  20 themselves, it wouldn't be the most conducive environment to
  21 having children wait.
  22 Q.    And is that where the interviews with the family were to
  23 take place?
  24 A.    Yes.    Within that building, we have multiple different
  25 areas that are designated for interviewing.
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   1 Q.    Did the family come that morning?
   2 A.    Yes.    I called them at 8:30 to make sure they were on
   3 their way, and she showed up sometime shortly after 9:00.
   4 Q.    What happened when they got there?           Did you learn the
   5 identity of the four-year-old child?
   6 A.    Yes.    I met the family and just briefly explained to them
   7 the process that we were getting ready to undergo, which was
   8 to start with an interview of M.R.
   9 Q.    All right.     And so --
  10               MR. SHEPARD:     Please display Exhibit 77.
  11 BY MR. SHEPARD:
  12 Q.    Who is that?
  13 A.    That's M.R.
  14 Q.    And then who else came with her?
  15 A.    Her mother and her father.         Her mother is Miosotis
  16 Rodriguez and her father is Justo Guevara.
  17 Q.    The same two that testified yesterday?
  18 A.    Yes, the exact same people.
  19 Q.    You said the first process was M.R. was interviewed?
  20 A.    Yes.
  21 Q.    How does that interview take place?
  22 A.    So I'm trained in interviewing children but, if and when
  23 possible, I defer to have a full-time professional child
  24 interviewer do the interview instead.             And there was one
  25 available to do the interview for me that morning.                And so
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   1 when that happens, there's -- it's a child interview room, and
   2 there are live monitoring cameras that both relay it to a
   3 monitor in an observation room nearby, but also record the
   4 interview.      And so I was able to sit in the observation room
   5 and watch the interview live as it was happening.
   6 Q.    Do you remember about when the interview started?
   7 A.    I feel like it was maybe around 9:30.            I remember 9:30,
   8 9:00 a.m. stands out, but sometime around 9:30.
   9 Q.    Was there a break taken at some point?
  10 A.    The interview was concluded after a period of time, and I
  11 moved on to interview M.R.'s parents.             And the
  12 multidisciplinary team, together, decided that there were just
  13 two things that we wanted to follow up with and ask M.R.
  14 further about, and so about two hours after we initially
  15 concluded the interview, the same child interviewer in the
  16 exact same room spoke to M.R. again.
  17 Q.    Do you remember how long about that -- how long the
  18 interview continued?
  19 A.    I don't remember.       I think it was in between 15 to 20
  20 minutes.      I think the initial interview was around 20 minutes.
  21 I'm just --
  22 Q.    And did you live watch this continuation?
  23 A.    Yes.    I watched both parts of the interview.
  24 Q.    Okay.    I would ask you to look at Exhibits 42 and 43.              If
  25 you would display those to the defense counsel, as well.
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   1               What are 42 and 43?
   2 A.    They're compact disks that contain the video file of the
   3 recording of each of those parts of the two interviews that I
   4 just talked about.
   5 Q.    And did you personally view what was on those two CDs?
   6 A.    Yes, to make sure that was exactly what was on there.
   7 Q.    And it was a true and accurate copy of the interview that
   8 you witnessed?
   9 A.    Yes.
  10 Q.    Did you do anything after you watched the CDs to make
  11 certain it was the same one?
  12 A.    Oh, yes.     I signed my name and put the date on there, on
  13 the actual disk itself.
  14 Q.    Is the content of those two interviews important to you in
  15 formulating how to go about your investigation?
  16 A.    Yes.    We often refer to the child interview as sort of the
  17 foundation of the investigation.            That is assuming that the
  18 child is old enough to speak, which sometimes they're not.
  19 But if and when you have a child old enough to talk, yes, it's
  20 very important.
  21 Q.    And was it the foundation of the investigation in this
  22 case?
  23 A.    Yeah.    Sure.
  24               MR. SHEPARD:     Okay.    Your Honor, I would move for
  25 the admission of Exhibits 42 and 43.
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   1               MR. THOMAS:     No objection to 42 or 43.
   2               THE COURT:     Government's Exhibits 42 and 43 are
   3 admitted into evidence without objection.
   4                            (Government's Exhibits 42 and 43 were

   5                            received in evidence.)

   6               MR. SHEPARD:     Please bring up 42.
   7 BY MR. SHEPARD:
   8 Q.    What are we seeing here, Detective McAllister?
   9 A.    That is the child interview room where M.R. was
  10 interviewed the morning of August the 22nd.
  11 Q.    And what happens for approximately the first ten minutes
  12 of this video file?
  13 A.    Nothing.     We like to have the camera running the entire
  14 time that the child is in the room, so that we're not missing
  15 anything or that we couldn't be accused of hiding anything of
  16 what's said or done in the room.            So we turn the camera on
  17 before the child enters the room.            And sometimes that's a
  18 little too early.
  19               So in this case, it was about ten minutes before the
  20 the child entered the room with the interviewer.                At the very
  21 beginning, the interviewer comes in and says a few things just
  22 to introduce the recording as far as the name of the
  23 interviewer, the name of the child, the case number, the
  24 detective involved, things like that.
  25 Q.    Are there any questions asked of the interviewee at that
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   1 time?
   2 A.    No.    She wasn't in the room until roughly ten minutes
   3 after the --
   4               MR. SHEPARD:     Can you skip ahead to when they both
   5 come into the room and play from there?
   6               (Video playing in open court.)
   7               MR. SHEPARD:     Can you pause it?
   8 BY MR. SHEPARD:
   9 Q.    Who is this?
  10 A.    That is M.R.
  11               MR. SHEPARD:     And just play ahead a little bit.           We
  12 lost the other person.         Now, please pause it.
  13 BY MR. SHEPARD:
  14 Q.    And who is this?
  15 A.    That's the forensic child interviewer that assisted that
  16 morning.      Her name is Jessica Woodall.
  17 Q.    What's the purpose of a forensic interview?
  18 A.    It's simply to obtain a statement from the child, find
  19 out what the child says in any given situation.               Sometimes we
  20 do it for victims of sexual abuse, sometimes we do it for
  21 victims of physical abuse.          We've had instances where children
  22 here in Indianapolis have been witnesses to the murders of
  23 their parents or family members, for example.               We'll do it
  24 when they're a witness, as well.
  25 Q.    Is it important to try and get an interview in every case?
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   1 A.    If the child can speak and can tell you what happened,
   2 absolutely.
   3               MR. SHEPARD:     Please go ahead and play the file.
   4               (Video playing in open court.)
   5               THE COURT:     Can you turn up your volume?
   6               MR. SHEPARD:     I think it has to be done from up
   7 there, Your Honor.
   8               THE COURT:     Tanesa, do you control the volume?
   9               Can you hear, ladies and gentlemen?           They can't
  10 hear.     They can't hear.
  11               MR. SHEPARD:     Can you pause it?
  12               THE COURT:     Tanesa, do you control volume?          Tanesa
  13 has got it up as high as it goes over here, so you guys need
  14 to turn it up on your computer.
  15               MR. SHEPARD:     I think that's as high as it goes,
  16 Your Honor.
  17               THE COURT:     That's as high as it goes?         Okay.
  18               MR. SHEPARD:     Everyone just try real hard.          Lean
  19 into the -- if I can stand on crutches, you all can lean into
  20 the screen.
  21               THE COURT:     I don't think the sound comes out of the
  22 screen.      Okay.   Go ahead.
  23               MR. SHEPARD:     Please go ahead and play.
  24               (Video playing in open court.)
  25               THE COURT:     Some mics are too close together?          Okay.
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   1 Let's try it again.
   2               (Video playing in open court.)
   3 BY MR. SHEPARD:
   4 Q.    Was that the end of the first portion of the interview?
   5 A.    Yes.
   6 Q.    What happened after that?
   7 A.    Jessica escorted her back to the waiting room, the smaller
   8 one with all the toys and games that I described earlier.                  I
   9 left the observation room and went up to that lobby and got
  10 M.R.'s mother, Miosotis, and took her back to an interview
  11 room, an adult interview room, and completed a recorded
  12 statement, took a statement from her.
  13 Q.    All right.     Was that similar to the testimony that the
  14 jury already heard?
  15 A.    Yes.
  16 Q.    Was her father there?
  17 A.    Not in the interview room with -- interview room with her
  18 mother and I.       He was in the waiting room.
  19 Q.    I'm sorry.     But he was there at the center?
  20 A.    Yes, he was at the Child Advocacy Center, yes.
  21 Q.    Was he interviewed, as well?
  22 A.    Yes.    I interviewed him after I completed the interview of
  23 Miosotis.
  24 Q.    How did that interview take place?           He doesn't speak very
  25 good English.
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   1 A.    Yeah.    I believe we had an interpreter there.            I can't
   2 remember who it was at the moment, but --
   3 Q.    Now, do you recall, during their cross-examination, lots
   4 of questions about if you had ever -- if they had ever viewed
   5 those videos, if you had ever showed them the videos?                 Did you
   6 ever show them the videos of M.R.'s interview?
   7 A.    No.    They've never seen the interview, the video recorded
   8 interview of M.R.
   9 Q.    And is that something that you would ever do in your
  10 investigations?
  11 A.    In the six and a half years I've done this, I never showed
  12 the parent a video of the child interview.
  13 Q.    After the parents were interviewed, was there a decision
  14 made to continue the interview of M.R.?
  15 A.    Yes.    The multidisciplinary team -- including myself, DCS,
  16 and the prosecutor and the child interviewer -- wanted to do a
  17 follow-up on the original interview, because after Jessica
  18 Woodall left the interview, she realized that she had left
  19 some key components out that she typically tries to cover in
  20 the interview.
  21 Q.    And what were those?
  22 A.    Two things in particular.         The diagram that she placed on
  23 the easel where M.R. circled the little -- the circle where
  24 she said Mr. Ali touched her.           Typically, they go through and
  25 identify multiple body parts on that diagram and complete what
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   1 they call a body safety interview, basically have the child
   2 identify each different body part and then ask if anyone ever
   3 touched them on any other part of their body, things like
   4 that.
   5 Q.    And what was the other point?
   6 A.    The other thing that they often try to do is, if a child
   7 does disclose that someone has touched them somewhere on their
   8 body, they try to follow up also by asking if anyone else has
   9 ever touched them on any of those parts of the body.
  10               Typically they go through and identify a large
  11 number of body parts and ask them if there's any part of the
  12 body they don't want someone to touch.             And then they will
  13 either circle or make some note of which body parts they don't
  14 want someone to touch.         And then they will go through and ask
  15 if anyone touched them there.           If the child discloses that
  16 they did, like I said earlier, they will follow up by saying,
  17 "Has anyone else touched you on one of these parts of your
  18 body?"
  19 Q.    And why would those questions be important?
  20 A.    Just to make sure that we're not missing something or that
  21 there wasn't someone else that might have been involved or
  22 caused -- or done whatever it is that caused us to be there.
  23 Q.    Was it discussed why that wasn't done in the first
  24 interview?
  25 A.    Yes.
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   1 Q.    And why was it not done?
   2 A.    Because, as the video shows, the child almost immediately
   3 went into describing what Mr. Ali specifically did to her.
   4 And she didn't have a chance to kind of go through the typical
   5 protocol she would normally follow.
   6 Q.    And in the continuation, did they go through that
   7 protocol?
   8 A.    Yes.    That was the point of her doing the follow-up, so
   9 she could go through those two.           And she did.
  10               MR. SHEPARD:     Can you please display Exhibit 43.
  11 BY MR. SHEPARD:
  12 Q.    What are we seeing here?
  13 A.    I am not seeing anything.         When the sound went out before,
  14 my video feed died.
  15 Q.    Oh.    Does everyone have video feed?
  16 A.    It looked like everyone else was watching the screen, but
  17 I --
  18               THE COURT:     Are your video screens working, ladies
  19 and gentlemen?       Is it working, Tanesa?
  20               THE WITNESS:     It just did that for a little bit and
  21 then went blank.
  22               MR. SHEPARD:     Your Honor, maybe we ought to break.
  23               THE COURT:     Do you want to go to lunch break?
  24               MR. SHEPARD:     Well, if we're having technical
  25 problems, those could be fixed.
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   1               THE COURT:     All right.     We'll go ahead and take our
   2 lunch break, ladies and gentlemen.
   3               You call the tech people.
   4               All right.     We're going to adjourn for your lunch
   5 recess.      The Court is going to admonish you, ladies and
   6 gentlemen, you are not to have any discussion about the case
   7 among yourselves or with anyone else.             Remember not to read or
   8 listen to any news accounts regarding this matter.                No
   9 research or anything on social media.
  10               If anyone should attempt to talk to you about the
  11 matter, please refuse and report that attempt to your bailiff
  12 at your earliest opportunity.           Under this admonishment, we'll
  13 be in recess until 1:00 p.m.           Enjoy your lunch.
  14               THE COURTROOM DEPUTY:       All rise.
  15               (Jury out at 12:08.)
  16               THE COURT:     Okay.   We'll get someone here from IT
  17 and see if they can get the screen working.
  18               MR. SHEPARD:     We'll stay until we can make certain
  19 it's up and running.
  20               THE COURT:     Well, why don't you come back early,
  21 because -- be back in -- can you come back in about half an
  22 hour?     We'll have somebody here by then.
  23               MR. SHEPARD:     Yes, Your Honor.       Thank you.
  24               THE COURT:     All right.     We're in recess.
  25               (Recess at 12:09, until 1:11.)
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   1               THE COURT:     Government, are you ready for the jury?
   2               MR. SHEPARD:     Yes, Your Honor.
   3               THE COURT:     All right.     Witness, you can come on
   4 back to the stand.
   5               And, Mr. Thomas, are you ready for the jury?
   6               MR. THOMAS:     I am ready.
   7               THE COURT:     All right.     Tanesa, you may bring the
   8 panel in.
   9               (Jury in at 1:12.)
  10               THE COURT:     We are back on the record.         The United
  11 States of America versus Ali Al-Awadi.             Ladies and gentlemen,
  12 good afternoon.       I hope that you had a pleasant lunch.            We
  13 have all of the equipment working and we are back on the
  14 record.
  15               And, Witness, you are still under oath.
  16               THE WITNESS:     Yes, ma'am.
  17               THE COURT:     You may continue with your direct
  18 examination of the witness, Mr. Shepard.
  19               MR. SHEPARD:     Please display Exhibit 43.
  20               THE COURT:     Is it working?
  21               THE WITNESS:     It's just facing a little bit outward
  22 now.     Can I turn it without -- okay.
  23 BY MR. SHEPARD:
  24 Q.    What are we seeing here, Detective McAllister?
  25 A.    It appears to be the beginning of the second part of the
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   1 interview with M.R.
   2 Q.    Is that the same room?
   3 A.    The same room.
   4 Q.    What's up here?
   5 A.    That is a date and time stamp.
   6 Q.    Is that in military time or is that a.m./p.m.?
   7 A.    I -- I mean, you can't tell at 11:00.            At 1:00 I could
   8 tell you.      I don't remember off the top of my head.
   9 Q.    Do you remember about what time the continuation of the
  10 interview began?
  11 A.    I think it was after 11:30.         I think the time stamp is off
  12 just a little bit.
  13 Q.    In the morning?
  14 A.    Yes, sir, if not a little bit later.            I can't remember
  15 exactly.
  16 Q.    And for approximately the first two minutes of the
  17 video, what happens?
  18 A.    Jessica Woodall comes back into the room and states the
  19 date and time and her name and the case number and my name and
  20 who she will be interviewing.           And then there's silence while
  21 she goes to get M.R.
  22 Q.    Any discussions with MR. during those first two minutes?
  23 A.    No.    She wasn't in the room.
  24               MR. SHEPARD:     Please advance it to about
  25 approximately two minutes in, and then play the clip.
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   1               (Video playing in open court.)
   2               MR. SHEPARD:     Go ahead and clear the screen.
   3 BY MR. SHEPARD:
   4 Q.    So, Detective, you watched both of those interviews as
   5 they happened; is that correct?
   6 A.    Yes.
   7 Q.    Okay.    Is one of the things that you have to do is, as a
   8 detective, is evaluate what you've heard and what you've seen
   9 in the videos and figure out what to do next?
  10 A.    Yes.
  11 Q.    How do you go about -- or in this case, how did you go
  12 about evaluating the two videos and deciding what next to do,
  13 especially here where you've got what's a seemingly
  14 inconsistent statement within the second interview?
  15 A.    Well, I look at the broader context within which the two
  16 interviews were set.
  17 Q.    Okay.    And what was the context of the first interview?
  18 A.    The first thing when they arrived, it was earlier in the
  19 morning, soon after she had woke up.             And she directed much of
  20 the interview herself as far as deciding when and where to
  21 begin talking about what happened.
  22 Q.    Anything about her relative attentiveness in the two
  23 videos that was important?
  24 A.    Yeah.    I certainly watched and evaluated her body language
  25 throughout the two interviews and compared them as I
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   1 considered what she said during the interviews.
   2 Q.    What did you notice in the second interview versus the
   3 first interview as it relates to body language?
   4 A.    She was -- well, at one point she laid down on the chair,
   5 dropped her head so she was kind of looking upside down with
   6 her feet in the air, a very sort of playful demeanor and
   7 attitude.
   8 Q.    Is that different than what was seen in the first video?
   9 A.    The first video, she was sitting on the edge of the chair
  10 and much more serious and attentive to the conversation.
  11 Q.    And you said you had received training in interviewing
  12 children; is that correct?
  13 A.    Yes.
  14 Q.    Did some of that training include interpreting body
  15 language?
  16 A.    It's not a heavy emphasis that we look at, but certainly
  17 when you're dealing with a child, you have to take every piece
  18 of their communication into account, including their mood and
  19 their demeanor at the time of the interview.
  20 Q.    What was the context of the second interview?
  21 A.    It was later in the day, after she had been there.               She
  22 had been interviewed once.          And then she had been in the front
  23 lobby of the Child Advocacy Center with all the toys, games,
  24 movies, and books, and she had been up for several hours after
  25 probably about five or six hours of sleep.
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   1 Q.    And what had happened to her the day before?
   2 A.    The day before was August 21st, the day that the incident
   3 took place.       And my investigation showed that she went to the
   4 hospital sometime around 8:00, 8:30 p.m. and stayed there
   5 until at least when I spoke to the officer at 1:51.                It was
   6 well after 2:00 before they would have had the chance to be
   7 discharged and leave.         And then they were back up and at my
   8 office by just a little bit after 9:00.
   9 Q.    And is there anything about the differences in the two
  10 videos that helped you decide what to do next in the
  11 investigation?
  12 A.    About the difference between the two videos?
  13 Q.    Or the -- what you saw in the two videos.
  14 A.    I'm sorry.     I was coughing.      I apologize.
  15 Q.    What is it about the videos that helped you decide what to
  16 do next -- or the interviews, rather?
  17 A.    Just the descriptions of what she said happened,
  18 particularly in the first interview, and then how she began
  19 the first -- the second recording, and then how she ended
  20 that.     She was still talking about things that were consistent
  21 with what she had said in the first interview, as well as what
  22 information I began with.
  23 Q.    And so I guess, and maybe I just inartfully asked it, why
  24 did you decide to focus on what was said in the first
  25 interview versus the second?
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   1               MR. THOMAS:     Objection.     The prosecutor is
   2 testifying in the way he's characterizing the questions.                  It's
   3 leading in that way.
   4               THE COURT:     Why don't you rephrase it.
   5 BY MR. SHEPARD:
   6 Q.    Did you decide to focus on --
   7               MR. THOMAS:     Again, the form of the question is
   8 leading if he's going to tell him what he focused on.                 He can
   9 ask him what he focused on.
  10               THE COURT:     Well, let's hear his question.
  11 BY MR. SHEPARD:
  12 Q.    Did you decide to focus on anything based upon seeing the
  13 two interviews?
  14 A.    Yes.
  15 Q.    Okay.    What and why?
  16 A.    I focused on Ali Al-Awadi as the suspect of my
  17 investigation because I believed everything up to that point
  18 in my interview pointed to him having molested her the day
  19 before.
  20 Q.    And anything about Ms. Anna or the monster with the key
  21 lock give you pause?
  22 A.    Sure.    I took note of it, absolutely.          I paid attention to
  23 the entire interview, and that was part of it.               However, she
  24 also stated that she was tricking the interviewer at that
  25 point, and that Ms. Anna had not, in fact, touched her.
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   1               And the part about a monster was more about would a
   2 monster come in, and then she said she had a dream about that,
   3 and that would be scary if that happened.              I didn't know if
   4 maybe she had dreamed about it the night before.
   5 Q.    And so as a result of seeing that, how did the interview
   6 focus -- or the investigation focus?
   7 A.    I proceeded to investigate into the circumstances
   8 surrounding the one hour in which Mr. Al-Awadi was alone with
   9 her class the day before.
  10 Q.    And how did you go about continuing the investigation?
  11 A.    I went to the Children's Choice Learning Center at the
  12 campus of St. Vincent Hospital.
  13 Q.    What is the first thing you did when you got to the
  14 daycare?
  15 A.    Parked, went inside and introduced myself to the person at
  16 the front desk.       She got Ms. Heidi Conces and took us to
  17 Heidi's office.       I introduced myself and Sergeant Bruce Smith,
  18 who was also in the unit with me, as well as the DCS worker
  19 who accompanied us, to Ms. Conces and told her why we were
  20 there.     And I told her that I would need to speak to her and
  21 continue my investigation there at the site of the daycare.
  22 Q.    Who did you speak with, yourself, if you remember?
  23 A.    I believe Chiana Harris was the person that I met at the
  24 front desk.       And she took me back to Heidi's office, which was
  25 just to the right of the main entrance.             And then Heidi Conces
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   1 spoke to her, and I took a formal recorded statement from
   2 Tyria Graham, Chiana Harris, and Heidi -- no.               Tyria Graham
   3 and Chiana Harris.
   4 Q.    And without getting into the details, were they consistent
   5 with what you had heard from the family and from the hospital
   6 records about what had happened the day before?
   7 A.    Yes.
   8 Q.    All right.     Were you able to determine the identity of
   9 Mr. Ali?
  10 A.    Yes.    Ms. Conces provided me several documents, one of
  11 which was his application for employment to the Learning
  12 Center, that he had filled out, I believe in 2013.
  13 Q.    And who was Mr. Ali?
  14 A.    Ali Al-Awadi.      And he's seated to my right, wearing a suit
  15 with a green shirt.
  16               MR. SHEPARD:     Please let the record reflect he's
  17 identified the defendant.
  18               THE COURT:     The record will so reflect.
  19 BY MR. SHEPARD:
  20 Q.    Were you able to determine where you believe the incident
  21 to occur?
  22 A.    Yes.
  23 Q.    And where was that?
  24 A.    What they called the kindergarten classroom.
  25               MR. SHEPARD:     Could you please display Exhibit 2.
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   1 BY MR. SHEPARD:
   2 Q.    Can you kind of describe what we're seeing here?
   3 A.    That is the kindergarten classroom as viewed once you open
   4 the doors and step inside.          There's double doors that go into
   5 the room.      They are wooden doors with glass panels in them.
   6 Q.    And so a pretty big room.         Do you have a theory as to
   7 where in the room the incident occurred?
   8 A.    If you will look to the left of the photograph, you can
   9 see a large white square, rectangle-shaped rug --
  10 Q.    Right there?
  11 A.    -- with multicolored buttons on it.           Yes, sir.
  12 Q.    Why do you believe it occurred there?
  13 A.    Throughout the course of my investigation, that's where --
  14 the location that kept coming up, I suppose.               Particularly
  15 when I spoke to Mr. Al-Awadi later, he discussed being on the
  16 rug.
  17               MR. SHEPARD:     Can you display 67?
  18 BY MR. SHEPARD:
  19 Q.    What is this a view from?
  20 A.    So if you were standing just inside the door of the
  21 classroom and took the first picture, it's just basically a
  22 45-degree turn to the left, showing a little bit more of the
  23 left side of the room, including the kitchen and play area, as
  24 well as more of that rug and the window that it sat
  25 underneath.
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   1 Q.    All right.     Is this the same rug we were just talking
   2 about?
   3 A.    Yes.    It's the only rug in the room.
   4 Q.    Is the full rug viewable from the door?
   5 A.    No.    As you can see, there is a kitchen play set, a sink
   6 and a range, as well as a bookshelf that obstructs the view
   7 from -- or at least part of the view of that rug from anyone
   8 that would be walking by or standing in the door.
   9 Q.    What's behind the door?        Do you recall?
  10 A.    Do you mean immediately to your left if you stepped into
  11 the room?
  12 Q.    No.    If you exited the room from the door.
  13 A.    Oh, okay.     It's just across from the main reception desk.
  14 So when you walk into the front door of the daycare, the first
  15 thing you see is the reception desk with two different
  16 computers to -- for the employees and the parents to sign
  17 their children in.        And if you were to walk up to that desk,
  18 turn left, walk around it, and then kind of snake your way
  19 back, you would come to the door.            So it's just across from
  20 that desk, basically, to the left if you were to first walk
  21 into the building.
  22 Q.    Could you see the rug from the reception desk?
  23 A.    You might could see part of it; not the entire thing.
  24 Q.    Similar because of something like that?
  25 A.    Yes.    In fact, you would see less of the rug out in the
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   1 hallway or at the representation desk than you do from this
   2 photograph, because this is a much closer view.               You would be
   3 back out of the room and away from the door, or you just
   4 wouldn't have as good of an angle as this camera shows right
   5 now.
   6 Q.    Eventually, did you interview the defendant?
   7 A.    Yes.
   8 Q.    How did that interview come to happen?
   9 A.    Once I obtained Mr. Al-Awadi's application for employment,
  10 which included his home address, I -- Sergeant Bruce Smith, at
  11 my direction, contacted the lieutenant of our unit and asked
  12 him to go to the home address of Mr. Al-Awadi and see if he
  13 could make contact with him in order to detain him and bring
  14 him back to my office for an interview.             Lieutenant Madison
  15 did so on our behalf.
  16 Q.    Did you hear anything at all with anyone you spoke with at
  17 the daycare about someone touching M.R.?
  18 A.    Yes.    Mr. Al-Awadi.
  19 Q.    Anybody else?
  20 A.    No, not at all.
  21 Q.    Where did the interview of Mr. Al-Awadi take place?
  22 A.    4134 North Keystone Avenue, my office within the Child
  23 Advocacy Center.
  24 Q.    I would ask you to look at Exhibit 25.
  25 A.    Okay.
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   1 Q.    Do you recognize 25?
   2 A.    I do.
   3 Q.    What is it?
   4 A.    It is a DVD disk that contains two files on it.              One of
   5 them is a -- I believe it's a Word document.               That's a
   6 transcript of my interview of Mr. Al-Awadi.              The second one
   7 is a WMV file, or a video file, of the video recording of my
   8 interview with Mr. Al-Awadi.
   9 Q.    And did you watch the video file with the transcript?
  10 A.    Yes.
  11 Q.    And is it an accurate transcript of what was said?
  12 A.    For the most part, it's pretty good.            I did notice a few
  13 times that the words were not quite wrong (sic) or they
  14 transposed something.         For example, at one point Mr. Al-Awadi
  15 was talking about M.R. being in play mode, and the transcript
  16 states "play mold," M-O-L-D.
  17 Q.    A few misspellings?
  18 A.    Yeah.    So, I mean, it's not perfect, I guess, is my point,
  19 but it's very close.
  20 Q.    And would it -- would the transcript help you -- or would
  21 it help the jury to follow along with the interview?
  22 A.    Oh, yes, probably.
  23               MR. SHEPARD:     Your Honor, I would move for the
  24 admission of -- or, excuse me.
  25 BY MR. SHEPARD:
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   1 Q.    And how do you know that that's the same CD that contains
   2 those two files?
   3 A.    I watched it, looked at it, and then signed my name and
   4 dated it.
   5 Q.    And do you see those there today?
   6 A.    Yes.
   7 Q.    Your signature?
   8 A.    My signature and the date.
   9               MR. SHEPARD:     Your Honor, I would move for the
  10 admission of Exhibit 25.
  11               THE COURT:     Any objection?
  12               MR. THOMAS:     25 is the disk?
  13               THE WITNESS:     Yes, sir.
  14               MR. THOMAS:     No objection to 25.
  15               THE COURT:     25 is admitted into evidence without
  16 objection.
  17                            (Government's Exhibit 25 was

  18                            received in evidence.)

  19 BY MR. SHEPARD:
  20 Q.    How long did your interview last with the defendant?
  21               MR. THOMAS:     Objection.     Can we approach, Your
  22 Honor?
  23               THE COURT:     You may.
  24               (Bench conference on the record.)
  25               THE COURT:     How long did the interview last?
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   1               MR. THOMAS:     Your Honor, my concern is that the
   2 video that's being shown to the jury is redacted, so it will
   3 be shorter than the actual interview.             And that would -- so I
   4 think that's an inappropriate question at this point.                 It
   5 would tend to raise questions and confuse the jury.
   6               MR. SHEPARD:     I'll rephrase it, Your Honor.          I
   7 didn't think of that.
   8               THE COURT:     Okay.
   9                                 (Open court.)
  10               THE COURT:     Do you want to rephrase your question,
  11 Counsel?
  12               MR. SHEPARD:     Yes.
  13               THE COURT:     You may.
  14 BY MR. SHEPARD:
  15 Q.    Well, let's just go right into it.           At some point during
  16 the interview, did you happen to realize the defendant had his
  17 phone with him?
  18 A.    Yes.
  19 Q.    Did you take the phone?
  20 A.    I did.
  21               MR. SHEPARD:     Can you please play clip, "Takes the
  22 Phone"?      And these are all portions of Exhibit 25 for purposes
  23 of the record.
  24               (Playing video in open court.)
  25               MR. SHEPARD:     Pause it.
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   1 BY MR. SHEPARD:
   2 Q.    Okay.    Describe just what we're seeing here.
   3 A.    The shot of the back of my bald head, as well as --
   4               MR. THOMAS:     Your Honor, if I may, seeing as how
   5 this is being presented, I would request an instruction to the
   6 jury that the video is what they should follow.               And if they
   7 see an inaccuracy --
   8               THE COURT:     Right.    Ladies and gentlemen, the
   9 transcript at the bottom of the screen is being displayed to
  10 assist you as you listen to the audio.             The audio is the best
  11 evidence.      So if there's a discrepancy in what you hear and
  12 what you read in the transcript, what you hear is the best
  13 evidence.
  14 BY MR. SHEPARD:
  15 Q.    Again, what are we seeing here?
  16 A.    That's me in the foreground with my back to the camera.
  17 That's Mr. Al-Awadi.
  18 Q.    Right there?
  19 A.    Yes, that's me.
  20 Q.    Who is this?
  21 A.    That's Mr. Al-Awadi.
  22               MR. SHEPARD:     All right.     Go ahead and play.
  23               (Video playing in open court.)
  24 Q.    What did you do with the phone after that?
  25 A.    I placed it in or on my desk.
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   1 Q.    Did you retrieve it after the interview was over?
   2 A.    Yes.
   3 Q.    What did you do with it after that?
   4 A.    It was later that night or just after midnight on the 23rd
   5 that I placed it in the IMPD property room downtown where we
   6 place anything that we want to have stored as evidence.
   7 Q.    When you came back to get it, was it in the same place you
   8 had put it?
   9 A.    You mean in my desk?
  10 Q.    Yes.
  11 A.    Yes.
  12 Q.    I ask you to look in the box behind you at Exhibit -- or,
  13 excuse me, what's marked as Exhibit 27.
  14               Does the outside of that package tell you what's in
  15 there?
  16 A.    Yes.    There's a label from our digital forensic unit.
  17 Q.    And is it still sealed?
  18 A.    Yes.    The tape is broke on the pleat here on the side of
  19 the envelope.       But, otherwise, it's still -- the seal is
  20 intact.
  21 Q.    And go ahead and open it up and take a look at what's
  22 inside.
  23               MR. THOMAS:     Your Honor, can I inspect the object
  24 before he does that?
  25               THE COURT:     You may.
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   1               MR. THOMAS:     That's fine.     Thank you.
   2 BY MR. SHEPARD:
   3 Q.    Do you recognize it?
   4 A.    Yes.
   5 Q.    What is it?
   6 A.    It's Mr. Al-Awadi's cell phone, or at least the four
   7 parts -- or the three parts of the phone, as well as a cover,
   8 the case that he had.
   9 Q.    Is that the same one that we saw you take in the video?
  10 A.    Yes.
  11 Q.    How do you know?
  12 A.    I remember it.      It also -- the envelope it was in holds
  13 the case number from the case and the type of investigation it
  14 was, my name, the type of phone it was.             I remember taking it
  15 from him.
  16 Q.    All right.     And is it -- other than being taken apart, is
  17 it in substantially the same condition?
  18 A.    Yes.    If I were to resemble it, it would be closer to what
  19 I took from him, but yes.
  20 Q.    And you said you checked it into the property room?
  21 A.    Yes.
  22 Q.    Is that a secure facility?
  23 A.    Yeah.    It's in the basement of the City-County Building
  24 downtown, 50 North Alabama.          It's a secured facility that's
  25 staffed 24 hours a day by IMPD personnel.
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   1 Q.    Did you ever take it out of the property room?
   2 A.    Yes.
   3 Q.    When did that happen, and what did you do with it?
   4 A.    I took it out of the property room just a little after
   5 8:00 a.m. on the 27th of August, 2014.             And I drove to the
   6 area of 16th and Sherman where I met up with Detective Grant
   7 Melton with the digital forensic unit of IMPD.
   8 Q.    And did he perform an exam on it?
   9 A.    Not that day, but eventually, yes, sir.
  10 Q.    And then was it returned to the property room?
  11 A.    By Detective Melton, yes.
  12 Q.    And presumably it was sealed until he brought it here
  13 today?
  14 A.    This red evidence tape around the opening of the envelope
  15 contains the five-digit ID number of Detective Melton along
  16 with the date of 1/2/2015, and it was still sealed when I
  17 opened it up just now.
  18               MR. SHEPARD:     Your Honor, I move for the admission
  19 of Exhibit 27.
  20               THE COURT:     Any objection to 27?
  21               MR. THOMAS:     Preliminary question if I may.
  22               THE COURT:     You may.
  23 BY MR. THOMAS:
  24 Q.    Officer, you sealed it in the bag originally?
  25 A.    No, I don't believe this is the same envelope.              He had to
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   1 open it up, obviously, to do his work with it.               So it's a
   2 different envelope, I think.
   3 Q.    So you don't know how it got into that envelope?               Were you
   4 there when it got placed in this envelope?
   5 A.    Well, my belief is that Detective Melton did since his ID
   6 is on it, and since he's the person I gave it to, and since it
   7 has the digital forensic unit label, which they are the only
   8 ones that create those --
   9 Q.    I understand --
  10 A.    -- plus my familiarity with how it works.             But, no, I
  11 didn't actually see him do that, no, not at all.
  12 Q.    Are you aware of the items' whereabouts while it was out
  13 of the packaging you put it in?
  14 A.    Yes.    After I met with him, he took it to the digital
  15 forensic unit office, which is located at 201 North Shadeland
  16 Avenue, I believe.
  17 Q.    Did you go with him?
  18 A.    No, no.     I handed the cellular telephone to him and he
  19 kept it from there.
  20               MR. THOMAS:     Your Honor, I think at this point we
  21 don't have a chain of custody.           It's not in the original
  22 packaging.      It left him.      He does not -- can't tell us what
  23 happened to it, only that it at some point got placed in this
  24 packaging and was brought back to him.
  25               MR. SHEPARD:     Do you want us to approach, Your
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   1 Honor?
   2               THE COURT:     You may.
   3               (Bench conference on the record.)
   4               THE COURT:     What rule are you proceeding under?
   5               MR. SHEPARD:     I'm just presenting the fact that
   6 he --
   7               THE COURT:     "He" as in?
   8               MR. SHEPARD:     Detective McAllister identified the
   9 phone, says he remembered it as the phone that he took from
  10 the defendant.       I'll ask a final question, if it appears -- I
  11 think I asked him, actually, if it appeared in substantially
  12 the same condition.        He said, other than being in three parts,
  13 it was, and he remembered the phone, and that he put it in the
  14 property room.       I think once we get it to the property room,
  15 that's all we have to do.          Everything else goes to weight,
  16 Your Honor.
  17               MR. THOMAS:     It's not simply being offered as the
  18 phone.     They're going to -- there's going to be testimony
  19 about how it was taken apart, how it was tested, and what was
  20 done with it.       If there's -- if there were to be no more
  21 testimony about it other than this is the phone he had, it
  22 wouldn't be an issue, but it certainly is, and -- because he
  23 does not know where it was throughout that testing period
  24 specifically, and we don't have a chain of custody for the
  25 reason it's being offered.
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   1               THE COURT:     Yeah, I think you're going to have to
   2 get that, unless you -- if you all haven't stipulated to any
   3 chain of custody.
   4               MR. THOMAS:     No.
   5               THE COURT:     Okay.   Who was the -- you will have to
   6 get that other person in here, unless you're going to give me
   7 a trial rule.
   8               MR. SHEPARD:     It's Detective Melton.
   9               THE COURT:     Melton.    Is he here?
  10               MR. SHEPARD:     Yes, he is.
  11               THE COURT:     Okay.   I think you're going to have to
  12 let Melton say what he did with it, because that's his
  13 initials on the exhibit, right?           May I see the exhibit?
  14               MR. THOMAS:     This is not the original packaging, so
  15 it's not as if, well, this is mine and these are my initials
  16 and --
  17               THE COURT:     Uh-huh.
  18               MR. THOMAS:     -- this is back from him and his.           This
  19 is -- he says this is a new package with someone else's
  20 initials.
  21               THE COURT:     Yeah.   I think you're going to need to
  22 get Melton since he's not going to agree or stipulate.
  23               MR. SHEPARD:     For purposes of admission at all or
  24 just to go into testing?          I think I've laid enough foundation
  25 to admit the phone as the one that he took.
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   1               THE COURT:     Are the things still on the phone, the
   2 pictures and --
   3               MR. SHEPARD:     Whether or not Detective Melton can
   4 testify about if it was in the same condition when he examined
   5 it, I think I would agree that that would go to the
   6 admissibility of the findings of Detective Melton, not whether
   7 or not the phone, the physical phone itself, comes in.
   8               THE COURT:     Okay.   I'm going to sustain the
   9 objection.      You're going to have to get the phone in through
  10 Melton, okay?
  11                                 (Open court.)
  12               THE COURT:     Did you offer the exhibit?
  13               MR. SHEPARD:     Yes, Your Honor.
  14               THE COURT:     Okay.   The Court is going to sustain the
  15 objection.
  16               MR. THOMAS:     Thank you, Your Honor.
  17 BY MR. SHEPARD:
  18 Q.    Do you know what's commonly referred to as an advice of
  19 rights?
  20 A.    Yes.
  21 Q.    What's the layman's term for the advice of rights?
  22 A.    It's the written form that -- well, more broadly, it's
  23 just Miranda rights, is what most people know them as.
  24 Q.    Right to remain silent, the stuff you see on TV?
  25 A.    Right, to -- yes, the right to an attorney, absolutely.
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   1 Q.    Were those rights given to the defendant?
   2 A.    Yes.    I read a form to him.
   3               MR. SHEPARD:     Please play clip, "Miranda."          This is,
   4 again, a portion of Exhibit 25.
   5               MR. THOMAS:     Your Honor, may we approach?         I have an
   6 objection.
   7               THE COURT:     You may.
   8               (Bench conference on the record.)
   9               MR. THOMAS:     Your Honor, I will object to relevance
  10 at this point.       We haven't raised any issues about lack of
  11 advisement.       I think just playing that in front of the jury,
  12 particularly as he says, what you see on TV, you know, it has
  13 no real bearing.        We're not suggesting he wasn't properly
  14 advised.
  15               MR. SHEPARD:     Your Honor, again, throughout opening,
  16 throughout cross of all the witnesses, there have been
  17 implications and statements about the ways in which the
  18 investigation was conducted, rush to judgment
  19 characterizations, and statements.            This --
  20               THE COURT:     I think it's relevant that the witness
  21 was Mirandized properly.
  22               MR. THOMAS:     Just to finish the record, Your Honor,
  23 we've raised a lot of issues, but certainly none about whether
  24 he's Mirandized or not.         And I do think that it's prejudicial
  25 and not relevant.
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   1               THE COURT:     Well, I think it's a part of their
   2 burden.      If they want to get it in and play the statement,
   3 they are going to have to show that it was -- they could
   4 either ask him was he properly Mirandized or they can show the
   5 video.     I mean, it's normal.        There's nothing prejudicial
   6 about it.
   7               MR. SHEPARD:     It's Old Chief.      We get to present our
   8 case.     And --
   9               THE COURT:     Yeah.   And it's relevant.       They can --
  10 it's relevant.
  11               MR. THOMAS:     I would say it's more prejudicial than
  12 relevant, but I understand.
  13               THE COURT:     I don't know anything prejudicial about
  14 a Miranda warning.        I mean, it's a part of life.          It's a duty
  15 and responsibility that they --
  16               MR. THOMAS:     But --
  17               THE COURT:     We can't talk at the same time.
  18               MR. THOMAS:     I'm sorry, Judge.
  19               THE COURT:     It's a responsibility that the
  20 government and the prosecution has to fulfill in order to get
  21 this statement into evidence.           And if he wants to do it
  22 through the -- I mean, normally they will ask the witness,
  23 "Did you admonish them, give them their advisements, and what
  24 did you tell them?"        If they want to do it in the form of a
  25 video, that's fine.        I don't think --
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   1               MR. THOMAS:     I would understand if we were raising
   2 an issue, but we have not raised an issue.
   3               THE COURT:     You don't have to raise an issue.          If he
   4 wants a statement in, he's got to get it in.
   5               MR. THOMAS:     That's fine.
   6               THE COURT:     Okay.
   7               MR. SHEPARD:     Thank you, Your Honor.
   8                                 (Open court.)
   9               MR. THOMAS:     I withdraw my objection, Your Honor.
  10               THE COURT:     You're going to withdraw your objection?
  11               MR. THOMAS:     Sure.
  12               THE COURT:     Okay.
  13               MR. SHEPARD:     Please go ahead and play the clip.
  14               (Video playing in open court.)
  15               MR. SHEPARD:     Stop that.
  16 BY MR. SHEPARD:
  17 Q.    I'm going to ask you to look in the binder behind tab 29.
  18 Do you recognize 29?
  19 A.    Yes.
  20 Q.    What is it?
  21 A.    It's a copy of the form that I was just showing on the
  22 video, reading, explaining, and filling out with Mr. Al-Awadi.
  23 Q.    Is that the same form that we just saw you going over in
  24 the video?
  25 A.    That's the one.
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   1 Q.    All right.     Is his signature on it?
   2 A.    It is.
   3 Q.    And did you witness him sign it?
   4 A.    Yes.
   5 Q.    It's your signature on it?
   6 A.    It is.
   7               MR. SHEPARD:     Your Honor, I would move for the
   8 admission of Exhibit 29.
   9               MR. THOMAS:     Your Honor, I would object to it at
  10 this point.       I mean, it's cumulative.        We've just spent a long
  11 time showing the jury that he was Mirandized.               It's not at
  12 issue.     And at this point it's cumulative evidence.
  13               THE COURT:     I'll overrule.      29 is admitted into
  14 evidence over objection.
  15                            (Government's Exhibit 29 was

  16                            received in evidence.)

  17               MR. SHEPARD:     Please display 29.
  18 BY MR. SHEPARD:
  19 Q.    Is that the part we heard you reading, right there at the
  20 very end?
  21 A.    Yes, just before he signed it.
  22 Q.    Is that his signature?
  23 A.    Yes.
  24 Q.    And is that yours?
  25 A.    Yes, sir.
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   1 Q.    Did you ask him if he knew why he was there?
   2 A.    I believe so, yes.
   3 Q.    Did he know why he was there?
   4 A.    He told me he did.
   5 Q.    What did he say?       Why did he say he was there?
   6 A.    He told me about an incident that happened the day before
   7 at the daycare.
   8               MR. SHEPARD:     You can clear the image.
   9 BY MR. SHEPARD:
  10 Q.    And did he have a version of the events?
  11 A.    Yes.
  12 Q.    And did you talk about that with him?
  13 A.    Yes.
  14               MR. SHEPARD:     Please play "First Account."
  15               (Video playing in open court.)
  16 BY MR. SHEPARD:
  17 Q.    Did he ever say anything about his cell phone during that
  18 first account?
  19 A.    No.
  20 Q.    Did you ask him if he gave a statement to his employer?
  21 A.    Yes.
  22               MR. SHEPARD:     Please play clip, "Heidi Talk."
  23               (Video playing in open court.)
  24               MR. SHEPARD:     Please display Exhibit 24.
  25 BY MR. SHEPARD:
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   1 Q.    Is that the piece of paper you were just talking about?
   2 A.    Yes.
   3 Q.    Have you had a chance to read that before today?
   4 A.    Yes.
   5 Q.    Does it mention anything about him using his cell phone to
   6 take pictures of M.R.?
   7 A.    No.
   8 Q.    Did you ask him to go over what happened again?
   9 A.    Yes.
  10               MR. SHEPARD:     Please play clip "Second Account."
  11               (Video playing in open court.)
  12 BY MR. SHEPARD:
  13 Q.    Did he mention anything about a cell phone?
  14 A.    No, not at all during that account.
  15 Q.    Did you specifically start talking to him about an injury
  16 to M.R.?
  17 A.    I believe so.
  18 Q.    And did he have -- did he offer an explanation?
  19 A.    He offered up something that he said happened, that he
  20 thought might be related to it.
  21               MR. SHEPARD:     Can you please play clip, "Watch
  22 Account."
  23               (Video playing in open court.)
  24 BY MR. SHEPARD:
  25 Q.    At some point in the investigation, did you go get that
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   1 watch?
   2 A.    Yes.
   3 Q.    How did that happen?
   4 A.    I obtained a search warrant from Marion County Superior
   5 Court.
   6 Q.    I'll ask you to look at Exhibit 28.           It's 28.
   7 A.    Yes.
   8 Q.    What is it?
   9 A.    Oh, it's a box that contains the Casio watch in question.
  10 Q.    And how do you know?
  11 A.    It's got a label on it from our IMPD property room.
  12 Q.    How did it get to the property room?
  13 A.    I took it there after I recovered it during the search
  14 warrant.
  15 Q.    Can you open it up -- or is it still sealed?
  16 A.    Yes, it is.
  17 Q.    Okay.    Is there any initials or anything on the sealing?
  18 A.    No.    It's just got a heavy-duty piece of tape.            And then
  19 over top of that, there is a red evidence seal closing it.
  20 Q.    Is that typically what's done to evidence at the crime
  21 room -- or the property room?
  22 A.    Yeah.    That's how we sealed it when I took it in.
  23 Q.    Okay.    Go ahead and open it up.
  24 A.    I can try.     I don't know if the Court has scissors.
  25 Q.    What's inside?
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   1 A.    An envelope.
   2 Q.    And what's on the envelope?
   3 A.    There's another label, the same label that's on the
   4 outside.      And it has the case number, as well as the tape that
   5 wraps all the way around the seal, with my signature and the
   6 date of August 27, 2014, on it.
   7 Q.    And what did you put in there?
   8 A.    I put the watch in there.
   9 Q.    Go ahead and open that up, please.
  10               Do you recognize it?
  11 A.    Yes.
  12 Q.    What is it?
  13 A.    That is the watch that I recovered from Mr. Al-Awadi's
  14 bedroom.
  15 Q.    Is it in substantially the same condition as it was when
  16 you recovered it?
  17 A.    It hasn't been opened since I sealed it.
  18               MR. SHEPARD:     Your Honor, I would move for the
  19 admission of Government's 28.
  20               THE COURT:     Any objection?
  21               MR. THOMAS:     No objection to 28, Your Honor.
  22               THE COURT:     Government's Exhibit 28 is admitted into
  23 evidence without objection.
  24                            (Government's Exhibit 28 was

  25                            received in evidence.)
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   1 BY MR. SHEPARD:
   2 Q.    And was that the watch that he was talking about in that
   3 last interview clip?
   4 A.    He described it as a black Casio G-Shock watch and said it
   5 was his.      I think later in the interview, after that clip, he
   6 told me that it was in his bedroom at his home.               And that's
   7 where I recovered it from, so I believe it to be the same
   8 watch he described.
   9               MR. SHEPARD:     Can we publish the watch to the jury,
  10 Your Honor?
  11               THE COURT:     You may.
  12 BY MR. SHEPARD:
  13 Q.    About this time, do you remember how many times you would
  14 have gone through his version of events with him?
  15 A.    Do you mean up to the point that we last watched the
  16 video?
  17 Q.    That we've just seen.
  18 A.    I believe it was at least three times.
  19 Q.    And did he say anything about M.R. complaining of pain
  20 before he was confronted by Tyria to him?
  21 A.    No.
  22 Q.    Did he say anything about his cell phone?
  23 A.    No, nothing.
  24 Q.    Did he say anything about pictures on his cell phone of
  25 M.R.?
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   1 A.    Nothing.
   2 Q.    Did you talk about it again?
   3 A.    Yes.
   4               MR. SHEPARD:     Please play clip, "Fourth Account."
   5               (Video playing in open court.)
   6 BY MR. SHEPARD:
   7 Q.    Now, is there some point that you started asking him about
   8 his cell phone and what may be on it?
   9 A.    Yes.
  10 Q.    And in what context was that?
  11 A.    In describing the events to me, he said that immediately
  12 after being relieved from break, he went to the restroom.                   And
  13 after he went to the restroom, he went out to his car.                 He
  14 said he went to the Marsh to buy a pop for Ms. Tyria, but then
  15 he spent the remainder of the time on his one-hour lunch break
  16 in his car parked in the parking lot of the daycare, with the
  17 air conditioning on because it was hot, and he watched videos
  18 on his cell phone.
  19 Q.    And did you talk about that with him?
  20 A.    Yes.
  21               MR. SHEPARD:     Please play clip, "Cell Phone Video."
  22               (Video playing in open court.)
  23 BY MR. SHEPARD:
  24 Q.    After that, did he tell you about four pictures of M.R.
  25 that might be found on his cell phone?
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   1 A.    No.
   2 Q.    Now, when this interview was being conducted, were you
   3 aware of the physical examination of M.R. Guevara by the
   4 Center of Hope?
   5 A.    Yes.    I had received the results of that physical exam
   6 earlier in the morning prior to, I think, even M.R.'s
   7 interview beginning.
   8 Q.    Did you confront the defendant with the possibility of DNA
   9 being found?
  10 A.    I did.
  11 Q.    How did you go about confronting him?
  12 A.    At one point I explained to him the process of the
  13 forensic exam that's performed by the nurse and told him that
  14 M.R. had been examined and asked him if there was any reason
  15 his DNA would be found inside of her vagina, or anything like
  16 that.
  17               MR. SHEPARD:     Can you play clip, "First Underwear"?
  18               (Playing video in open court.)
  19 BY MR. SHEPARD:
  20 Q.    Did he say anything about pictures?
  21 A.    He didn't say anything about photographs, no.
  22 Q.    Ever even say he saw the underwear?
  23 A.    No.
  24 Q.    Did he deny it multiple times?
  25 A.    That's correct.
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   1 Q.    Did you ask him about it again?
   2 A.    Yes.
   3               MR. SHEPARD:     Please play clip, "Tickle Their
   4 Bellies."
   5               (Playing video in open court.)
   6 BY MR. SHEPARD:
   7 Q.    Ever say anything about her pants or anything being pulled
   8 away?
   9 A.    No, just that her shirt was up a little bit, but never --
  10 Q.    Any photographs taken while her shirt was up?
  11 A.    He didn't mention anything about taking any photographs of
  12 her.
  13 Q.    Did you talk about it again?
  14 A.    Yes.
  15               MR. SHEPARD:     Please play clip, "I Can Envision a
  16 Scenario."
  17               (Playing video in open court.)
  18               THE COURT:     Mr. Shepard, is this a good time for our
  19 afternoon break?
  20               MR. SHEPARD:     Yes, Your Honor.
  21               THE COURT:     Okay.   Let's take our afternoon break.
  22 Ladies and gentlemen, no deliberation, no discussion, we'll
  23 have you back in the courtroom in about 15 minutes.
  24               THE COURTROOM DEPUTY:       All rise.
  25               (Jury out at 2:56.)
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   1               THE COURT:     Okay.   We'll take 15 minutes.
   2               MR. SHEPARD:     Thank you, Your Honor.
   3               (Recess at 2:56, until 3:15.)
   4               THE COURT:     Are you ready for the jury, Mr. Shepard?
   5               MR. SHEPARD:     Yes, Your Honor.
   6               THE COURT:     Ready, Mr. Thomas?
   7               MR. THOMAS:     Ready, Your Honor.
   8               THE COURT:     Tanesa, you may bring in the panel.
   9               (Jury in at 3:15.)
  10               THE COURT:     Counsel, you may continue with the
  11 examination of your witness.
  12               MR. SHEPARD:     Thank you, Your Honor.
  13 BY MR. SHEPARD:
  14 Q.    Detective McAllister, during your interview with the
  15 defendant, did you ever discuss two other girls who had
  16 complained of pain in their private areas and what the
  17 defendant did?
  18 A.    He told me about two other girls besides M.R. that he said
  19 complained to him about vaginal pain while he worked at the
  20 daycare.      So, yes, we did.
  21               MR. SHEPARD:     Would you please play clip, "Two Other
  22 Girls" -- or "Other Two Girls."           Excuse me.
  23               (Playing video in open court.)
  24 BY MR. SHEPARD:
  25 Q.    Did he say anything at all about reporting pain of M.R. to
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   1 Chiana or to Heidi or to a nurse?
   2 A.    No.
   3 Q.    Other than -- when you say he was confronted by
   4 Ms. Graham, anything at all about M.R. telling him anything
   5 about pain?
   6               MR. THOMAS:     Objection to the form of the question.
   7 Is he asking this witness about what the defendant said to
   8 Ms. Graham?
   9               THE COURT:     You need to rephrase your question.
  10 "Did he say anything at all about reporting pain of M.R. to
  11 Chiana or to Heidi or to a nurse?"
  12               MR. SHEPARD:     I'll rephrase, Your Honor.
  13               THE COURT:     Okay.
  14 BY MR. SHEPARD:
  15 Q.    Other than when you were talking about -- with the
  16 defendant of when he came back after break and Tyria and --
  17 and what M.R. had said then in Tyria's presence, and the
  18 defendant, did the defendant say M.R. ever told him about any
  19 other pain throughout your interview?
  20 A.    No.    The only time that he, during my conversation with
  21 him, talked about M.R. complaining of pain was in the context
  22 of her telling Ms. Tyria and him that it hurt when he went
  23 into the room with the two of them after he got back from
  24 break.
  25 Q.    Did he say anything about her telling him she was in pain
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   1 during the time they were alone?
   2 A.    No.
   3 Q.    Did he tell you anything about pictures of M.R. that might
   4 be on his cell phone?
   5 A.    He didn't say anything about that at all.
   6 Q.    Did you eventually take a swab of the defendant's DNA?
   7 A.    I did.
   8 Q.    Please look at Exhibit 30 behind you.
   9               Do you recognize that?
  10 A.    Yes.
  11 Q.    What is it?
  12 A.    It's the envelope that I placed what we call the buccal
  13 swab from Ali Al-Awadi into after I obtained it from him.
  14 Q.    And what did you do after you placed it into that
  15 envelope?
  16 A.    I transported it to the Indianapolis Metropolitan Police
  17 Department property room located in the basement of the
  18 City-County Council -- or City-County Building and turned it
  19 in there as evidence after I put this red seal, the evidence
  20 tape, around it and signed my name with the date and time and
  21 the date (sic) of 3:54 p.m.          And, in fact -- I'm sorry.         I
  22 misremembered.        Ali Al-Awadi also signed the seal, so we
  23 sealed it together immediately after I took the swab from him.
  24 Q.    And then you turned it over to the property room?
  25 A.    Yes.    So --
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   1 Q.    Did you have anything to do with it after that?
   2 A.    No.    I -- aside from recovering it from the property room
   3 prior to trial, no, I have not seen or done anything with this
   4 after I placed it into the property room sealed with his and
   5 I's signatures.
   6 Q.    And is the property room a secure facility?
   7 A.    It is.
   8 Q.    Why did you take that sample?
   9 A.    I obtained his buccal swab, the swab from the inside of
  10 the mouth, in order to have cells from him so that the Marion
  11 County -- or Indianapolis-Marion County Forensic Services
  12 Agency, our crime lab, would have a DNA standard of
  13 Mr. Al-Awadi to compare any possible evidence recovered in
  14 this case, so that they could compare it to his DNA.
  15 Q.    Did you take a swab of Justo Guevara?
  16 A.    I did.
  17 Q.    Would you please look at Exhibit 31.
  18               What's 31?
  19 A.    This is the envelope containing Justo Guevara's buccal
  20 swab.
  21 Q.    And how do you know that?
  22 A.    Because it has his name on it.          Well, it's written on the
  23 front what it is.        It's got the IMPD case number, the date I
  24 took it, my initials, his name.           I wrote on it "Buccal Swab,"
  25 the time that I took it, and it has the property room label
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   1 that also contains the case number and his name.
   2 Q.    And, again, did you turn it over to the property room?
   3 A.    Yes.    I sealed it with the red evidence tape here with my
   4 name signed across the top, as well as the date.
   5 Q.    And what was the purpose of obtaining that swab?
   6 A.    It's what we call an exclusionary standard, so just to be
   7 able to say that the DNA -- or any DNA recovered or found
   8 within any of the samples or evidence did not belong to Justo
   9 Guevara.
  10 Q.    For purposes of comparison?
  11 A.    Yes.    It's a -- just like with Mr. Al-Awadi, it's a
  12 standard against which they can compare any other potential
  13 samples of DNA against to see if the DNA present in any of the
  14 evidence belongs to Mr. Guevara.
  15               MR. SHEPARD:     If I could have just a moment, Your
  16 Honor?
  17               THE COURT:     You may.
  18               (Off the record.)
  19 BY MR. SHEPARD:
  20 Q.    Detective, can you please look at what's marked as
  21 Exhibit 5 behind you?         I believe it's inside of the rape kit.
  22 A.    Is it within 48?
  23 Q.    Yes, sir.
  24 A.    Okay.    I'm looking for a nonexistent 5.
  25 Q.    What's Exhibit 5?
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   1 A.    It's a paper envelope containing the panties of M.R.
   2 Guevara that were recovered by Angela Bates and placed within
   3 the sexual assault examination kit that she prepared on the
   4 date of her exam with M.R.
   5 Q.    Did you handle that at any time?
   6 A.    I did.
   7 Q.    When?
   8 A.    It was on January the 8th of 2015.
   9 Q.    Why did you handle it?
  10 A.    To compare the underwear recovered the day of the exam
  11 with underwear discovered in photographs found within the cell
  12 phone of Mr. Al-Awadi.
  13 Q.    How did you go about handling Exhibit 5?
  14 A.    I went to the property room and requested the entire kit,
  15 which was still sealed at the time.            Prior to opening the kit,
  16 I obtained a blank sheet of white paper from an unopened ream
  17 of paper and set it down on a workspace there.               And I placed
  18 on a set of latex gloves, blue latex gloves, and then I cut
  19 open the seal of this white box here, Exhibit 48.
  20               And using the gloves on the entire time, I opened up
  21 the kit, found the ones -- this particular envelope, and then
  22 opened this envelope.         And, using the gloves, I pulled out the
  23 underwear to look at them and see if they were the same ones
  24 that were in the photographs on Mr. Al-Awadi's phone.
  25 Q.    Did they appear to you to be the same?
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   1 A.    Yes.    They appeared identical.
   2 Q.    What did you do after that?
   3 A.    Well, after I opened the envelope, I placed them on that
   4 clean sheet of white paper.          I photographed the underwear,
   5 took several photographs of the underwear, and replaced them
   6 or put them back into this white paper envelope that they were
   7 in originally.       I resealed it with evidence tape and I signed
   8 and dated the -- over the seal.
   9 Q.    Then what did you do with that envelope?
  10 A.    I placed it back within this -- this white box here,
  11 closed the box back up and placed new seals on the envelope in
  12 several places, right here and right here, to show that it was
  13 sealed once again.        I signed and dated the edges of both
  14 seals.
  15 Q.    And then what did you do with the box?
  16 A.    I turned it back into the property room.
  17 Q.    And is the property room a secure facility?
  18 A.    Yes.
  19               MR. SHEPARD:     Your Honor, I pass the witness for
  20 cross.
  21               THE COURT:     Okay.   You may.
  22               MR. THOMAS:     Thank you, Your Honor.
  23                              CROSS EXAMINATION

  24 BY MR. THOMAS:
  25 Q.    Detective, I want to start with something that kind of
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   1 came at the end.        There was talk about two other students,
   2 G.F. and K.E.?
   3 A.    Yes, sir.
   4 Q.    Do you recall that?
   5 A.    Yes.
   6 Q.    And you were able to find out who they were, right?
   7 A.    Absolutely.     Yes, sir.
   8 Q.    And then they were -- there were forensic interviews of
   9 those children similar to the one we saw with M.R., right?
  10 A.    Yes.
  11 Q.    That was part of this investigation, right?
  12 A.    Yes, sir.
  13 Q.    And neither of those girls said Mr. Al-Awadi did anything
  14 wrong to them, right?
  15               MR. SHEPARD:     Objection, hearsay.
  16               MR. THOMAS:     It's not offered for the truth.           It's
  17 about his investigation and whether he followed up on it.
  18               THE COURT:     I'll sustain the objection.
  19 BY MR. THOMAS:
  20 Q.    Did you, after interviewing -- after G.F. and K.E. were
  21 interviewed, was there any follow-up investigation involving
  22 them?
  23 A.    I believe I spoke to their parents.           But, beyond that, I
  24 don't think there was much more.
  25 Q.    When you are watching these forensic interviews, we saw in
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   1 this one perhaps, but there's a walkie-talkie-like device,
   2 right?
   3 A.    Yes, sir.
   4 Q.    And the purpose of that is so you, being the detective,
   5 can communicate with the interviewer about questions you might
   6 want to be asked?
   7 A.    Yes.    It's not simultaneous communication the entire
   8 interview.      The way they do it at the Marion County Child
   9 Advocacy Center is that they will perform the interview.                  When
  10 they've exhausted any material they think they have to cover,
  11 at that point they will take the walkie-talkie, turn it on,
  12 and put the earpiece in their ear as a signal to anyone who
  13 may be watching to ask any follow-up questions of them or
  14 instruct them to do any follow-up work that needs to be done.
  15 Q.    You're watching the whole thing, right?
  16 A.    Yes, sir.
  17 Q.    And if there are follow-up questions that you want to be
  18 asked, you have the ability to say, "Hey, ask something else"?
  19 A.    Yes, that's true.
  20 Q.    And there are numerous times where things are sort of left
  21 hanging; wouldn't you agree?
  22 A.    I don't know that I would -- for instance?
  23 Q.    I'll give you an example.
  24 A.    Thank you.
  25 Q.    I'm glad you asked.       In       M.R.'s       statement, she
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   1 was -- she was asked about Mr. Al-Awadi's hand, or how his
   2 hand moved, and she said, "Like a bird."              Do you remember
   3 that?
   4 A.    I do.
   5 Q.    And do you remember the response of the interviewer?
   6 A.    I think I remember.       I think she said that she was
   7 confused and asked her to tell her again what she meant.
   8 Q.    Right.
   9 A.    I think.     I can't remember for sure without seeing it
  10 again, but --
  11 Q.    Okay.    When she asked her again, she gave the same
  12 response, right, "Like a bird"?
  13 A.    "Like a bird," yes, sir.
  14 Q.    And didn't ask her anything else about that?
  15 A.    I didn't ask?
  16 Q.    She didn't ask her anything else about that?
  17 A.    I don't think so.
  18 Q.    Did you know what that meant when a four-year-old child
  19 said that his hand was, "like a bird"?
  20 A.    Imagery of his finger moving up and down or sort of
  21 fluttering came to my mind.
  22 Q.    In your mind?
  23 A.    Yes, sir.
  24 Q.    But the child never said that, right?
  25 A.    Well, she used the words, "like a bird."
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   1 Q.    And --
   2 A.    It was a metaphor.       It wasn't -- she didn't say it was a
   3 bird in her, just, "like a bird."
   4 Q.    Right.    You know what you would mean if you said, "like a
   5 bird," right?       But you don't have any idea at this point what
   6 M.R. meant by, "like a bird," because nobody asked her what
   7 does that mean, right?
   8 A.    Well, as an adult, I wouldn't describe it that way.               I
   9 would probably use more explicit language.              However, she did
  10 try to follow up and ask her what she meant by that, and she
  11 didn't elaborate beyond just saying it was like a bird, which
  12 was consistent with her developmental level, of a
  13 four-year-old child.
  14 Q.    Right.    The follow-up was, "What do you mean, 'just like a
  15 bird'?     I'm confused."      Right?    That's --
  16 A.    That sounds -- that sounds about as I remember it, yes,
  17 sir.
  18 Q.    Not, "Can you show me what you mean, can you show me with
  19 your hand," so you would have had an opportunity to follow up
  20 on that, right?
  21 A.    If I saw fit to, I could have, yes, sir.
  22 Q.    If you had followed up and she would have said, "What do
  23 you mean like a bird," and she would have gone like this,
  24 flapped her arms, would that have seemed -- would that have
  25 made sense to you?
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   1 A.    That didn't happen, so I have no idea how I would have
   2 reacted.
   3 Q.    Right.    Nothing happened because nobody followed up and
   4 nobody really asked her, "What do you mean when you say
   5 something like that?"
   6               MR. SHEPARD:     Objection.     Asked and answered,
   7 multiple times, I believe.
   8               THE COURT:     It is cross and I've given you leeway,
   9 but you have asked it multiple times.             So would you move on,
  10 Counsel?
  11 BY MR. THOMAS:
  12 Q.    That was one example.        You also interviewed, on the same
  13 day, M.R.'s mother, correct?
  14 A.    Miosotis, yes.      Yes, sir.
  15 Q.    And do you remember in the interview she said she had two
  16 children?
  17 A.    Yes.
  18 Q.    Do you remember their names?
  19 A.    M.R. and E.R.
  20 Q.    Was there a mention of a G.F.?
  21 A.    I've had multiple different conversations with Miosotis.
  22 I believe in one of the subsequent conversations, that she's
  23 mentioned a cousin named G.F.            I don't know that she
  24 mentioned cousins during that first interview on the 22nd of
  25 August.
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   1 Q.    In the -- your interview with her, she also mentioned that
   2 she had another daughter, that died.             Do you recall that?
   3 A.    I don't remember.       I'm sorry.
   4 Q.    Well, I guess the reason I'm asking is that there were a
   5 couple of references in M.R.'s statement to G.F., "my sister
   6 G.F.," right?       Do you remember that?
   7 A.    At least one that I remember, yes, sir.
   8 Q.    What do you remember about that?
   9 A.    That there was a reference to G.F.
  10 Q.    So you don't remember the specific --
  11 A.    Not without being refreshed.          I know I watched it earlier,
  12 but I can't remember.         I'm sorry.
  13               MR. THOMAS:     Approach the witness, Your Honor?
  14               THE COURT:     You may.
  15 BY MR. THOMAS:
  16 Q.    I'll show you the transcript of what's already been
  17 admitted as 43.       Here's the first one.        If you could just
  18 take a look at that.
  19 A.    It doesn't say anything about G.F. -- oh, I'm sorry.
  20 There it is.
  21 Q.    Yeah, it kind of does.
  22 A.    I'm sorry.
  23 Q.    Go ahead and read it for me, please.
  24               MR. SHEPARD:     Your Honor, could we have the page
  25 number?
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   1               MR. THOMAS:     Oh, I'm sorry.      Page 13.
   2               THE WITNESS:     I've read it.
   3 BY MR. THOMAS:
   4 Q.    Okay.    And having read it, does it refresh your memory as
   5 to what she was talking about?
   6 A.    Yes.
   7 Q.    And what was she talking about?
   8 A.    She said -- it was in the context of her talking about
   9 being tricked and tricking.          And she said, "My sister
  10 G.F....tricked me."
  11 Q.    "My sister G.F....tricked me about something and I don't
  12 like it," right?
  13 A.    Yes, sir.
  14 Q.    And I'll show you on page 14, right up here.              If you could
  15 take a look at that and see if it refreshes your memory.
  16 A.    Yes, I remember.
  17 Q.    Okay.    And after seeing that, what was her second
  18 reference to her sister, G.F.?
  19 A.    That her sister, G.F., had tricked her that morning.
  20 Q.    She doesn't have a sister G.F., as far as you know,
  21 right?
  22 A.    No.
  23 Q.    Did you ever follow up and try to find out who G.F. was?
  24 A.    My belief was that it was her cousin.
  25 Q.    Was it your belief at that time?
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   1 A.    I don't remember.
   2 Q.    Was she -- was -- do you know if she was ever around
   3 anyone named G.F.?
   4 A.    I know she was around her cousins.
   5 Q.    You don't know when, do you?
   6 A.    No.    I know there was family members that I believe
   7 accompanied them to the hospital, but I'm not --
   8 Q.    She doesn't say her cousin, G.F., does she?             She says her
   9 sister, G.F., right?
  10 A.    Oh, that's true, yes, sir.
  11 Q.    And she's talking about that in the context of her
  12 statement about Ms. Anna, right?
  13 A.    About tricking Jessica is the context both those comments
  14 came in.
  15 Q.    Right.    You had told us that you thought that she was --
  16 M.R. in her first interview at 9:30 was more attentive than in
  17 the second one, right?
  18 A.    She appeared to be, or more focused, I guess I would say.
  19 She was more direct about addressing the immediate issues at
  20 hand, whereas the second interview, she went a little bit more
  21 far afield and was definitely in a different mood and demeanor
  22 during the interview.
  23 Q.    Was it your experience in conducting these and seeing
  24 these conducted that children tend to get more familiar, more
  25 comfortable as the interview goes on in some cases?
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   1 A.    Sometimes, but my specific observation in this one was
   2 more that she was trying to change the subject after being
   3 asked multiple times about -- about being touched.
   4 Q.    Okay.    Now, she did say that she was touched at school by
   5 Ms. Anna, didn't she?
   6 A.    Yes.
   7 Q.    And on a different day than this happens, is what she
   8 said, right?
   9 A.    Yes.
  10 Q.    And she was pretty specific in her description, right, I
  11 mean about what happened?
  12 A.    Yes.    As far as what happened, not necessarily the context
  13 surrounding it, but, yes.
  14 Q.    Well, I mean, she -- "How did Ms. Anna hurt you?"
  15               "Cause she did...she just put it," in, "right
  16 there."
  17               "What do you mean?"
  18               "Stick it in and stick it out."
  19               "Stick what in and...what out?"
  20               "Uh...finger."
  21               "Ms. Anna?"
  22               "Yes."
  23               I mean, so she was pretty specific at that part when
  24 she was describing it, yes?
  25 A.    I just meant, when I said not specifically about the
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   1 context surrounding it, she didn't say exactly when or where
   2 or what place they were, besides at the daycare.
   3 Q.    At the daycare.      And then she did go on to say something
   4 about, "I may trick you," "I trick you," right?
   5 A.    That's what she said to Ms. Woodall, yes.
   6 Q.    And she talked about being tricked by a sister she doesn't
   7 have?
   8 A.    About G.F., yes.
   9 Q.    That was enough at that point, that she -- because she
  10 then later said, no, she didn't do anything, it was a trick.
  11 That was the end of that, right?
  12 A.    I don't know.      What do you mean?
  13 Q.    Well, you never asked anybody at the school about Anna or
  14 anyone by that name or close to that name or anyone she had
  15 contact with; you didn't follow up on that at all, right?
  16 A.    Based on her demeanor when discussing that and based upon
  17 her telling outright to Ms. Woodall that she was just tricking
  18 and, you know, laying upside down and then later correcting
  19 herself and saying, "No, I was tricking you.               Ms. Anna didn't
  20 do nothing, nothing happened," and then reaffirming that it
  21 was only Mr. Ali that put his finger inside of her vagina.
  22 Yes, based on that, I didn't follow up on the other
  23 information.       Plus, there was no one else in the room when
  24 that happened --
  25 Q.    Well, she didn't say Ms. Anna did it on the same day,
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   1 right?      She said it was on a different day?          She was
   2 specifically asked and she said a different day, right?
   3 A.    No.    I guess I mean, I also -- when she was talking about
   4 Mr. Ali doing it, she said other teachers were in the room,
   5 Ms. Tyria.      And, in fact, she wasn't -- it was when Ms. Tyria
   6 was gone.
   7 Q.    Right.    So that was a detail that she gave in her
   8 statement about Mr. Ali that was wrong, right?
   9 A.    A minor detail, yes, sir.
  10 Q.    We don't really know about the other accusation because
  11 you took her word for it when she said, "No, I tricked you, it
  12 didn't happen," right?
  13 A.      It wasn't just her word at that moment, but all of the
  14 prior statements that she had made.            At no point had she ever
  15 referenced an Anna.        And what she did say later to correct her
  16 statement and say, "No, I was tricking, Ms. Anna didn't do
  17 anything at all," it was consistent with everything I had
  18 heard and learned and knew up to that point.
  19 Q.    You didn't take her word for it when she said Ms. Graham
  20 was in the room, right, because you knew that was false?
  21 A.    As my investigation proceeded, I learned that that was
  22 false, yes, sir.
  23 Q.    So the things that help your case, that she says, are
  24 believable; the things that don't help your case --
  25               MR. SHEPARD:     Objection, argumentative.
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   1               THE COURT:     I'll overrule.      You may answer the
   2 question.
   3 BY MR. THOMAS:
   4 Q.    The things that help your case, that M.R. says, you
   5 believe wholeheartedly; the things that don't help your case,
   6 you don't, or you discount?
   7 A.    No, that's not a fair characterization, no, sir.
   8 Q.    Okay.    Now, you talked a little bit about this statement
   9 near the end of the interview when she's again asked if
  10 anybody had touched her.          You said in your direct that you
  11 thought it was something into the future about this monster,
  12 that you thought she was saying about something that might
  13 happen, right?
  14 A.    I think it was actually the condition of verb tense.                I
  15 think she said "would."
  16 Q.    Well, what she said is, "When I go to -- when I go to
  17 sleep at home when somebody knock on the door and has already
  18 had a key...and it looks like a monster," right?                That's not
  19 future tense, right?
  20 A.    There was something more after that.
  21 Q.    Do you remember her making that statement?
  22 A.    I remember her saying those words and more, yes, sir.
  23 Q.    And that, what I just read to you, you would agree that's
  24 not in the future tense, right?
  25 A.    She mixed her verb tenses all up in there, yes, sir.
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   1 Q.    Okay.    So, again, when it's -- when it's not helpful to
   2 your case, you can ignore her verb tense and say, well, she
   3 meant future tense because she mixed it up, right?
   4 A.    She was also discussing a monster.
   5 Q.    Yeah.
   6 A.    And a dream.
   7 Q.    And that would touch her down there, right?
   8 A.    Would touch her, like -- yes, sir, absolutely.
   9 Q.    Which you discounted that completely, right, because she
  10 said it was a dream?
  11 A.    And because it was a monster or looked like a monster.
  12 And she said she had that dream.
  13 Q.    Now, at this --
  14 A.    She had slept since the incident had occurred.              Like I
  15 said earlier, I didn't know if maybe she had had nightmares
  16 about what happened to her the day before, which is entirely
  17 likely.
  18 Q.    Nobody ever asked her, did they?
  19 A.    She -- asked her what, sir?
  20 Q.    Well, you're speculating about, "Well, I don't know when
  21 she had that dream.        I don't know if she had it before.           Maybe
  22 she had it that night."         Well, we'll never know, because
  23 nobody asked her, right?
  24 A.    She said she had the dream.         As far as when exactly, I
  25 don't know.       You're right.
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   1 Q.    That goes back to, we talked about follow-up questions.
   2 You could have asked follow-up questions about this, right?
   3 A.    If I thought that follow-up questions were appropriate or
   4 necessary or helpful at that point, yes.
   5 Q.    And a child, a four-year-old child relaying, even as a
   6 dream, a monster with a key, "who comes into my room at night
   7 and touches me," that wasn't anything to follow up on?
   8 A.    She said that it would be bad if someone -- or if that did
   9 happen, and then said she had dreamed that.
  10 Q.    Right.    So that was --
  11 A.    It didn't indicate to me that there was any particular
  12 piece of follow-up investigative work that needed to be done
  13 based on those statements, no.
  14 Q.    But that was future tense, but she didn't mix up her tense
  15 at that point, did she?
  16 A.    What future tense?       I'm sorry.
  17 Q.    Well, you're talking about, "Well, she said it would," so
  18 that's future tense, right?
  19 A.    No, I never said that.        I said conditional.
  20 Q.    Okay.    You read into when she said, "When I go to sleep at
  21 home when somebody knock on the door and has already had a
  22 key...and it looks like a monster...and it would touch me down
  23 there," you -- that's conditional?
  24 A.    If then, yes, sir, it would.
  25 Q.    Okay.    At that point, you had evidence of a possible
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   1 injury, possible molestation, right, from the hospital?
   2 A.    Her forensic exam showed findings that were consistent
   3 with penetration, a sexual penetration injury to her hymen, on
   4 the interior structures of her genital area, yes, sir.
   5 Q.    And you had a suspect?
   6 A.    Yes.    From the beginning, she's consistently said it was
   7 Mr. Ali.
   8 Q.    Now, if you had -- you said you've done hundreds of these
   9 cases, right?
  10 A.    I'm sure.
  11 Q.    Something like that?
  12 A.    Yes.
  13 Q.    In a case like this, if you had evidence of abuse, you
  14 didn't have a suspect, but you had evidence of abuse --
  15 A.    Yes, sir.
  16 Q.    -- you interviewed the child, and the only thing the child
  17 says is, "There's a monster with a key that knocks on the
  18 door, comes in my room, and would touch me down there," would
  19 you be done with that?
  20 A.    I don't know.      That's not what happened in this case.
  21 Q.    I know.     I'm asking you about, in your experience in what
  22 you do, if the only evidence that you had was the child saying
  23 about a monster --
  24               MR. SHEPARD:     Your Honor, I object --
  25 BY MR. THOMAS:
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   1 Q.    -- that comes in the room.
   2               THE COURT:     Would you approach?
   3               (Bench conference on the record.)
   4               THE COURT:     Okay.   Your objection is relevance?
   5               MR. SHEPARD:     I object to the relevance.         The
   6 witness clearly answered that's not what happened in this
   7 case.
   8               MR. THOMAS:     Well, Judge --
   9               THE COURT:     How is it relevant?
  10               MR. THOMAS:     It is relevant because he has
  11 discounted and said, "Well, it doesn't mean anything.                 It's
  12 meaningless in this case."           I'm trying to point out that it
  13 perhaps wouldn't be meaningless in another case, that, in and
  14 of itself, it isn't meaningless, and it's something that he
  15 might very well have followed up on and could have followed up
  16 on.
  17               MR. SHEPARD:     Your Honor, what happens in another
  18 case is completely irrelevant.           The defendant has testified
  19 why it wasn't relevant here and it didn't happen in this case,
  20 and he's already said why he did what he did.               It's just
  21 not --
  22               THE COURT:     I think you've gotten it in.         Can you
  23 save it for your argument?
  24               MR. THOMAS:     That's fine.
  25               THE COURT:     Okay.
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   1                                 (Open court.)
   2               THE COURT:     All right.     We're going to sustain the
   3 objection and we're going to move on.
   4 BY MR. THOMAS:
   5 Q.    The -- you said you had had multiple meetings or
   6 conversations with M.R.'s mother, right?
   7 A.    Yes.
   8 Q.    And you mentioned, I think on direct, that you never
   9 talked to the parents about their child's interview?
  10 A.    No.    I said I never show them the interview.
  11 Q.    Oh, okay.     So not, "Sit down and let's watch this video,"
  12 that's what you meant?
  13 A.    I've never, ever shown a parent the video of the forensic
  14 interview of their child, no.
  15 Q.    It makes more sense, though?          You obviously do talk to
  16 them about the contents of the interview, right?
  17 A.    It depends on the case and each specific circumstance.
  18 Q.    And what would those circumstances be?
  19 A.    Well, unfortunately, sometimes, depending on the facts of
  20 the case, the suspect that the child discloses abused him
  21 might be the parents, and that's a circumstance I wouldn't go
  22 tell them everything the child said right off the front.
  23 Q.    And is that the only circumstance where you wouldn't tell
  24 the parents about the contents of the interview?
  25 A.    No.    Sometimes the things that children say are quite
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   1 disturbing, and if there's no real advantage for me to tell
   2 them the facts in full, I don't sit there and just tell them
   3 and describe everything that happened.
   4               I don't hide from a parent the fact that they've --
   5 their child has disclosed they've been abused.               I'll tell them
   6 in general terms, if their child discloses, you know, that the
   7 child did describe something happening.             But rarely, if ever,
   8 will I go into detail about what the child said or the exact
   9 circumstances.
  10               Also, sometimes if I were to tell them all the
  11 details, they might have some type of communication with the
  12 individual accused.        And if they knew all the details, that
  13 would take away some of my sort of advantage in interviewing
  14 them.     If they already knew the facts of the case completely,
  15 it wouldn't be a blank slate that I would be interviewing, so
  16 to speak.
  17 Q.    In this case, M.R.'s mother was not a suspect, was she?
  18 A.    No, not at all.
  19 Q.    And she wasn't having any contact with Mr. Al-Awadi, was
  20 she?
  21 A.    Not that I knew, but you never can tell what may happen.
  22 Q.    She testified that she had never heard the contents of the
  23 forensic interview?
  24 A.    You asked her if she had watched it, and she said no.
  25 Q.    And I think I asked her if she had ever talked to you
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   1 about it, and she said no?
   2 A.    Yeah.    She said that, yes, sir.
   3 Q.    Is that your recollection, as well?
   4 A.    Yeah.    I didn't get into the details and describe to them
   5 exactly what was said or what happened.             At most, I may have
   6 confirmed to her that her daughter was continuing to disclose
   7 that Mr. Al-Awadi touched her, but none of the details.
   8 Q.    And no questions to her mother about prior dreams or
   9 whether she frequently had nightmares or if they had started
  10 at a particular time, or anything like that?
  11 A.    I typically ask parents about the child's behavior or
  12 demeanor.      I don't think I asked her specifically about dreams
  13 of M.R. or beginning or ending dates of periods of dreams or
  14 anything like that.
  15 Q.    If you know, based on your investigation, about what time
  16 did Mr. Al-Awadi leave the school on the 21st?
  17 A.    He left twice.      Which time are you referring to?
  18 Q.    Well -- for good.
  19 A.    Oh, okay.     There is a time card printout that I have
  20 obtained, or that I've seen, that shows that specific piece of
  21 information.       I don't remember what it is.         I want to say it
  22 was after 5:00, close to 5:40 p.m., if I'm not mistaken.                  I
  23 can't say for sure, but I think it's around that time.                  Before
  24 6:00, after 5:00.
  25 Q.    And that -- so, roughly, we'll say 5:00, 6:00, somewhere
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   1 in there.      And when did the officers come to his house?             Do
   2 you remember?
   3 A.    Oh, it was the following day.
   4 Q.    Do you remember about what time that was?
   5 A.    It's in my notes.       If you want me to refresh my memory, I
   6 can take a look.
   7 Q.    If you can give me a general estimate.
   8 A.    I think around 12:00, 11:30, 12:00, 1:00, somewhere in
   9 there.
  10 Q.    And you don't know where Mr. Al-Awadi was during that
  11 period of time, right?
  12 A.    I mean, he's at my office.         Prior to that?
  13 Q.    Prior to that.
  14 A.    No, no idea.      I would assume he was at home for most of
  15 that time, but that's an assumption.             I don't know.
  16 Q.    He wasn't on house arrest at his home, right?
  17 A.    Not at that time, no.
  18 Q.    And when he came with the police, is it your understanding
  19 that he brought his phone with him?
  20 A.    Yes, that's my understanding.          Yes, sir.     He told me as
  21 much -- or I implied as much from him having it in his pocket
  22 and pulling it out.
  23 Q.    Do you have any reason to think that he didn't have access
  24 to his phone from the time the accusations were made until the
  25 time you took it from him in the interview room?
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   1 A.    I would assume he had plenty of opportunity and access to
   2 that cell phone in the hours between leaving the daycare that
   3 afternoon on the 21st and being taken into custody the
   4 following day on the 22nd.
   5 Q.    Mr. Al-Awadi was 20 years old when you interviewed him in
   6 the interview we saw today; is that right?
   7 A.    Yes, sir.
   8 Q.    He lived at home with his parents?
   9 A.    Yes.
  10 Q.    And they didn't come with him to the interview, right?
  11 A.    No.
  12 Q.    Is it safe to say that he said a lot of things to you that
  13 you don't think are true, right?
  14 A.    Yeah.    He said a lot of things that I don't think are
  15 true, absolutely, or at a minimum -- yes.              That and left
  16 things out that did happen, and he denied happening.
  17 Q.    Going back to MR.'s statement, she was specifically asked,
  18 "How did his finger get inside your hurting thing?"                And she
  19 said, "Because I'm sleeping."           Right?    Do you remember that?
  20 A.    At one point she said that, yes.           I think she was asked
  21 more than once --
  22 Q.    Yes.
  23 A.    -- bout how sort of it happened.
  24 Q.    She was.     But at one point she said she was sleeping?
  25 A.    At least twice she said she was sleeping when he put his
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   1 finger in her.
   2 Q.    She didn't -- well, strike that.
   3               MR. THOMAS:     Can I have just a moment, Your Honor?
   4 BY MR. THOMAS:
   5 Q.    You did the interview of Tyria Graham, as well?
   6 A.    Yes.    And earlier on direct examination, I was -- I wasn't
   7 sure, but I'm pretty sure I interviewed Tyria, Chiana, and
   8 Heidi at the school before leaving to go interview
   9 Mr. Al-Awadi.
  10 Q.    You were here when she testified, and after memories were
  11 refreshed, she told you three times that M.R. had complained
  12 of hurting to pee, pain, at 11:30 in the morning, right?
  13 A.    Yes.    I was here for that, yes, sir.
  14 Q.    You were there when she said it the first time, right?
  15 A.    I expect so, yes, sir.
  16 Q.    You made case notes and filled out a couple of affidavits
  17 related to this case as it went forward, right?
  18 A.    I think my case file is over 300-plus pages.
  19 Q.    I'll bet it is.
  20 A.    All kinds of documents, yes, sir.
  21 Q.    And nothing that you wrote about or kept track of or
  22 passed on to anyone about your interview with Tyria Graham
  23 mentions that she said the little girl complained of pain at
  24 11:30 in the morning, do they?
  25 A.    No, that's not true.
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   1 Q.    Where is that?      Where did you document that?
   2 A.    It's in the transcript and it's in the video recording
   3 that I -- or the audio recording that I made of my interview
   4 with Ms. Graham.
   5 Q.    Well, I understand.       She said it, right?        It's going to be
   6 in the video?       She said it?
   7 A.    Well, it's an audio recording that I made, yes --
   8 Q.    You're right, you're right.
   9 A.    -- it's in the audio.
  10 Q.    It is in the audio?
  11 A.    Yes.
  12 Q.    So if she said it and you were recording it, it's in the
  13 audio, right?
  14 A.    There.    It's there, it's in the transcript.           And that was
  15 turned over to the government, which I believe was, in turn,
  16 turned over to you, yes, sir.
  17 Q.    You made case notes, right?
  18 A.    Yes, sir.
  19 Q.    It's not mentioned in your case notes at all?
  20 A.    I would have to look through them all to be sure.               If
  21 you're saying it's not, it's quite plausible that it's not.
  22 Q.    It didn't mean anything to you, really, did it?
  23 A.    No.    I took note of it.
  24 Q.    Can you explain it?
  25 A.    There's any number of possible explanations, one of which
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   1 is that Mr. --
   2               MR. SHEPARD:     (Inaudible.)
   3               THE REPORTER:     I cannot hear you.
   4               THE COURT:     I can't either.      Do you have an
   5 objection?
   6               MR. SHEPARD:     He can't be asked to explain what a
   7 witness meant, Your Honor.          He can't --
   8               THE REPORTER:     I'm sorry.
   9               THE COURT:     You're saying the question is not
  10 appropriate?
  11               MR. THOMAS:     I'll withdraw it, Judge.
  12               THE COURT:     All right.
  13 BY MR. THOMAS:
  14 Q.    We talked about G.F. and K.E. being interviewed.               E.C.,
  15 the boy who was awake right next to M.R., he was interviewed,
  16 as well?
  17 A.    Well, Mr. Al-Awadi said he was asleep at one point.               I
  18 don't think he was awake the entire time.
  19 Q.    Okay.
  20 A.    He at least twice described him as being asleep.               But,
  21 yes, he was in the room at the time it occurred, from
  22 everything I can tell.
  23 Q.    And he was interviewed, as well?
  24 A.    Yes.    He was interviewed on the 21st of August.
  25 Q.    Do you remember how many of the children in the room were
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   1 interviewed?
   2 A.    I don't remember the exact number.
   3 Q.    Well, there were only 11.
   4 A.    No, I know how many kids were in the room.             And, actually,
   5 I think that day there were 10 in the room, not 11.                What I'm
   6 saying is, I can't remember exactly how many of those ten were
   7 interviewed.       I know, obviously, E.C. and M.R. were.            I can't
   8 remember which other kids.          I know there was a total of just
   9 over 20 different people that I took statements from in
  10 entirety, but how many of the children I don't recall.
  11 Q.    One of the reasons you don't remember is because nothing
  12 significant came from any of those interviews, right?
  13 A.    It was during nap time when it happened, so -- I don't
  14 know if I would say there was nothing significant, but nothing
  15 that --
  16 Q.    Nothing you remember here today, right?            You already told
  17 that.
  18 A.    Yeah.    Obviously, I have some memory of those interviews.
  19 I'm just -- I'm saying I can't remember exactly which children
  20 were interviewed and not interviewed.             All the children
  21 interviewed from the daycare, though, there were no other
  22 charges or crimes that we have alleged.
  23 Q.    Well, in fact, none of them corroborate M.R.'s story,
  24 right?
  25               MR. SHEPARD:     Objection.     Calls for a legal
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   1 conclusion.
   2               THE COURT:     Do you have a response?
   3               MR. THOMAS:     I'm not -- I don't know that
   4 corroboration is a legal conclusion, Your Honor.
   5               THE COURT:     I'll -- well, all the charges are crimes
   6 that you have alleged, so I'll sustain.             Why don't you
   7 rephrase.
   8               MR. THOMAS:     Well, I --
   9               THE COURT:     Rephrase your question.
  10               MR. THOMAS:     I will.    Thank you, Your Honor.
  11 BY MR. THOMAS:
  12 Q.    You don't have -- after interviewing those children, you
  13 don't have any other eyewitnesses to the crime, correct?
  14 A.    No.
  15 Q.    You were asked about -- you had conversation with
  16 Mr. Al-Awadi about did he watch porn, right?
  17 A.    Yes, sir.     I asked him if he had watched porn that day.
  18 Q.    And you never asked him if he had taken pictures of M.R.?
  19 A.    I wouldn't have imagined, under any circumstance, he would
  20 have.     So, no, I didn't.
  21 Q.    And he admitted having watched porn, right?
  22 A.    He said at home he had watched some, or he did watch it.
  23 Q.    The search warrant that you did, you included other
  24 electronics other than just his phone, right?
  25 A.    We've discussed a search warrant at his house for his
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   1 watch and then a search warrant for -- to have his phone
   2 examined.
   3 Q.    You also took other electronics from his house for review,
   4 right?
   5 A.    Not at the time I recovered the watch.
   6 Q.    No -- yeah, you're right.         I apologize.     Not the same
   7 search warrant, but ultimately you gathered evidence, your
   8 department gathered evidence, in the form of computers,
   9 electronics, from his house, right?
  10 A.    Months after the incident occurred, when the results of
  11 the forensic examination of his cellular telephone came back
  12 and he had four images of what I believed to be M.R.'s genital
  13 area and mons pubis.         Yes, at that time I wrote a search
  14 warrant to search his house to see if those images in their
  15 original form, or if any other child pornography images, were
  16 at his home.       But that's months afterwards, yes, sir.
  17 Q.    Right.    And, ultimately, you didn't actually use this
  18 search warrant to search the phone, did you?
  19 A.    I don't know how I would describe it.            I mean, I obtained
  20 a search warrant and had the phone given to the digital
  21 forensic unit detective and asked him to examine the cell
  22 phone underneath the authority of that search warrant.                  And he
  23 attempted to and the phone was locked.
  24 Q.    And Mr. Al-Awadi gave you the information to unlock it,
  25 right?
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   1 A.    No.
   2 Q.    I'm sorry?
   3 A.    No.
   4 Q.    Did you -- did Samsung give you that information?
   5 A.    No.
   6 Q.    How did you obtain that?
   7 A.    One of the members of the Marion County Prosecutor's
   8 office sent me an e-mail with an attachment that included, I
   9 think, two different possible passwords that Mr. Al-Awadi had
  10 apparently provided to his then attorney, who provided it to
  11 the Marion County Prosecutor's office, who provided it to me.
  12 Q.    Okay.    Fair enough.     He didn't hand it to you?
  13 A.    No.
  14 Q.    But that information that you used came from Mr. Al-Awadi,
  15 did it not?
  16 A.    I forwarded the information to the digital forensic unit
  17 detective.      And my understanding was that the piece of
  18 information had originated from Mr. Al-Awadi.               It was his cell
  19 phone.      He would be the person who knew the password.
  20 Q.    You mentioned that part of your investigation was to see
  21 whether the other people at the daycare broke any laws, or I
  22 think the term you used was "committed neglect."                Do you
  23 remember saying that?
  24 A.    Yes.    At face value, it was disturbing that no one had
  25 contacted the police immediately once this small four-year-old
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   1 child disclosed that she had just been molested in her daycare
   2 during naptime.       And so I wanted to make sure that I kept an
   3 eye on not just what did Mr. Al-Awadi do or what happened
   4 between he and M.R., but also how did they respond.
   5               As part of my investigation, as I mentioned earlier,
   6 the Department of Child Services was part of that.                They have
   7 what's called an institutional unit, and so that DCS family
   8 case manager was present with me during much of my
   9 investigation.       That was the main focus of his, but the way I
  10 said we would do it, as far as being a team approach so we
  11 don't have redundant interviews, not only for any potential
  12 criminal purposes, but for some of his purposes, too, I would
  13 ask a lot of questions regarding not just what happened
  14 between M.R. and Mr. Al-Awadi, but also how the daycare
  15 responded.      Their license was eventually revoked as a result
  16 of my and DCS's investigation.
  17 Q.    Is it safe to say that their procedures and training
  18 methods were unsound?
  19 A.    I don't know about that --
  20               MR. SHEPARD:     Objection, Your Honor.        He's got no
  21 basis for that.       The witness has no basis to answer that
  22 question.
  23               THE COURT:     Do you know?     Can you answer that
  24 question?
  25               THE WITNESS:     Actually, I can.       I think so, yes,
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   1 ma'am.
   2               THE COURT:     Overruled.     You may answer.
   3 A.    The policies and procedures, as I know them, appear to be
   4 quite good.       The execution of said policies and procedures
   5 would be questionable at best, particularly on August the
   6 21st, 2014.
   7 BY MR. THOMAS:
   8 Q.    When you got the password, you unlocked the phone, right?
   9 A.    No, I didn't -- I didn't touch the phone again after I
  10 gave it to Detective Melton.
  11 Q.    Did you -- was it even in your control when they got the
  12 password?
  13 A.    In a manner of speaking.         I was the lead investigating
  14 detective on the criminal investigation, and the phone was
  15 attached to my case number within our evidence tracking
  16 system.      So, in that sense, I'm always in control.            But I had
  17 given the phone, after removing it from the property room and
  18 signing it out in my name, to Detective Melton, because that's
  19 his area of expertise and specialty, that's what he does, as
  20 far as examining items like that, and not mine.               So it was in
  21 his sort of physical control, so to speak, while I still
  22 maintained sort of investigative control over the phone.
  23 Q.    You heard the testimony, and there was some discussion
  24 about whether you were shocked or surprised by revelations by
  25 Heidi Conces about their policies and looking at injuries,
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   1 right?
   2 A.    I remember both your cross-examination of Ms. Conces
   3 regarding that subject and when the subject came up during my
   4 direct examination, yes, sir.
   5 Q.    And you understand that's the policy, right?
   6 A.    I'm sorry.     What --
   7 Q.    You understand, after she explained it to you, that that's
   8 their policy, not to look at injuries to the private area?
   9 A.    Okay.    So, yeah, I asked her several questions about what
  10 their policies and procedures were.            And then later I asked
  11 just to find out if anyone had done that, and she did, I
  12 believe at that time, tell me that it was against their policy
  13 to do physical examinations of children.              I can't remember the
  14 exact words, but, yes, I think she did say that, absolutely.
  15 Q.    Did you get follow-up information from the physician that
  16 ultimately examined M.R. after the -- after the first
  17 evaluation?
  18 A.    Okay.    So -- excuse me.
  19 Q.    Yes or no?
  20 A.    Well, there were -- there was more than one physician who
  21 was involved in her examination.
  22 Q.    Okay.    Which ones did you talk to?
  23 A.    I talked to Dr. Ralph Hicks, who is at IU Health at Riley
  24 Hospital.      He's with the child protection team.
  25 Q.    When did you talk to him?
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   1 A.    I believe it's in my notes.         I think it was within a month
   2 of the initial -- initial incident, but I can't remember.                  It
   3 may have been less than a month.            I'm not sure.     I know that
   4 M.R. eventually went and he performed another evaluation later
   5 on.
   6 Q.    You haven't talked to him since?
   7 A.    No.    I've spoken to him about several different cases
   8 between now and then, and I know I've talked to him at least
   9 once, maybe twice.        Oftentimes when we screen the case, I'll
  10 consult with him on the phone.           I don't remember how often I
  11 spoke to him on this one.          At least, at a minimum, once after
  12 I received his report, we communicated on the phone.
  13 Q.    Would that have been back in 2014 still?
  14 A.    I believe so, yes.       Yeah.    Like I said, I think it was
  15 within one month.        The date is in my notes.        I can't remember.
  16 Q.    You reviewed the report from Nurse Bryant, I think it is?
  17 A.    Angela Bates?
  18 Q.    Bates.    Good man.     You reviewed her report, correct?
  19 A.    Yes, the morning of the 21st of August 2014, before we
  20 interviewed.
  21 Q.    They were --
  22 A.    Well, no.     Actually, you know, I think -- I can't
  23 remember, but, yeah, that morning, sometime that morning.
  24 Q.    And we have in evidence that there were photos of her
  25 injuries taken at the time of her examination, right?
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   1 A.    That's true.
   2 Q.    Did you see those?
   3 A.    I believe I looked briefly at them, yes, sir.
   4 Q.    Do you know if Dr. Hicks looked at those?
   5 A.    Yes, he did look at them.
   6               MR. THOMAS:     Okay.    I think that's all I have.
   7 Thank you.
   8               THE COURT:     Very good.     Do you have redirect?
   9               MR. SHEPARD:     Yes, Your Honor.       Can I just take a
  10 moment?
  11               (Off the record.)
  12               MR. SHEPARD:     Thank you, Your Honor.
  13                            REDIRECT EXAMINATION

  14 BY MR. SHEPARD:
  15 Q.    Detective McAllister, you talked at length on cross about
  16 some of the statements that             M.R.      made during her
  17 interview?
  18 A.    Yes, sir.
  19 Q.    Do you remember talking about the phrase, or Mr. Thomas
  20 saying, "It was a trick and that was that"?
  21 A.    I can't remember all the details of that conversation.                I
  22 remember we talked about her saying it was a trick, something
  23 to that.
  24 Q.    Did he try to imply that after she said it was a trick,
  25 you heard all you needed to hear?
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   1 A.    Oh, yeah.     No.   I remember what you're asking now.            Yes,
   2 that essentially I dropped it and didn't do anything further
   3 to follow up.       Yeah, I remember that.
   4 Q.    If you can remember, what actually did               M.R.      say,
   5 both when she was talking about a trick and after she talked
   6 about what a trick was?         What did she go over with Jessica
   7 Woodall?
   8 A.    That it was -- it's not easy to summarize that entire
   9 section of the video, but basically saying that she was
  10 tricking her.       And sort of later, as that conversation
  11 continued, it was revealed by M.R. that the person -- or this
  12 other person that she said had touched her, Anna, or Ms. Anna,
  13 hadn't touched her, that Ms. Anna didn't do anything to her.
  14 And then she went on to affirm that it was, in fact, Mr. Ali
  15 who did that, and he was the only one.
  16 Q.    Did she agree that it wasn't nice to trick people, or
  17 something to that effect?
  18 A.    Yes.    She had said that she didn't like it when people
  19 tricked her.       And Jessica's response was, "Well, I don't like
  20 it when people trick me."          And it was at that point that M.R.
  21 then began to explain that Ms. Anna hadn't done anything to
  22 her.
  23 Q.    And there were a lot of talk with Mr. Thomas about the
  24 monster?
  25 A.    Yes.
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   1 Q.    Did Jessica Woodall speak with M.R. about if that really
   2 happened?
   3 A.    I don't remember her specifically following up about the
   4 monster scenario.        I do remember that whatever Ms. Woodall
   5 said, that M.R.'s response was that she dreamed that that
   6 happened.
   7 Q.    Right.    And after that, did she say anything about talking
   8 only about things that really happened in the room?                Do you
   9 remember that?
  10 A.    Yes.    In response to M.R. saying that she had that dream,
  11 that's when Jessica said, "In this room, let's only talk about
  12 things that really happened."
  13 Q.    And --
  14 A.    And Jessica said, "Deal?" and M.R. said, "Deal."
  15 Q.    And after that, what then did M.R. go on and say?
  16 A.    She went on to say that Ms. Anna hadn't touched her, but
  17 that Mr. Ali had, and that Mr. Ali was the only one who had
  18 done that.
  19 Q.    When you got to the daycare, I think you indicated you
  20 spoke with multiple employees as witnesses; is that correct?
  21 A.    Yes.
  22 Q.    And read even more interview reports of employees there?
  23 A.    I obtained written statements from -- written statements
  24 from four employees, including Mr. Al-Awadi, and then written
  25 notes from another employee that observed the interview or the
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   1 conversation between Ms. Conces and Mr. Al-Awadi.                So five
   2 different people's written version of events, so to speak.
   3 Q.    Did anyone that you interviewed or read, any of them say
   4 anything about M.R. accusing Ms. Anna of touching her?
   5 A.    No.
   6 Q.    Who did they say M.R. accused of touching her?
   7 A.    Mr. Al-Awadi, or Mr. Ali.
   8 Q.    Prior to this investigation, did you know Ali Al-Awadi?
   9 A.    No.    I had never met him before until I walked into the
  10 interview room at the Child Advocacy Center and he was sitting
  11 there in the T-shirt and shorts.
  12 Q.    Is there anything -- were you out to get him in any way?
  13 A.    No.    I certainly would characterize my investigation as
  14 one that held him responsible for his actions, but it wasn't
  15 anything vindictive or spite filled or --
  16 Q.    Did you even know him from Adam?
  17 A.    No, I didn't know him at all until I met him that day.
  18 Q.    Mr. Thomas talked to you about how the pass code was
  19 obtained for the phone.         Do you recall that?
  20 A.    Yes.
  21 Q.    Do you recall a rough approximation of when Tyria Graham
  22 confronted Mr. Al-Awadi about M.R.'s accusation for the first
  23 time?
  24 A.    From my interview with Ms. Graham, my conclusion was it
  25 was no more than 10 to 15 minutes after he left the room on
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   1 August the 21st, 2014 --
   2 Q.    Did you --
   3 A.    -- Mr. Al-Awadi left the room.          So no later than maybe, I
   4 don't know, about a quarter till 2:00, 2:00 at the latest.
   5 Q.    In the afternoon?
   6 A.    Yes.
   7 Q.    On what day?
   8 A.    The 21st of August 2014.
   9 Q.    Do you recall that you were asked what time Mr. Al-Awadi
  10 was picked up the next day to be brought down to the Child
  11 Advocacy Center?
  12 A.    I remember Mr. Thomas asking me that, yes.
  13 Q.    And could you remember the exact time or were you
  14 speculating?
  15 A.    I had a rough ballpark, somewhere between 11:30, 2:00,
  16 somewhere in there.
  17 Q.    When someone is interviewed, is the start time of that
  18 documented?
  19 A.    Yes.
  20 Q.    Okay.    And will that start time be close to the time that
  21 they arrived at the center?
  22 A.    It depends on the case.        I've known some people who had to
  23 wait a matter of hours before the detective had the
  24 opportunity to conduct their interview.             Other times I have
  25 walked people into the interview room and sat down; walked
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   1 right in with them, sat down, and began the interview.                  So it
   2 really varies.
   3 Q.    What about in this case?         Would that start time have been
   4 pretty close to around when he arrived?
   5 A.    No.    It was about an hour, because if you recall, I was at
   6 the daycare campus at St. Vincent Hospital, and I had sent
   7 someone else to go pick up Mr. Al-Awadi at his home and take
   8 him there.      So I had to wrap up the interviews I was
   9 conducting at the daycare and then drive back to my office,
  10 catch up on a few things that I had to do, and then go into
  11 the interview room and talk to him.            So I think he waited
  12 about an hour, maybe a little bit over that.
  13 Q.    About an hour?
  14 A.    Yes, sir.
  15 Q.    Would it -- do you remember the start time of the
  16 interview?
  17 A.    I think it was about 2:37 or 2:47 p.m.
  18 Q.    Would it help you if you were able to look at the
  19 transcript to remember?
  20 A.    Yes.    I --
  21               MR. SHEPARD:     Your Honor, if I can approach?
  22               THE COURT:     You may.
  23               MS. KOROBOV:     May I approach?
  24               THE COURT:     You may, Counsel.
  25               MR. THOMAS:     Judge, we'll stipulate that it was
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   1 3:46 p.m.
   2               THE COURT:     Is that good?
   3               MR. SHEPARD:     That's good enough for me, Your Honor.
   4               THE COURT:     So stipulated, 3:46 p.m.
   5 BY MR. SHEPARD:
   6 Q.    So he would have arrived about an hour before that?               So --
   7 A.    Yeah.    So I was remembering the time he came in, but I
   8 actually began the interview an hour later.              That sounds about
   9 right.
  10 Q.    So about 2:46?
  11 A.    Is when he arrived, roughly.
  12 Q.    Do you know about how far away from the center Mr. Ali
  13 lived?
  14 A.    I want to say anywhere between five to eight miles,
  15 probably closer to eight miles away.             I'm just kind of
  16 estimating based on the number of blocks over, but...
  17 Q.    About 15, 20 minutes, if you had to ballpark it?
  18 A.    Oh, I would say closer to 25, 30 minutes.
  19 Q.    Okay.    So --
  20 A.    Michigan Road is the best way to get up and down, and it's
  21 a lot of stoplights and school zones.
  22 Q.    So would that have put the time he was picked up closer to
  23 2:00, if you do all the math?
  24 A.    Probably close to that time.
  25 Q.    And --
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   1 A.    I think --
   2 Q.    -- was that 2:00 on what day?
   3 A.    The 22nd of August 2014.
   4 Q.    So between about a quarter till 2:00 on August 20 -- on
   5 the 21st to between about 2:00 on August 22nd, close to 24
   6 hours?
   7 A.    Yes.
   8 Q.    All right.     In your experience, is that enough time to
   9 delete four images off your cell phone?
  10 A.    It would take a fraction of 24 hours, just a few seconds.
  11 But then, again, I use an iPhone, not a Samsung, so I'm not
  12 sure how easy it is on a Samsung.
  13 Q.    How old was        M.R.      at the time she was being
  14 interviewed?
  15 A.    Four years old.
  16 Q.    How long had she been at the Child Advocacy Center by the
  17 time the continuation interview was begun?
  18 A.    If you recall, I couldn't remember the exact start time of
  19 that second video.        And I don't think the date stamp was
  20 correct.      I think it was around 9:00 -- or, I'm sorry, around
  21 11:30, if I'm not mistaken, but I can't remember for sure.
  22 Q.    Do you remember how long she had been there?
  23 A.    I think she had been there for at least two, two and a
  24 half hours.
  25 Q.    Okay.    Do you remember what time you had asked them to be
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   1 there?
   2 A.    I had asked them to be there at 9:00 a.m.             I think they
   3 arrived shortly after that.
   4 Q.    Okay.    And what's the latest you knew that they were still
   5 at the hospital?
   6               MR. THOMAS:     Your Honor, I think this is beyond the
   7 scope.     And I think that this was all testified to on direct.
   8               THE COURT:     Do you have a response?        This is beyond
   9 the scope of cross-examination.
  10               MR. SHEPARD:     I do, Your Honor.
  11               THE COURT:     All right.     Come on up.
  12               (Bench conference on the record.)
  13               MR. SHEPARD:     Your Honor, on cross-examination he
  14 went through multiple times asking of things he ignored or why
  15 he believed what he believed in the first and discounted some
  16 of the things that were in the second.             I'm just trying to lay
  17 the foundation of how long she had been up, what she had been
  18 going through, and if that went into his --
  19               THE COURT:     How long the child had been up?
  20               MR. SHEPARD:     Correct, Your Honor.        And if that was
  21 one of the reasons he had --
  22               THE COURT:     Okay.   All right.     Briefly.     Okay.
  23                                 (Open court.)
  24               THE COURT:     The Court will overrule the objection.
  25 You may continue.
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   1 BY MR. SHEPARD:
   2 Q.    What's the latest you knew that they were still in the
   3 hospital the previous day?
   4 A.    Well, as I testified previously, I received the page at
   5 1:51 a.m. on the 22nd of August.            It took me some time to wake
   6 up, read the page, call the officer, talk to him.                And at the
   7 time I spoke to him, they were still at the hospital with M.R.
   8               And the earliest, if they -- if they left
   9 immediately upon the conclusion of my conversation with the
  10 officer, it would have been as early as 2:00 a.m., but my
  11 experience with hospitals is that they're not always that
  12 prompt when it comes to discharge, so I don't know.                Sometime
  13 after 2:00 a.m., I can say with confidence.
  14 Q.    In your experience as a -- in six and a half years as a
  15 child molest detective, does it -- at some point, do
  16 four-year-olds just get tired and does it become hard for them
  17 to focus?
  18 A.    Yes.    One of the things we try to do is make sure the
  19 child is well rested and had ample opportunity to get a good
  20 night's sleep.       Unfortunately, this didn't happen in this
  21 instance, but I knew I had an incident that had just occurred
  22 the day before.       And in weighing the pros and cons of going
  23 forward with the interview, I felt like it was necessary to
  24 have the interview done as soon as possible.
  25               When I scheduled for them to come in at 9:00 a.m., I
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   1 didn't know any of the actions taken at the daycare the day
   2 before.      As far as I knew, Mr. Ali, whoever he was, could be
   3 caring for children and potentially even molesting them that
   4 following day.       So I didn't want to leave it hanging out
   5 there.
   6               And so even though she wasn't as well rested as our
   7 protocol would typically require, I went ahead and had the
   8 family bring her in so that we could address this public
   9 safety issue that existed.
  10               MR. SHEPARD:     Thank you, Your Honor.        No further
  11 redirect.
  12               THE COURT:     Any questions on those questions?
  13               MR. THOMAS:     Yes, Your Honor, if I could, just
  14 briefly.
  15               THE COURT:     Briefly.
  16                             RECROSS-EXAMINATION

  17 BY MR. THOMAS:
  18 Q.    You can stop an interview anytime, can't you?
  19 A.    No, I wouldn't say that.
  20 Q.    Well, who decides when it's over?
  21 A.    Well, if you recall earlier from my testimony, the way we
  22 do it at Marion County, and the protocol we follow, is that
  23 the child interviewer goes into the interview room with the
  24 child one on one with the door closed and they conduct the
  25 interview.      They follow the typical protocol, they explore the
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   1 subject at hand.
   2               And once they feel like they have come to the
   3 conclusion of the questions they need and want to ask, that's
   4 when they will turn on their walkie-talkie, put it in their
   5 ear, and allow it to -- you know, allow me an opportunity to
   6 communicate with them.         So in the sense that I have an
   7 opportunity to communicate in a discreet way with the child
   8 interviewer, no, I can't just stop it at any point.
   9 Q.    Well, if the child interviewer -- if the child falls
  10 asleep, is the child interviewer going to continue on or are
  11 they going to end the interview?
  12 A.    I've never seen that happen.          I don't know.
  13 Q.    I guess the point is, if she thought that this second
  14 interview was worthless because the child was too tired -- as
  15 you said, she was up all night -- she could have -- she could
  16 have stopped that interview and said, "this is not" -- "this
  17 is worthless"?
  18 A.    Not exactly.      If you remember, I said that it was the
  19 multidisciplinary team that decided that a second follow-up to
  20 the original interview needed to be conducted, and it wasn't
  21 necessarily the child interviewer's call alone as to whether
  22 or not to conduct the interview.
  23 Q.    You didn't -- the child's parents didn't tell you that you
  24 couldn't ever speak to her again, right?
  25 A.    No.    In fact, I have spoken with her many times since
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   1 then.     They've been more than cooperative and welcoming to
   2 allow us to have interaction with her, yes, sir.
   3 Q.    So -- well, tell me about those interactions.              Were they
   4 recorded?
   5 A.    No.
   6 Q.    Did you take notes of those?
   7 A.    No.
   8 Q.    Well, what -- this is the first I'm hearing about this,
   9 Officer.      Tell me a little bit more about these meetings that
  10 you had with the witness, that I know nothing about.
  11 A.    Okay.    I don't think it's anything extraordinary.             It's
  12 actually fairly routine.          She met with myself and the
  13 government in order to discuss the case and find out what she
  14 would be able to testify to, ask her what happened and see
  15 what she would say.
  16 Q.    And you --
  17 A.    It's been almost two years, or not quite, but two and a
  18 half years, and she was four years old at the time and six
  19 years old now.       Without speaking to her again in 2016, we
  20 wouldn't know if or what she might be able to testify to or
  21 what she remembered.         So that was the process of us finding
  22 out if she even remembered what happened to her when she was
  23 four years old at a daycare that she no longer attends.
  24 Q.    I understand that.
  25 A.    Okay.
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   1 Q.    You were preparing for trial.          That's normal.
   2 A.    Sure.    That's all I'm referring to.         I'm not referring to
   3 any other additional meetings with her.
   4 Q.    Okay.    And I guess that's what I'm trying to ask you, is
   5 that after -- on the 22nd, there was nothing to keep you from
   6 going to her parents and saying, "Hey, you know, that last
   7 interview, I thought she was really too tired.               You know,
   8 maybe I would like to ask those questions again because --
   9 when she's more attentive."          You could have done that and you
  10 didn't, right?
  11 A.    Well, she had answered the questions.            I didn't see the
  12 point in doing it again at that time.
  13 Q.    Well, she had answered the questions and you could
  14 discount the answers because you thought she was too tired and
  15 not paying attention, right?
  16 A.    No.    I thought she, if you recall, even yawned real big
  17 during the first interview, and then later her demeanor and
  18 her physical behavior during the interview showed that she was
  19 clearly not in the most focused or attentive or serious mood
  20 and demeanor.
  21               And then when she herself specifically addressed
  22 what she had said about tricking Ms. Woodall and saying that
  23 Ms. Anna touched her when she hadn't, I felt like it had been
  24 resolved within that entire interview.             It wasn't something
  25 that needed a second or third or further times to clarify.                  I
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   1 thought she had clarified it sufficiently at the time we
   2 talked to her on the 22nd.          There were no lingering questions
   3 in my mind about what happened or didn't happen according to
   4 M.R.
   5 Q.    Well, there were no lingering questions, as you say, and
   6 there was no follow-up on anything other than the
   7 investigation of Mr. Al-Awadi, right?
   8 A.    The person she had consistently and repeatedly accused of
   9 molesting her, absolutely.
  10 Q.    You had time, certainly, to ask M.R.'s mother about dream
  11 patterns; it wasn't that you didn't have time, right?
  12 A.    No, yeah.     I could have followed up with a more specific
  13 interview or follow-up questions with Ms. Rodriguez concerning
  14 M.R.'s dreams.
  15 Q.    Or inquiring about E.R.'s teacher and whether there was an
  16 Anna or someone close to that name or just to -- you had time
  17 to do that, didn't you?
  18 A.    Well, at some point I have obtained the full register of
  19 all employees of the daycare.           I think that was information
  20 that you have, in fact.
  21 Q.    But just to be clear, that was because you discounted all
  22 that, not because you didn't have time to do it, right?
  23 A.    I don't know that I discounted it.
  24               MR. SHEPARD:     (Unintelligible.)
  25               THE REPORTER:     I cannot hear you.
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   1               THE COURT:     Put your mic on.
   2               MR. THOMAS:     That's okay.     Your Honor --
   3               MR. SHEPARD:     Explain the question --
   4               THE COURT:     All right.     He said -- are you going to
   5 withdraw that question?
   6               MR. THOMAS:     I'll withdraw that question and I'll be
   7 finished with this witness, Judge.            Thank you.
   8               THE COURT:     All right.     Very good.
   9               Do you have anything further for the detective this
  10 evening?
  11               MR. SHEPARD:     No, Your Honor.
  12               THE COURT:     Very good.     Detective, you may return to
  13 your seat.
  14               THE WITNESS:     Thank you, ma'am.
  15               (Witness excused.)
  16               THE COURT:     And, lawyers, would you approach?
  17               (Bench conference on the record.)
  18               THE COURT:     It's 4:45.     Do you have a quick witness?
  19               MR. SHEPARD:     Unfortunately, Your Honor, the next
  20 witness is --
  21               THE COURT:     Who is the next witness?
  22               MR. SHEPARD:     Grant Melton, the --
  23               THE COURT:     Oh, the forensic --
  24               MR. SHEPARD:     -- the forensic examiner, Detective
  25 Grant Melton.
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   1               THE COURT:     Okay.   All right.
   2               MR. SHEPARD:     It's not going to be short.
   3               THE COURT:     All right.     Well, how are you timewise?
   4 Are you going to be able to finish tomorrow?
   5               MR. SHEPARD:     We'll still finish tomorrow, Your
   6 Honor.
   7               THE COURT:     Okay.   And if you want to present any
   8 evidence tomorrow, if in fact you do intend to call your
   9 client, we'll do that tomorrow, also, and try to finish all
  10 the evidence tomorrow.         And then we'll come back and
  11 deliberate Thursday morning.
  12               MS. KOROBOV:     And the plan will be to close on
  13 Thursday, then, is that --
  14               THE COURT:     Yes.    That sounds good.      We don't want
  15 to keep them late.        So do you have enough evidence to go
  16 through the day tomorrow?
  17               MS. KOROBOV:     It's a good portion of the day, yeah.
  18               THE COURT:     Okay.   All right, unless we finish at
  19 noon.     If we finish in the afternoon, after lunch, we'll come
  20 back in the morning.
  21               MR. SHEPARD:     We won't be finished by noon.
  22               MR. THOMAS:     Just so I'm clear, we should not be
  23 prepared to do closing tomorrow?
  24               THE COURT:     Unless they finish by noon.
  25               MR. THOMAS:     Fair enough.
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   1               THE COURT:     Okay.   All right.     So unless they --
   2 unless you all stipulate to some things, to the forensics
   3 and -- which isn't going to happen, right?
   4               MR. THOMAS:     It's not going to happen.
   5               THE COURT:     Okay.   All right.     Okay.    All right.
   6                                 (Open court.)
   7               THE COURT:     All right.     Ladies and gentlemen, they
   8 don't have a quick witness, so we're going to go home.                  The
   9 Court -- we're going to go ahead and adjourn.               And I'll need
  10 you back in your jury room at 9:00 a.m.             And please leave in
  11 plenty of time because you just never know when there's an
  12 accident on the interstate, so try to make sure -- we want to
  13 start promptly at 9:00 a.m. so that we can finish -- our goal
  14 is to finish all the evidence tomorrow and then bring you back
  15 bright and early on Thursday morning so that you can
  16 deliberate and get your final instructions.              And then you can
  17 get back to your life and we can let the juror in the back go
  18 and make his doctor's appointment so he can make sure his legs
  19 are okay.
  20               Ladies and gentlemen, the Court is going to admonish
  21 you, during this period of time that you're allowed to
  22 separate for overnight, remember you are not to have any
  23 discussion about the case among yourselves or with anyone
  24 else.     You can't tell your families what happened in court
  25 today, or your friends.
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   1               If anyone should attempt to talk to you about the
   2 matter, you should refuse and report that attempt to me at
   3 your earliest opportunity.
   4               You are not to do any research on the Internet, no
   5 Googling, no Facebook, no Twitter, nothing about any of the
   6 attorneys, parties, witnesses.           And if you know any
   7 spectators, don't Google them either.
   8               Under this admonishment, you will be allowed to
   9 separate for overnight.         Be in there at 8:45, eat a snack,
  10 drink some coffee, and we'll get you in the courtroom promptly
  11 at 9:00 a.m.       Have a good evening.
  12               THE COURTROOM DEPUTY:       All rise.
  13               (Jury out at 4:47.)
  14               THE COURT:     Anything further this evening?
  15               MR. SHEPARD:     Nothing from the government, Your
  16 Honor.
  17               THE COURT:     Okay.   All right.     Come here,
  18 Mr. Shepard.       And you can come, also.        And we can -- I just
  19 need to tell you one thing, and then we'll adjourn.
  20               We're off the record.
  21               (Bench conference off the record.)
  22                                 (Open court.)
  23               THE COURT:     Okay.   We're in recess.
  24               THE COURTROOM DEPUTY:       All rise.
  25               (Proceedings adjourned at 4:49 p.m.)
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   1                       WEDNESDAY, FEBRUARY 24, 2016
   2               THE COURT:     Okay.   We are on the record.        This is
   3 the United States of America versus Ali Al-Awadi.                Good
   4 morning, Counsel.        Is the -- the jury have all made it in
   5 despite the weather and accidents.            It was just rain today.
   6 Is the government ready for the jury?
   7               MS. KOROBOV:     Yes, Your Honor.
   8               THE COURT:     Defense ready?
   9               MR. THOMAS:     We're ready, Your Honor.
  10               THE COURT:     Tanesa, you may bring in the panel.
  11               MS. KOROBOV:     Your Honor, just -- my first witness
  12 is the child.       And if it's okay with the Court, I would like
  13 to kind of pick her up at the door and walk her in --
  14               THE COURT:     Sure.
  15               MS. KOROBOV:     -- if that's okay, and then to walk
  16 her out at the end, just for closure for her sake.                I think --
  17               THE COURT:     Very good.
  18               MS. KOROBOV:     Thank you.
  19               (Jury in at 9:19.)
  20               THE COURT:     Good morning, ladies and gentlemen.           I'm
  21 glad that you all made it in safely.             We are on the record.
  22 This is the United States of America versus Ali Al-Awadi.
  23 And, Ms. Korobov, you may call your first witness of the day.
  24               MS. KOROBOV:     Thank you.     The government calls
  25 M.R.
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   1               THE COURT:     I need you to come right over here.
   2 Okay.     M.R., I need you to remain standing.           M.R., I need you
   3 to keep standing.        I'm going to stand up also so I can see
   4 you.     I want you to raise your right hand and face me.
   5               (The witness is sworn.)
   6               THE COURT:     You may have a seat.
   7               And, Ms. Korobov, you may examine your witness.
   8               MS. KOROBOV:     Thank you.
   9                     M.R., PLAINTIFF'S WITNESS, SWORN

  10                              DIRECT EXAMINATION

  11 BY MS. KOROBOV:
  12 Q.    Good morning, M.R.
  13 A.    Good morning.
  14 Q.    How are you doing?
  15 A.    Good.
  16 Q.    Good.    Can you please tell the jury what your name is?
  17 A.    My name is M.R.
  18 Q.    And, M.R., what's your last name?
  19 A.    M.R.
  20 Q.    And, M.R., how old are you?
  21 A.    Six.
  22 Q.    When is your birthday?
  23 A.                         .
  24 Q.    M.R., do you go to school?
  25 A.    Yes.
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   1 Q.    Where do you go to school?
   2 A.    Spring Mill.
   3 Q.    And what grade are you in?
   4 A.    Kindergarten.
   5 Q.    Kindergarten.       Who is your teacher there?
   6 A.    Ms. Moore and Ms. Klaus.
   7 Q.    You have two of them?
   8 A.    Yes.
   9 Q.    Yeah.    And who is your favorite of the two?
  10 A.    Ms. Moore.
  11 Q.    Ms. Moore?     Okay.    What's your favorite thing to do at
  12 school?
  13 A.    Recess.
  14 Q.    Recess.     Okay.    M.R., do you live with your parents?
  15 A.    Yes.
  16 Q.    And what's your mom's name?
  17 A.    Georgie.
  18 Q.    Georgie?     Okay.   And who else lives in your home with you
  19 and your mom and your dad?
  20 A.    G.F., Teetsy, H.LNU.
  21 Q.    So who is G.F.?
  22 A.    My cousin.
  23 Q.    And who is Teetsy?
  24 A.    My aunt.
  25 Q.    And who is H.LNU?
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   1 A.    My cousin.
   2 Q.    And do you have a little sister?
   3 A.    Yes.
   4 Q.    What's her name?
   5 A.    E.R.
   6 Q.    How old is E.R.?
   7 A.    Two.
   8 Q.    Two?    Okay.   So are you the big sister, then?
   9 A.    Yes.
  10 Q.    How old is G.F.?
  11 A.    She's 11.
  12 Q.    Okay.    All right.     M.R., do you have any pets that live in
  13 your home, too?
  14 A.    Yes.
  15 Q.    Okay.    What kind of pets do you have?
  16 A.    A dog.
  17 Q.    A dog.    All right.
  18               MS. KOROBOV:     I'm going to ask to display
  19 Government's 77, please.
  20 BY MS. KOROBOV:
  21 Q.    M.R., will you look at the TV screen that's right there?
  22 Who is that in that picture?
  23 A.    Me.
  24 Q.    That's you?     Okay.    And do you remember where you are in
  25 that picture?
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   1 A.    Yes.
   2 Q.    Where are you?
   3 A.    In the hospital.
   4 Q.    In the hospital?       Okay.
   5               MS. KOROBOV:     Could we display Government's 70 -- or
   6 17 alongside it, please.
   7 BY MS. KOROBOV:
   8 Q.    And what's that?
   9 A.    My bracelet.
  10 Q.    Your bracelet?      Where did you wear that bracelet?
  11 A.    At the hospital.
  12 Q.    In the hospital, okay.         Do you remember why it is you went
  13 to the hospital?
  14 A.    Because Mr. Ali touched me in the privacy.
  15 Q.    Okay.    And do you remember who brought you to the
  16 hospital, M.R.?
  17 A.    My mom.
  18 Q.    Okay.    And do you remember, M.R., where you were when
  19 Mr. Ali touched you in the privacy?
  20 A.    Yes.
  21 Q.    Where were you?
  22 A.    I was in the big kids' room.
  23 Q.    Okay.    And what were you doing when Mr. Ali touched you in
  24 the privacy?
  25 A.    I wasn't really feeling good, but I was sleeping.
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   1 Q.    Okay.
   2 A.    And then, when my other teacher came, she said, "Why are
   3 you awake?"       And I said, "Because Mr. Ali touched me in the
   4 privacy."
   5 Q.    Okay.    M.R., what do you use your privacy for?
   6 A.    To go to the restroom.
   7               MS. KOROBOV:     Okay.    I don't have any other
   8 questions, M.R.       I'm going to let Mr. Thomas ask you some
   9 questions.      Is that okay?
  10               THE WITNESS:     Yes.
  11               MS. KOROBOV:     Okay.    Thank you, M.R.
  12                              CROSS EXAMINATION

  13 BY MR. THOMAS:
  14 Q.    Good morning, M.R.
  15 A.    Good morning.
  16 Q.    M.R., how long have you lived on -- where you live now?
  17 A.    I don't know.
  18 Q.    And you said that your mom and dad live there with you?
  19 A.    Yes.
  20 Q.    Your little sister?
  21 A.    Yes.
  22 Q.    And your aunt?
  23 A.    Yes.
  24 Q.    And your cousin?
  25 A.    Yes.
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   1 Q.    Have they always lived with you?
   2 A.    Yeah.
   3 Q.    Yeah?    When you were going to school at -- where Mr. Ali
   4 was, did they live with you then?
   5 A.    No.    No.
   6 Q.    No?    Have you ever had a sister named G.F.?
   7 A.    No.
   8 Q.    No?    Your cousin, G.F., lives with you now?
   9 A.    Yes.
  10 Q.    But she didn't live with you back then?
  11 A.    No.
  12 Q.    Okay.    M.R., do you remember who else was in the classroom
  13 with you when you were touched?
  14 A.    No.
  15 Q.    Do you remember Mr. Ali taking your picture?
  16 A.    No.
  17 Q.    Did he ever ask you to pose for a picture?
  18 A.    No.
  19 Q.    Did he ever ask you to sit in a certain way or let him
  20 take pictures of you?
  21 A.    No.
  22 Q.    Did you ever see that happen?
  23 A.    No.
  24 Q.    Did you see Mr. Ali touch you?
  25 A.    No.
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   1 Q.    How do you know that he did?
   2 A.    I just -- actually, I did feel him, but -- and I didn't
   3 know what to say.        And I just woke up, and then my other
   4 teacher came in.         Then I just saw him walk out.
   5 Q.    Okay.
   6 A.    And then he came back and then we was hugging about what
   7 happened.
   8 Q.    Okay.    When you woke up, was he touching your underwear?
   9 A.    Yes.
  10 Q.    Had you been -- had you been hurting that day?
  11 A.    Yes.
  12 Q.    Had you been hurting for a while that way before?
  13 A.    Uh-huh.     Yes.
  14 Q.    Did you ever talk to your mommy before about it hurting
  15 that way?
  16 A.    Yes.
  17 Q.    Did she ever give you medicine for that?
  18 A.    No.
  19 Q.    No?    What about your dad?       Did he ever give you medicine?
  20 A.    No.
  21 Q.    Do you know why it was hurting?
  22 A.    Because he put his whole finger in it.
  23 Q.    Okay.    But was it hurting before that?
  24 A.    No.
  25 Q.    You don't remember telling Ms. Graham that morning that it
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   1 hurt?
   2 A.    Yes.
   3 Q.    Do you remember that?
   4 A.    Yeah.
   5 Q.    Do you remember talking to your mommy about the bubble
   6 bath making it hurt?
   7 A.    Yes.
   8 Q.    When did you -- when did you and Mommy talk about that?
   9 A.    When I first came to the hospital.
  10 Q.    Do you remember talking to your teachers about that, too?
  11 A.    Yes.
  12 Q.    Did you talk to your mommy about the bubble bath before
  13 you talked to your teachers?
  14 A.    Yes.
  15 Q.    It was before that day, wasn't it?
  16 A.    Yes.
  17 Q.    Do you remember talking to a lady the day after this
  18 happened?      You went in a little room and sat in a chair with
  19 toys and she asked you questions.            Do you remember that?
  20 A.    Yeah.
  21 Q.    Do you remember telling her about a dream that you had
  22 had?
  23 A.    Yes.
  24 Q.    What was that dream?
  25 A.    I forgot, but I know that I told her.
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   1 Q.    Okay.    How do you know that you told her?
   2 A.    Because I was telling her.         And she asked me why.        And
   3 I -- and I said it was like a bad dream.
   4 Q.    Okay.    Have you talked to some people about what you were
   5 going to say here today and how you were going to testify?
   6 A.    Yes.
   7 Q.    And did they talk to you about what you had said to the
   8 lady in the room?
   9 A.    Yes.
  10 Q.    Remind you what you had said?
  11 A.    Yes.
  12 Q.    Do you remember having that bad dream?
  13 A.    No.
  14 Q.    Do you remember telling the lady that Ms. Anna had touched
  15 you?
  16 A.    No.
  17 Q.    You don't remember that?
  18 A.    No.
  19 Q.    Do you know Ms. Anna?
  20 A.    Not anymore.
  21 Q.    No?    But you did know Ms. Anna?
  22 A.    Yeah.
  23 Q.    Did you like her?
  24 A.    Yeah.
  25 Q.    If you remember, M.R., how long had you been sleeping when
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   1 you woke up with Mr. Ali?
   2 A.    Like only one time.
   3 Q.    Okay.    And you don't remember who else was there?
   4               MS. KOROBOV:     Objection, asked and answered.
   5               THE COURT:     Sustained.     Next question.
   6 BY MR. THOMAS:
   7 Q.    Do you remember how you were sleeping, how you were
   8 laying?
   9 A.    I was laying like this, but I thought he couldn't touch
  10 me.     So I was still staying like this, but he still touched
  11 me.
  12 Q.    And, I'm sorry.      What do you mean when you say, "laying
  13 like this"?
  14 A.    I was laying my feet -- I was laying with my feet up.
  15 Q.    Okay.    And why were -- is that how you would normally lay
  16 for your nap?
  17 A.    Yes.
  18 Q.    Okay.    So if it's me -- if I may, Your Honor.            If it's me
  19 and I'm laying down, I put my knees like that, that's how you
  20 remember laying?
  21 A.    Yes.
  22 Q.    Okay.    Do you remember telling Mr. Ali that you were
  23 hurting?
  24 A.    Yes.
  25 Q.    Was that before you remember him touching you?
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   1 A.    Yes.
   2 Q.    What's the first thing you remember when you woke up?
   3 A.    That I feeled his finger.
   4 Q.    Okay.    Did you remember Mr. Ali saying anything to you?
   5 A.    No.
   6               MR. THOMAS:     That's all the questions I have for
   7 you.     Thanks very much.
   8               THE WITNESS:     You're welcome.
   9               THE COURT:     Do you have any redirect?
  10               MS. KOROBOV:     No, Your Honor.      We're finished with
  11 this witness.
  12               THE COURT:     All right.
  13               MS. KOROBOV:     May I walk her out, please?
  14               THE COURT:     You may.    Thank you, M.R.      You may be
  15 excused.
  16               MS. KOROBOV:     Do you want to come with me, M.R.?
  17               (Witness excused.)
  18               MS. KOROBOV:     The government is going to call
  19 Detective Eli McAllister.
  20               THE COURT:     Okay.   All right.     Detective, as soon as
  21 they get the chair switched, you may come up to the witness
  22 stand.
  23               Raise your right hand.
  24               (The witness is sworn.)
  25               THE COURT:     You may have a seat.
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   1               (Off the record.)
   2               THE COURT:     All right.     The witness has been sworn
   3 and you may examine the witness.
   4               ELI McALLISTER, PLAINTIFF'S WITNESS, SWORN

   5                              DIRECT EXAMINATION

   6 BY MS. KOROBOV:
   7 Q.    Are you the same Detective Sergeant Eli McAllister who has
   8 previously testified in this matter?
   9 A.    Yes, ma'am.
  10 Q.    And I want to talk to you a little bit about preparing
  11 M.R. for trial.
  12 A.    Yes.
  13 Q.    Were you present during all times that we prepared her to
  14 walk into this courtroom and give testimony?
  15 A.    I was.
  16 Q.    Okay.    And can you tell the jury a little bit about
  17 approximately how long ago the first time was that I met with
  18 M.R. and you met with M.R.?
  19 A.    I believe it was before Christmas.           I don't remember the
  20 exact date.
  21 Q.    And do you remember where we met?
  22 A.    The first time we met was at the office of -- at your
  23 office, at the U.S. Attorney's office, just a couple of blocks
  24 away.
  25 Q.    Did we talk at all about the facts of the case?
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   1 A.    No, not at all.
   2 Q.    What did we do?
   3 A.    Well, we just sat with her to build rapport, to let her
   4 get to know us.       I sat on the ground and drew on the coffee
   5 table next to her, I drew an airplane, I think.               We just
   6 talked to her.
   7 Q.    For the record, I am not as skilled a drawer as you; is
   8 that correct?
   9 A.    No.    I'm a better drawer --
  10 Q.    And you --
  11 A.    -- artist, I don't know.         Whatever it is.
  12 Q.    And do you also recall the next meeting that we had with
  13 M.R.?
  14 A.    I do.
  15 Q.    And can you tell the jury where that meeting occurred?
  16 A.    At her family's home.
  17 Q.    Okay.    And who went to that meeting, if you remember?
  18 A.    You were there, I was there, Mr. Shepard was there.               And
  19 Ms. Lloyd, the victim advocate for the U.S. Attorney's office,
  20 was also present, along with M.R.            And her little sister was
  21 there and her parents.
  22 Q.    Just a little bit about M.R.'s living arrangement.               Does
  23 she have family that lives, like, physically close to where it
  24 is that M.R. currently lives?
  25 A.    Yeah.    My understanding is that they have two condos that
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   1 are adjacent to one other, or two townhouses next to one
   2 another.      And part of the family lives in one, part of the
   3 family lives in the other.
   4 Q.    When we went to the house that day, did we discuss the
   5 facts of the case on that evening?
   6 A.    Our intention was to bring up the facts of the case and
   7 see if she would talk about them.
   8 Q.    Okay.
   9 A.    But, ultimately --
  10 Q.    And how did she respond?
  11 A.    So we weren't entirely sure the best way to broach the
  12 subject.      It had been quite some time, and it was not a fun
  13 thing for her to talk about.           So we thought one of the easiest
  14 ways might be to show her a photograph of Mr. Ali Al-Awadi and
  15 see if she could talk about him from there.
  16 Q.    What did she do?
  17 A.    She said that she didn't know who he was.
  18 Q.    And did she have a physical response to being shown that
  19 photo?
  20 A.    Yes.    She was clearly uncomfortable.          She looked away.
  21 And then, when we tried to ask her if she knew him or who he
  22 was, she would -- tucked her chin a little bit and would look
  23 at me and then back to you, and then look at me again and then
  24 say, no, she didn't know who he was.
  25 Q.    Was M.R. holding anything at the time that we spoke to her
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   1 that evening?
   2 A.    I think she had an American Girl doll, if I'm not
   3 mistaken.
   4 Q.    And do you recall whether she was holding a blanket?
   5               MR. THOMAS:     I'm sorry.     About the relevance of
   6 whether she was holding a blanket, Your Honor.
   7               THE COURT:     I'll let her tie it up.        Do you -- even
   8 if he recalls.       Do you recall whether or not she was holding a
   9 blanket?
  10 A.    Okay.    Yes, I remember.      So when we were asking her about
  11 it, she was sitting on the couch.            And I apologize, I didn't
  12 remember at first the exact circumstances, but she was sitting
  13 on the couch.       She had a blanket kind of wrapped around behind
  14 her.     When we showed her the photograph, she placed her hands
  15 in between her -- in between her legs and covered her genital
  16 area.
  17               And as we continued to try to ask her if she knew
  18 who he was and if she recognized him, she grabbed the blanket
  19 that was behind her and grabbed it and stuffed it between her
  20 legs and held it in front of her as we talked, and covered her
  21 genital area.       I remember seeing that happen and then
  22 mentioning it to you as we were leaving, just the physical
  23 response and the body language that she displayed when we
  24 brought the topic up.
  25 BY MS. KOROBOV:
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   1 Q.    So, other than asking her if she remembered Mr. Ali or
   2 remembered going to the daycare, did we discuss the facts at
   3 all with her?
   4 A.    No.    That was the way we were hoping to introduce the
   5 subject, and she -- it was a complete dead end with her.                  She
   6 did not appear to want to talk about the topic.
   7 Q.    When is the next time that we met with M.R.?
   8 A.    I don't remember the dates.         It was probably within a
   9 week.     I think it was maybe the following week we met with her
  10 at the U.S. Attorney's office.
  11 Q.    And who was there that time?
  12 A.    Originally it was just you and I in the room with M.R.
  13 Ms. Lloyd was in another room with M.R.'s parents, I believe.
  14 And Mr. Shepard was running late, so he wasn't there with us.
  15 Q.    Okay.    And what did we do with M.R. this time?
  16 A.    We did some more rapport building, just talking to her,
  17 asking how her day was, talking about the doll she had with
  18 her.     I think we did some more coloring that day, as well.               A
  19 dinosaur is what I drew that time.            And then --
  20 Q.    Did you show anything to M.R. that time?
  21 A.    Did we show her?       Yes, ma'am, we did.
  22 Q.    And what did we show M.R.?
  23 A.    You had a laptop with the video recording of the interview
  24 that she did with Ms. Woodall on it.             And you played the video
  25 recording of her interview with Ms. Woodall.
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   1 Q.    Okay.    Did we get through the whole video?
   2 A.    No.
   3 Q.    What happened?
   4 A.    She began to spontaneously -- not spontaneously, but just
   5 as she was watching the video, she started to say things about
   6 what was being said and done on the interview -- or during the
   7 video.      So when she watched herself start to talk about it,
   8 she pointed to, I believe it was the hospital bracelet she was
   9 wearing, and said she remembered wearing that, at which point
  10 you paused the video.
  11 Q.    Okay.    And did we ask her, then, questions about what it
  12 is that she did remember happening?
  13 A.    Yes.
  14 Q.    Okay.    The next time we met with M.R., where did we meet
  15 with her?
  16 A.    We met at the U.S. Attorney's office again.
  17 Q.    Okay.    And what do you recall happening at that meeting?
  18 A.    We talked with her briefly there just to say hi.               And then
  19 we walked the block and a half or two blocks here to the U.S.
  20 Courthouse.
  21 Q.    Okay.    And did M.R. get a tour of the courtroom?
  22 A.    Yes.    We wanted to familiarize herself with -- or
  23 familiarize her with the room that we were going to expect her
  24 to sit in the chair and talk to strangers about this incident.
  25 So we had her sit in that same gray chair, whatever color it
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   1 is, and you stood back there and asked her questions like how
   2 old she was and what her favorite color was and what games she
   3 liked to play, things like that.
   4 Q.    Did we ask her anything about the facts of the case?
   5 A.    No, you didn't ask her anything about what happened.
   6 Q.    Okay.    And did I let M.R. ask me questions, too?
   7 A.    Yes.    I believe you sat up here and she asked you
   8 questions -- or she sat up here and asked you questions.
   9 Q.    Okay.
  10 A.    I think she wanted to question her mother, as well, so she
  11 did that.
  12 Q.    Okay.    And did we do a final meeting with M.R.?
  13 A.    Yes.
  14 Q.    And where did that last meeting occur?
  15 A.    I believe it was at your office, as well.
  16 Q.    Okay.    And about in relation to the start of the trial on
  17 Monday, do you recall when that meeting was?
  18 A.    I've had a bit of a crazy schedule of late.             I've been
  19 working some late shift hours and day shift combined, back to
  20 back, so I feel like it was one of those mornings where I had
  21 worked the whole night and then came in at 8:00 the next
  22 morning and met with them.          I feel like it was maybe the week
  23 before trial.       I'm sorry.     I really don't remember.
  24 Q.    That's okay.
  25 A.    Within a week of the trial.
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   1 Q.    Okay.    At that meeting, did we discuss the facts of the
   2 case?
   3 A.    Yes.
   4 Q.    Okay.    And where did that discussion occur?
   5 A.    Right across from Ms. Lloyd's office, there's an empty --
   6 or at the time -- or that day, there was an empty intern's
   7 office.      So you, M.R., and I all sat in the intern's office.
   8 Q.    And was anything shown to M.R.?
   9 A.    No.
  10 Q.    No videos?
  11 A.    No, ma'am.
  12 Q.    Okay.    And we just asked her questions at that point in
  13 time?
  14 A.    Yes.
  15 Q.    Okay.    To your knowledge or in your presence, has M.R.
  16 ever been showed the complete first part of that interview?
  17 A.    No.    We didn't make it through the entire interview.              When
  18 she started talking and pointing to the screen and commenting
  19 on what she was seeing, we paused the video.               And we never
  20 revisited that or showed her the rest of the video or the
  21 second recording.        And we didn't do that ever again.           We never
  22 played the video again once she started talking about it.                  We
  23 were just trying to open the door to refresh her memory that
  24 way.
  25 Q.    Okay.    And did -- you said -- did we ever show her that
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   1 second portion --
   2 A.    No.    We never got --
   3 Q.    -- of the video?
   4 A.    No, we never even got through the first one.              We
   5 certainly didn't start the second recording, no.
   6 Q.    Okay.    And just one thing.       In the one video -- or excuse
   7 me, one photo, Government's Exhibit 17, the bracelet of M.R.,
   8 it appears that there's a mark on her arm.              Have you seen that
   9 mark on M.R.?
  10 A.    Yes.    I believe it's --
  11               MR. THOMAS:     Objection to relevance, Your Honor.
  12               MS. KOROBOV:     I just wanted to be sure it wasn't
  13 mistaken for some kind of injury.
  14               MR. THOMAS:     May way approach, Your Honor?
  15               THE COURT:     You may.
  16               (Bench conference on the record.)
  17               MR. THOMAS:     Your Honor, this is highly improper,
  18 this suggestion here that there's some injury on her arm.
  19               THE COURT:     I think she's trying to do --
  20               MS. KOROBOV:     I want to make sure --
  21               THE COURT:     -- the opposite.
  22               MS. KOROBOV:     I want to make sure that no one thinks
  23 that she was, like, physically assaulted.              It's a birthmark.
  24 That's all I want to bring out.
  25               MR. THOMAS:     Okay.
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   1               THE COURT:     Yeah, because I saw it.        I noticed it,
   2 also.
   3               MR. THOMAS:     Well, just the nature of the
   4 question -- okay.        If that's what you're doing, I have no
   5 objection.
   6               THE COURT:     Okay.   All right.
   7                                 (Open court.)
   8               THE COURT:     All right.     The objection is withdrawn?
   9               MR. THOMAS:     Yes, Your Honor.
  10               THE COURT:     All right.     You may.
  11 BY MS. KOROBOV:
  12 Q.    Did M.R. have a birthmark on her arm?
  13 A.    Yes.    I believe it's on the right wrist, or right -- just
  14 on the outside of her arm there.
  15 Q.    Okay.    And that was visible in the photo with her hospital
  16 band?
  17 A.    Yes.    You could see it just around or above the band.
  18 Q.    Okay.    And how many years have you -- you said six and a
  19 half years in childhood abuse?
  20 A.    Yes.
  21 Q.    Okay.    And is the preparation that we gave M.R. for the
  22 courtroom -- is that something that is typically done in
  23 preparing children for court?
  24 A.    Yes, it's common.       I've shown children videos of their
  25 interviews before, because particularly if you have a young
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   1 child.      It's been a long time, and they were quite young when
   2 it happened, so it's not uncommon for them to forget or put it
   3 out of their memory.
   4               MS. KOROBOV:     Okay.    Thank you very much.       I pass
   5 the witness.
   6               THE COURT:     You may cross.
   7               MR. THOMAS:     Thank you, Your Honor.
   8                              CROSS EXAMINATION

   9 BY MR. THOMAS:
  10 Q.    So you met with M.R. five times to prepare?
  11 A.    Probably.     I think that's it.       I wasn't counting as we
  12 went through them.
  13 Q.    And you didn't show her the video about the dream?
  14 A.    No.
  15 Q.    Did you talk to her about it?
  16 A.    No, I don't believe we talked to her about it when --
  17 Q.    Well, she seemed to remember that you did.
  18               MS. KOROBOV:     Objection --
  19               THE REPORTER:     I cannot hear you.
  20               MS. KOROBOV:     Objection, Your Honor --
  21               THE COURT:     I don't think you're on.
  22               MS. KOROBOV:     I'm sorry.     Objection.     The question
  23 has been asked and answered.           At this point, it's simply
  24 argumentative.
  25               THE COURT:     I'll overrule.
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   1 BY MR. THOMAS:
   2 Q.    You were sitting here when she testified?
   3 A.    Yes.
   4 Q.    And you remember I asked her about the dream?
   5 A.    Yes.
   6 Q.    She said she didn't remember, but she knew about it?
   7 A.    Yes.
   8 Q.    And I said, "Was that from talking about what you said --
   9 what you had said?"        And she said, "Yes."        Do you remember
  10 that?
  11 A.    Yes, I think so.
  12 Q.    And I asked her about whether she had been -- remembered
  13 what she said in the interview, and she said she didn't,
  14 right?
  15 A.    Yes.
  16 Q.    That she had gone over it and now knew about it, right?
  17 A.    She didn't say she had gone over it.
  18 Q.    Well, you made her familiar with what she had said by
  19 showing her the video and then talking to her about what she
  20 had said, right?
  21 A.    Yes, sir, when she started pointing to the screen and
  22 discussing her memory of the wrist band.
  23 Q.    In that -- it was the second meeting when you showed her
  24 the picture of Mr. Al-Awadi, or the first meeting?
  25 A.    It was the second, the one in her home.
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   1 Q.    Okay.    And she told you that she didn't recognize him, or
   2 said she didn't know who it was?
   3 A.    Yeah.    It was a photograph --
   4 Q.    It's a yes or no.
   5 A.    Yeah, she said that she didn't know who he was.
   6 Q.    Okay.    And did you ever -- who was present for that
   7 meeting?
   8 A.    I was there, Mr. Shepard was there, Ms. Korobov was there,
   9 and Ms. Lloyd was there.          M.R.'s parents were upstairs with
  10 her -- her little sister.
  11               MR. THOMAS:     May we approach, Your Honor?
  12               THE COURT:     You may.
  13               (Bench conference on the record.)
  14               MR. THOMAS:     Your Honor, I think this is Brady
  15 material, and I don't think it was ever revealed that they had
  16 the meeting, and that at the meeting she could not identify my
  17 client.      That should have been turned over to me prior to
  18 trial as Brady, and it was not.
  19               MS. KOROBOV:     Judge, I don't consider it to be Brady
  20 material.      It's a photo actually of the two of them together.
  21 We can elicit some more testimony, but that's simply what she
  22 said.
  23               THE COURT:     Is it the photograph that's in the
  24 exhibit binder?
  25               MS. KOROBOV:     Yes.
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   1               THE COURT:     Had you seen that before?
   2               MR. THOMAS:     I've seen the photo.       I was not told
   3 that the victim did not recognize my client.               And I don't
   4 think it's up to her to decide what Brady material is, Your
   5 Honor, but, clearly, if they've interviewed their witness
   6 again and the witness says, "I don't recognize that person,"
   7 that's information that needs to be disclosed prior to trial.
   8               THE COURT:     Okay.
   9               MS. KOROBOV:     This isn't a case where it's a
  10 stranger identification.          Who Mr. Ali is and who his presence
  11 is in the classroom has never been in question.               There's never
  12 been -- this isn't an issue like it's a bank robbery where a
  13 witness identified him for a brief second.              This is who this
  14 person is in her classroom.
  15               So we just didn't think that it had anything --
  16 didn't see it as -- it didn't make it more or less likely that
  17 the defendant produced an image of M.R. and used her to
  18 produce an image of her engaging in sexually explicit conduct.
  19               THE COURT:     All right.     So what are you asking for?
  20 Are you saying that it's a mistrial because of a Brady
  21 violation?
  22               MR. THOMAS:     Your Honor, we're not talking about
  23 identity.      We're talking about the memory of their witness.
  24 And today the witness comes in and identifies him, and that's
  25 fine --
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   1               MS. KOROBOV:     The witness didn't identify him.           I
   2 never asked her to identify him.
   3               THE COURT:     Yeah, she didn't identify him today.
   4               MR. THOMAS:     Well, fair enough.       The witness --
   5               THE COURT:     She just said, "Mr. Ali."
   6               MR. THOMAS:     Right.    The witness testified,
   7 presumably from her memory, about Mr. Ali, and at a point in
   8 the middle couldn't identify him in a picture.               I think that
   9 is evidence that we need to know, about the memory of the
  10 witness, in order to properly cross-examine her about what she
  11 remembered then, what she's been told now, particularly
  12 meeting with the government five times to prepare for her
  13 testimony to tell us that, well, at one point when we talked
  14 to her we couldn't even -- she couldn't even identify him.
  15               THE COURT:     Well, Counsel, you've got the
  16 information.       You've cross-examined -- I mean, you're
  17 cross-examining the detective on it.             The child is six years
  18 old, so you can't really get much cross out of her.                I don't
  19 think it rises to the level of a mistrial if, in fact, it were
  20 a Brady violation.        But I'll take your motion for mistrial
  21 under advisement.        Go ahead and finish examination of the
  22 witness, and we'll talk about it during the recess.
  23               MR. THOMAS:     Thank you, Your Honor.
  24               THE COURT:     Okay.
  25                                 (Open court.)
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   1               THE COURT:     All right.     You may continue.
   2 BY MR. THOMAS:
   3 Q.    After that fifth meeting with M.R., did you have any other
   4 contact with her, as far as preparation?
   5 A.    No, no preparation.
   6 Q.    Any other contact with her?
   7 A.    Yes.
   8 Q.    What was that?
   9 A.    This morning.      I walked into the witness room and said hi
  10 to her.
  11 Q.    Do you know if -- were you present for -- you were present
  12 for five meetings to prepare her for trial.              Are you aware of
  13 any other meetings that were had when you weren't there?
  14 A.    No.    It was always a very clear point that I had to be
  15 present for all of those meetings.
  16 Q.    You don't know why she remembers talking to you about the
  17 dream, because you didn't talk to her, right?
  18 A.    No.    We never discussed the dream.
  19               MR. THOMAS:     All righty.     That's all I have.
  20               THE COURT:     Any redirect?
  21                            REDIRECT EXAMINATION

  22 BY MS. KOROBOV:
  23 Q.    Detective Sergeant, I ask you to look in the binder at
  24 Government's Exhibit 3, please.
  25 A.    Yes, ma'am.
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   1 Q.    Do you recognize Government's Exhibit 3?
   2 A.    Absolutely.
   3 Q.    How do you recognize it?
   4 A.    It's one of the photographs that we recovered from the
   5 cell phone of Mr. Al-Awadi during Detective Melton's forensic
   6 exam of the phone.
   7 Q.    Okay.    And is Government's Exhibit 3 the photo -- the
   8 photo that we showed to M.R. to see if she recognized anyone
   9 in it?
  10 A.    Yes.
  11 Q.    Okay.    Is -- who else is in that photo?
  12 A.    M.R.
  13 Q.    Okay.    Did M.R. recognize herself in the photo?
  14 A.    Yes.
  15               MS. KOROBOV:     Nothing further.
  16               THE COURT:     Okay.    Any questions on those?
  17               MR. THOMAS:     No questions, Your Honor.
  18               THE COURT:     All right.      Thank you.    You may return
  19 to your seat.
  20               THE WITNESS:     Thank you.
  21               (Witness excused.)
  22                                      * * *
  23                                      EXCERPT
  24                                      * * *
  25               THE COURT:     Is this your next witness?
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   1               MR. SHEPARD:     It is, Your Honor.
   2               THE COURT:     All right.     Are you ready for the jury?
   3               MR. SHEPARD:     We have one fast question beforehand.
   4 Do you want us to have another witness available before the
   5 lunch break?       We can call her here if you do.          I just didn't
   6 know how long you wanted to -- wanted us to go.
   7               THE COURT:     It's up to you.      You know, we took an
   8 hour for lunch, and it's not raining now, so maybe we could --
   9               MS. KOROBOV:     The witness, Your Honor, is Shea
  10 Hayes-Anderson from the crime lab, so she would be probably a
  11 lengthy witness, too.         So, I mean, I can have her here if the
  12 Court would like, but --
  13               THE COURT:     No.   That's fine.     It's 11:30.      We'll do
  14 this witness and then we'll go to lunch.
  15               MS. KOROBOV:     Thank you.
  16               MR. SHEPARD:     Thank you, Your Honor.
  17               THE COURT:     We'll just have a long afternoon.          Okay.
  18               MR. SHEPARD:     And we are ready for the -- the
  19 government is ready for the jury, Your Honor.
  20               THE COURT:     Mr. Thomas, are you ready for the jury?
  21               MR. THOMAS:     I am ready, Your Honor.
  22               THE COURT:     You may bring in the panel, Tanesa.
  23               (Jury in at 11:33.)
  24               THE COURT:     Witness, if you would remain standing
  25 and raise your right hand.
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   1               (The witness is sworn.)
   2               THE COURT:     You may have a seat.
   3               And as soon as he's comfortable, you may examine
   4 your witness.
   5               MR. SHEPARD:     Thank you, Your Honor.
   6                GRANT MELTON, PLAINTIFF'S WITNESS, SWORN

   7                              DIRECT EXAMINATION

   8 BY MR. SHEPARD:
   9 Q.    Detective, could you please state your full name and spell
  10 your last name for the record?
  11 A.    Grant Melton, M-E-L-T-O-N.
  12 Q.    And what do you do for a living?
  13 A.    I'm a digital forensic examiner for the Indianapolis
  14 Metropolitan Police Department.
  15 Q.    How long have you held that position?
  16 A.    I've been a police officer for 14 years.             I've been a
  17 digital forensic examiner since May of 2013, for almost three
  18 years now.
  19 Q.    What does it mean to be a digital forensic examiner?
  20 A.    I examine digital devices or electronic storage devices,
  21 such as computers, cell phones, tablets, any kind of digital
  22 storage device, pretty much, for investigators.               I do
  23 case-specific requests, searches for digital evidence.
  24 Q.    And have you had any training in this area?
  25 A.    Yes.
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   1 Q.    Approximately how many hours of training?
   2 A.    I've had about 500 hours of formal classroom training.
   3 Q.    All right.     And then have you had kind of on-the-job
   4 training and experience?
   5 A.    On-the-job training, yes.
   6 Q.    All right.     Did those training classes include classes in
   7 cell phones and smartphones specifically?
   8 A.    Yes.
   9 Q.    Including a basic cell phone investigation course in
  10 September of 2014?
  11 A.    Yes.
  12 Q.    A cell phone interrogation course in October of 2014?
  13 A.    Yes.
  14 Q.    And advanced smartphone forensics in November of 2014?
  15 A.    Yes.
  16 Q.    As well as a number of other courses just about general
  17 computer forensics; is that a fair statement?
  18 A.    Yes, sir.
  19 Q.    Have you ever examined any cell phones or smart phones?
  20 A.    Yes.
  21 Q.    About how many?
  22 A.    Over 500.
  23 Q.    I ask you to turn around to the box and find something
  24 with a sticker on it, Exhibit 27.
  25 A.    Okay.
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   1 Q.    Do you recognize Exhibit 27?
   2 A.    Yes.
   3 Q.    What is it?
   4 A.    This is a cell phone that I examined in 2014.
   5 Q.    How do you know that that's the same cell phone?
   6 A.    At the time -- at the time of my examination, I documented
   7 the serial number, which matches the serial number on this
   8 device, as well as the packaging.            It contains evidence tape
   9 that I placed on the package.           And I wrote my police
  10 department identification number and the date that I sealed
  11 it.
  12 Q.    And when you received it, you noted the serial number.
  13 What then did you do with the cell phone?
  14 A.    I first received this in August of 2014.             I -- I reviewed
  15 the documentation that the detective provided with the legal
  16 authority to do an examination, and I documented with
  17 photographs.       At that time, I learned that the device was
  18 locked with a pass code that I couldn't, at that time, get
  19 past.     I then examined it again in December of 2014.
  20 Q.    And was it in your custody and control while you were
  21 waiting for the ability to open the phone?
  22 A.    Yes.
  23 Q.    All right.     And what's an image in your line of work?
  24 A.    An image is -- we refer to -- I'm not sure --
  25 Q.    When you receive -- what is the first thing you did after
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   1 you unlocked the phone?
   2 A.    We don't -- in digital forensics, we try to make -- and I
   3 believe what we're referring to here is the image.                I imaged
   4 the phone, so I make a copy of the information on the phone,
   5 and that's then a working copy.           So the examination I'm doing
   6 is on the evidence that's -- or the data that's copied from
   7 the device, or we call that a physical image of the device.
   8 Q.    Then, after you obtained the physical image, what did you
   9 do with the unit, with the hardware unit?
  10 A.    After I did that, I sealed it back in its envelope.
  11 Q.    Okay.    And then did it eventually make its way back to the
  12 property room?
  13 A.    Yes.
  14 Q.    In all of your examinations, did that come off -- did you
  15 pull that back out and do your examinations or did you work
  16 off your physical image?
  17 A.    I worked off the physical image.
  18 Q.    Okay.    And is that standard operating procedure in the
  19 field of digital forensics?
  20 A.    Yes, it is.
  21               MR. SHEPARD:     Your Honor, I move for the admission
  22 of Government's Exhibit 27 at this time.
  23               MR. THOMAS:     Preliminary question if I could, Your
  24 Honor.
  25               THE COURT:     You may.
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   1 BY MR. THOMAS:
   2 Q.    The item was in your control from the time you received --
   3 well, let me ask you this first.            Who did you receive it from?
   4 A.    Detective McAllister.
   5 Q.    And in what manner?       Hand to hand or --
   6 A.    I believe it was hand to hand, yes.
   7 Q.    And it remained in your custody while you did your
   8 examination?
   9 A.    It was secured in my office, yes.
  10 Q.    And what did you do with it when you were finished?
  11 A.    After the conclusion of my examination?
  12 Q.    Yeah.
  13 A.    I returned it to Detective McAllister.
  14               MR. THOMAS:     I would have no objection at this point
  15 to Government's 27.
  16               THE COURT:     Government's Exhibit 27 is admitted into
  17 evidence without objection.
  18                            (Government's Exhibit 27 was

  19                            received in evidence.)

  20 BY MR. SHEPARD:
  21 Q.    Can you talk just generally about -- well, did you examine
  22 Government's 27?
  23 A.    Yes.
  24 Q.    Did you find anything on it that was of evidentiary value
  25 for the case?
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   1 A.    Yes.
   2 Q.    What did you find?
   3 A.    I found some images that were of interest, as well as some
   4 artifacts related to some file names, some file paths, as well
   5 some items indicating who the user of the phone was.
   6 Q.    Okay.    Let's just talk about, before we get to the
   7 specific things that you found, computers and cell phones in
   8 general.      How are they similar?
   9 A.    They're similar in that today's smart phones -- like your
  10 Androids, your Apple iPhones, Windows, and BlackBerry
  11 phones -- those are very much just small computers.                They have
  12 all -- or almost all the functionality that any home computer
  13 would have.
  14 Q.    All right.     And so they retain data?
  15 A.    Yes.
  16 Q.    Are there any differences between the two?
  17 A.    Yes.
  18 Q.    What would those be?
  19 A.    Cell phones generally have very small storage capacity
  20 relative to what our computers have now.              Also, the way they
  21 store memory in their flash memory, the way the memory itself
  22 works, is different than what we find on most of our
  23 traditional mechanical hard drives.
  24 Q.    Now, go ahead and can you just kind of hold up Exhibit 27
  25 so that the jury can see it?           The phone itself.
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   1 A.    (Witness complied.)
   2 Q.    And then what's on the back of it?
   3 A.    On the back is a label that identifies the model and
   4 serial number of the device.
   5 Q.    Does it also have where the device was made?
   6 A.    Yes.
   7 Q.    Did you take a picture of that?
   8 A.    Yes.
   9 Q.    Please look in the binder behind tab 34.
  10 A.    Did you say 34?
  11 Q.    Yes.
  12 A.    Okay.
  13 Q.    Do you recognize that?
  14 A.    Yes.
  15 Q.    What is that?
  16 A.    That's an image I took of that label.
  17 Q.    Okay.    And does it correctly and accurately represent the
  18 label on Exhibit 27 up there?
  19 A.    Yes.
  20               MR. SHEPARD:     Your Honor, I move for the admission
  21 of Exhibit 34.
  22               THE COURT:     Any objection?
  23               MR. THOMAS:     I have no objection to 34, Your Honor.
  24               THE COURT:     Government's 34 is admitted into
  25 evidence without objection.
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   1                            (Government's Exhibit 34 was

   2                            received in evidence.)

   3               MR. SHEPARD:     Please call up 34.
   4 BY MR. SHEPARD:
   5 Q.    Where was the phone made?
   6 A.    China.
   7 Q.    Are you familiar with a concept called "attribution"?
   8 A.    Yes.
   9 Q.    What is attribution?
  10 A.    Basically being able to attribute a specific piece of
  11 property to a person.
  12 Q.    Trying to find out whose phone it was?
  13 A.    Yes.
  14 Q.    Okay.    Did you find any evidence that allows you to
  15 conclude whose phone that is?
  16 A.    Yes.
  17 Q.    Okay.    Were you able to determine the number on the
  18 telephone?
  19 A.    Yes.
  20               MR. SHEPARD:     Can you please pull up Exhibit 23.
  21 BY MR. SHEPARD:
  22 Q.    What was the phone number on -- that you were able to
  23 determine returned to that device?
  24 A.    It was area code                       .
  25 Q.    All right.     I would ask you to look at Exhibit 23, which
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   1 has been previously admitted as the defendant's application
   2 for employment.       Do you see in "General Information" a name
   3 listed by -- or excuse me, a phone number listed by "Ali
   4 Al-Awadi"?
   5 A.    Yes.
   6 Q.    Is that the same phone number as you found returned to the
   7 device?
   8 A.    Yes.
   9 Q.    Were you able to find any e-mail addresses that were
  10 loaded into that phone?
  11 A.    Yes.
  12 Q.    How many?
  13 A.    There were three.
  14 Q.    Okay.    And what were the three?
  15 A.    There was -- there was one e-mail address,
  16              @hotmail.com.     That was associated with a Snapchat
  17 account, as well as a Netflix account.             There was an e-mail
  18 account,                   @5linx.net.      And there was also
  19                @gmail.com.     That was for the Google accounts on
  20 the phone.
  21 Q.    I would also ask you to again look at Exhibit 23.               Do you
  22 see an e-mail address listed by Mr. Al-Awadi on his
  23 application for employment?
  24 A.    Yes.
  25 Q.    Is that one of the three you just mentioned?
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   1 A.    Yes, it is.
   2 Q.    All right.     Were you able to recover any e-mails --
   3 A.    Yes.
   4 Q.    -- on the phone?       I would ask you to look in the binder
   5 under -- behind tabs 35 and 36.
   6 A.    Okay.
   7 Q.    Do you recognize 35 and 36?
   8 A.    Yes.
   9 Q.    What are they?
  10 A.    These are e-mails I recovered from the phone.
  11 Q.    And are they -- are the printouts that are there
  12 substantially accurate copies of the files you were able to
  13 retrieve off the phone?
  14 A.    Yes.
  15               MR. SHEPARD:     Your Honor, I would move for the
  16 admission of Exhibits 35 and 36.
  17               THE COURT:     Any objection to 35 and 36?
  18               MR. THOMAS:     Your Honor, I guess I would object to
  19 35 and 36 on relevance grounds.           At this point, I don't think
  20 there's an issue as to -- we haven't raised an issue about
  21 ownership of the phone.         I think it's been established by
  22 prior evidence that the phone number matches his and that the
  23 e-mail address matches his, so I would object at this point on
  24 the grounds of -- that it is -- for identification purposes,
  25 it's cumulative.        As far as what's listed there or what's
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   1 being discussed there, it's probably not relevant.
   2               MR. SHEPARD:     Your Honor, if he will stipulate that
   3 the phone was his client's, we'll move right on through this.
   4 Otherwise, I think we get to prove whose phone it is.
   5               THE COURT:     Did you make that stipulation?
   6               MR. THOMAS:     I was --
   7               THE COURT:     Why don't we approach.
   8               (Bench conference on the record.)
   9               MR. THOMAS:     Judge, I was actually prepared to do
  10 this, just that, as he started asking those questions.                 I
  11 don't think that the ownership of the phone is in question, so
  12 we're happy to stipulate that it was his phone.
  13               MR. SHEPARD:     We accept the stipulation.
  14               THE COURT:     Okay.   All right.
  15                                 (Open court.)
  16               THE COURT:     The attorneys are going to stipulate
  17 that the cell phone, which is Exhibit 37 --
  18               MR. SHEPARD:     27, Your Honor.
  19               THE COURT:     -- 27 did, in fact, belong to the
  20 defendant Ali Al-Awadi.         Is that correct, Government?
  21               MR. SHEPARD:     Yes, Your Honor.
  22               THE COURT:     And is that correct, Mr. Thomas?
  23               MR. THOMAS:     That is correct, Your Honor.
  24               THE COURT:     All right.     You may.
  25 BY MR. SHEPARD:
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   1 Q.    When you do examinations to help out investigations, is it
   2 important for you to become aware of general facts of the
   3 investigation?
   4 A.    Yes.
   5 Q.    Why is that?
   6 A.    There is so much data.        Even though a cell phones contains
   7 a lot less than a computer, there's still a considerable
   8 amount of data that can be there.            So what we have to do is do
   9 a -- basically, we're trying to answer case-specific
  10 questions.      I need to learn information about the case to know
  11 what type of information I might need to look for on a
  12 specific device.
  13               THE COURT:     Mr. Shepard, for the record, are you
  14 going to withdraw Government's Exhibits 35 and 36 in lieu of
  15 the stipulation?
  16               MR. SHEPARD:     Yes, Your Honor.
  17               THE COURT:     All right.     Those two are withdrawn.
  18               MR. SHEPARD:     Thank you, Your Honor.
  19 BY MR. SHEPARD:
  20 Q.    And did you as to some of the general facts of this
  21 investigation?
  22 A.    Yes.
  23 Q.    Were one of those facts the investigator's belief of when
  24 the incident occurred?
  25 A.    Yes.
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   1 Q.    And what was that?
   2 A.    That was August 21st of 2014, roughly between 12:30 and
   3 1:30 p.m.
   4 Q.    And did you begin to search for evidence in this case?
   5 A.    Yes.
   6 Q.    How did you go about doing that?
   7 A.    Well, I reviewed -- once I have that image, I use analysis
   8 software that decodes the information for me.               And essentially
   9 I'll look at different types of information:               The text
  10 messages, browsing history, photographs, that kind of
  11 information, to see if there's anything that was related to
  12 the investigation.
  13 Q.    I would ask you to look at -- behind tab number 37.
  14 A.    Okay.
  15 Q.    What is 37?
  16 A.    37 is a report that I created containing information about
  17 files that had at one time resided on the device.
  18 Q.    And is that an accurate summary of the data that was
  19 produced from your equipment and what you analyzed?
  20 A.    Yes, it is.
  21 Q.    And will the chart that you created help explain your
  22 testimony to the jury?
  23 A.    Yes.
  24               MR. SHEPARD:     Your Honor, I would move for the
  25 admission of Exhibit 37.
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   1               THE COURT:     Any objection to 37?
   2               MR. THOMAS:     I have no objection to 37.
   3               THE COURT:     Government's Exhibit 37 is admitted into
   4 evidence without objection.
   5                            (Government's Exhibit 37 was

   6                            received in evidence.)

   7               MR. SHEPARD:     Please display Exhibit 37.         If you
   8 could magnify.
   9 BY MR. SHEPARD:
  10 Q.    Detective, what are we seeing here?
  11 A.    On the -- this is, again, the report that I generated as
  12 part of my examination.         The column that says "File Info" at
  13 the top, in the gray header, that column -- each one of those
  14 rows contains information about files that had at one time
  15 resided on the phone.
  16               The "Name" field is consistent with what we call a
  17 naming convention.        It's consistent with the way photographs
  18 on this phone are named.          You have the 20140821.        That's the
  19 four digit year, two digit month, and two digit date.                 And
  20 then the underscore is the hours, minutes, and seconds.                 So
  21 132313 equates to 1:23:13 p.m.           And then the .jpg indicates
  22 that it was an image.
  23               Below that, you have "Path," the, "Root/media/0."
  24 That identifies the item that I was examining.               The "DCIM" and
  25 "Camera," those are directories that would be the default
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   1 location for images that were taken with this device.                 And
   2 then, again, you have that file name.
   3 Q.    Okay.    And you meant camera as the default for images
   4 taken by the device.         Does that tell you that the file
   5 20140821_132313.jpg was created by that device?
   6 A.    That's where I would expect to find -- the DCIM directory
   7 and then the camera sub directory is where I would expect to
   8 find images that were taken.           It would be the default location
   9 for images taken by that device.
  10 Q.    And it would have a file path just like what you talked
  11 about?
  12 A.    Yes.
  13 Q.    There's a column over here, "Delete."            What's that mean?
  14 A.    That means the image itself, that it was referring to, was
  15 deleted.
  16 Q.    So the image associated with that JPEG file had been
  17 deleted by the time you received the phone?
  18 A.    Yes.
  19 Q.    What about number two?
  20 A.    Two?    Again, it's located in the same location.            This one
  21 has a file name that indicates it was an image that was taken
  22 on August 21st, 2014, at 1:23:19 p.m.
  23 Q.    And was it also deleted?
  24 A.    Yes.
  25 Q.    Number three?
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   1 A.    Again, in the same location.          It's a file that was taken
   2 August 21st, 2014, at 1:25:55 p.m.
   3 Q.    And was it deleted?
   4 A.    Yes.
   5 Q.    And number four?
   6 A.    That was also in the same location.           That's a file taken
   7 on August 21st, 2014, at 1:26:01 in the afternoon.
   8 Q.    And was it deleted?
   9 A.    Yes.
  10 Q.    Throughout the course of your examination, did you find
  11 any other image files, either deleted or nondeleted, that were
  12 created between that 12:30 p.m. and 1:30 p.m. time frame?
  13 A.    No.
  14 Q.    Is there any way to tell, based upon the information that
  15 you recovered, when these four files were deleted?
  16 A.    No.
  17 Q.    Is that common?      Uncommon?
  18 A.    Yes.    Once an image is deleted, or once any file is
  19 deleted, it's difficult to tell when exactly it was deleted.
  20 Q.    I'm going to ask you to look at Exhibits 7, 8, 9, and
  21 10 -- or proposed Exhibits 7, 8, 9, and 10 in the binder.
  22 A.    Okay.
  23 Q.    Do you recognize those?
  24 A.    Yes.
  25 Q.    What are they?
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   1 A.    Those are images that I recovered from the device.
   2 Q.    Are the print-offs accurate copies of the files which were
   3 found by your software?
   4 A.    Yes, they were.
   5               MR. SHEPARD:     And I would move for the admission of
   6 7, 8, 9, and 10, Your Honor.
   7               MR. THOMAS:     Preliminary question, if I could.
   8               THE COURT:     You may.
   9               MR. THOMAS:     Well, first, Your Honor, can I look at
  10 the exhibits?
  11               THE COURT:     At the exhibits?      You may.
  12               MR. THOMAS:     And if I could ask a preliminary
  13 question, Your Honor.
  14               THE COURT:     You may.
  15 BY MR. THOMAS:
  16 Q.    Did you enhance those photographs or enlarge or do
  17 anything to them in that -- along those lines?
  18 A.    The original images were small.          I did increase the size
  19 and then take a screen shot of the image.
  20 Q.    Okay.    Explain that to me.       So these are essentially a
  21 photograph of a photograph?
  22 A.    Yes.
  23 Q.    What kind of device did you take the photographs with?
  24 A.    Using a computer.       So the original images that I was able
  25 to recover are small representations of an original image.                  So
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   1 the original image, as it would appear in digital format,
   2 would be very small.         The analysis software that I used in
   3 examining the phone allows an opportunity to zoom in.
   4               I zoomed it in and then I used a screen shot
   5 software that's included in Microsoft Windows to take a screen
   6 shot of the image for better presentation of my report, so for
   7 the recipient of my report to be able to view the image better
   8 than a very small thumbnail image.
   9 Q.    What dictates the size of the original image?
  10 A.    What --
  11 Q.    Well, I mean, are they all the same size or were these
  12 particularly smaller or --
  13 A.    They were different sizes.         So the way this -- I think
  14 we -- you have an original image, and then these images that I
  15 was able to recover are thumbnails of the original image.                  I
  16 wasn't able to recover the original image, so these are
  17 smaller representations of another image already, kind of like
  18 if you're looking at --
  19               MR. SHEPARD:     Your Honor, does he have an objection
  20 or is he doing his cross?
  21               MR. THOMAS:     I'm waiting to hear the answer, Your
  22 Honor.
  23               MR. SHEPARD:     The witness has testified that it's an
  24 accurate copy of the data he recovered.
  25               THE COURT:     Of the thumbnail.      Do you have an
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   1 objection?
   2 BY MR. THOMAS:
   3 Q.    Well, is it a reproduction or a photograph of a
   4 photograph?
   5 A.    Well, this is a print-off --
   6               MR. SHEPARD:     The evidence -- the Rules of Evidence
   7 make no difference, Your Honor.
   8               THE COURT:     Let him ask his question.
   9 A.    This is a print-off.        So the original image that was
  10 recovered from the device was zoomed in.              An image was
  11 captured of that.        And I believe this is a print-off of that
  12 image.
  13               MR. THOMAS:     No objection.
  14               MR. SHEPARD:     Thank you, Your Honor.
  15               THE COURT:     Government's Exhibits 7, 8, 9, and 10
  16 are admitted into evidence without objection.
  17                            (Government's Exhibits 7 - 10 were

  18                            received in evidence.)

  19 BY MR. SHEPARD:
  20 Q.    Do you recall the file names of 7, 8, 9, and 10?
  21 A.    Yes.
  22 Q.    What were they?
  23 A.    Where they resided, the file name was actually "imgcache,"
  24 that's I-M-G-C-A-C-H-E, ".0."           And then my analysis software,
  25 the way it processes the image cache, appends an underscore,
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   1 embedded underscore, 329, 330, 331, and 332 for these photos.
   2 Q.    Okay.    And so is -- and is it .jpg at the end of all of
   3 them?
   4 A.    Yes.
   5 Q.    Was 7 329?
   6 A.    Yes.
   7 Q.    8, 330; so just in sequential order, 9, 331; and 10, 332?
   8 A.    Yes.
   9               MR. THOMAS:     I'm sorry.     What is -- are you just
  10 referring back to the photographs at this point?                You're not
  11 looking at a --
  12               THE WITNESS:     I'm looking at my report.
  13               MR. THOMAS:     Okay.    Your Honor, I would ask the
  14 witness to testify from his memory; and if he's going to refer
  15 to his report, to please advise us.
  16               THE COURT:     I agree.
  17               THE WITNESS:     I'm sorry.
  18               THE COURT:     Next question.
  19 BY MR. SHEPARD:
  20 Q.    Where were these files found?
  21 A.    These files were found associated with the gallery
  22 application.       I'm sorry.     Do you want me to explain that?
  23 Q.    Yes, please.
  24 A.    Basically, this phone was an Android phone, and there's an
  25 application on there called Gallery.             The Gallery facilitates
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   1 being able to look at pictures that are on your device.                 When
   2 an image is stored on the device and it's able to be viewed in
   3 the Gallery, what a lot of people don't realize, or what most
   4 users don't realize, is your phone actually creates copies of
   5 your image to be able to display in the Gallery.
   6               That's why when we look at the Gallery and it shows
   7 all of your albums, it will show an image from that album in
   8 a -- as a small representation.           And then you select that
   9 album and it will show several images from that album, again,
  10 a little bit bigger.         And then, once you pick which one you
  11 want, it will show you a bigger representation of that.
  12               So the way this works is the Gallery application
  13 creates three files.         They are called image cache, image cache
  14 micro, and image cache mini.           Each one of these is basically a
  15 container to hold all of these smaller images.               And what we're
  16 showing here are from the image cache, which is the larger of
  17 these three files.        The micro and mini would be even smaller.
  18 So think of the image cache file like a container.                And as
  19 images come into the Gallery, a smaller representation of that
  20 original image gets added to that file, and they just keep
  21 getting added to that file.
  22               And then the analysis software we use goes through
  23 that file and looks for what we call a JPEG image header,
  24 which signifies the beginning of a new image.               And it will
  25 take that image and separate it out and, like I stated
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   1 earlier, it will append this embedded with a sequential number
   2 to identify it as a distinct image that was within that file.
   3 Q.    All right.     I ask you to look --
   4               MR. SHEPARD:     Please display Exhibit 37 again.
   5 BY MR. SHEPARD:
   6 Q.    So if we have a JPEG image like the ones here, 1, 2, 3,
   7 and 4 on the report, the phone will automatically create
   8 copies and image cache; is that accurate?
   9 A.    That's correct.
  10 Q.    What happens to those image cache if the original file is
  11 deleted, like what happened with these four?
  12 A.    Sometimes they are still retained inside that image cache
  13 file.
  14 Q.    All right.     And is that why you look in the image cache
  15 file as an examiner to try and find deleted information?
  16 A.    Yes.
  17 Q.    Was there an SMS application on the phone?
  18 A.    Yes, there was.
  19 Q.    What do I mean when I say "SMS"?
  20 A.    "SMS" stands for short message service.            That's what,
  21 generally, we refer to as text messages.
  22 Q.    Were you able to recover some text messages --
  23 A.    Yes.
  24 Q.    -- on the phone?       I ask you to turn to the tab -- to
  25 Exhibit 69.
Case
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   1 A.    Okay.
   2 Q.    What is 69?
   3 A.    69 is a print-off of some of the text messages, or SMS
   4 messages, that were recovered from these -- from this phone.
   5 Q.    And is it an accurate summary of the data that you pulled
   6 off the phone?
   7 A.    Yes, it is.
   8               MR. SHEPARD:     Okay.    Your Honor, I would move for
   9 the admission of Exhibit 69.
  10               MR. THOMAS:     Preliminary question, if I may, Your
  11 Honor.
  12               THE COURT:     You may.
  13 BY MR. THOMAS:
  14 Q.    You said this was, "some of the text messages."              Were
  15 these specific selections that you made or is it from a
  16 particular time period?
  17 A.    There were -- this is -- appears to be one page of the
  18 report.      I reported out 260 messages.         I believe those -- I
  19 don't recall if those 260 were every message or if that was
  20 just every message from the date of the alleged incident on --
  21 Q.    I mean, I guess my question, I apologize, the 16 that are
  22 here, is that a sequential list?            In other words, are these
  23 all of the text messages that you found from that time period,
  24 or did you pull out certain ones based on content and make a
  25 list?
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   1 A.    I don't recall if there were others in here during this
   2 time frame.
   3               MR. THOMAS:     Well, Your Honor, at this point I would
   4 object to Government's 69 if it's not a -- if it's not a
   5 complete list and it's simply random e-mails that he noted.                  I
   6 don't think it's a complete record.
   7               MR. SHEPARD:     Your Honor, it's just specific files.
   8 He said that they're on the computer, that they're accurate
   9 copies of specific files.
  10               THE COURT:     Okay.   I'll overrule the objection.          He
  11 doesn't have to put every single text message.               These are just
  12 specific ones that are being offered by the government.                 Next
  13 question.
  14               MR. SHEPARD:     Thank you, Your Honor.
  15               Please display Exhibit 69.
  16               THE COURT:     69 is admitted into evidence over the
  17 defendant's objection.
  18                            (Government's Exhibit 69 was

  19                            received in evidence.)

  20               MR. SHEPARD:     Thank you, Your Honor.
  21               Please display 69.       If you could just -- kind of
  22 this little gray header bar here.            Back out of that, please.
  23 Give me the first one with it, so it makes sense.
  24 BY MR. SHEPARD:
  25 Q.    Detective Melton, can you kind of go across the columns
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   1 and tell the jury what they're seeing in the exhibits?
   2 A.    Sure.    The first column, the pound sign, is the number.
   3 It just identifies which row we're on.
   4               "Folder" indicates which SMS folder the message is
   5 from.
   6               "Party" is the other party of the conversation, in
   7 the conversation with this user.
   8               "Time" is the timestamp for the messages.
   9               The "All timestamps," that's showing timestamps from
  10 the network itself.
  11               The "SMSC" is what's called a short message service
  12 center.      That's a service center where messages are being
  13 routed through.
  14               "Status" is the status of the message, whether it
  15 was read, sent, or unread.
  16               "Message" is the body of the message.
  17               And the "Del?" is a column that would show an
  18 indicator of whether the message was previously deleted.
  19               MR. SHEPARD:     You can clear -- or go back out to the
  20 main exhibit.       And if you could blow up from message 6 down to
  21 message 16.
  22 BY MR. SHEPARD:
  23 Q.    Are these in reverse order?
  24 A.    Yes.
  25 Q.    And so let's look at row 16.          First is "Inbox."      What does
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   1 that mean?
   2 A.    That means the messages were recovered from the in box,
   3 the received message.
   4 Q.    Received by the phone, Exhibit 27?
   5 A.    Yes.
   6 Q.    From?
   7 A.    From phone number                       .   And that phone number,
   8 the red, where it shows "Habibti," with the -- it looks like a
   9 heart, that is cross-referenced to the phone's contacts.                  So
  10 that means that this phone number was stored in the phone's
  11 contacts associated with that name.
  12 Q.    And is that the other end of the communication?
  13 A.    Yes.
  14 Q.    And is that when the message was received?
  15 A.    Yes.
  16 Q.    Okay.    And that indicates that the message had been
  17 opened?
  18 A.    Yes.
  19 Q.    And that's the text?
  20 A.    Yes.
  21 Q.    And let me find -- okay.         So 14 is a little different.
  22 We've got "Sent" up here in the second column.               What does that
  23 mean?
  24 A.    That means the message was sent from this phone to that
  25 phone number.
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   1 Q.    All right.     Otherwise, is the information generally the
   2 same?
   3 A.    Yes.
   4 Q.    Okay.    And what is the time frame from 16 to 6?
   5 A.    They were all on August 22nd of 2014 from 1:35 p.m. to
   6 2:00 p.m.
   7 Q.    Okay.    What time zone, if you remember, was the phone set
   8 to?
   9 A.    Eastern.     At that time, Eastern Daylight Time.
  10 Q.    And so would these correspond to -- so it was set to
  11 display Eastern Time?
  12 A.    Yes.
  13 Q.    And in what time zone is Indianapolis?
  14 A.    Eastern Time.
  15 Q.    And is that what this would be displaying over here?
  16 A.    Yes.
  17 Q.    Okay.    In this column, it all says either "Read" or
  18 "Sent."      What does that mean?
  19 A.    That indicates whether the message had been read by the
  20 user of this phone or sent by the user of this phone.
  21 Q.    Okay.    For ease of kind of going through these, let's you
  22 and I go from 16 to 10, and I'll read anything with a "Sent."
  23 And why don't you read anything with an "Inbox."
  24 A.    Okay.
  25 Q.    So let's start with 16.
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   1 A.    "Babe, tell me why the police and news people are here
   2 about an ongoing conflict that Heidi can't tell us about,
   3 LOL."
   4               "I'm scared to go outside."
   5 Q.    "Wtf really?"      And then kind of an attempt at an emoji, a
   6 colon, backslash, or a frowny face.
   7               MR. THOMAS:     Your Honor, I'm going to object at this
   8 point.     I mean, Government's 69 is in evidence.            The jurors
   9 can read.      The item kind of speaks for itself.           I don't know
  10 that him reading it adds anything to the exhibit.
  11               MR. SHEPARD:     Your Honor, reading it into the
  12 record, I think it is an easier way for the jury to understand
  13 the conversation.
  14               THE COURT:     I'll let you do it.       I'll overrule the
  15 objection.
  16 BY MR. SHEPARD:
  17 Q.    So I'll pick it up again.         "Wtf" -- in your training and
  18 experience, do you see that "wtf" a lot?
  19 A.    Yes.
  20 Q.    Do you know what that stands for?
  21 A.    "What the fuck."
  22 Q.    Okay.    Pick it up on 13, please.
  23 A.    "Yeah, idk what it is she scared me."            And "idk" is
  24 commonly used to represent, "I don't know."
  25 Q.    Okay.
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   1 A.    "Cause she got down and was like I have an issue with a
   2 parent.      The police is in my office."
   3               "And I was like what?       And she said conflict going
   4 on with something else."
   5 Q.    "That's really scary."
   6 A.    "The news is up here what the hell happened after I left
   7 yesterday do you know" --
   8 Q.    Hold on.     We were stopping after 10.
   9 A.    Oh, I'm sorry.
  10 Q.    We're going to pick up -- beginning at number 9, is it a
  11 different phone number that's in the conversation?
  12 A.    Yes, it is.
  13 Q.    Okay.    So do 9 through 6 appear to be a different
  14 conversation than 10 through 16?
  15 A.    That's correct.
  16 Q.    Now, the same thing.        You go ahead and we'll do -- you do
  17 the "Inbox," I'll do the "Sent" box.
  18 A.    "The news is up here what the hell happened after I left
  19 yesterday do you know?"
  20 Q.    "Wtf idk," or, "What the fuck, I don't know."
  21 A.    "Yes," I, "don't say nothing just wait and let them tell
  22 you but it's something going on the police is here in Jennifer
  23 office with some parents I don't know."
  24               "What's going on...didn't see the parents they were
  25 here when I came back from lunch with the news outside."
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   1 Q.    And if you can recall, was number 6 the last read message
   2 that you were able to recover from the phone?
   3 A.    Yes, it was.
   4 Q.    And what was the time of that last read message?
   5 A.    2:00 in the afternoon on August 22nd, 2014.
   6 Q.    I want you to look in the binder behind tab number 3.                Do
   7 you recognize 3?
   8 A.    Yes.
   9 Q.    What's 3?
  10 A.    3 is another image I recovered from the phone.
  11 Q.    And is that an accurate copy of the image file you
  12 recovered from the phone?
  13 A.    Yes, it is.
  14               MR. SHEPARD:     Your Honor, I would move to admit
  15 Exhibit 3.
  16               MR. THOMAS:     Preliminary question, if I could, Your
  17 Honor?
  18               THE COURT:     You may.
  19 BY MR. THOMAS:
  20 Q.    Do you know when Government's 3 was taken?
  21               THE WITNESS:     Can I refer to my reports?
  22               THE COURT:     You may.
  23 A.    No, I don't.
  24               THE COURT:     Any objection?
  25               MR. THOMAS:     I do, Judge.     At this point I would
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   1 object on relevance grounds.           It -- if -- we don't know when
   2 it was taken, we don't know where it was taken.               The fact that
   3 it was on his phone is -- is -- we've already established his
   4 identity is not at issue.          That the phone is his is not at
   5 issue.     Specifically since we don't know when this was taken,
   6 I don't -- I would object to it.
   7               MR. SHEPARD:     Can I ask one more question?
   8 BY MR. SHEPARD:
   9 Q.    Was that still on the phone or was that deleted, as well?
  10 A.    This phone (sic) was stored in the same location as the
  11 other images we talked about in the image cache.                The original
  12 image was no longer on the phone.
  13               MR. SHEPARD:     Do you want me to approach?
  14               THE COURT:     Sure.
  15               (Bench conference on the record.)
  16               THE COURT:     Tell me why it's relevant.         I think I
  17 know why, but you tell me why you --
  18               MR. SHEPARD:     I think he was trying to destroy any
  19 evidence on that phone about any contact he had with M.R.                   And
  20 the fact that it was found on the phone and found in the
  21 deleted space, the image cache, the original being deleted, we
  22 think that's why it's relevant.
  23               MR. THOMAS:     Why can't he establish when it was
  24 taken in relation to the others?
  25               MR. SHEPARD:     You can ask him that on cross.          It
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   1 doesn't go to admissibility.
   2               MR. THOMAS:     I think it does.      If the -- at this
   3 point, its only purpose is that it's on the phone and that
   4 it's him.      But, unless we know when it was taken, then it's
   5 not relevant to the case.
   6               THE COURT:     I'll overrule.      Government's Exhibit --
   7 and I'll admit it into evidence over your objection.                 I do
   8 believe it's relevant.
   9               MR. SHEPARD:     Thank you, Your Honor.
  10                                 (Open court.)
  11               THE COURT:     The objection is overruled and
  12 Government's Exhibit 3 is admitted into evidence over the
  13 defendant's objection.
  14                            (Government's Exhibit 3 was

  15                            received in evidence.)

  16               MR. SHEPARD:     Can you call back up Exhibit 69?           And
  17 if you could highlight block 6 again.
  18 BY MR. SHEPARD:
  19 Q.    That was the time that the message was received, correct?
  20 A.    Yes.
  21 Q.    And that's 2:00:57 p.m.?
  22 A.    Yes.
  23 Q.    All right.     And you stated, I think earlier, you were
  24 aware of the believed time frame of the incident?
  25               MR. THOMAS:     I'm going to object to the continuing
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   1 leading of his own witness, Your Honor.
   2 BY MR. SHEPARD:
   3 Q.    Do you know --
   4               THE COURT:     Would you ask direct questions?
   5 BY MR. SHEPARD:
   6 Q.    What was the time frame of the alleged incident?
   7 A.    August 21st, 2014, between 12:30 and 1:30 p.m.
   8 Q.    How much time had elapsed between that and this last read
   9 message?
  10 A.    24 hours and 30 minutes.
  11 Q.    In your training and experience as a forensic detective,
  12 do you know about how long it takes to delete a file off a
  13 phone?
  14 A.    A person could delete an image very quickly.
  15 Q.    Would 24 hours be enough time?
  16 A.    Yes.
  17               MR. SHEPARD:     If I could have just a moment, Your
  18 Honor?
  19               THE COURT:     You may.
  20               (Off the record.)
  21 BY MR. SHEPARD:
  22 Q.    Please look behind tab 40.         Do you recognize tab 40?
  23 A.    Yes.
  24 Q.    What is tab 40 -- or what is marked as Exhibit 40?
  25 A.    That's an image that I recovered from the phone.
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   1 Q.    And is that a substantially accurate copy of the image?
   2 A.    Yes.
   3 Q.    All right.     Was that deleted or was that one still on the
   4 phone?
   5 A.    Again, I need to refer to my notes.
   6 Q.    Go ahead.
   7 A.    That image was still present on the phone.             It had not
   8 been deleted.
   9               MR. SHEPARD:     Your Honor, I would -- the government
  10 would move for the admission of Exhibit 40.
  11               MR. THOMAS:     Your Honor, I think if the purpose of
  12 40 is from his testimony that it wasn't deleted, that there
  13 were images that weren't deleted, that evidence is in.                 As far
  14 as the -- what the image shows and what it is -- may we
  15 approach, Your Honor?
  16               THE COURT:     You may.
  17               (Bench conference on the record.)
  18               MR. THOMAS:     Your Honor, I don't feel the photograph
  19 is the best evidence here.          If the government's relevance is
  20 to say that he had pictures on his phone he didn't delete --
  21               THE COURT:     Let's find out.      Why is this relevant?
  22               MR. SHEPARD:     Really, it's going to be relevant for
  23 cross-examination, Your Honor.           It appears that the photo of
  24 him and his -- that we believe was taken at the daycare with
  25 M.R., the victim, was deleted.           We believe that this one was
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   1 also taken at the daycare, due to some of the other
   2 information contained within the images, with a different kid,
   3 it wasn't deleted.        If he can explain it --
   4               THE COURT:     Who can explain it?
   5               MR. SHEPARD:     The defendant on cross.
   6               THE COURT:     Well, the defendant doesn't have to
   7 testify.
   8               MR. SHEPARD:     If he -- you're correct, Your Honor.
   9 If he were to testify --
  10               THE REPORTER:     I cannot hear you.
  11               THE COURT:     Talk in there.      I think you're going
  12 to -- if the defendant --
  13               THE REPORTER:     I did not hear what Mr. Shepard said.
  14               THE COURT:     Oh, he didn't hear what you said.
  15               MR. SHEPARD:     Your Honor, we believe that it's
  16 relevant.      We're anticipating that should he testify, we would
  17 need that for cross-examination.
  18               THE COURT:     Then, Counsel, you're going to have to
  19 wait until he is being cross-examined to offer it.                I'll
  20 sustain the objection.
  21               MR. SHEPARD:     Thank you, Your Honor.
  22               THE COURT:     Okay.
  23                                 (Open court.)
  24               THE COURT:     The objection is sustained.
  25               MR. SHEPARD:     We pass the witness for cross, Your
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   1 Honor.
   2               THE COURT:     Okay.
   3               MR. THOMAS:     Thank you, Your Honor.
   4               THE COURT:     Mr. Thomas, you may cross-examine the
   5 witness.
   6                              CROSS EXAMINATION

   7 BY MR. THOMAS:
   8 Q.    You do not know when -- you do not know when the fourth
   9 image was taken, the --
  10               THE COURT:     You need to give an exhibit number.
  11               MR. THOMAS:     Yeah.    Let me find that.
  12 BY MR. THOMAS:
  13 Q.    Government's 3.      You don't know when that was taken?
  14 A.    You said 3?
  15 Q.    Yeah.
  16 A.    That's correct.
  17 Q.    How is it that you don't know when that was taken?
  18 A.    The original -- as I said, the original image was deleted.
  19 These files that are recovered from the image cache file, or
  20 the individual images that are embedded, the metadata, or what
  21 we call metadata, well, that's data about data.               That
  22 doesn't -- that gets updated for the image cache file to just
  23 say that the file was modified at a certain time.
  24               So the only time that I would find associated with
  25 that image cache file is when the last file went in there.
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   1 I'm not able to determine the individual -- the other
   2 individual files within their -- what time they got entered
   3 into that image cache file.
   4 Q.    The other four, which I think are 7, 8, 9, and 10, you
   5 were able to make a determination for each one of those as to
   6 when they were taken?
   7 A.    7, 8, 9, and 10, no.        That's the same.      Those are the
   8 image cache files.        So those files that were recovered from
   9 there I'm not able to say, with certainty, when they were
  10 taken.
  11 Q.    What is that when you explained to us the 132319, what is
  12 that -- what did that mean to you for number 7, for example?
  13 A.    132319, where are you getting that from?             What was that?
  14 Q.    Let's go back to -- what is it, 67?           No.    37 maybe.    I'm
  15 sorry.     I don't have these together like I wanted to.              37,
  16 which was admitted.        You pointed out that these JPGs for 1, 2,
  17 3, and 4, those corresponded with 7, 8, 9, and 10, right,
  18 Exhibits 7, 8, 9, and 10?
  19 A.    I did not say that, no.
  20 Q.    Okay.    What do they correspond to?
  21 A.    These are -- these file names and the paths of the file
  22 names indicate to me that there were previously images on the
  23 phone, that had been taken on August 21st, 2014, at 1:23:13,
  24 at 1:23:19, at 1:25:55, and 1:26:01.             That's all that that
  25 means to me, is that there were images on this phone
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   1 previously that had been taken at those times.
   2 Q.    You have no idea that -- whether these four, the four
   3 images that were taken on that day, are those four images?
   4 A.    From a digital forensics standpoint, no.
   5 Q.    And you don't know when Government's 3 was taken at all?
   6 A.    That's correct.
   7 Q.    You can't tell at all when these photos were erased?                I
   8 think that was your testimony?
   9 A.    That's correct.      The four images that were -- that had the
  10 file names of taken August 21st 2014, with those times, I
  11 don't know when those images were deleted.              The images that
  12 we're talking about, 7, 8, 9, and 10, those actual images are
  13 still on there, but the original images that those were
  14 derived from were no longer on there, and I can't tell when
  15 they were deleted.
  16 Q.    Right.    When you say they're still on there, would -- if
  17 that's my phone and I delete them without -- and I don't have
  18 any of your equipment, would I be able to access those
  19 thumbnail pictures you're talking about?
  20 A.    Typically not without some kind of special equipment.
  21 Q.    Once they're -- once they're gone, they're gone, for the
  22 layman?
  23 A.    Yes.
  24 Q.    You have no way of telling whether those were -- were
  25 deleted -- they could have been deleted between pictures,
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   1 right?     He could have taken one, deleted it; taken the second
   2 one, deleted it; taken the third one, deleted it; taken
   3 the fourth one, deleted it?          There's nothing in your
   4 information to say that couldn't have happened, right?
   5 A.    That's correct.
   6 Q.    And even though Mr. Al-Awadi had his phone for 24 hours,
   7 you have no idea, during that period of time, when they were
   8 deleted, correct?
   9 A.    That's correct.
  10 Q.    Or even if they were deleted during that 24 hours, right?
  11 A.    That's correct.
  12 Q.    Did you examine other electronics for this case?
  13 A.    I don't believe I examined any others.
  14 Q.    Were folks in your office involved with that, or why would
  15 you not?
  16 A.    I do know there were other items that were examined as
  17 part of this case, examined by other examiners in my office,
  18 yes.
  19 Q.    Okay.    Would you presume that they do the same kind of
  20 analysis you would do?
  21 A.    Yes.
  22 Q.    Would you presume that any evidence that they found in the
  23 case, they would have turned over in the way you did?                 Would
  24 that be normal in your office?
  25 A.    Yes.
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   1 Q.    Do you know at this point how many other electronic
   2 devices, computers, phones, and things from Mr. Al-Awadi's
   3 house were examined by your office?
   4 A.    I don't know.
   5 Q.    But you are aware that there were items that were
   6 examined?
   7 A.    Yes.
   8 Q.    Were you able to make a determination as to how many photo
   9 files had been deleted on that phone over its lifetime?
  10 A.    No.
  11 Q.    Did you try to determine that?
  12 A.    There would be no way to determine that.
  13 Q.    Well, did you find other -- these data image files, say in
  14 Government's 37, did you find other data image files on the
  15 phone?
  16 A.    When I found these, I had specifically searched for
  17 photographs that could have been taken on the date of the
  18 incident we're referring to here.            I didn't specifically look
  19 for any other records of those file paths.
  20 Q.    You have no way of knowing that the image in
  21 Government's 3 was deleted at the same time or the same day or
  22 anything as to any of these other images, correct?
  23 A.    Correct.
  24 Q.    And you have no way -- you made no record of how many
  25 other items may have been deleted from the phone at any
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   1 particular time?
   2 A.    That's correct.
   3 Q.    The text messages that you and Mr. Shepard read to us,
   4 there's a -- you made a notation that some of them say "Read"
   5 and some of them say "Unread."           To your knowledge, with the
   6 way that phone works, what's required -- what's required to
   7 make a message go from "Unread" to "Read"?
   8 A.    Selecting the message and -- messages come into the phone.
   9 They show a flag that they are unread.             Once a user selects on
  10 that message, it would change the flag to read.
  11 Q.    So after 2:00, there were some additional messages, at
  12 least on that page, that hadn't been read?
  13 A.    That's correct.
  14 Q.    Were there any other unread messages on the phone, that
  15 you recall?
  16 A.    No.
  17 Q.    And those are the -- I'm not quite clear, and, of course,
  18 I was asking a question before for a different purpose, but
  19 these particular messages, how did they end up in your
  20 extraction report, these text messages?
  21 A.    I don't recall exactly how many messages total there were.
  22 I reported out 260 messages that I believe, if I remember
  23 right, they were messages from the date of the alleged
  24 incident or the date and time to the present.               I don't -- I
  25 don't believe -- or I don't recall whether there were
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   1 additional messages.
   2 Q.    Okay.    And I -- and just so I'm understanding, were you --
   3 did you take it upon yourself or were you asked to find
   4 messages with a particular content or simply a date range?
   5 A.    Again, I don't remember.         I know that these -- at the time
   6 of the examination, those conversations stood out, because it
   7 was clear that the messages seemed to be referring to the
   8 investigation of this incident.
   9 Q.    Did you make any other report that would have contained
  10 all of the messages from that time frame?
  11 A.    Again, I don't remember if the report that I did contains
  12 all of the messages or not.
  13 Q.    Okay.
  14 A.    So I can't really say.
  15               MR. THOMAS:     That's all the questions I have.
  16 Thanks.
  17               THE COURT:     Any redirect for the witness?
  18               MR. SHEPARD:     No, Your Honor.
  19               THE COURT:     Very good.     And may this witness be
  20 excused?
  21               MR. SHEPARD:     No, Your Honor.      We would like to keep
  22 him subject to recall.
  23               THE COURT:     Okay.   All right.     You're going to hang
  24 around.
  25               THE WITNESS:     Thank you, Your Honor.
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   1               (Witness excused.)
   2                                      * * *
   3                                     EXCERPT
   4                                      * * *
   5               (Jury out at 4:24.)
   6               THE COURT:     The government has rested.         And,
   7 Mr. Thomas, will you be presenting any evidence?
   8               MR. THOMAS:     I will, Your Honor.       I intend to call
   9 the defendant, Ali Al-Awadi.
  10               THE COURT:     All right.      Mr. Ali Al-Awadi, have you
  11 had an opportunity to discuss with your attorney whether
  12 you're going to testify or not in your trial?
  13               Can you give him the microphone, please?
  14               MR. THOMAS:     Yes, Your Honor.
  15               THE DEFENDANT:      Yes, I have.
  16               THE COURT:     And I want to make certain that you
  17 understand your rights.         You do have a right to testify in
  18 your defense if you wish to testify, and no one can prevent
  19 you from doing so.        If you testify, the Assistant United
  20 States Attorneys will be allowed to cross-examine you.                  Do you
  21 understand that?
  22               THE DEFENDANT:      Yes, I do.
  23               THE COURT:     You also have a right to decline to
  24 testify.      You're presumed innocent, you don't have any burden
  25 of proof.      The government alone has the burden of proving your
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   1 guilt beyond a reasonable doubt.            If you do not testify, this
   2 fact cannot be used against you, and the jury would be so
   3 instructed, because a defendant has an absolute right not to
   4 testify or present evidence.           And they may not -- the jury may
   5 not consider in any way if you do not testify or present
   6 evidence.      Do you understand that, also?
   7               THE DEFENDANT:      Yes, I do.
   8               THE COURT:     And have you been advised of these
   9 rights?      Do you still wish to testify?
  10               THE DEFENDANT:      Yes.
  11               THE COURT:     Okay.   All right, let's bring the jury
  12 in and get started.        Oh, we need to put him on the stand.
  13               MR. THOMAS:     Oh, yes.    Your Honor.
  14               (Off the record.)
  15               THE COURT:     All right.     Go ahead and have a seat.
  16 Go ahead and have a seat.          And when we say, "Stand," you stand
  17 with everyone else, okay?
  18               All right.     Government, are you ready for the panel?
  19               MS. KOROBOV:     Yes, Your Honor.
  20               THE COURT:     Mr. Thomas, ready?
  21               MR. THOMAS:     I'm ready, Judge.
  22               THE COURT:     All right.     You may bring in the panel.
  23               (Jury in at 4:28.)
  24               THE COURT:     And, Witness, if you would remain
  25 standing and raise your right hand.
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   1               (The witness is sworn.)
   2               THE COURT:     You may have a seat.
   3               Ladies and gentlemen, when we -- before we took our
   4 brief adjournment, the government rested.              And the defendant
   5 does not have a burden of proof.            He does not have to testify.
   6 However, if he wishes to do so, he may.
   7               And, Mr. Thomas, since your client has been sworn,
   8 he does intend to testify, correct?
   9               MR. THOMAS:     He does, Your Honor.
  10               THE COURT:     All right.     You may examine your
  11 witness.
  12               MR. THOMAS:     Thank you.
  13                ALI AL-AWADI, DEFENDANT'S WITNESS, SWORN

  14                              DIRECT EXAMINATION

  15 BY MR. THOMAS:
  16 Q.    Can you tell us your name again?
  17 A.    Ali Al-Awadi.
  18 Q.    Where were you born, Mr. Al-Awadi?
  19 A.    I was born in Saudi Arabia.
  20 Q.    And is your family from Saudi Arabia?
  21 A.    No.
  22 Q.    Where are they from?
  23 A.    They are from Iraq.
  24 Q.    How is it you ended up in Saudi Arabia?
  25 A.    My parents left Iraq because of the time of Saddam
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   1 Hussein, as refugees.
   2 Q.    Do you remember about when that was?
   3 A.    I wasn't born at the time, so I have no idea.
   4 Q.    And then how long were you in Saudi Arabia, if you
   5 remember?
   6 A.    I would say around two years.
   7 Q.    And where did you go from there?
   8 A.    From there, got on a plane and came to America.
   9 Q.    So you have been in the United States since you were two?
  10 A.    Yes.
  11 Q.    And where have you lived in the United States?
  12 A.    In Indiana.
  13 Q.    You came -- that's where your family settled?
  14 A.    Yes.
  15 Q.    Okay.    And who's in your family?
  16 A.    I have my father, my mother, my brother, and my sister.
  17 Q.    You're how old now, Mr. Al-Awadi?
  18 A.    22.
  19 Q.    Do you know how your family ended up settling in
  20 Indianapolis?
  21 A.    No.
  22 Q.    Do you have other family, other than your mom and dad,
  23 that are in this area?
  24 A.    Yes.
  25 Q.    Were they here before or did they come after?
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   1 A.    They were here before.
   2 Q.    How far did you go in school?
   3 A.    I made it about two years in college.
   4 Q.    What year did you graduate from high school?
   5 A.    2012.
   6 Q.    What high school did you graduate from?
   7 A.    Pike High School.
   8 Q.    Where -- did you go immediately to college?
   9 A.    Yes.
  10 Q.    And where did you go?
  11 A.    Ivy Tech.
  12 Q.    What were you studying?
  13 A.    Computer science.
  14 Q.    And how far along were you with that?
  15 A.    I was still taking what they call prerequisite classes,
  16 which are pretty much before you get anything into your major.
  17 You take basic classes:         Some math, some English, some, you
  18 know, speech.
  19 Q.    Did you have a job when you were in high school?
  20 A.    Yes.
  21 Q.    What was that?
  22 A.    I worked at a company, a small company, called Midwest
  23 Telephone Company.
  24 Q.    And what kind of job was that?
  25 A.    My position?
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   1 Q.    Yeah.    What did you do?
   2 A.    I was the telephone refurbisher, office telephone
   3 refurbisher.
   4 Q.    What kind of telephones did you refurbish?
   5 A.    Office phones, the ones you would see in businesses, and
   6 secretaries.
   7 Q.    How long did you have that job?
   8 A.    I would say I almost had that job for about two years.
   9 Q.    Do you remember how old you were when you started that
  10 job?
  11 A.    I believe I was 17.
  12 Q.    Did you work at all before that, before the telephone job?
  13 A.    Yes.
  14 Q.    And what did you do?
  15 A.    My father opened a restaurant, and I would help him out in
  16 the restaurant.
  17 Q.    Were you going to college at the same time you were
  18 working at the telephone repair company?
  19 A.    Yes.
  20 Q.    Were you a full-time student or a part-time student?
  21 A.    Full-time student.
  22 Q.    Did you at some point end up leaving that job?
  23 A.    Yes.
  24 Q.    Why?
  25 A.    The owner of the company informed me that business was
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   1 kind of slow, and they cut my hours.
   2 Q.    Did you then find a new job?
   3 A.    Yes.
   4 Q.    And where did you end up getting a job?
   5 A.    Children's Choice Learning Center.
   6 Q.    And how was it you went from television -- or telephone
   7 repair to Children's Choice Learning Center?               How did you find
   8 that job?
   9 A.    I was looking for a job on a Web site called snagajob, and
  10 I was looking at many different openings.              And there wasn't
  11 really much besides fast-food or something you needed a degree
  12 for.     When I stumbled upon the Children's Choice, it said,
  13 "Looking for a floater," someone who doesn't need to have
  14 necessarily an education other than high school.                And I looked
  15 at it as kind of like, you know, as almost like baby-sitting.
  16 Q.    Was it a full-time job?
  17 A.    Yes.
  18 Q.    And if you remember, did you -- did you apply over that
  19 Web site, or how did you end up applying for the job?
  20 A.    I did apply on the Web site.
  21 Q.    How long did it take for them to hire you?
  22 A.    I would say within two weeks after me turning in my resumé
  23 and application, I was called in to observe.
  24 Q.    Now, when you -- when you went there to observe, were you
  25 hired?     I mean, were you on the job or was that just part of
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   1 the application process?
   2 A.    You were hired.
   3 Q.    When you first met with -- do you remember who you met
   4 with at the learning center when you applied, when you went to
   5 interview?
   6 A.    Her name was Jennifer, and she was the director.
   7 Q.    You mentioned that you didn't have any real experience.
   8 Did you tell them you didn't have any experience?
   9 A.    Yes.
  10 Q.    Was that okay?
  11 A.    Yes.
  12 Q.    Had you -- you said something about baby-sitting.               Why
  13 did -- why did that make a connection to you?
  14 A.    Because I would sometimes baby-sit for my uncles, my
  15 aunts.     Whenever they would go shopping or whatever, they
  16 would leave me at home and say, "Hey, can you watch my son,"
  17 or whatever.       And I would stay with them for a couple of
  18 hours.     We would watch TV, play, and just, you know, what you
  19 would normally do when you baby-sit.
  20 Q.    Is that as close to experience as you had for this job?
  21 A.    It wasn't 100 percent, but there was a lot of the same
  22 things, yes.
  23 Q.    And did they know, when you started, that that's -- you
  24 had had no experience other than that you had baby-sat for
  25 your family sometimes?
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   1 A.    Yes.
   2 Q.    Were there any other men that worked there?
   3 A.    No.
   4 Q.    Did -- was that subject brought up when you applied for
   5 the job?
   6 A.    Yes.
   7 Q.    Did that seem to be a negative or a positive?
   8 A.    It was actually a positive.         I recall Jennifer telling me
   9 that the male children don't really have a role model to look
  10 up to, other than their parents.            And their parents are
  11 usually at work almost all day.           So even the time they get to
  12 spend with their family, they go home and they're tired and
  13 ready to sleep, so they don't really get to spend too much
  14 time with their family.         So she told me that having a male in
  15 the building is a good -- is a good look for the children,
  16 because it's more of a role model for them.
  17 Q.    Did -- was there -- was there anything ever mentioned to
  18 you about diversity at the place?
  19 A.    At first, it was not.        But then I was -- I was given the
  20 title diversity -- I can't remember the exact title.                 I think
  21 it was called diversity champion, or something, where the
  22 company would actually give you the title, and you would
  23 attend seminars and you would actually get to speak at the
  24 employee meetings on that, because you have a small title as
  25 the diversity.
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   1 Q.    And you did that?
   2 A.    I was not able to because I had recently been given that.
   3 Q.    I gotcha.     What kind of training did you get when you
   4 started?
   5 A.    When I first started, we were instructed to watch, I
   6 believe, two or three videos and to answer a questionnaire.
   7 Q.    How long were the videos?
   8 A.    About an hour.
   9 Q.    Was there an instructor there to explain the video or
  10 answer questions?
  11 A.    No.
  12 Q.    Anybody else in the room with you?
  13 A.    No.
  14 Q.    What kind of subjects were in the videos?
  15 A.    Pretty much what you would be looking forward to in the
  16 particular age group of the room you were in.               One was labeled
  17 "Pre-K Preschool," one was labeled "Toddler," one was labeled
  18 "Infant."      You would watch all those videos, and they will
  19 tell you what would be going on in the room, how to handle
  20 things, like maybe how to positively, you know, teach things
  21 instead of, you know, just being hard.
  22               You know, you're supposed to be more of an educator
  23 instead of, you know, someone who is -- like, you're not
  24 supposed to be a mean person, you know.             In other words, they
  25 just wanted to make sure you knew how to interact.
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   1 Q.    Other than the videos, mostly on-the-job training; would
   2 that be fair?
   3 A.    After the videos, you were to complete a couple of hours
   4 of observing classrooms before you actually got in.                And then,
   5 once you actually did get the position, they would do employee
   6 meetings.
   7 Q.    And how often would those take place?
   8 A.    At first, it was just once a month, if that.
   9 Q.    When you say, "At first," did something change along the
  10 way?
  11 A.    Along the way, the company, Children's Choice Learning
  12 Center, was bought by another company, Bright Horizons.                 And
  13 they were told to adopt the new policies and new teachings of
  14 the new company.
  15 Q.    Did the other employees -- were they -- did they
  16 acknowledge that you were the only male there?
  17 A.    Yes.
  18 Q.    Was that an issue for anybody?
  19 A.    No.
  20 Q.    Did your -- did your fellow employees just treat you like
  21 everybody else?
  22 A.    To an extent.
  23 Q.    You were told the company policies, were you?
  24 A.    Yes.
  25 Q.    What did you understand in terms of what you could do or
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   1 couldn't do as a male employee as opposed to a female
   2 employee?
   3 A.    There was no difference.
   4 Q.    Is that something that was emphasized to you by the
   5 management?
   6 A.    No.
   7 Q.    Was that something that was discouraged by the management?
   8 A.    No.
   9 Q.    Did anyone that you worked with ever suggest to you that
  10 being a male there, despite policy, might become an issue at
  11 some point?
  12 A.    Become an issue, no, but they said it would be difficult.
  13 Q.    Do you remember who told you things like that?
  14 A.    I remember Tyria did.        I remember there was a teacher
  15 there before, but she had gotten -- I think she either quit or
  16 was fired, I cannot recall.          But she told me, as well.         And,
  17 basically, they would just tell me, you know, that being a
  18 male, of course, you're going to be looked at differently.
  19 You're going to be looked at harder than you would if you were
  20 a female teacher.
  21 Q.    Were you aware of that as you went through -- as you
  22 continued to work there?
  23 A.    Yes.
  24 Q.    What about the parents?        Do you think all the parents
  25 accepted you being there as an employee?
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   1 A.    No.
   2 Q.    Did you ever have any specific complaints made by parents
   3 about anything that you did prior to the accusations that were
   4 made in this case?
   5 A.    No.
   6 Q.    We've heard about the policy about cell phones.              Were you
   7 made aware of that policy when you worked there?
   8 A.    Yes.
   9 Q.    Was that a policy that they tried to enforce?
  10 A.    Enforce, yes.      Like, they didn't want you to have your
  11 phone on you, but they would -- they wouldn't make you turn it
  12 in somewhere in the beginning, or anything like that.                 They
  13 pretty much just took your word for it.
  14 Q.    Were you the only one that would have your cell phone at
  15 work?
  16 A.    No.
  17 Q.    Did you ever see Tyria Graham with her cell phone?
  18 A.    On many occasions.
  19 Q.    Was it pretty common that teachers would have their phones
  20 with them during the day?
  21 A.    Yes.
  22 Q.    But was it something that you would still want to hide or
  23 could you just be blatant about it and say, "I don't care, I
  24 got my cell phone"?
  25 A.    You would hide it in front of the management, because if
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   1 they saw you, you would, of course, get in trouble for it.
   2 Q.    Between the nonmanagement employees?
   3 A.    It was pretty much normal, if you ever had your phone out,
   4 between employees.
   5 Q.    What was your understanding of the procedure for what
   6 would happen, what you should do if a child is injured?
   7 A.    You would fill out something called an accident report.
   8 Q.    Did you ever fill those out?
   9 A.    Yes.
  10 Q.    And just so I remember, how long did you work there?
  11 A.    I worked there for a year and maybe a month.
  12 Q.    We heard mention of a counsel, as they referred to it,
  13 that you had after working there for a while about picking up
  14 children.      Do you remember that?
  15 A.    Yes.
  16 Q.    How did that -- how did that issue come about?
  17 A.    It was a surprise to me, because Heidi said, "Well, I
  18 would like to talk to you in my office."              And I said, "Okay."
  19 So I went in there, and she closed the door.               And then, of
  20 course, there was another educator in there at the time.                  And
  21 the educator, I think, was Kim, who was like the educational
  22 coordinator.
  23               And she didn't really tell me like she seen me do
  24 anything wrong.       She just said, "Well, I saw, you know, you
  25 picking up the children.          And I just want to let you know that
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   1 we've had incidents before where on the playground a child had
   2 been dropped and broke their arm."            And she said, "And I want
   3 to tell you, if they're old enough to walk, that they are old
   4 enough for you not to pick them up."
   5 Q.    Were you okay with that?
   6 A.    At first I was not.
   7 Q.    Why not?
   8 A.    Because I felt like there was a deeper reason than that,
   9 and I thought it was because I was being discriminated
  10 against.
  11 Q.    What do you mean by that?
  12 A.    Well, all the other teachers would pick up the children
  13 all day long, even the ones that were walking, even the older
  14 ones in the kindergarten room, including Heidi, who was the
  15 director -- assistant director.           Excuse me.     And I would see
  16 this happening all day long, and no one would ever get
  17 notified about it or get counseled about it, but then I get
  18 counseled about it because I was a man, is what I felt.
  19 Q.    And was part of the talk -- she said you had done nothing
  20 wrong, but was part of it the perception that she was worried
  21 about that the parents, because you were a man, might not like
  22 to see you holding a kid?
  23 A.    She did say that.
  24 Q.    Was that something that, throughout your job, you were
  25 aware of, that there were perceptions about you, and maybe you
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   1 had to act more carefully than the women?
   2 A.    Yes.
   3 Q.    Did you try to do that?
   4 A.    Yes, but I also was myself.         I was -- you know, I wasn't
   5 going to stop being playful with the children.               I wasn't going
   6 to stop being, you know, energetic just because I wanted to be
   7 cautious.
   8 Q.    Did you interact well with the children, do you think?
   9 A.    Yes.
  10 Q.    Did all the children like you?
  11               MS. KOROBOV:     Objection, Your Honor.        It calls for
  12 speculation on the part of the witness.
  13               THE COURT:     Sustained.
  14 BY MR. THOMAS:
  15 Q.    Did any of the children ever complain about you or -- to
  16 your knowledge?
  17 A.    No.
  18 Q.    There is another issue that was discussed by Heidi
  19 regarding Cathie.        Who was Cathie?
  20 A.    Cathie was my head educator at the time.
  21 Q.    And when you started, did you start out working with
  22 Cathie?
  23 A.    No.
  24 Q.    What did you start out doing?
  25 A.    I was what they called a floater.
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   1 Q.    What's that?
   2 A.    A floater is the position you get, in other words, to --
   3 you bounce around classrooms, you make sure ratio is kept.
   4 You give people bathroom breaks, lunch breaks.               In other
   5 words, you are pretty much just the helping hand around the
   6 building.
   7 Q.    How long were you a floater after you started?
   8 A.    Until a couple months before the termination -- my
   9 termination.
  10 Q.    And how is it that that changed?
  11 A.    There was an opening in another room.            Another teacher had
  12 turned her two-week notice in and moved on from her position.
  13 Q.    And what room was that in?
  14 A.    The early preschool-1 room.
  15 Q.    Did you specifically ask to be in the early preschool
  16 class or is that where the opening was?
  17 A.    That was where the opening was.
  18 Q.    Was that a promotion?
  19 A.    Yes.
  20 Q.    I don't think I asked, but how many hours a week were you
  21 working, normally?
  22 A.    40 hours a week.
  23 Q.    And who was the main educator in the early preschool
  24 class?
  25 A.    Cathie Williamson.
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   1 Q.    Now, so going back to her, there was mention of another
   2 issue or conversation that she had had with Heidi regarding
   3 you.     Did Heidi make you aware of that?
   4 A.    No.
   5 Q.    Did Cathie make you aware of it?
   6 A.    Yes.
   7 Q.    And how did she do that?
   8 A.    Well, we would talk in the room all the time, and she just
   9 told me, she was like, "Well, it's -- what I'm about to tell
  10 you is pretty much for your protection.             I don't want you to
  11 get upset about it."         And she told me that it's a bad look to
  12 be around the female children all day instead of the whole
  13 group of children, which I didn't understand at the time,
  14 because I was really around all of them all day, pretty much.
  15 Q.    Did you get in any trouble for that?
  16 A.    No.
  17 Q.    Did anybody ever talk to you about that?
  18 A.    No.
  19 Q.    Just kind of between you and her?
  20 A.    Yes.
  21 Q.    What was the policy regarding, as you understood it,
  22 regarding injuries to the genitals or pain in the private
  23 area, however we want to put it?            Were you specifically told
  24 how to deal with a situation like that in your job?
  25 A.    No.
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   1 Q.    What did you understand the policy to be?
   2 A.    Just inform the nurse.
   3 Q.    Did -- was it made clear to you that you weren't supposed
   4 to examine an injury like that?
   5 A.    Yes.
   6 Q.    Were there ever situations where you were told to provide
   7 first aid?
   8 A.    Yes.
   9 Q.    What were those?
  10 A.    Well, if a child was running around and they fell and
  11 scraped their elbow, and it was just a little scrape or
  12 something like that, you would clean the area off first and
  13 then you would put a Band-Aid on.            And then you would fill out
  14 what they call an accident report.
  15 Q.    Were you told to fill out an accident report for every
  16 complaint of every child?
  17 A.    No.
  18 Q.    What kind of things did they tell you not to report?
  19 A.    You know, if the child complains about a stomach pain,
  20 just, you know, maybe a little bit after eating, or if they,
  21 you know, "My head hurts," or, you know, sometimes they just
  22 say, "My finger hurts."         You know, it's -- and, really,
  23 sometimes it's nothing, other than they just, you know,
  24 want -- just want to say something hurts.
  25 Q.    And specifically about a -- were there specific rules
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   1 about complaints about injuries to the genitals?
   2 A.    Not that I was aware of.
   3 Q.    Were there rules about taking pictures?
   4 A.    Yes.
   5 Q.    And what did you understand those rules to be?
   6 A.    On a personal device or on the devices they --
   7 Q.    Well, both.
   8 A.    Well, they provided some -- some cameras.             And what they
   9 had were iPads at the center, as well.             And you were able to
  10 take pictures and send them to the family via what they called
  11 Baby Connect.       And the Baby Connect would allow you to even
  12 receive instant messages, and you could post photos.                 They
  13 could -- you could write what they ate, what they -- when the
  14 last time they went to the restroom.             And that was really in
  15 the smaller classrooms.         But you could still use the iPads
  16 for pictures, and they would take pictures on those.
  17               And there were also cameras, digital cameras, that
  18 you could get from the office.           And they would use those for
  19 making -- at least with the new Bright Horizons, they made you
  20 make bulletin boards outside.           And you would take pictures and
  21 then put a label under it, like, "This is so-and-so doing
  22 this."
  23 Q.    I'll ask you about August 21st of 2014.            Did you go to
  24 work that day?
  25 A.    Yes.
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   1 Q.    Anything unusual about that day going in?
   2 A.    Nothing at all.
   3 Q.    What class were you working in?
   4 A.    The early preschool-1 room.
   5 Q.    That's your regular class?
   6 A.    Yes.
   7 Q.    Even when you were assigned to one class, did you still
   8 move around and help people at times?
   9 A.    Yes.
  10 Q.    Is that something that you did or is that kind of
  11 something everybody did?
  12 A.    It was a little bit of both.          They would really rely on me
  13 a lot because I was already a floater before, so I was kind of
  14 already used to being in all the classrooms.
  15 Q.    And how would they -- how would you help those folks?
  16 A.    Well, if they needed to go to the restroom or if they were
  17 out of ratio, or even if they just needed a hand with
  18 something in the room, I would go in there, and any way I
  19 could provide assistance, I would.
  20 Q.    On that August 21st, did you help anybody out that way?
  21 A.    I relieved Ms. Tyria for her lunch break.
  22 Q.    Tell me about that.       Is that something that was scheduled
  23 ahead of time or did she just come and ask you, or was that
  24 your regular -- were you regularly assigned to do that?                 How
  25 does that come about?
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   1 A.    I usually give Ms. Emily her lunch break, but Ms. Emily
   2 had not been in that day, or the previous day.
   3 Q.    So would it -- when Ms. Emily was there, how long had you
   4 been giving her her break?
   5 A.    I don't recall the exact number of --
   6 Q.    Was it a couple days or a month or --
   7 A.    It was going on for a couple of weeks.
   8 Q.    Is that something that was worked out between you guys or
   9 is that something that was told to you by management?
  10 A.    That was told to me by management.
  11 Q.    On this day when you went to work, were you expecting to
  12 help Tyria?
  13 A.    Yes.
  14 Q.    And that's something you had done many times before?
  15 A.    Yes.
  16 Q.    In that -- what class was she in that day?
  17 A.    She was in the kindergarten room.
  18 Q.    And that was regularly whose class?
  19 A.    Ms. Emily's.
  20 Q.    Were you familiar with the kids in the class?
  21 A.    Yes.
  22 Q.    Do you remember about what time you went to her class?
  23 A.    I believe I went around -- it was lunchtime, for sure.                I
  24 think it was 12:30.
  25 Q.    What happens in your classroom when you leave to go give
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   1 someone a break?        Who's in your classroom?
   2 A.    It was Cathie.      But the daycare had this rule that if the
   3 children were asleep, as long as the ones that were awake
   4 didn't put you out of ratio, you were okay.              So if you had a
   5 roomful of ten children and your ratio was one to five, and
   6 five was asleep, they said you were okay to be in there alone.
   7 Q.    You didn't have anything to do with that policy, right?
   8 A.    No.
   9 Q.    If you remember on that particular day, what do you
  10 remember about going to Ms. Emily's class that day?
  11 A.    It was just another normal day.
  12 Q.    And tell me what you did when you got there.
  13 A.    Well, when I first got in the room, I noticed they were
  14 still awake, and --
  15 Q.    Who is "they"?
  16 A.    The children.      And I believe one of the -- or one of them
  17 said, "Mr. Ali," and then all of them started, you know,
  18 repeating pretty much like, you know, acknowledging I came
  19 into the room.       And I go and I look for the clipboard so I
  20 could sign in and so Ms. Tyria could sign out and go on her
  21 lunch break.
  22 Q.    Was that normal, that they would be awake when you got
  23 there, or is it -- is that nap time?             Were you expecting that?
  24 A.    It was nap time, but kindergarten does not always take
  25 naps.
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   1 Q.    Did Tyria leave immediately or did she hang around?
   2 A.    She left pretty quick.
   3 Q.    Okay.    How long were you expecting to stay in that room?
   4 A.    For as long as she was on her lunch break.
   5 Q.    How long was that, usually?
   6 A.    One hour.
   7 Q.    And what do you remember doing after you got the
   8 clipboard?
   9 A.    Well, I signed in; saw who was in the room, of course;
  10 made sure, you know, everything was okay; and then I go and
  11 take a seat.
  12 Q.    Where did you sit, if you remember?
  13 A.    On the carpet.
  14 Q.    Why did you sit on the carpet?
  15 A.    Pretty much because that was what most of the educators
  16 usually did.       They would interact with the children.            Plus,
  17 that was where Ms. Tyria just was.
  18 Q.    And which children were in the area around the carpet, if
  19 you remember?
  20 A.    E.C. and M.R..
  21 Q.    Were they still awake?
  22 A.    Yes.
  23 Q.    What did you do after you sat down?
  24 A.    Well, I sat down and I started joking around with them.                I
  25 would pretend to steal their pillows and act like I was going
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   1 to sleep on them.        And they would go, "Hey, that's my pillow."
   2 And, you know, once you did it with one of them, the other one
   3 wanted you to do it.         And when I first did it, I did it with
   4 E.C., and then M.R said, "Well, don't take mine, Mr. Ali."
   5 And then I would do it.         And then S.LNU would be across and
   6 she would be like, "Don't take mine."             And I would -- you
   7 know, I would just interact with the children and --
   8 Q.    How long did that go on?
   9 A.    Five minutes, ten minutes.
  10 Q.    You mentioned E.C. and M.R. and S.LNU?
  11 A.    Yes.
  12 Q.    What were the other seven children doing?
  13 A.    They were watching and giggling and laughing.              I believe
  14 maybe one of them might have been asleep, if I recall.
  15 Q.    What do you remember happening next?
  16 A.    I remember when -- right after S.LNU said, "Well, don't
  17 take mine, Mr. Ali," that's when M.R. gets up and sits in my
  18 lap, like she didn't want me to get up over there.
  19               MS. KOROBOV:     I'm sorry.     What was the last part of
  20 that answer?       I didn't hear it.
  21               THE COURT:     Can you repeat your answer?
  22               THE WITNESS:     After S.LNU told me not to -- or not
  23 to take hers, in other words, M.R. got up and sat on my lap,
  24 almost like not wanting me to get up.
  25 BY MR. THOMAS:
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   1 Q.    Were there any kind of rules about the kids sitting on
   2 your lap?
   3 A.    Not that I was aware of.
   4 Q.    Is that something that commonly happened with boys and
   5 girls?
   6 A.    Yes.
   7 Q.    Did anybody ever counsel you or write you up or say, "Kids
   8 can't sit on your lap"?
   9 A.    No.
  10 Q.    Did you commonly, as you've described, interact with the
  11 kids on the floor with them?
  12 A.    Every day.
  13 Q.    Did you ever have any issues about that --
  14 A.    No.
  15 Q.    -- before that day?
  16 A.    No.
  17 Q.    Okay.    What happened next?
  18 A.    Well, then I started telling M.R., "M.R., you need to get
  19 on your mat.       It's nap time, it's time to go to sleep."
  20 Q.    And how did she respond to that?
  21 A.    She kind of just looked at me and, like disapproval,
  22 didn't want to get up; kind of like, you know, defiant, as
  23 well, like, "I'm not getting up."
  24 Q.    And what do you remember happening after that?
  25 A.    That's when I went to pick her up like she was a baby,
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   1 like cradle her.        And that's when she -- that's when she
   2 wrapped her legs around my arm.
   3 Q.    Okay.    And show me with your arms, if you could, show the
   4 jury with your arms, how your arms were positioned.
   5 A.    Well, she was in my lap, and then I went like this to
   6 almost scoop her up.         So her head would be over here and then
   7 her legs would be on that side.
   8 Q.    And was your hand -- was your arm under her legs at that
   9 point?
  10 A.    Yes -- or, yes.
  11 Q.    And then what happened?
  12 A.    That's when she -- she threw her leg around my arm.               So,
  13 in other words, I couldn't place her down.
  14 Q.    What did you think at that point in terms of what was
  15 going on?
  16 A.    It was obviously something different.            She's never done
  17 that.     And I -- it was surprising at the time.
  18 Q.    Did you feel that she was being playful?
  19 A.    Yes.
  20 Q.    And how did you -- how did you respond to that?
  21 A.    Well, I told her, you know, "You need to let go," and,
  22 "No, thank you."        But she kept laughing and giggling about the
  23 situation.
  24 Q.    You said, "No, thank you"?
  25 A.    Yes.
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   1 Q.    What's that about?
   2 A.    "No, thank you," was a term we generally used with the
   3 children.      We didn't tell them, "No, don't."           You know, like
   4 we would tell them, "No.          No, thank you."      Because when you
   5 enforce the, "Thank you," it also teaches them to be
   6 respectful, to also -- we teach them a lot of etiquette.                  And
   7 we would tell them, "Please," and "Thank you."               And if you
   8 don't want something, you would say, "No, thank you."                 There
   9 was a lot of positive reinforcement.             You didn't use a lot of
  10 negative reinforcement.
  11 Q.    Were you told, as part of your job, that when you say,
  12 "No," to a child, you should say, "No, thank you"?
  13 A.    Yes.
  14 Q.    Is that something you were used to saying?
  15 A.    Before I started working there, no.
  16 Q.    How about after you started working there?
  17 A.    Yes.    You get in a routine of it.
  18 Q.    So she's -- was she moving around at that point when you
  19 said she had wrapped her leg over?
  20 A.    She was.     She was squirming around a lot.
  21 Q.    Okay.    What happened then?
  22 A.    Then I go to pull my arm out.          And it was -- I put her
  23 down at first, and then I would go to pull my arm out.                 And
  24 she says, "Ouch."
  25 Q.    Okay.    What happened then?
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   1 A.    I said, "Are you okay?"        And she said, "You hurt me."
   2 Q.    Did she say where?
   3 A.    I asked, "How did I hurt you?"          She said, "You hurt me
   4 down there."
   5 Q.    What's your reaction when she said, "Ouch"?
   6 A.    When she said, "Ouch"?
   7 Q.    Yeah.
   8 A.    At first I thought, you know, maybe she just got pinched
   9 or something.       But when she said I hurt her, my reaction
  10 almost was like, you know, I didn't really mean to.                And I
  11 even told her, "I'm sorry.          I didn't mean to."
  12 Q.    Where was she in relation to your arm when she said,
  13 "Ouch"?
  14 A.    She was on her mat, on my right side.
  15 Q.    Okay.    And how were you touching her when she said,
  16 "Ouch"?      What kind of contact were you having with her when
  17 she said, "Ouch"?
  18 A.    I had just removed my arm from her grip.
  19 Q.    Was she wearing clothing at that time?
  20 A.    Yes.
  21 Q.    What kind of clothes were you wearing?
  22 A.    The dress code.      I think it was a weekday, so I was pretty
  23 sure I was wearing the blue collar button-up shirt.
  24 Q.    Long sleeve or short sleeve?
  25 A.    Short sleeve.
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   1 Q.    And the G-Shock watch that is in evidence, were you
   2 wearing that?
   3 A.    Yes.
   4 Q.    Once she said, "You hurt me," what were you thinking then?
   5 A.    I was thinking, you know, how did I hurt her?              You know,
   6 what did I actually do?         I mean, what kind of injury happened?
   7 Q.    And what happened then?
   8 A.    After she said that, I asked her if she was okay.               She
   9 said, "I'm okay."        And then she said, "It hurts when I pee."
  10 Q.    All right.     Is that the first time you had heard her say
  11 that?
  12 A.    Yes.
  13 Q.    And how did you react to that?
  14 A.    I reacted like -- honestly, I didn't really react to her
  15 saying it hurts to pee, because I was still worried about if
  16 she was injured or not.
  17 Q.    What happened then?
  18 A.    Then I tell them to lay down, all of them, all the
  19 children.      I tell them it's time for a nap.
  20 Q.    Is -- if you remember, was E.C. still right there beside
  21 you?
  22 A.    Yes.
  23 Q.    Was he awake during that time?
  24 A.    When everything was happening --
  25 Q.    Everything that you described up to this point, was he
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   1 awake?
   2 A.    Yes.
   3 Q.    Were other children awake?
   4 A.    Yes.
   5 Q.    Did -- well, tell me what happened.           What happened next?
   6 A.    Well, I waited a couple of minutes.           I told -- I had to
   7 tell some of the children to, you know, face different
   8 directions, because they were still playing around, pretty
   9 much, like S.LNU and G.D. and E.C. and M.R..               Like, whoever
  10 was close to each other, they would just keep playing around.
  11               So I would tell them, you know -- and that's
  12 something all the educators would do, is tell them, you know,
  13 "You face that way so you don't, you know, have to interact
  14 with them so you can go to sleep."
  15 Q.    Did everyone eventually lay down?
  16 A.    They were already on their mats, and they all did
  17 eventually lay down.
  18 Q.    Did you have any more interaction with M.R.?
  19 A.    Yes.
  20 Q.    What happened next?
  21 A.    After I -- I walked around, checked on all the kids.                I
  22 sat down again between E.C. and M.R. and I checked to see if
  23 she was hurt.
  24 Q.    Had she told you again when you sat down, had she said
  25 anything else about that you hurt her?
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   1 A.    Not immediately.
   2 Q.    When did she say that again?
   3 A.    After she squirmed around, and it was like halfway, I
   4 guess, asleep, groggy, I don't know what you want to call it.
   5 Q.    Tell me -- actually, let's go back.           You said you checked
   6 her.     Tell me what you were doing.
   7 A.    Well, I had lifted up the jeans to see if there was any
   8 marks maybe that -- from what I did.
   9 Q.    Why in the world did you do that?
  10 A.    At the time, I wasn't thinking.          I was just acting on
  11 impulse, really.        I didn't even think about it.
  12 Q.    Were you scared?
  13 A.    Yes.
  14 Q.    Why?
  15 A.    Because I thought I hurt the child.
  16 Q.    And did you have your phone with you?
  17 A.    Yes.
  18 Q.    Why?
  19 A.    I carried my phone with me all day.
  20 Q.    Why did you have your phone?
  21 A.    In that situation?
  22 Q.    Just carrying your phone all day, what were you doing with
  23 it?
  24 A.    I just always kept my phone next to me in case an
  25 emergency, someone called me, texted me.              Really, I just -- I
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   1 never really left my phone anywhere.             It was always on me.
   2 Q.    As long as it stayed hidden, is that okay?
   3 A.    Yes.
   4 Q.    How was M.R. laying -- well, let me make sure I'm clear.
   5 Was she asleep when you went back and sat down?
   6 A.    I believed she was.
   7 Q.    What did you do with your phone?
   8 A.    I couldn't really see at the time the -- if there were any
   9 injuries.
  10 Q.    Was it light or dark in the room?
  11 A.    It was dark because it was nap time.            We dimmed the
  12 lights.      So I took my phone out and turned the camera's flash
  13 on.     You could keep it on.
  14 Q.    And what did you do then?
  15 A.    And then I took some pictures to see if I could see any
  16 injuries.
  17 Q.    Did you see any injuries?
  18 A.    No.
  19 Q.    How many pictures did you take, if you remember?
  20 A.    Four pictures.
  21 Q.    Did you take them all one right after the other or --
  22 A.    No.
  23 Q.    How did that happen?
  24 A.    Two were back to back, almost.          And then she squirmed
  25 around and she said that she was -- her eyes were still
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   1 closed, and she said, "You hurt me, Mr. Ali."               And it shocked
   2 me for a second, and I couldn't -- I looked at the pictures
   3 and couldn't really notice anything.             So I wanted to make sure
   4 again, and I took some more.
   5 Q.    How soon -- well, after that happened, what did M.R. do?
   6 A.    She fell asleep.
   7 Q.    What did you do?
   8 A.    It was about ten minutes before it was time for Ms. Tyria
   9 to get back, so I got up, started making my rounds around the
  10 room, you know, because some of the children did have
  11 breathing issues.        So you want to make sure all the children
  12 were okay at all times.
  13 Q.    Were you still thinking about what had happened with M.R.?
  14 A.    Yes.
  15 Q.    What were you thinking?
  16 A.    I was thinking, you know, I might have hurt her for real.
  17 And then I started thinking -- you know, I said -- I did want
  18 to report it, but then I realized, you know -- or I didn't
  19 realize.      I felt like I would have been blamed for it and
  20 gotten in trouble for it.          And that's when I pulled my phone
  21 out, deleted the pictures, and I didn't mention it.
  22 Q.    Were you supposed to look at her injuries?             Is that part
  23 of your job?
  24 A.    No.
  25 Q.    Were you scared when you did that?
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   1 A.    I was beyond scared.
   2 Q.    Why were you beyond scared?
   3 A.    I mean, it was never my intention to hurt the child.                It
   4 was never -- I'd never do that.           You know, of being there the
   5 whole time, I never had a complaint of one similar to hers.
   6 Q.    What was your intention when you took those photographs?
   7 A.    First it was just to turn the light on to see if I could
   8 see, but I thought maybe if I took the pictures and turned the
   9 brightness on my phone up all the way, I could see a little
  10 better, you know.        But even then I didn't see anything.
  11 Q.    Were you trying to take pictures in a sexual way with MR.?
  12 A.    No.
  13 Q.    Do you realize at some point that you had done something
  14 stupid?
  15               MS. KOROBOV:     I'm going to object.        The question is
  16 leading.
  17               THE COURT:     Sustained.
  18 BY MR. THOMAS:
  19 Q.    Did you start thinking about what had happened after it
  20 happened?
  21 A.    Yes.
  22 Q.    How were you feeling then?
  23 A.    I felt bad about the entire situation from start to
  24 finish, from her saying she got hurt, from me looking, from me
  25 taking pictures, from me not even saying anything about it.
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   1 Q.    What's the next thing that you remember happening?
   2 A.    Well, I remember Ms. Tyria came back in the room.               I
   3 signed out and I proceeded out of the room.
   4 Q.    When you went to take the pictures, how was M.R. laying?
   5 A.    On her back.
   6 Q.    Did she move at all when you went over to her?
   7 A.    Yes.
   8 Q.    Do you know if she was aware of what you were doing?
   9 A.    To my knowledge, no.        I thought she was asleep.
  10 Q.    Did you remove her clothing in any way?
  11 A.    No.
  12 Q.    Could you have done that?
  13               MS. KOROBOV:     Your Honor, I'm going to object.           I'm
  14 not exactly sure what he means by that.             I would ask him to
  15 clarify what "Could" means.
  16               THE COURT:     Would you rephrase the question?
  17 BY MR. THOMAS:
  18 Q.    Were you in a -- were you in a position to do that if you
  19 had wanted to?
  20 A.    Yes.
  21 Q.    Did you want to do anything like that?
  22 A.    No.
  23 Q.    How soon after that did Tyria arrive?
  24 A.    I would say anywhere -- it was maybe 10, 15 minutes.
  25 Q.    What did you do after you left?
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   1 A.    I went to the restroom.        And then I believe I clocked out
   2 for my lunch break.
   3 Q.    What's going through your mind at that point?
   4 A.    I was really trying to wrap my head around the whole
   5 situation at first.        And then I decided, you know, maybe it
   6 was nothing, you know.         Maybe she just -- it was just a little
   7 injury.
   8 Q.    Did you ever put your hand inside of her vagina?
   9 A.    No.
  10 Q.    Did you ever touch her underwear in any way, other than
  11 the way you lifted them up when you tried to take pictures?
  12 A.    I only touched the underwear lifting up the pictures -- or
  13 lifting them up for the pictures.
  14 Q.    Once the pictures were erased, you were still in the room?
  15 A.    Yes.
  16 Q.    Did you have access to them anymore?
  17 A.    They were gone.
  18 Q.    Did you try to save them in some way?
  19 A.    No.
  20 Q.    Did you try to send them to anyone?
  21 A.    No.
  22 Q.    Did you tell anyone you had them?
  23 A.    No.
  24 Q.    After you got back from lunch -- you did come back from
  25 lunch, right?
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   1 A.    Yes.
   2 Q.    This is after all this had happened?
   3 A.    Yes.
   4 Q.    What do you remember then?
   5 A.    I remember clocking back in and giving Ms. Tyria the pop
   6 she asked me to get her.          And then I went to my room -- or my
   7 room being the EPS1 room.
   8 Q.    Did Tyria say anything to you when you gave her the pop?
   9 A.    She just said, "Thank you."
  10 Q.    And what do you remember happening after that?
  11 A.    I went to my room.       And I -- as soon as I got in there, I
  12 believe Ms. Cathie told me L.LNU had wet himself.
  13 Q.    That was one of the children in your class?
  14 A.    Yes.
  15 Q.    And so what did you do then?
  16 A.    I left the room to go get an extra pair of clothing,
  17 because all his clothing was either dirty or he didn't have
  18 any more.
  19 Q.    What happened then?
  20 A.    Then that's when I walked past the front desk and
  21 Ms. Chiana said, "Ms. Tyria wants to talk to you."
  22 Q.    And did you know why?
  23 A.    No.
  24 Q.    Did you go talk to her?
  25 A.    Yes.
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   1 Q.    What happened then?
   2 A.    I went in the room and she told me, "Listen to what M.R.
   3 has to say."
   4 Q.    And what did M.R. say?
   5 A.    She said that I put a finger in her.
   6 Q.    What was your reaction to that?
   7 A.    Even more terrified than the beginning.
   8 Q.    Do you remember how you reacted?
   9 A.    I was -- I was in shock.         I believe at the time, I almost
  10 felt like -- I felt like I was going to have a panic attack.
  11 It was scary, it was surreal. And I told M.R., you know, "Come
  12 over here."       I was crouching down.       And I told her, you know,
  13 "Come over here."        And I told her, you know, "You shouldn't
  14 lie.     No, thank you."      And I did say, "No, thank you."
  15               And she was almost in my lap.         She was still
  16 standing, but I wasn't sitting.           I was crouching.       So she --
  17 then Ms. Tyria asked her again to say what really happened,
  18 and she asked her if it was just a dream.              And she said, "No."
  19 And she puts her head down and she -- she was pretty upset.
  20 Q.    Did you tell Tyria what had happened?
  21 A.    I told her, "I believe it might have been from my watch."
  22 Q.    Did you tell her about the rest of it?
  23 A.    No.
  24 Q.    Why not?
  25 A.    I was scared to get in trouble about it.
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   1 Q.    What did you think would happen if you told them that you
   2 had looked at M.R. and taken her picture?
   3 A.    Obviously, I would have been instantly fired.              But at that
   4 point, that was the least of my worries.
   5 Q.    Because you had just been accused of child molesting,
   6 right?
   7 A.    Yes.
   8 Q.    Once you were -- once that happened, did you leave the
   9 room?
  10 A.    Yes.
  11 Q.    And where did you go then?
  12 A.    I went back to the EPS1 room.
  13 Q.    How long did you stay there?
  14 A.    A few more hours.
  15 Q.    What do you remember happening then?
  16 A.    I remember -- I remember walking the children to the -- to
  17 the -- to the library.         And they were using something called
  18 the jelly bean, where they hold it and it kind of helps guide
  19 them in a straight line.          And the front receptionist, Ms. Flo,
  20 told me that she was going to switch with me so I could have a
  21 conversation with Heidi.
  22 Q.    Did you end up talking to Heidi about what had happened?
  23 A.    Yes.
  24 Q.    Did you tell Heidi about everything that happened?
  25 A.    Not everything.      I didn't mention her saying she was ever
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   1 in pain, me looking, taking the pictures, but everything else
   2 I did tell her about.
   3 Q.    Were you free to go at that point and you could leave?
   4 A.    At that point I was put on administrative leave, and Heidi
   5 did escort me out of the building.
   6 Q.    Now, at that point were you under arrest or anything like
   7 that?
   8 A.    No.
   9 Q.    Could you have gone anywhere you wanted?
  10 A.    Yes.
  11 Q.    Did you still have your phone?
  12 A.    Yes.
  13 Q.    And where did you go?
  14 A.    I went home.
  15 Q.    We saw that, from the exhibits, that the next day you got
  16 a text message -- text messages from work, right?
  17 A.    Yes.
  18 Q.    Who were they from?
  19 A.    My coworkers.
  20 Q.    Do you remember what their names were?
  21 A.    Cathie and Karen.
  22 Q.    And at that point had you had any contact with the police?
  23 A.    No.
  24 Q.    They told you in the messages the police were there,
  25 right?
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   1 A.    Yes, they did.
   2 Q.    What were you thinking then?
   3 A.    Well, I thought back to what Heidi had told me.              She told
   4 me not to say anything about the situation.              So when they said
   5 there's police over there, I acted completely dumb to the
   6 fact, because earlier on in the day they were texting me while
   7 they were working, telling me, "Where are you," you know, "Why
   8 aren't you at work?"         You know.    And I just told them -- I
   9 believe I said I wasn't feeling well.             And I was doing as I
  10 was told, not to say anything about what had happened that
  11 night.
  12 Q.    Eventually that afternoon of the next day, you're still at
  13 home, the police showed up?
  14 A.    Yes.
  15 Q.    And where did you -- what did you do?
  16 A.    Well, I answered the door.         I remember my mom asking who
  17 was at the door.        I said, "I don't know."        I opened the door
  18 and I see an officer at the door.            And I remember my mom
  19 almost freaking out instantly.           And my mom, she tells me, she
  20 said -- she said, "What happened?            What happened?"
  21               I remember I didn't even tell my parents about
  22 anything that happened.         I told her, "There was an incident
  23 and they just want to ask me some questions."               And my mom
  24 said, "Were you the one who caused the incident?                Is that what
  25 happened?"      And I told my mom, "No."
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   1 Q.    We saw that you ended up coming to a police station,
   2 right?
   3 A.    Yes.
   4 Q.    And Detective McAllister interviewed you?
   5 A.    Yes.
   6 Q.    You didn't tell him about what had happened, did you?
   7 A.    No.    I did tell him about what happened, but I didn't tell
   8 him the full truth about everything that had happened.                 I told
   9 him mainly what happened.
  10 Q.    You left out some pretty important parts?
  11 A.    Yes.
  12 Q.    You lied to him?
  13 A.    Yes.
  14 Q.    Why did you do that?
  15 A.    I was -- I was scared.        And I thought if I would have told
  16 them, that I would have, you know, been arrested.                And I
  17 remember I was so naive at that point, that I thought I would
  18 be going straight to prison, not even jail.
  19 Q.    At that point, you still had your phone?
  20 A.    Yes.
  21 Q.    Did you try to throw it away or destroy it or anything
  22 like that?
  23 A.    No.
  24 Q.    Were you even thinking about the pictures at that point?
  25 A.    No.
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   1 Q.    Why not?
   2 A.    From my experience with pictures, if you deleted them,
   3 they're gone.
   4 Q.    Did you ever, ever have any intention of keeping those
   5 pictures?
   6 A.    No.
   7 Q.    Did you ever think those pictures were porn?
   8 A.    No.
   9 Q.    Did you think it was a smart thing to do or a stupid thing
  10 to do after the fact?
  11 A.    It was the dumbest thing I could have probably ever done.
  12 I remember the whole time I was in jail, I just kept thinking
  13 about it, like what even made me do it, you know?                And it was
  14 just acting on impulse.         I was -- she said I hurt her, and I
  15 was scared.
  16 Q.    When you spoke to Detective McAllister, did you think you
  17 would be able to explain what happened in a way that he would
  18 understand?
  19 A.    No, except the way I stated in that statement.              If -- I
  20 felt like if I would have told him the truth, that I couldn't
  21 justify looking or I couldn't justify the pictures.                But even
  22 then, the pictures were already gone, so I couldn't even tell
  23 him, "Well, I took pictures, too."            So I felt like I couldn't
  24 justify anything.
  25 Q.    Did you ever want to hurt M.R.?
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   1 A.    Never.
   2 Q.    Any child?
   3 A.    Never.
   4               MR. THOMAS:     That's all the questions I have.          Thank
   5 you.
   6               THE COURT:     Okay.   Let's take five minutes.
   7 Unfortunately, they turned off the air or whatever at 5:00, so
   8 it's very warm in here.         So get some water and we'll take a
   9 five-minute break and then we'll resume.
  10               THE COURTROOM DEPUTY:       All rise.
  11               (Jury out at 5:40.)
  12               THE COURT:     Okay, five minutes.
  13               (Recess at 5:41, until 5:51.)
  14               THE COURT:     Are you ready for the jury, Ms. Korobov?
  15               MS. KOROBOV:     Yes, Your Honor.
  16               THE COURT:     Are you ready, Mr. Thomas?
  17               MR. THOMAS:     Yes, Your Honor.
  18               THE COURT:     You may bring in the panel.
  19               (Jury in at 5:51.)
  20               THE COURT:     We are back on the record.         And,
  21 Ms. Korobov, you may cross-examine the witness.
  22               MS. KOROBOV:     Thank you.
  23                              CROSS-EXAMINATION

  24 BY MS. KOROBOV:
  25 Q.    Mr. Al-Awadi, your last statement to the jury was that you
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   1 didn't want to hurt M.R. or any child; is that correct?
   2 A.    That is correct.
   3 Q.    Because you had a very good relationship with M.R. as of
   4 October (sic) 21st of 2014; isn't that correct?
   5 A.    I had a good relationship with many of the children.
   6 Q.    Sir, my question to you was:          You had a good relationship
   7 with M.R. as of August 21st, 2014, correct?
   8 A.    Yes.
   9 Q.    And you had been working with her for about a year, the
  10 entire time you were there, right?
  11 A.    No.
  12 Q.    You hadn't been with her for a year?
  13 A.    She was in the preschool room, and I started in the pre-K
  14 room.
  15 Q.    Okay.    But you floated between rooms, correct?
  16 A.    Correct.
  17 Q.    So there were times you had interaction with her over that
  18 full year, correct?
  19 A.    When I first floated.        I did not fully start in the
  20 preschool room.       I ended up floating around in there after.
  21 They mainly kept me in the pre-K room.
  22 Q.    Sir, for the entire time you knew M.R., you had a good
  23 relationship with her, didn't you?
  24 A.    Yes.
  25 Q.    And you shared inside jokes with her, right?
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   1 A.    Yes.
   2 Q.    You called each other "Baby," didn't you?
   3 A.    "Little Baby."
   4 Q.    "Little Baby," is what you called each other?
   5 A.    Yes.
   6 Q.    Okay.    And when you walked into the classroom on that day,
   7 on August 21st of 2014, you chose to go sit by her and E.C.,
   8 correct?
   9 A.    Correct.
  10 Q.    You liked her family, right?
  11 A.    Yes.
  12 Q.    In fact, when her dad came to pick her up on the night of
  13 August 21st, you waved to him, right?
  14 A.    Yes.
  15 Q.    Okay.    She had never accused you of anything before
  16 August 21st of 2014, correct?
  17 A.    Correct.
  18 Q.    I also want to talk about your relationship with your
  19 coworkers.      You didn't have any reason to fear them, did you?
  20 A.    No.
  21 Q.    Okay.    They on various occasions told you that they were
  22 looking out for you, right?
  23 A.    Yes.
  24 Q.    Okay.    Sometimes even pulled you aside and said, "Hey I
  25 just want to give you some inside information on something,"
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   1 right?
   2 A.    Uh-huh.
   3 Q.    Is that yes?
   4 A.    Yes.
   5 Q.    Okay.    And, in fact, when you had picked up G.F. and there
   6 was the conversation about not picking up the kids, you were
   7 specifically told, "Hey, I know you didn't mean anything by
   8 that," right?
   9 A.    Yes.
  10 Q.    And Cathie Williamson specifically offered to take the
  11 girls to the bathroom so that you wouldn't be put in a bad
  12 position, correct?
  13 A.    Yes.
  14 Q.    And when Heidi was having you fill out your statement, she
  15 specifically said, "Make sure you put everything in it,"
  16 correct?
  17 A.    Yes.
  18 Q.    "Because we don't want anything to come back and bite you
  19 in the butt," right?
  20 A.    Yes.
  21 Q.    On the day in question, the day that the police came to
  22 the daycare, on the 22nd, your coworkers were telling you
  23 what's going on at the daycare, right?
  24 A.    Yes.
  25 Q.    And you were the diversity champion, correct?
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   1 A.    Yes.
   2 Q.    You said that the employees really relied on you a lot,
   3 right?
   4 A.    Yes.
   5 Q.    And it's your -- previously, when you spoke to Detective
   6 McAllister, you told him that after Tyria had let M.R. tell
   7 you what it is that you had done to her, that Tyria said,
   8 "Hey, I'm going to go and I'm going to clear everything up,"
   9 correct?
  10 A.    Yes.
  11 Q.    So as of that moment, you believed that Tyria is going to
  12 go and at least she's willing to speak on your behalf,
  13 correct?
  14 A.    Correct.
  15 Q.    So on that day, August 21st, 2014, you believe you have a
  16 lot of friends at that daycare, right?
  17 A.    Yes.
  18 Q.    Speaking of friends, the two people who called you from
  19 the daycare, you described them to the jury as coworkers; is
  20 that correct?
  21 A.    Yes.
  22 Q.    Cathie is a coworker, correct?
  23 A.    Yes.
  24 Q.    Who is Karen to you?
  25 A.    She was -- an ex-girlfriend of mine now.
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   1 Q.    Now, correct?
   2 A.    Yes.
   3 Q.    So when you told the jury that Karen was your coworker,
   4 she was actually your girlfriend at the time, wasn't she?
   5 A.    She was also my coworker.
   6 Q.    Okay.    You didn't tell the jury that, did you?
   7 A.    No, I did not.
   8 Q.    And, in fact, she's listed in your phone under a pet name,
   9 isn't she?
  10 A.    Yes.
  11 Q.    "Habibti" means my love, doesn't it?
  12 A.    Yes.
  13 Q.    I want to talk about August 21st, that day in particular.
  14 You knew that that was a hectic day at the daycare because of
  15 short staffing, right?
  16 A.    Yes.
  17 Q.    And the director was gone on that day, right?
  18 A.    Yes.
  19 Q.    Two teachers had called off?
  20 A.    Yes.
  21 Q.    But you knew that you were going to be in the lunch -- or
  22 you were going to be covering lunch in the kindergarten room,
  23 right?
  24 A.    Yes.
  25 Q.    In fact, for two weeks, you had been covering that lunch
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   1 period, correct?
   2 A.    Yes.
   3 Q.    And you knew that you would be the only teacher in there
   4 during the lunch time, right?
   5 A.    Yes.
   6 Q.    And when you're the teacher in that room over lunch time,
   7 you're kind of in control of that room, right?               You have to be
   8 with ten kids, right?
   9 A.    Yes.
  10 Q.    Okay.    So you decide whether the lights are up or the
  11 lights are down, correct?
  12 A.    You would follow the instructions of the educator before
  13 you.
  14 Q.    Okay.    You make that decision about whether the lights are
  15 going to be on or the lights are going to be off, right?
  16 A.    Yes.
  17 Q.    Okay.    Because when you walked into the room, the lights
  18 were on, correct?
  19 A.    No.
  20 Q.    The lights were off when you walked into the room?
  21 A.    I believe they were off.         To my recollection, they were.
  22 Q.    Didn't you tell the jury that you dimmed the lights in the
  23 room?
  24 A.    We dim the lights when it's nap time.
  25 Q.    So you didn't tell the jury today that you dimmed the
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   1 lights on August 21st of 2014?
   2 A.    I may have been the one who dimmed them, but I don't think
   3 I did that day.       But what I was trying to say is, when we get
   4 to the nap time period, that's when the lights are dimmed or
   5 turned off.
   6 Q.    Okay.    So you know that the room is going to be dark when
   7 you go into that room, or able to be darkened, correct?
   8 A.    Yes.
   9 Q.    And you decide kind of, to some degree, when the kids go
  10 to sleep, right?
  11 A.    To an extent.
  12 Q.    Because if you clown around and you're playing with them,
  13 they're not going to go to sleep at that time, right?
  14 A.    Unless they're very tired.
  15 Q.    Okay.    But if you're making noise and laughing and joking
  16 with the kids, they're going to stay up, right?
  17 A.    Yes.
  18 Q.    So when you say it's time to go to sleep and you shut off
  19 the playtime, it's time to go to sleep; is that correct?
  20 A.    That is correct.
  21 Q.    And you, as a teacher in that room, you provide direction
  22 to the kids as to even which direction they should look,
  23 correct?
  24 A.    That was something the educators would do, yes.
  25 Q.    Okay.    And you did that in particular, correct?
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   1 A.    Yes.
   2 Q.    And in particular, you did that on August 21st of 2014,
   3 right?
   4 A.    Yes.
   5 Q.    You told E.C. to look away from M.R., correct?
   6 A.    Yes, because they were playing around, holding hands, and
   7 they wouldn't stop scooting their mats together.                So I told
   8 them to stop interacting with each other.
   9 Q.    Okay.    So let's talk about that.         You're telling me that
  10 this occurs now after there's been this injury and M.R. said
  11 you had hurt her, right?
  12 A.    Yes.
  13 Q.    So after that, where you're so terrified that she's hurt,
  14 been hurt by you, she's laughing and playing with E.C., isn't
  15 she?
  16 A.    Yes.
  17 Q.    And they're holding hands, right?
  18 A.    Yes.
  19 Q.    And there's no complaint of pain, correct?
  20 A.    There was an initial complaint of pain.
  21 Q.    Not at the time she's holding hands with E.C., is there?
  22 A.    No.
  23 Q.    Okay.    So at that point, then, you decide that they're
  24 going to face away from each other, correct?
  25 A.    Yes.
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   1               MS. KOROBOV:     Can I call up Exhibit 24, please?
   2 BY MS. KOROBOV:
   3 Q.    Let me ask this:       Before the kids went to sleep is when
   4 you say that M.R. wrapped her legs around your arm, correct?
   5 A.    Could you repeat that question?
   6 Q.    Sure.    Before the kids went to sleep is when you say that
   7 M.R. had wrapped her legs around your arm, correct?
   8 A.    In my statement, yes.
   9 Q.    Well, is that true?
  10 A.    Yes.
  11 Q.    Okay.    So when that happened, nine out of the ten kids
  12 were wide awake during this time, correct?
  13 A.    Correct.
  14 Q.    And they are all focused on you and what you're doing with
  15 M.R. and E.C. and S.LNU, right?
  16 A.    Yes.
  17 Q.    Every eye, except for the two eyes of the one child who is
  18 sleeping, are focused on you and what's going on, correct?
  19 A.    Yes.
  20 Q.    So they all witnessed, then, this leg around the arm,
  21 correct?
  22 A.    Yes, but they were laughing at her doing it, thinking it
  23 was just a joke.
  24 Q.    Okay.    So they're thinking it's a joke, they're laughing.
  25 There's no problem at that point, right?
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   1 A.    No.
   2 Q.    And so -- and you say immediately, though, M.R. says, "You
   3 hurt me," right?
   4 A.    Yes.
   5 Q.    And at the time she says that, every one of those kids is
   6 awake, correct?
   7 A.    Yes, but she doesn't like blurt it out like she's yelling
   8 it, but she did tell me I hurt her.
   9 Q.    Right.    And at that time, nine out of the ten kids are
  10 awake, correct?
  11               MR. THOMAS:     I think that's been asked and answered
  12 a couple three times.
  13               THE COURT:     Overruled.     It's cross-examination.        She
  14 may.
  15 BY MS. KOROBOV:
  16 Q.    Nine out of the ten kids are awake, right?
  17 A.    Yes.
  18 Q.    So you have nine witnesses that you didn't just assault
  19 this child in some way, correct?
  20 A.    Yes.
  21 Q.    Okay.    In Exhibit Number 24, at the time that you wrote
  22 this statement, this is the statement that you wrote out for
  23 the daycare, correct?
  24 A.    Yes.
  25 Q.    It wasn't a statement to law enforcement, right?
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   1 A.    Yes.
   2 Q.    And you didn't like get Mirandized or anything like that
   3 before you wrote it, correct?
   4 A.    Correct.
   5 Q.    And you could write as much as you wanted, right?
   6 A.    Yes.
   7 Q.    Give as many details about what it is that had happened
   8 there?
   9 A.    Yes.
  10 Q.    Okay.    So could you point out for the jury where it is
  11 that you said that M.R. said, "Ouch," when the thing happened
  12 with the watch?       Could you just -- you know how this works.
  13 Just circle on there where the word "Ouch" is.
  14 A.    I did not tell them.        I did not write it down.
  15 Q.    You didn't write that in that statement?
  16 A.    No, I did not.
  17 Q.    Okay.    So you left that out of there.          And did you write
  18 anything in there about wanting to physically look at her for
  19 injuries?
  20 A.    No.
  21 Q.    Okay.    And you certainly didn't write anything in there
  22 about snapping off the photos of her, did you?
  23 A.    No.
  24               THE REPORTER:     I'm sorry.     I didn't get that.
  25 BY MS. KOROBOV:
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   1 Q.    You certainly didn't write anything in there about
   2 snapping off the photos of her injuries, did you?
   3 A.    No.
   4 Q.    Now -- and at the time you made the statement, you're
   5 making it for people who like you, right?
   6 A.    Yes.
   7 Q.    People who trust you with children every single day,
   8 correct?
   9 A.    Yes.
  10 Q.    And you told the detective that you gave your full
  11 cooperation to the daycare at the time that you went in there,
  12 correct?
  13 A.    I did.
  14 Q.    At the time that you were giving this statement, you were
  15 not on any kind of suspension with the daycare, right?
  16 A.    No.
  17 Q.    Not like you were on strike three and ready to get the old
  18 heave-ho, right?
  19 A.    No.
  20 Q.    Okay.    In fact, you had just been promoted at the daycare,
  21 correct?
  22 A.    A couple of months, yes.
  23 Q.    Okay.    So a new job, they've given you more
  24 responsibility, right?
  25 A.    Yes.
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   1 Q.    And you said you've just been named this diversity
   2 champion, correct?
   3 A.    Yes.
   4 Q.    And even though there are some rules of the daycare that
   5 you decide not to follow, you're still moving up at the
   6 daycare, correct?
   7 A.    Correct.
   8 Q.    Now, at this point in time there's no police
   9 investigation, is there?
  10 A.    No.
  11 Q.    No one is -- not a -- not Detective McAllister standing
  12 outside waiting for Heidi to give up your statement, correct?
  13 A.    Correct.
  14 Q.    And, in fact, Heidi tells you, "Hey, we're just going
  15 to -- we're going to take care of this, we're going to figure
  16 out what happened.        We'll put you on leave."         Right?
  17 A.    Yes.
  18 Q.    Okay.    So at this point, the only thing that you risk
  19 having lost is potentially your job by telling them the truth,
  20 correct?
  21 A.    Correct.
  22 Q.    Okay.    And let's talk about the job.
  23               MS. KOROBOV:     Could I call up Exhibit Number 23.
  24 BY MS. KOROBOV:
  25 Q.    This is the application that you submitted when you
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   1 started at Bright Horizons, right?
   2 A.    Yes.
   3 Q.    Okay.    And for your education, I'll go down to the bottom
   4 there.
   5               MS. KOROBOV:     If you could just enlarge that.
   6 BY MS. KOROBOV:
   7 Q.    With respect to this, you told the people at Bright
   8 Horizons Daycare that you had studied computers at Pike High
   9 School, correct?
  10 A.    Yes.
  11 Q.    And then you were at Ivy Tech studying computers, as well,
  12 correct?
  13 A.    Correct.
  14               MS. KOROBOV:     Can we back out, please.
  15 BY MS. KOROBOV:
  16 Q.    And your previous job experience, you had worked at a
  17 phone company, right?
  18 A.    Yes.
  19 Q.    And you had also worked at a family restaurant, correct?
  20 A.    Correct.
  21 Q.    Okay.    So prior to this, it's not like you had had a long
  22 history of working at daycares, right?
  23 A.    No.
  24 Q.    This wasn't your life mission, to become an educator, was
  25 it?
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   1 A.    No, it was not.
   2 Q.    Okay.    So at worst, you might lose your job if you say to
   3 them, "Hey, look, I did something really stupid.                The kid said
   4 she was injured, I took some photos.             Really, though, nothing
   5 happened."      That's what you risked losing at that point in
   6 time, correct?
   7 A.    I risked losing that, and I was also scared of being
   8 blamed for hurting her.
   9 Q.    For actually causing an injury to her?
  10 A.    Correct.
  11 Q.    Okay.    But, again, no one is accusing you of causing an
  12 injury with your watch at that point, are they?
  13 A.    No.
  14 Q.    All right.     And so if you perhaps lose your job at that
  15 point, that's -- that at this point is all you've lost, right?
  16 A.    Yes.
  17 Q.    August 22nd, 2014, so we're at a new day here, right?                You
  18 go home, you go to sleep, don't tell anyone at home about it,
  19 do you?
  20 A.    No, I do not.
  21 Q.    You don't call any friends and say, "Hey, look, I may have
  22 done something dumb, give me a little bit of advice"?
  23 A.    I didn't tell anybody about it.
  24 Q.    Okay.    And there's kind of an emergency number that you
  25 can call into the daycare if, say, you're going to be sick or
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   1 out or something like that, right?
   2 A.    There's just the -- you call the front office, the front
   3 desk --
   4 Q.    Okay.
   5 A.    -- which is the general number.
   6 Q.    All right.     And, actually, the daycare is open until
   7 8:00 at night, right?
   8 A.    Yes.
   9 Q.    Okay.    So there are employees there that late, correct?
  10 A.    Correct.
  11 Q.    So during that period up at least until 8:00, you could
  12 have picked up the phone and said, "You know what, that thing
  13 I wrote out, that Exhibit 24, I need to fill in some more
  14 information on that," right?
  15 A.    I could have, yes.
  16 Q.    You didn't do that?
  17 A.    I did not.
  18 Q.    The daycare opens what time on August 22nd?
  19 A.    6:30 is the usual time they open up.
  20 Q.    Okay.    You didn't place any calls to anyone at the daycare
  21 about your role in what happened to M.R., did you?
  22 A.    I did not.
  23 Q.    Okay.    And at 1:30, you start getting text messages
  24 saying, "Hey, the cops are here," right?
  25 A.    I did.
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   1 Q.    From your girlfriend and from Cathie, correct?
   2 A.    Correct.
   3 Q.    Okay.    And at that time, again, you don't pick up the
   4 phone and call Heidi and say, I've got more information for
   5 you, I'm -- please, send the police my way.              I've got some
   6 things to tell them."         You don't do that, do you?
   7 A.    No, I do not.
   8 Q.    Lieutenant Madison comes to your door to take you down to
   9 the police station, right?
  10 A.    Yes.
  11 Q.    And you don't tell him, "Hey, look, I've got to tell you
  12 something that happened.          I've got this phone, I took some
  13 pictures on it."        You don't have that conversation with him,
  14 do you?
  15 A.    I do not.
  16 Q.    At the Child Advocacy Center, your time down there -- it
  17 looks like a giant warehouse when you pull up to it, right?
  18 A.    Pretty much.
  19 Q.    Okay.    You can see where you're going when you go there,
  20 right?
  21 A.    I didn't know where I was going exactly.
  22 Q.    Okay.    You're not brought underground, though, and brought
  23 into a building like here, right?
  24 A.    No.
  25 Q.    Okay.    So you know what it is, you know what the
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   1 environment is, when you're brought in, correct?
   2 A.    Correct.
   3 Q.    Okay.    And they treated you well, right?
   4 A.    Yes.
   5 Q.    You weren't even handcuffed on the way down, were you?
   6 A.    I was not.
   7 Q.    Okay.    You weren't shackled to anything, correct?
   8 A.    No.
   9 Q.    They didn't do some kind of full body cavity search on
  10 you, right?
  11 A.    No.
  12 Q.    They even let you keep your phone, didn't they?
  13 A.    Yes.
  14 Q.    And, in fact, the very first thing that happens, really,
  15 your first interaction with Detective McAllister, is when you
  16 ask him, "Hey, can I use my phone," right?
  17 A.    Yes.
  18 Q.    And he says, "Hold on, hold on.          I don't want to get in
  19 trouble.      I need to take that phone from you."           Right?
  20 A.    Yes.
  21 Q.    So your very first interaction with Detective McAllister
  22 deals with what?
  23 A.    We were talking about sports and something at first.                It
  24 wasn't directly that.         His phone kept vibrating, and he
  25 kept -- he said, "I need to take this."             And I had told him,
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   1 "Well, is it okay if I check my phone?"
   2 Q.    You had a long conversation with Detective McAllister,
   3 before you ever got to anything here, about things like
   4 soccer, right?
   5 A.    Correct.
   6 Q.    About your upbringing and how it is you came to be in the
   7 country?
   8 A.    Correct.
   9 Q.    He treated you with the utmost respect, didn't he?
  10 A.    Yes.
  11 Q.    He told you a number of times, "Mr. Al-Awadi, if this is a
  12 mistake, please help me clear it up," correct?
  13 A.    I believe so.
  14 Q.    All right.     Let's talk about what it is that you told
  15 Detective McAllister.         It's a little bit different than what
  16 you've told here today, isn't it?
  17 A.    Yes.
  18 Q.    In fact, your attorney said that you lied to him because
  19 you didn't tell him certain things, correct?
  20 A.    Correct.
  21 Q.    But there's other details that you added in, that never
  22 happened, correct?
  23 A.    Well, correct.
  24 Q.    Okay.    Because you decided that as he started talking to
  25 you about physical evidence, that you had to give him an
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   1 innocent explanation for the physical evidence, right?
   2 A.    I was explaining what had happened when -- in the
   3 statement, when I even told him about the watch, I was not
   4 lying about that.        I had told him about the incident, but I
   5 did not tell him she had said that she was hurt.
   6 Q.    Okay.    Well, let's talk about this, sir.           You told
   7 Detective McAllister on that day that you may have -- that you
   8 did, not, "may have," that you did tickle M.R. on her bare
   9 skin, correct?
  10 A.    Yes.
  11 Q.    And that's a lie?       That didn't happen, did it?
  12 A.    That did happen.
  13 Q.    When did that happen, sir?
  14 A.    That happened along with the taking of the pillows.               It
  15 was like they would take their pillows back and hold onto it
  16 tight.     And then I would be like, "You give it to me."               And
  17 they wouldn't give it to me, so then I would tickle them until
  18 they let go, and then I would take it.
  19 Q.    You didn't tell the jury that today, did you?
  20 A.    I didn't go into very much detail, no.
  21 Q.    Well, sir, it was your attorney asking you questions,
  22 right?
  23 A.    Yes.
  24 Q.    And you had a chance to give as much information as you
  25 wanted as he asked you questions, correct?
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   1 A.    Yes.
   2 Q.    You never told the jury that you tickled her, correct?
   3 A.    I did not.
   4 Q.    And you never told the jury that she said, "Look, Mr. Ali,
   5 I've got new panties," did you?
   6 A.    I did not.
   7 Q.    And you said that she, in fact -- what you told Detective
   8 McAllister is that she lifted up her shirt to try to show you
   9 her panties, correct?
  10 A.    She did.
  11 Q.    You're saying now that she did that?
  12 A.    She did.     That was just -- when my attorney was asking me
  13 questions, he did not specifically ask me about it.                And I may
  14 have neglected to inform the jury about that, yes.
  15 Q.    Well, why don't you tell the jury now when that happened
  16 in this scheme of events.
  17 A.    When she told me about her panties?
  18 Q.    Uh-huh.
  19 A.    It was upon the first inspection, right before I did the
  20 first inspection.        You know, I sat down, and she was -- she
  21 was almost asleep the first time.            So she tells me, "Well, I
  22 got new panties."        It was -- it was -- she was telling me, "I
  23 got new panties."        And then I let her go to sleep, and then I
  24 did the inspection.
  25 Q.    Okay.    Well, according to the version you gave Detective
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   1 McAllister, though, that would be leaving out some details
   2 from what you told him, right?
   3 A.    Definitely.
   4 Q.    Because what you told Detective McAllister was that when
   5 she said, "I got new panties," you said, "M.R., no, thank
   6 you," correct?
   7 A.    Yes.
   8 Q.    And you told Detective McAllister that then she pulled up
   9 her shirt to try to show you, correct?
  10 A.    Correct.
  11 Q.    And that after that, you were telling her, "No, thank you,
  12 no, thank you," and you told Detective McAllister that that
  13 made you very uncomfortable, didn't it?
  14 A.    Yes.
  15 Q.    It made you so uncomfortable, in fact, that you then
  16 decided to put a finger at the top of her jeans to show her
  17 that her pants didn't fit her, right?
  18 A.    I did say that, yes.
  19 Q.    Okay.    You didn't tell the jury that today, did you?
  20 A.    No, I did not.
  21 Q.    Okay.    And the -- so did that happen or didn't that
  22 happen?
  23 A.    It did happen.
  24 Q.    Okay.    That's also another fact that you've added today,
  25 correct?
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   1 A.    It was just something I was not asked about specifically.
   2 I was answering the questions I was asked about.
   3 Q.    So at that point, when you are putting your fingers in her
   4 pants after she has said, "Ouch, you hurt me," you knew that
   5 her pants were loose, didn't you?
   6 A.    After she said it, yes.
   7 Q.    Well, after you put your fingers in her pants to pull on
   8 them, right?
   9 A.    Well, she -- the reason I did that was because she wanted
  10 to show me.       And I noticed she wasn't wearing her belt.            And
  11 that's when I said, "Well, where is your belt?"               And she
  12 said -- well, I told her, "They're loose.              Where is your
  13 belt?"     And she said, "My daddy forgot to give me my belt this
  14 morning."
  15 Q.    Okay.    So are you now saying that the reason you put your
  16 fingers in her pants is because she wanted to show you her
  17 underwear?
  18 A.    That wasn't the reason they were in there.
  19 Q.    You did tell the detective, at least three times, that you
  20 never saw her underpants, correct?
  21 A.    I did.
  22 Q.    And that was a lie, wasn't it?
  23 A.    Yes.
  24 Q.    And you talked about -- when you talked to the detective
  25 about tickling her, again, you reiterated you never saw the
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   1 underpants, correct?
   2 A.    I did.
   3 Q.    In fact, at one point when you were speaking to the
   4 detective, you suggested to the detective that by wrapping her
   5 legs around your arm and your watch, that M.R. was sexually
   6 experimenting, didn't you?
   7 A.    I said that could have been a possibility.
   8 Q.    Okay.    You said that you thought she was enjoying it,
   9 correct?
  10 A.    She was moving back and forth, rubbing pretty much.
  11 Q.    Okay.    So it's your testimony today that -- your watch is
  12 just like mine, right, a similar watch?
  13 A.    It's noticeably bigger in size, but --
  14 Q.    Your watch is noticeably bigger?
  15 A.    Yes.
  16               MS. KOROBOV:     Okay.    May I approach the witness?
  17               THE COURT:     You may.
  18               MS. KOROBOV:     I'm just going to get it.
  19 BY MS. KOROBOV:
  20 Q.    For the record, I have retrieved Exhibit 28, the G-Shock
  21 watch.     Your watch is noticeably bigger than mine?
  22 A.    From right here, it does look bigger.
  23 Q.    Okay.    Bigger, all right.       So you're saying she wraps her
  24 legs around this watch, right?
  25 A.    Correct.
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   1 Q.    And that she's wiggling up and down on it, isn't she?
   2 A.    She was squirming around, yes.
   3 Q.    And you believed that she was sexually pleasuring herself
   4 at that time, didn't you?
   5 A.    I said it could have been a possibility.
   6 Q.    You said, "Kids do like to experiment," right?
   7 A.    I did say that.
   8 Q.    You said, "Maybe she liked how it felt," correct?               You
   9 told the detective, "She was just enjoying it," right?
  10 A.    Yes.
  11 Q.    And then you told the detective, "And then she fell
  12 asleep," right?
  13 A.    Yes.
  14 Q.    At the time that she's got her legs wrapped around your
  15 watch, sexually pleasuring herself, to your estimate, she is
  16 fully clothed, correct?
  17 A.    Yes.
  18               MS. KOROBOV:     May I approach again, Your Honor?
  19               THE COURT:     You may.
  20 BY MS. KOROBOV:
  21 Q.    Referring to Government's Exhibit Number 6, M.R. is
  22 wearing these jeans, right, at the time that she's got her
  23 legs wrapped around you, correct?
  24 A.    Yes.
  25 Q.    Now, in looking at the jeans, there are no tears in the
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   1 crotch, correct?
   2 A.    Correct.
   3 Q.    No damage to them anywhere, right?
   4 A.    No.
   5 Q.    And I can look at that -- and can you notice that here --
   6 excuse me.      I'll step back to the podium.
   7               Even from as far away as here, sir, you can see that
   8 there's nothing torn or nothing damaged about the jeans,
   9 correct?
  10 A.    It's a little far, but I don't think you can.
  11               MS. KOROBOV:     May I approach the witness again, Your
  12 Honor?
  13               THE COURT:     You may.
  14 BY MS. KOROBOV:
  15 Q.    When you put your hands down M.R.'s pants to take the
  16 photos, could you show the jury how close you were to her
  17 jeans?
  18 A.    Where I was sitting?
  19 Q.    How close you were to the jeans when you put your hands in
  20 her pants.
  21 A.    Well, when I put my hands, my hands were here.
  22 Q.    Okay.    So how far were you, then, physically from her
  23 jeans?      Is that how far you kept her when you took the
  24 pictures?
  25 A.    She would have been -- her body was laying down right
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   1 here.     I would have been about right here, yes.
   2 Q.    Okay.    You could have used your cell phone to look on the
   3 outside of the jeans, right?
   4 A.    Yes.
   5 Q.    And see whether there was any damage, correct?
   6 A.    Correct.
   7 Q.    Okay.    You can fully inspect the outside of the jeans and
   8 see if there's any blood or anything coming out of the jeans,
   9 right?
  10 A.    Yes.
  11 Q.    You didn't do that, though, did you?
  12 A.    I did not.
  13 Q.    And just a size comparison for M.R.           When the jurors saw
  14 her today, she's bigger than she was back in August of 2014,
  15 right?
  16 A.    I honestly cannot recall.
  17 Q.    You don't remember how big she was back then?
  18 A.    I mean, I wasn't really paying attention to how tall she
  19 has gotten now.
  20 Q.    Okay.    Out of curiosity, before I continue with more on
  21 that day, you said you have a brother, right?
  22 A.    Correct.
  23 Q.    How old is your brother?
  24 A.    He is 20 now.
  25 Q.    20 now, okay.      Did he work at the daycare on August 21st
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   1 of 2014?
   2 A.    No.
   3 Q.    Okay.    Did you have any other male relatives that ever
   4 worked at the daycare on August 24th of 2014?
   5 A.    No.
   6 Q.    They never visited the daycare either, did they?
   7 A.    My brother has visited the daycare.
   8 Q.    Did he ever have contact with M.R.?
   9 A.    He may have.      He was in the class interacting with the
  10 children; reading them books, too.
  11 Q.    When was that?
  12 A.    Once before.
  13 Q.    Not August 21st of 2014, right?
  14 A.    I -- no.
  15 Q.    Okay.    And you never saw him put his hands down M.R.'s
  16 pants, correct?
  17 A.    Correct.
  18 Q.    You spent two years on a job working refurbishing phones,
  19 you said, correct?
  20 A.    Correct.
  21 Q.    And during that time, you never took pictures of anyone's
  22 genital area on that job, correct?
  23 A.    No.
  24 Q.    Okay.    And you felt that you were well trained to do that
  25 job, correct?
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   1 A.    Yes.
   2 Q.    Okay.    And then you also worked at a restaurant, right?
   3 A.    Yes.
   4 Q.    And this is a family restaurant, correct?
   5 A.    Correct.
   6 Q.    You worked as a cashier and a cook, right?
   7 A.    Yes.
   8 Q.    You had contact with members of the public?
   9 A.    Yes.
  10 Q.    Okay.    You never took pictures of anyone's genitals on
  11 that job, right?
  12 A.    No.
  13 Q.    Okay.    You said that you baby-sat kids within your family,
  14 right?
  15 A.    Yes.
  16 Q.    Okay.    And you also took care of a child who wasn't in
  17 your family, named B.N., correct?
  18 A.    No.
  19 Q.    You never took care of B.N.?
  20 A.    No.    He was at the daycare.
  21 Q.    He was a child at the daycare?
  22 A.    Yes.
  23 Q.    Right?    And it's your -- you're saying that you never took
  24 care of him?
  25 A.    Outside?
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   1 Q.    Correct.
   2 A.    No.
   3 Q.    Do you remember sending an e-mail to a woman about a job
   4 at the Goddard School?
   5 A.    Yes.
   6 Q.    And do you remember telling her that you took care of a
   7 little boy named B.N.?
   8 A.    That was her son.
   9 Q.    That was the son of the woman you were e-mailing about the
  10 job at the daycare?
  11 A.    Yes.
  12 Q.    Okay.    So you've taken care of kids, obviously, both in
  13 and out of your family, right?
  14 A.    No.    He was at the daycare, and I was employed at the
  15 daycare.      And she had told me she actually worked at the
  16 Goddard School and had an opening.            I inquired about that
  17 after they had left the daycare.            And I have never taken care
  18 of him outside of school, no.
  19               MS. KOROBOV:     May I approach the witness, please?
  20               THE COURT:     You may.
  21 BY MS. KOROBOV:
  22 Q.    I'll show you what I've marked as Government's Exhibit 36.
  23 I'll ask you to read that to yourself.
  24               Do you recognize Government's 36?
  25 A.    Yes.
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   1 Q.    And what is Government's 36?
   2 A.    Me writing an e-mail to the HR person that worked at the
   3 Goddard School.
   4 Q.    Okay.    And is that a true and accurate copy of the e-mail
   5 that you sent on April 1st of 2014?
   6 A.    Yes.
   7               MS. KOROBOV:     At this time, the government moves to
   8 admit Government's Exhibit 36.
   9               THE COURT:     Any objection to 36?
  10               MR. THOMAS:     No, not at all.
  11               THE COURT:     36 is admitted into evidence without
  12 objection.
  13                            (Government's Exhibit 36 was

  14                            received in evidence.)

  15 BY MS. KOROBOV:
  16 Q.    "Hello, Rachel" --
  17               MS. KOROBOV:     Permission to publish, Your Honor, by
  18 reading?
  19               THE COURT:     You may.
  20 BY MS. KOROBOV:
  21 Q.    "Hello, Rachael, My name is Ali Al-Awadi.             I am an
  22 educator at Bright Horizons.           I used to care for B.N. in the
  23 evenings and Mrs. Newkirk informed me of an opportunity to
  24 work at the Goddard School.          I have given her a call and she
  25 told me to e-mail you," with, "my resumé.              Thank you for your
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   1 time."     You wrote that e-mail?
   2 A.    Yes, I did.
   3 Q.    Okay.    And this was when you were trying to apply for work
   4 at the Goddard School, correct?
   5 A.    Correct.
   6 Q.    When you cared for children in your family, could you tell
   7 the jurors which children you cared for?
   8 A.    My uncle's -- on my dad's side, my dad's brother's
   9 children; my mom's brother's children; anyone who was pretty
  10 much related to me.
  11 Q.    Okay.    About how many children?
  12 A.    I would say more than five, but never more than two at a
  13 time.
  14 Q.    Okay.    More than five kids total, not at one setting, but
  15 five different children?
  16 A.    Yes.
  17 Q.    Okay.    Can you give an estimate about how many different
  18 children?      Is it just five or more than just five?
  19 A.    It's more than five.
  20 Q.    Can you give us an estimate?
  21 A.    I would say maybe around -- between eight to ten.
  22 Q.    Eight to ten children in your family you cared for, right?
  23 A.    Different ones, yes.
  24 Q.    Okay.    And other children -- you didn't receive any formal
  25 training on how to take care of them, right?
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   1 A.    No.
   2 Q.    Okay.    It was stuff you learned by interacting with your
   3 family, correct?
   4 A.    Correct.
   5 Q.    And by interacting with those kids, right?
   6 A.    Yes.
   7 Q.    Can you tell the jury how many times you took pictures of
   8 their genitals in order to document something?
   9 A.    Never.
  10 Q.    Let's talk a little bit about the cell phone policy.                The
  11 cell phone policy wasn't something that you were worried
  12 about, right?
  13 A.    I was, but I wasn't very -- it wasn't a rule I followed
  14 too much.
  15 Q.    Okay.
  16 A.    It still did concern me.
  17 Q.    It's a rule that concerned you, but not enough to follow
  18 the rule, right?
  19 A.    Only because everyone else would still have their phone on
  20 them.
  21 Q.    Okay.    So everyone else is breaking the rule, so it wasn't
  22 a policy that really worried you, right?
  23 A.    It worried me in the sense if I were to keep getting
  24 caught, I would eventually get disciplined for it.
  25 Q.    Okay.    Well, how many times had you been caught?
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   1 A.    I've been caught with it, I would say, maybe twice.
   2 Q.    Okay.    Ever written up for it?
   3 A.    No.
   4 Q.    Okay.    So even -- you heard Ms. Heidi testify earlier,
   5 right?
   6 A.    Yes.
   7 Q.    Sorry to call her "Ms. Heidi," but you heard her testify,
   8 and she said, "Look, you get kind of like one free" --
   9               THE REPORTER:     I'm sorry.     I lost you.
  10               MS. KOROBOV:     I'm sorry.
  11 BY MS. KOROBOV:
  12 Q.    You said you heard Ms. Heidi testify about the policy that
  13 you get one freebie, right?
  14 A.    Uh-huh.
  15 Q.    And after that, you're supposed to start getting written
  16 up, correct?
  17 A.    That was the new policy, yes.
  18 Q.    Okay.    You had never even been written up for this, had
  19 you?
  20 A.    No.
  21 Q.    Okay.    How many accident reports do you think you had
  22 filled out during your time at Bright Horizons Daycare?
  23 A.    Plenty.     I mean, it's hard to even give you a number.
  24 Q.    Because it's a lot, isn't it?
  25 A.    Yes.
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   1 Q.    Okay.    Kids say they get hurt or they're injured or
   2 they're in pain on a routine basis, right?
   3 A.    Well, yes.
   4 Q.    They're kids, right?
   5 A.    Yes.
   6 Q.    Okay.    And some of these kids, when they come to you and
   7 say, "I'm hurt," or, "I'm in pain, I've hurt myself," they're
   8 in your care at the time that that happens, correct?
   9 A.    Correct.
  10 Q.    But despite the fact that they were in your care at the
  11 time you got -- they got hurt, that didn't stop you from going
  12 and filling out an accident report, did it?
  13 A.    No.
  14 Q.    Okay.    And on how many of those accident reports, could
  15 you tell the jury, that you took photos to document what it is
  16 that had happened to the child?
  17 A.    None.
  18 Q.    And so you mentioned some of the daycare's policies.                You
  19 tried to make sure that anytime that there was interaction
  20 between -- of a disciplinary nature, even between adults, that
  21 there was a witness to it, right?
  22 A.    Yes.
  23 Q.    Okay.    So when you were counseled, I think by Heidi, there
  24 was another educator, Kim, in the room, correct?
  25 A.    Correct.
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   1 Q.    And that was something that was emphasized as kind of
   2 following policies on certain things, correct?
   3 A.    Correct.
   4 Q.    Not on other things, though, right?
   5 A.    Correct.
   6 Q.    And, in fact, the policy regarding injuries, you knew that
   7 you needed to inform the nurse, correct?
   8 A.    Yes.
   9 Q.    Okay.    Now, there wasn't a nurse working, though, in
  10 August of 2014, correct?
  11 A.    No, there was not.
  12 Q.    But in that kindergarten room, you're the only teacher,
  13 right?
  14 A.    Yes.
  15 Q.    Right outside of the kindergarten room is the reception
  16 desk, correct?
  17 A.    Correct.
  18 Q.    Who is sitting at the reception desk on August 21st, 2014?
  19 A.    Chiana.
  20 Q.    Okay.    And you'd previously made reports to Chiana about a
  21 child having genital pain, correct?
  22 A.    Correct.
  23 Q.    Okay.    And the child made the comment about having genital
  24 pain while in your care, correct?
  25 A.    It was as soon as I got in the room, though.
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   1 Q.    Okay.    But when the child is really holding herself and
   2 rocking back, she had made that complaint to you, correct?
   3 A.    Yes.
   4 Q.    And you went and you notified who?
   5 A.    Chiana.
   6 Q.    And Chiana went and told the nurse, right?
   7 A.    Yes.
   8 Q.    Did you get in any trouble over that?
   9 A.    No.
  10 Q.    Did anyone say, "Hey, Mr. Ali, I really wish you would
  11 have taken some photos so that we would know that you're not
  12 the source of this child's genital pain"?
  13 A.    No.
  14 Q.    So there was nothing that prevented you on August 21st of
  15 2014 from opening that door and saying, "Chiana, get in here,"
  16 right?
  17 A.    No.
  18 Q.    And at the time you would have asked her to come in there,
  19 nine of the ten children were awake, correct?
  20 A.    Correct.
  21 Q.    You could have said, "Hey, Chiana, please talk to these
  22 kids.     She's saying she's hurt.        I didn't do anything wrong.
  23 Get someone in here."         Correct?
  24 A.    Correct.
  25 Q.    You didn't do that, did you?
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   1 A.    I was panicking at the time.
   2 Q.    You indicated that there are devices, though, in the room
   3 for taking photos, correct?
   4 A.    In the younger classrooms, yes.
   5 Q.    Right, some cameras or iPads, right?
   6 A.    Yes.
   7 Q.    And those, you're supposed to take photos that, like, can
   8 be put up on bulletin boards, right?
   9 A.    Yes.
  10 Q.    You didn't take these photos to put them up on a bulletin
  11 board, did you?
  12 A.    No.
  13 Q.    When you came into the room, you indicated that M.R. was
  14 happy, correct?
  15 A.    Yes.
  16 Q.    She was laughing, right?
  17 A.    Yes.
  18 Q.    And she was playful, correct?
  19 A.    Yes.
  20 Q.    M.R. wasn't complaining of any kind of genital pain when
  21 you walked into the room, was she?
  22 A.    No.
  23 Q.    And, in fact, you said that M.R. sat on your lap like she
  24 didn't want to get up, right?
  25 A.    Correct.
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   1 Q.    You indicated that you kept your phone on you in case of
   2 an emergency, correct?
   3 A.    Yes.
   4 Q.    And that phone had the numbers of other employees of the
   5 daycare, correct?
   6 A.    Yes.
   7 Q.    And your phone was with you at the time that M.R. said,
   8 "Ouch," right?
   9 A.    Yes.
  10 Q.    Your phone was with you at the time that she said, "You
  11 hurt me," correct?
  12 A.    Yes.
  13 Q.    You did not pick up that phone to call anyone to come in
  14 there to provide assistance, did you?
  15 A.    No.
  16 Q.    Instead, you turned down the lights and took photos of her
  17 genitals, correct?
  18 A.    The lights were already off.
  19 Q.    What kind of mark were you expecting to see on MR.'s body?
  20 A.    I thought she might have got pinched or something.
  21 Q.    Why did you think that?
  22 A.    Because it was -- as soon as I removed my arm from her
  23 grip is when she said, "Ouch, you hurt me."
  24 Q.    Okay.    She didn't say, "Ouch, you hurt my tito," though,
  25 did she?
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   1 A.    No.
   2 Q.    She didn't say, "You hurt my privacy," or anything like
   3 that, did she?
   4 A.    No.
   5 Q.    She just said, "You hurt me," correct?
   6 A.    "Down there."
   7 Q.    Oh, so now you're saying she (sic) hurt you down there?
   8 A.    And I believe I did say that when I was asked.
   9 Q.    I want to talk a little bit about the confrontation.                You
  10 were called into the room by Chiana, correct?
  11 A.    Correct.
  12 Q.    And she told you to go into the room after -- where M.R.
  13 was located, right?
  14 A.    Because Ms. Tyria was located there, as well, yes.
  15 Q.    Right.    So you knew that you were going into a room with
  16 M.R. and Tyria in that room, right?
  17 A.    Yes.
  18 Q.    And E.C. was in the room, too, correct?
  19 A.    Correct.
  20 Q.    And when you walked in there, M.R. is in there and E.C. is
  21 in there and Tyria is in there, and they are all sitting down,
  22 right?
  23 A.    Yes.
  24 Q.    On the mats, correct?
  25 A.    Correct.
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   1 Q.    And you went into the room, right?
   2 A.    Yes.
   3 Q.    And that's when Tyria told M.R., "Tell him what happened,"
   4 correct?
   5 A.    Yes.
   6 Q.    Okay.    And M.R. said that you had touched her down there
   7 and it hurt, right?
   8 A.    Yes.
   9 Q.    Okay.    And at that time, M.R. is on her mat, correct?
  10 A.    I believe she was -- I do not recall.
  11 Q.    Okay.    Well, you describe that you walk into the room;
  12 Tyria is there, M.R. is there, E.C. is there; they're sitting
  13 on either side of her, right?           Correct?
  14 A.    Yes.
  15 Q.    Okay.    And Tyria just says, "Tell him what happened,"
  16 right?
  17 A.    Yes.
  18 Q.    M.R. doesn't stand up to give a book report, does she?
  19 A.    No.
  20 Q.    M.R. remains sitting down, didn't she?
  21 A.    What I'm saying is, I can't remember if she was standing
  22 already or if she was sitting.
  23 Q.    Okay.    So you don't remember what position she was in?
  24 A.    No.
  25 Q.    Do you remember telling Detective McAllister, though, that
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   1 the reason you pulled her to you is because you didn't want
   2 her to fall on a plate?
   3 A.    I believe so.
   4 Q.    The truth is, Mr. Ali, that you put her in your lap,
   5 didn't you?
   6 A.    She was right next to my lap, but she was -- I was
   7 crouching.      I couldn't actually pick her up and sit her down
   8 in my lap.      She was in the general area, yes.
   9 Q.    So if your coworker, Tyria, came into court and said that
  10 man put her on his lap, it's your recollection that that is
  11 simply not accurate?
  12 A.    My recollection is, if she did see her on my lap, then it
  13 was because she was maybe even standing so close she was
  14 almost on my lap instead of actually sitting-sitting on my
  15 lap.
  16 Q.    Regardless, is it your testimony that at the point that
  17 the child is accusing you of sexually molestive touching, you
  18 physically pulled her closer to you?
  19 A.    Yes.    Yes.
  20 Q.    And at that point, you accused her of lying to you, didn't
  21 you?
  22 A.    I asked her if she was dreaming.
  23 Q.    Okay.    Because you knew that when you touched her, she was
  24 sleeping, wasn't she?
  25 A.    When I examined -- when I took the pictures, she was
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   1 asleep, yes.
   2 Q.    When you touched her, she was sleeping, right?
   3 A.    I --
   4               MR. THOMAS:     Objection, asked and answered.
   5               THE COURT:     He didn't answer that question.          The
   6 question was, "When you touched her, she was sleeping?"                 You
   7 need to answer that.
   8 A.    Could you clarify by "touching" if I was -- if you mean
   9 what she was accusing me of doing?
  10 BY MS. KOROBOV:
  11 Q.    When you touched her -- did you touch her on August 21st,
  12 2014?
  13 A.    I did not molest her.        I did not fondle her.        But I did,
  14 of course, touch her, but not in a sexual manner.
  15 Q.    Okay.    And when that happened, she was sleeping, right?
  16 A.    Correct.
  17 Q.    You knew, from the very beginning, that what you were
  18 asking her about is something that happened when she was
  19 sleeping?
  20 A.    Correct.
  21 Q.    And in front of all those people, you accused her of lying
  22 to you, didn't you?
  23 A.    I asked if she was dreaming.          And I said, "We're not
  24 supposed to lie."
  25 Q.    "We're not supposed to lie."          Interesting words, Mr. Ali,
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   1 because from there, what did you proceed to do in front of
   2 that classroom full of people?
   3 A.    I do not recall.
   4 Q.    You lied, didn't you?
   5 A.    You mean --
   6 Q.    Did you tell any of those people, "I just snapped off some
   7 pictures of this child's vagina"?
   8 A.    No.
   9 Q.    Okay.    Did you tell any of those people, "Hey, she said,
  10 'Ouch, you hurt me down there'"?            Did you tell any of them
  11 that?
  12 A.    No.
  13 Q.    Okay.    And then, when -- and for then the next what,
  14 couple of hours, when you're talking to Heidi, when you're
  15 talking to Chiana, when you're talking to Tyria, you never
  16 told any of them that, did you?
  17 A.    No, I didn't, but I didn't lie to them.            I didn't -- I
  18 just did not tell them.
  19 Q.    You didn't tell them the whole truth; is that your
  20 testimony?
  21 A.    What I'm saying is I did not lie to them.
  22 Q.    So it's not a lie, in your opinion, to fail to disclose
  23 information that would better give a full picture of what
  24 happened?
  25 A.    I'm not saying it's not a lie.          I'm just saying I didn't
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   1 tell them because I was scared at the time.
   2 Q.    Okay.    Counsel asked if you could have removed M.R.'s
   3 clothes, correct?
   4 A.    Correct.
   5 Q.    All right.     So let's talk a little bit about that scenario
   6 in the room.       In the room, there are ten sleeping children at
   7 this point, including M.R., right?
   8 A.    Yes.
   9 Q.    Okay.    And you know that you are approaching the end of
  10 the lunch hour, right?
  11 A.    Yes.
  12 Q.    Okay.    And so if you take off M.R.'s pants and someone
  13 walks in, what's going to happen?
  14 A.    Someone is going to see.
  15 Q.    Someone is going to see it, aren't they?
  16 A.    Of course.
  17 Q.    Okay.    But what you weren't worried about was opening up
  18 her pants and snapping off some photos, right?
  19 A.    I was worried about that, but I -- I was also more worried
  20 about if she was okay, if I actually did hurt her.
  21 Q.    Not worried enough to tell anyone about whether you did
  22 hurt her, right?
  23 A.    No, because she was accusing me.
  24 Q.    Accusing you of what?
  25 A.    Hurting her.
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   1 Q.    She just said, "You hurt me down there," right?
   2 A.    Yes.
   3 Q.    At that point, she didn't say, "You put your fingers in
   4 me," did she?
   5 A.    No.
   6 Q.    And, actually, by your definition, it was true, you had
   7 hurt her down there, right?
   8 A.    Yes.
   9 Q.    So M.R. wasn't falsely accusing you of anything, right?
  10 A.    No.
  11 Q.    So your testimony at that point, "Yeah, I've got an
  12 innocent explanation.         It's just -- it's my watch.         Take this
  13 thing away from me.        It's a crotch killer"?
  14 A.    I just felt like, telling them I would inspect and when --
  15 and if I took pictures or not, I could not justify it to them,
  16 regardless if they were my closest friends, my mother, my
  17 father, my family.        I felt like I couldn't justify telling
  18 anyone that.
  19 Q.    Because it's shameful to do what you did, isn't it?
  20 A.    Not as much shameful as it would look bad.             It would make
  21 me look like I, of course, did something wrong, that I wasn't
  22 supposed to do it, even if I had pure intentions.
  23 Q.    When the police came to the door, you told your parents,
  24 or your mom, that there was an incident and the police wanted
  25 to talk to you about it, right?
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   1 A.    Yes.
   2 Q.    And your mom says to you, "You didn't cause the incident?"
   3    Correct?
   4 A.    Correct.
   5 Q.    A little bit about the phone.          You believed you deleted
   6 the images from the phone, right?
   7 A.    I knew I did.
   8 Q.    Okay.    And it's your testimony that you didn't believe at
   9 that point that they could be recovered, right?
  10 A.    Correct.
  11 Q.    So when counsel asked, "You didn't throw away your phone,
  12 did you," you don't believe you had to throw away your phone,
  13 right?
  14 A.    Correct.
  15 Q.    Because you believed they were gone, correct?
  16 A.    Correct.
  17 Q.    After you took the images of M.R., you went to the
  18 bathroom, correct?
  19 A.    Yes.
  20 Q.    And you brought your phone with you into that bathroom,
  21 right?
  22 A.    It was on me at the time, yes.
  23 Q.    You brought your phone with you into the bathroom,
  24 correct?
  25 A.    My phone was always on me, so, yes, it was in the
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   1 bathroom.
   2 Q.    Okay.    And then you went to your car with that phone,
   3 correct?
   4 A.    I went on break and I went to, I believe it was the gas
   5 station or the Marsh.         I don't recall.      I got her her pop.
   6 And then I stayed in the car the rest of the day -- or the
   7 rest of the break.
   8 Q.    Okay.    So you sat out in that car with your phone, right?
   9 A.    Yes.
  10 Q.    The phone you had used to take those images of M.R.,
  11 correct?
  12 A.    Yes.
  13 Q.    So you were alone in that car with your phone for at least
  14 a half-hour?
  15 A.    You could say that, yes.
  16 Q.    Okay.    It's your testimony that you -- or you previously
  17 told the detective you were actually using the phone at that
  18 time, right?
  19 A.    Yes.
  20 Q.    This thing that you just used to create these awful images
  21 and make this terrible mistake, you sit in the phone -- car
  22 and just kind of keep thumbing through your phone, right?
  23 A.    Yes.
  24 Q.    The one that you used to take pictures of M.R.'s genitals,
  25 right?
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   1 A.    Yes.
   2 Q.    You heard M.R.'s testimony in here in court, right?
   3 A.    Yes.
   4 Q.    And you heard her say that you put your hand in her
   5 underwear, right?
   6 A.    Yes.
   7 Q.    Okay.    And so when M.R. says that, that's accurate, isn't
   8 it?
   9 A.    I did lift up the underwear.          I put my hand on the inside
  10 to lift it up, yes.
  11 Q.    Okay.    Do you recall your counsel asking the detective if
  12 there were any eyewitnesses to what had happened in the
  13 daycare?      Do you remember him asking that?
  14 A.    Yes.
  15 Q.    And on that day, you had the opportunity to essentially
  16 create eyewitnesses by calling Chiana into the room, right?
  17 A.    I had the opportunity, yes.
  18 Q.    But you didn't do that, did you?
  19 A.    No.
  20 Q.    It is true that you opened up her pants, right?
  21 A.    Yes.
  22 Q.    It is true that you pulled back her underwear, correct?
  23 A.    Pulled up, upwards; not back.
  24 Q.    Up?
  25 A.    Yes.
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   1 Q.    Okay.    You pulled her underwear away from her skin,
   2 correct?
   3 A.    Yes.
   4 Q.    Pulled it away enough that you could put your camera down
   5 there, right?
   6 A.    The camera wouldn't be down anywhere in there.
   7 Q.    Right.    You pulled it enough so that the camera could get
   8 an angle of her genitals, correct?
   9 A.    To look for the injury, yes.
  10 Q.    Okay.    And you're telling us that you snapped off a couple
  11 of those shots, right?
  12 A.    Yes.
  13 Q.    And you didn't see anything there, right?
  14 A.    No.
  15 Q.    Okay.    So at that point, "Whew, I'm done, no injuries.
  16 She doesn't have any blood on her jeans," right?                You're out,
  17 correct?
  18 A.    Correct.
  19 Q.    That's not what you did, was it?
  20 A.    No.
  21 Q.    You decided to take two more photos of her genitals,
  22 correct?
  23 A.    After she complained about more pain.
  24 Q.    Did you see any evidence on that camera, or when you were
  25 looking at her skin, of any injuries?
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   1 A.    No.
   2 Q.    Okay.    And so at this point, the area that you've now
   3 looked at, what, up here, the mons pubis, across the thighs,
   4 through here, no injury on it, right?
   5 A.    No.
   6 Q.    Okay.    So you didn't at this point wiggle her pants down
   7 to try to get a better angle of what might be between her
   8 legs, did you?
   9 A.    No.
  10 Q.    You didn't call someone in to say, "Hey, look, check out
  11 this kid," right?
  12 A.    No.
  13 Q.    There are some other things that you weren't honest with
  14 the detective about that day, correct?
  15 A.    I don't know what you're talking about exactly.
  16 Q.    Okay.    Well, the detective asked you about your Internet
  17 history, correct?
  18               MR. THOMAS:     Objection.     May we approach, Your
  19 Honor?
  20               THE COURT:     Do you want to approach?
  21               (Bench conference on the record.)
  22               MR. THOMAS:     Your Honor, this is an attempt by the
  23 government to bring in his Internet browser history, which
  24 showed that he looked at legal pornography at various times,
  25 which is -- which he did not lie about.             He told the officer
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   1 that he looked at pornography.           And --
   2               THE COURT:     Yeah, I think that's in evidence, that
   3 he said he did --
   4               MS. KOROBOV:     May I show the Court what it is that
   5 we're talking about?
   6               THE COURT:     Yes.
   7               MS. KOROBOV:     Because the defendant has now
   8 testified that he -- that he lied to the detective, yes, but,
   9 "I wouldn't hurt M.R. or any child."             The sites referenced in
  10 here are incest pornography, which I would contend is perhaps
  11 not at all legal.        But, regardless, if his testimony is, "I
  12 wouldn't hurt any child" -- and, additionally, he's admitted
  13 at this point to every element of production except intent.
  14 So at this point his intent becomes relevant.
  15               MR. THOMAS:     Your Honor, this is not illegal
  16 pornography.       These are not things that have been charged.
  17 The dates on these have nothing to do with this case.                 This is
  18 an attempt to taint the jury.           There's been no evidence
  19 regarding this at all.         And there's no evidence that looking
  20 at legal pornography indicates you're going to hurt a child.
  21 It's prejudicial.
  22               MS. KOROBOV:     The question is whether it's unfairly
  23 prejudicial.       The defendant said, "I would never hurt any
  24 child."      And given the images here -- and, additionally he
  25 told the detective that he -- that he would look at Reddit and
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   1 he used Reddit to look at porn, and that sometimes there would
   2 be incest sites on there, "but I didn't go to any of them."
   3 Well, that's a lie, so it goes to his credibility.                It goes to
   4 show, as well, what his intent was at the time he took those
   5 pictures.
   6               MR. THOMAS:     I didn't ask him any questions about
   7 his history on direct, first of all.             The fact that --
   8               THE COURT:     You did ask him had he ever hurt any
   9 other child, which wasn't a good question to ask.
  10               MR. THOMAS:     I'm sorry, but the government's
  11 contention that looking at legal pornography is hurting a
  12 child is not true.
  13               THE COURT:     Well, it says incest.       Is that legal?
  14 Incest is a crime.
  15               MR. THOMAS:     That is all legal.       No one is having
  16 incest in that pornography.          It's all -- it's all fake.         I've
  17 dealt with those cases before, Your Honor.              That's not --
  18               THE COURT:     You've seen these videos?
  19               MR. THOMAS:     I've certainly not seen those
  20 particular videos, but if the government is alleging new
  21 crimes here, that he committed a crime in looking at these
  22 videos, they know for a fact, as an officer of the court, she
  23 knows that's not illegal, Your Honor.             She's being
  24 disingenuous with The Court.           She knows that that's not
  25 illegal.
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   1               THE COURT:     Did you look at -- do you know what
   2 these are?
   3               MS. KOROBOV:     Do I know --
   4               THE COURT:     Did you all see what they are?
   5               MS. KOROBOV:     No.    We haven't gone to those sites.
   6               THE COURT:     Okay.
   7               MS. KOROBOV:     The issue isn't, quite frankly,
   8 whether he -- whether the porn is legal or illegal.                That's
   9 not my issue.       If it's legal, I don't care one way or the
  10 other.     The issue is, "I would never hurt any child."              This is
  11 his area of interest.         If he's saying that, "When I pulled
  12 down her pants, it was just to take photos to document
  13 injuries as opposed to I was sexually interested in that
  14 child," there it is.
  15               MR. THOMAS:     There's no evidence that that
  16 involves --
  17               THE REPORTER:     I'm sorry.     I cannot hear you.
  18               MR. THOMAS:     There's no evidence that anything that
  19 he looked at involved children at all.
  20               THE COURT:     Oh, you're saying it might be adult
  21 incest?
  22               MR. THOMAS:     Yeah.    There's no --
  23               MS. KOROBOV:     That's not what --
  24               MR. THOMAS:     If it was --
  25               MS. KOROBOV:     This is --
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   1               MR. THOMAS:     If it was children -- if it's child
   2 pornography, he would be charged.            None of it is child
   3 pornography, Your Honor.
   4               THE COURT:     "The First Time with My Daddy."
   5               MS. KOROBOV:     "The First time with My Daddy," who --
   6               MR. THOMAS:     Well, listen --
   7               THE COURT:     Okay.    Listen, this is what I will let
   8 you do.      Don't -- don't get that in, but you can read the
   9 titles of those three, and the date --
  10               MR. THOMAS:     What?
  11               THE COURT:     -- to show --
  12               MR. THOMAS:     What -- and just so I'm clear for the
  13 record, Your Honor, what is the government relying on to
  14 show --
  15               THE COURT:     You're offering those to show what?
  16               MS. KOROBOV:     I'm using it to show, first of all,
  17 his intent when he took the pictures of M.R.               And I'm also
  18 using it to contradict his statement to counsel that, "I would
  19 never hurt M.R. or any child."           And, finally, it goes to show
  20 that when he talked to the detective and he said, "Oh, yes, I
  21 go to Reddit, but not to these sites," that that was a lie.
  22 It's another thing he lied about.            His credibility is the sole
  23 issue here today.
  24               MR. THOMAS:     Well, Your Honor, if I may respond,
  25 first of all, I will again object that looking at legal
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   1 pornography, it's not evidence that you have hurt a child.                  So
   2 the idea that he opened the door to his looking at legal
   3 pornography -- and if she wants to say --
   4               THE COURT:     It's just the title, the title, "My
   5 First Time with Daddy."         That's why --
   6               MS. KOROBOV:     We asked --
   7               MR. THOMAS:     Looking --
   8               THE REPORTER:     I cannot hear you.
   9               THE COURT:     What's it say?
  10               MS. KOROBOV:     "B.S. Used to Play Truth or Dare as
  11 Young Kids."
  12               MR. THOMAS:     He didn't have anything to do with
  13 creation of this pornography.           He looked at it legally on the
  14 Internet.      He didn't hurt a child by doing that.
  15               THE COURT:     Agree, but she's -- well, she's trying
  16 to show that his intent in this case was for sexual --
  17               MR. THOMAS:     Well, there's no --
  18               THE COURT:     -- lascivious purposes.
  19               MR. THOMAS:     There's no evidence that any of that is
  20 child pornography.        In fact, the evidence is the opposite, and
  21 the government knows it.          None of this is child pornography.
  22 The implication from those titles, which he had nothing to do
  23 with creating, is that it is child pornography.               The fact is,
  24 it is not.      None of it is, and the government knows it.
  25               THE COURT:     Where is the one that says, Young
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   1 Child?"
   2               MS. KOROBOV:     The one that says, "Young Child" --
   3               THE REPORTER:     I cannot hear you.
   4               MR. THOMAS:     I don't care what the titles say, Your
   5 Honor.     This is legal pornography.
   6               THE COURT:     We're just going by the titles.          That's
   7 fine.     Let me see what the --
   8               MS. KOROBOV:     The red highlighted ones are the
   9 ones --
  10               THE REPORTER:     I did hear you.
  11               MS. KOROBOV:     The red highlighted pages on there are
  12 the ones he was looking at.
  13               THE COURT:     Okay.   I didn't see that one.
  14               MR. THOMAS:     Your Honor, this is legal pornography.
  15 The government --
  16               THE COURT:     Okay.   I'll let you ask him about one,
  17 "I'm Attracted to My Little Sis."
  18               MR. THOMAS:     And is this -- and how is this related
  19 to direct?
  20               MS. KOROBOV:     On direct, you were asking your client
  21 questions, and the very last thing that your client said to
  22 the jury is, "I would never hurt M.R. or any child."
  23 Additionally, he repeatedly put his intent at issue.                 "It
  24 wasn't for sexual attraction, it was because I was documenting
  25 an injury."
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   1               THE COURT:     So, for intent, the Court is going to
   2 allow it.
   3               MR. THOMAS:     Okay.    And --
   4               THE COURT:     And your objection is noted for the
   5 record.      Let's get on.
   6                                 (Open court.)
   7               THE COURT:     The objection --
   8               MR. SHEPARD:     If I can confer very briefly, Your
   9 Honor.
  10               (Off the record.)
  11               THE COURT:     The objection is overruled --
  12               MR. THOMAS:     In full, Your Honor?
  13               THE COURT:     -- with a limited -- with a limited
  14 allowance.
  15 BY MS. KOROBOV:
  16 Q.    Detective McAllister asked you some questions regarding
  17 the use of the Web site Reddit, correct?
  18 A.    Correct.
  19 Q.    And you responded to his questions about your use of the
  20 Web site Reddit, correct?
  21 A.    Correct.
  22 Q.    Specifically he asked you questions about certain types of
  23 Web sites on Reddit, or certain links to Reddit, correct?
  24 A.    Yes.
  25 Q.    And you told him that you didn't visit any particular
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   1 sites on Reddit that were anything beyond, like, legit porn,
   2 correct?
   3 A.    I did say that, yes.
   4 Q.    But on August 14th of 2014, you visited a specific portion
   5 of Reddit with the title "reddit.com/R/incest/comments/2DV --
   6 2DEVPQ/SS_ I'm_attracted_to_my_little_sis_2," correct?
   7               THE REPORTER:     I'm sorry.     You've got to slow down.
   8 BY MS. KOROBOV:
   9 Q.    The Web site, to be repeated, is
  10 www.reddit.com/R/incest/comments/2DEVPQ/SS_
  11 I'm_attracted_to_my_little_sis_2.            Is that correct?
  12 A.    I guess.
  13               MS. KOROBOV:     I pass the witness.
  14               THE COURT:     And, ladies and gentlemen of the jury,
  15 that evidence is offered for the limited purpose of showing
  16 intent.
  17               MR. THOMAS:     She passed the witness, Your Honor?
  18               THE COURT:     She passed the witness.        You may
  19 cross -- I'm sorry.        You may redirect.
  20                            REDIRECT EXAMINATION

  21 BY MR. THOMAS:
  22 Q.    How old were you at the time of this incident?
  23 A.    20 years old.
  24 Q.    Did you look at porn when you were 20?
  25 A.    Yes.
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   1 Q.    Was any of it child porn?
   2 A.    No.
   3 Q.    Were any of the Web sites that you ever visited child
   4 porn?
   5 A.    No.
   6 Q.    Would the government be able to produce any evidence
   7 whatsoever that any of the porn you ever looked at on your
   8 phone, on Web sites, was child porn?
   9               MS. KOROBOV:     Objection, Your Honor --
  10               THE REPORTER:     I cannot hear you.
  11               MS. KOROBOV:     I don't believe he can testify --
  12               THE REPORTER:     I cannot hear you.       You need to use
  13 your microphone.
  14               MS. KOROBOV:     I don't believe counsel --
  15               THE COURT:     It's not on yet.
  16               MS. KOROBOV:     Because I'm out of batteries.
  17               THE COURT:     Tanesa, will you give her some
  18 batteries?
  19               MS. KOROBOV:     Actually, let me just trade with
  20 Mr. Shepard.
  21               I don't believe that counsel --
  22               MR. THOMAS:     I'll withdraw the question, Judge.
  23 Let's move on.
  24               THE COURT:     Okay.   The question is withdrawn.
  25 BY MR. THOMAS:
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   1 Q.    Do you think if you had viewed child pornography on your
   2 phone that has been examined by the government to the -- down
   3 to the smallest portion, do you think if you had viewed child
   4 pornography on your phone, that you would not have been
   5 charged with that?
   6               MS. KOROBOV:     Objection, calls for speculation.
   7               THE COURT:     I'll let him answer it.
   8               THE WITNESS:     Could you ask again?
   9 BY MR. THOMAS:
  10 Q.    Do you think if you had viewed child pornography on the
  11 same telephone that Detective Melton examined down to its
  12 core, that you would not have been charged with that?
  13 A.    No.
  14 Q.    And, in fact, you were not, were you?
  15 A.    No.
  16 Q.    Because you had never looked at child pornography, did
  17 you?
  18 A.    No.
  19 Q.    How many shifts at the daycare?
  20 A.    It just depended on some people who worked part time and
  21 some people worked full time, but, really, it was two shifts.
  22 Q.    When you first started -- well, what time did the first
  23 shift go and what time did the second shift go?
  24 A.    The first shift would be around the morning time, anywhere
  25 between 6:30 to, I would say, 8:00.            Some people would come in
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   1 early, because not all the children would be there, and all
   2 the kids would be in, like, the gym until the teachers got
   3 there, or any -- so anywhere between, I would say, 6:30 to
   4 8:00 was anytime the first shift would start.               And it would
   5 end around 3:00, 4:00ish, maybe 5:00.
   6 Q.    What about the second shift?
   7 A.    A lot of the people on the second shift would either start
   8 anytime after noon and go until 8:00.
   9 Q.    What shift did you work when you started there?
  10 A.    The 12:00 to 8:00.
  11 Q.    Did you ever refer to that as the evening, evenings?
  12 A.    Yes.
  13 Q.    I'm going to show what you I think was entered as
  14 Government's Exhibit 36, again.           You told us that -- you told
  15 us that B.N. was a student at Bright Horizons, right?
  16 A.    Yes.    He was in the kindergarten room.
  17 Q.    And you sent this e-mail April 1st of 2014, correct?
  18 A.    Correct.
  19 Q.    Was that before or after you got the full-time position in
  20 Cathie's class?
  21 A.    Before.
  22 Q.    And were you working the evening shift then?
  23 A.    Yes.
  24 Q.    And when you had cared for B.N., would that have been
  25 during the evening shift?
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   1 A.    Yes.    Sometimes he would be one of the last ones picked
   2 up.
   3 Q.    So when you said in 36, "I am an educator at Bright
   4 Horizons.      I used to care for B.N. in the evenings," were you
   5 lying to Rachel?
   6 A.    No.
   7 Q.    You did care for him in the evenings at the school, right?
   8 A.    Correct.
   9 Q.    You worked till 8:00 at night?
  10 A.    Yes.
  11 Q.    Did you send this e-mail to try to lie or trick anybody?
  12 A.    Not at all.
  13 Q.    She just didn't know what she was talking about, right?
  14               MS. KOROBOV:     Objection, leading.
  15               THE COURT:     And that is an argumentative question
  16 that the government didn't know what they were talking about.
  17 So --
  18               MR. THOMAS:     Fair enough.
  19               THE COURT:     -- we'll strike that question.          Do you
  20 have any other questions --
  21               MR. THOMAS:     I do.
  22               THE COURT:     -- on redirect?
  23               MR. THOMAS:     I do.
  24 BY MR. THOMAS:
  25 Q.    You were asked on cross that -- about these were all
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   1 people that like you?
   2 A.    Yes.
   3 Q.    Would they still like you if you told them that you had
   4 looked at M.R.?
   5               MS. KOROBOV:     Objection, Your Honor.        It calls for
   6 speculation.
   7               THE COURT:     Sustained.
   8 BY MR. THOMAS:
   9 Q.    What do you think would have happened if you had told your
  10 bosses what had really happened?
  11 A.    Well, I believed they would have looked into the situation
  12 and probably even fired me first, because it was going against
  13 policy and procedure.
  14 Q.    It wouldn't have mattered -- would it have mattered what
  15 your intentions were?
  16 A.    No.
  17 Q.    Did you think anybody was going to believe you after you
  18 had been accused of child molesting?
  19 A.    No.
  20 Q.    All those other accident reports that you filled out, did
  21 any of those children say you hurt them?
  22 A.    No.
  23 Q.    In fact, was M.R. the only one who said that, "You hurt
  24 me"?
  25 A.    She was the first one.        And then I was terminated after,
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   1 so that made her the only one.
   2 Q.    When you described her on your arm --
   3 A.    Yes.
   4 Q.    -- did you -- she told you that she had been hurt?                She
   5 said, "Ow"?
   6               MS. KOROBOV:     Your Honor, I'm going to object.
   7 Counsel is leading.
   8               MR. THOMAS:     I am.
   9               THE COURT:     You are.
  10 BY MR. THOMAS:
  11 Q.    When she was on your arm, how did you know that she might
  12 be hurt?
  13 A.    It wasn't until after I put her down and pulled my arm
  14 free when she said, "Ow."
  15 Q.    At any -- she was showing you the jeans and how -- whether
  16 they were ripped.        I mean, did you ever think that you had
  17 done anything that would rip her jeans?
  18 A.    No.
  19 Q.    Anything close to that?
  20 A.    No.    I thought at the time she might have gotten pinched
  21 or something.
  22 Q.    Did you really know?
  23 A.    I did not know.
  24 Q.    I think you were asked on cross whether you opened her
  25 pants.      Did you ever open her pants?
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   1 A.    I did not open her pants if you mean by like unbuttoning
   2 and -- no.      If -- by lifting, yes.
   3 Q.    You had a girlfriend who worked with you?
   4 A.    Yes.
   5 Q.    Is there a particular reason that you described her as
   6 your coworker and not your girlfriend when I asked you the
   7 question before?
   8 A.    It was off and on.
   9 Q.    But you had a girlfriend.         How old was she?
  10 A.    Either 19 or -- no.       She was 17, but we were together
  11 before I even turned 18.
  12 Q.    And you were 19 when you started, right?
  13 A.    Yes.    And --
  14               THE COURT:     There's no question before you.          Wait
  15 for the question.
  16               THE WITNESS:     Okay.
  17 BY MR. THOMAS:
  18 Q.    Did you ever consider after what happened, as was
  19 suggested, going and telling Tyria or going and telling Heidi
  20 what happened?
  21 A.    Did you ask if I ever considered it?
  22 Q.    Yeah.    Did you consider it?
  23 A.    I did consider it, but I thought about how they would have
  24 looked at the situation.          And I -- like I said, I felt like I
  25 couldn't justify what I did.
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   1 Q.    You were asked on cross, you could have immediately gone
   2 and said, "This is what happened," right?
   3 A.    Yes.
   4 Q.    Do you wish you had done that?
   5 A.    Definitely.
   6               MR. THOMAS:     That's all.     Thank you.
   7               THE COURT:     Okay.   You have some questions?
   8               MS. KOROBOV:     Very briefly, Judge.
   9               THE COURT:     Okay.   Very briefly.
  10                             RECROSS-EXAMINATION

  11 BY MS. KOROBOV:
  12 Q.    Counsel asked you, "What did you think would happen if you
  13 told Heidi and the people at the daycare what you had done,"
  14 correct?
  15 A.    Yes.
  16 Q.    And your answer to him was, "I was afraid I would be
  17 fired," right?
  18 A.    At the moment, yes.
  19 Q.    Okay.    At the time of this, you lived with your family,
  20 right?
  21 A.    Yes.
  22 Q.    So if you got fired, you weren't going to be homeless,
  23 correct?
  24 A.    No.
  25 Q.    Your family wasn't going to kick you out because you got
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   1 fired, right?
   2 A.    No.
   3 Q.    Not going to stop giving you food or shelter or anything
   4 like that, right?
   5 A.    I was helping pay bills, though.
   6 Q.    Right, but you weren't going to be homeless or anything
   7 along those lines, correct?
   8 A.    What I was trying to say is, I was helping pay bills so my
   9 father -- he had -- he was laid off a little before, and I
  10 was -- me and him were pitching in on bills.               And so, as far
  11 as saying I can't go homeless, I mean, I can't say no to that.
  12 Q.    Okay.    So your concern at that point is, you were more
  13 worried about this whole situation than a child who's saying,
  14 "He put his fingers inside me"?
  15 A.    No.    I was -- I was pretty worried about both situations.
  16 Q.    In fact, you just said that you were worried about how
  17 Tyria and Heidi would look at you if you did decide to come
  18 clean with them, correct?
  19 A.    Yes.
  20 Q.    And Tyria and Heidi weren't people that you hung out with
  21 outside of work, correct?
  22 A.    No.
  23 Q.    Not in a social circle with you, right?
  24 A.    No.
  25 Q.    And not people who hang out with you even now, right?
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   1 A.    No.
   2 Q.    You only knew them from the daycare, correct?
   3 A.    Correct.
   4 Q.    And yet you were so worried about how they would look at
   5 you, that you say you decided not to tell them, right?
   6 A.    Yes, because if they were to ever say -- if I was ever
   7 accused of it, I didn't know if they would actually have my
   8 back or not, because out of work, I was never really close
   9 with them.      Yes, we were friends at work, but that's why I was
  10 afraid of what they were thinking.            Maybe they would go and
  11 tell them, you know, "He did this," and they would say, "Yeah,
  12 he was known to do this, that, or that."              I don't know what
  13 they would say.
  14 Q.    So they had never falsely accused you of anything, had
  15 they?
  16 A.    No, but what I'm saying is, I didn't know if they would or
  17 wouldn't.
  18 Q.    You said, actually, that you were afraid that if you told
  19 them, that you wouldn't like what they would think of you
  20 because you couldn't justify what it is you had done, right?
  21 A.    Correct.
  22 Q.    Because there is no justification for what it is you did
  23 on that day, is there?
  24 A.    There was no justifying me examining and taking pictures.
  25               MS. KOROBOV:     Thank you.     Pass the witness.
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   1               THE COURT:     Nothing further?
   2               MR. THOMAS:     Nothing further, Judge.
   3                                      * * *
   4                                     EXCERPT
   5                                      * * *
   6
   7                       CERTIFICATE OF COURT REPORTER

   8
   9         I, David W. Moxley, hereby certify that the

  10 foregoing is a true and correct transcript from
  11 reported proceedings in the above-entitled matter.
  12
  13
  14
  15 /S/ David W. Moxley                           March 23, 2016
       DAVID W. MOXLEY, RMR/CRR/CMRS
  16   Official Court Reporter
       Southern District of Indiana
  17   Indianapolis Division

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